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         EXHIBIT Z
Case 2:18-cv-11450-LJM-MKM ECF No. 10-27 filed 06/01/18   PageID.812   Page 2 of 90




                            In the Matter Of:


         HAYSE vs CITY OF MELVINDALE, ET AL.
               LAWRENCE J. COOGAN, ESQUIRE
                               April 30, 2018
 Case 2:18-cv-11450-LJM-MKM ECF No. 10-27 filed 06/01/18                                                PageID.813            Page 3 of 90
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04/30/2018                                                                                                                               Pages 1–4
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 ·1   · · · · · ·UNITED STATES DISTRICT COURT                                ·1   APPEARANCES (Continued):
 ·2   · · · · · ·EASTERN DISTRICT OF MICHIGAN                                ·2
 ·3   · · · · · · · · SOUTHERN DIVISION
                                                                             ·3   · · ·PHILIP J. THOMAS (P31298)
 ·4
 ·5   CHAD HAYSE,                                                            ·4   · · ·Philip J. Thomas Attorney at Law
 · · ·· · ·Plaintiff,                                                        ·5   · · ·18720 Mack Avenue, Suite 240
 ·6   -vs-· · · · · · · · · · · · · · ·Case No.: 17-cv-13294
                                                                             ·6   · · ·Grosse Pointe Farms, Michigan· 48236
 · · ·CITY OF MELVINDALE, a political· Hon. Linda V. Parker
                                                                             ·7   · · ·(313) 821-2600
 ·7   Subdivision of the State;· · · · Mag. Elizabeth A. Stafford
 · · ·MELVINDALE CITY COUNCIL, a                                             ·8   · · ·philipjthomas@aol.com
 ·8   legislative body of the City of                                        ·9   · · · · · Appearing on behalf of The Witness.
 · · ·Melvindale; NICOLE BARNES,
                                                                             10
 ·9   WHEELER MARSEE, MICHELLE SAID
 · · ·LAND, DAVE CYBULSKI, CARL                                              11   · · · · · ALSO PRESENT: Chad Hayse

 10   LOUVET, and STEVEN DENSMORE,                                           12   · · · · · · · · · · · · Richard Ortiz
 · · ·individuals, sued in their
                                                                             13
 11   official and personal capacities,
                                                                             14
 · · ·· · ·Defendants.
 12   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~/                                      15
 13   DEPONENT:· · ·LAWRENCE J. COOGAN, ESQUIRE                              16
 14   DATE:· · · · ·Monday, April 30, 2018
                                                                             17
 15   TIME:· · · · ·10:15 a.m.
                                                                             18
 16   LOCATION:· · ·Deborah Gordon Law
 17   · · · · · · · 33 Bloomfield Hills Parkway, Suite 220                   19
 18   · · · · · · · Bloomfield Hills, Michigan                               20
 19
                                                                             21
 20   REPORTER:· · ·John J. Slatin, RPR, CSR-5180
 21   · · · · · · · Certified Shorthand Reporter                             22
 22                                                                          23
 23   · · · · · (Appearances listed on page 2)
                                                                             24
 24
                                                                             25
 25

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 ·1   APPEARANCES:                                                           ·1   · · · · · · · · TABLE OF CONTENTS

 ·2                                                                          ·2

 ·3   · · ·DEBORAH L. GORDON (P27058)                                        ·3   WITNESS· · · · · · · · · · · · · · · · · · · · PAGE

 ·4   · · ·ELIZABETH MARZOTTO TAYLOR (P82061)                                ·4

 ·5   · · ·Deborah Gordon Law                                                ·5   LAWRENCE J. COOGAN, ESQUIRE

 ·6   · · ·33 Bloomfield Hills Parkway, Suite 220                            ·6

 ·7   · · ·Bloomfield Hills, Michigan· 48304                                 ·7   · · ·Examination by Ms. Gordon· · · · · · · · · · 5

 ·8   · · ·(248) 258-2500                                                    ·8

 ·9   · · ·dgordon@deborahgordonlaw.com                                      ·9   EXHIBITS

 10   · · ·emarzottotaylor@deborahgordonlaw.com                              10   (Original exhibits retained; Copies attached):

 11   · · · · · Appearing on behalf of the Plaintiff.                        11   · · · · · · · · · · · · · · · · · · · · · IDENTIFIED

 12                                                                          12

 13   · · ·GREGORY M. MEIHN (P38939)                                         13   · · ·Exhibit 1· · ·E-mail from Striz dated· · · 232

 14   · · ·JOHN STEPHEN GILLIAM (P81421)                                     14   · · · · · · · · · ·2-23-15

 15   · · ·Foley & Mansfield, PLLP                                           15   · · ·Exhibit 2· · ·E-mail from Hayse dated· · · 233

 16   · · ·130 E. Nine Mile Road                                             16   · · · · · · · · · ·11-21-13

 17   · · ·Ferndale, Michigan· 48220                                         17   · · ·Exhibit 3· · ·E-mail from Hayse dated· · · 236

 18   · · ·(248) 721-8183                                                    18   · · · · · · · · · ·12-3-14

 19   · · ·gmeihn@foleymansfield.com                                         19   · · ·Exhibit 4· · ·E-mail from Striz dated· · · 238

 20   · · ·jgilliam@foleymansfield.com                                       20   · · · · · · · · · ·3-4-15

 21   · · · · · Appearing on behalf of the Defendants.                       21

 22                                                                          22

 23   · · · (Appearances continued on page 3)                                23

 24                                                                          24

 25                                                                          25



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 ·1   · · · · · · · · · · · · · · · · · Monday, April 30, 2018          ·1   ··    ·sure.
 ·2   · · · · · · · · · · · · · · · · · Bloomfield Hills, Michigan      ·2   Q.·   ·What were you doing prior to being corp counsel?
 ·3   · · · · · · · · · · · · · · · · · 10:15 a.m.                      ·3   A.·   ·I was a city attorney as it relates to prosecution, the
 ·4   · · · · · · · · · · · ·*· ·*· ·*                                  ·4   ··    ·Public Safety Commission, and any litigation that the
 ·5   · · · · · · ·(Parties present as indicated.                       ·5   ··    ·City was involved in.
 ·6   · · · · · · ·Mr. Hayse, Ms. Marzotto Taylor                       ·6   Q.·   ·Was there a corp counsel?
 ·7   · · · · · · ·and Mr. Meihn are not present.)                      ·7   A.·   ·Yes.
 ·8   · · · · · · · · · · · ·*· ·*· ·*                                  ·8   Q.·   ·Who was that?
 ·9   · · · · · · · LAWRENCE J. COOGAN, ESQUIRE,                        ·9   A.·   ·Corinne Galusky.
 10   · · ·having been first duly sworn, was examined and testified     10   Q.·   ·Okay.· And what happened to Corinne Galusky?
 11   · · ·as follows:                                                  11   A.·   ·She's no longer there.
 12   · · · · · · · · · · · EXAMINATION                                 12   Q.·   ·What happened?
 13   BY MS. GORDON:                                                    13   A.·   ·I --
 14   Q.· ·Hi, Mr. Coogan.                                              14   Q.·   ·You replaced her?
 15   A.· ·Hi.                                                          15   A.·   ·I replaced her, yes.
 16   Q.· ·What is your -- before we get into all the questions,        16   ··    · · · I don't know why she left or --
 17   · · ·what is your role in this case filed against the City of     17   Q.·   ·Did you apply to a posting?
 18   · · ·Melvindale in your capacity as attorney?                     18   A.·   ·No.
 19   A.· ·I filed appearance on behalf of the City.· I represent       19   Q.·   ·Okay.· So, when did you first begin to provide legal
 20   · · ·the City on this case.                                       20   ··    ·services to the City of Melvindale?
 21   Q.· ·Okay.· So, do you represent the City with regard to all      21   A.·   ·I -- it's been 11, maybe 12 years ago, I started doing
 22   · · ·the claims in the case?                                      22   ··    ·the prosecution.· Mayor Cadez appointed me, and I was
 23   A.· ·Yes.· I would have to say yes.                               23   ··    ·confirmed by council.
 24   Q.· ·And you realize you're a witness here today?                 24   Q.·   ·Appointed you to what?
 25   A.· ·I do.                                                        25   A.·   ·Prosecution, and then subsequently Public Safety
                                                               Page 6                                                                   Page 8
 ·1   ··    · · · And that complicates things.                          ·1   ··    ·Commission, and then litigation issues.
 ·2   Q.·   ·And you realize you're going to be a witness at trial?     ·2   Q.·   ·All right.· So, you were appointed as prosecution as of
 ·3   A.·   ·I don't know that.                                         ·3   ··    ·when?· What year?
 ·4   Q.·   ·Well, we will be calling you.                              ·4   A.·   ·I -- it's been about 11 years ago.
 ·5   A.·   ·Okay.                                                      ·5   Q.·   ·Okay.· So, what were you doing in that capacity?
 ·6   Q.·   ·So, now you know.                                          ·6   A.·   ·As a prosecutor, I was handling the cases in the 24th
 ·7   ··    · · · I mean, I think I've made that pretty clear all       ·7   ··    ·District Court for the City of Melvindale and sometimes
 ·8   ··    ·along.                                                     ·8   ··    ·the City of Allen Park, review warrant requests and
 ·9   ··    · · · So, you are a witness and representing the City in    ·9   ··    ·anything associated with trial with cases in the
 10   ··    ·your role as an attorney?· That's your position here       10   ··    ·criminal court.· And then subsequently with civil
 11   ··    ·today?                                                     11   ··    ·actions involving the City.
 12   A.·   ·Well, it was, yes.                                         12   Q.·   ·And how many cases did you handle a month or a year on
 13   ··    · · · I have not been a witness at this point.              13   ··    ·behalf of the City?
 14   Q.·   ·Well, you were Noticed for your deposition today, and      14   A.·   ·Oh, I couldn't guess.
 15   ··    ·you know the court has ordered your deposition?            15   Q.·   ·Well, what were you getting paid at that time?
 16   A.·   ·Correct.· That's why I'm here.                             16   A.·   ·It was an hourly rate.· But prosecution can be anywhere
 17   Q.·   ·Okay.· Give me your current job title, if you would.       17   ··    ·between 30 cases a day or 60 cases in a day, and
 18   A.·   ·I'm the city attorney, corporation counsel for the City    18   ··    ·sometimes trials are set.
 19   ··    ·of Melvindale.                                             19   Q.·   ·Okay.
 20   Q.·   ·And how long have you held the position of corp counsel?   20   A.·   ·And so it depended upon how it all worked out.
 21   A.·   ·I think --                                                 21   Q.·   ·And what was your hourly rate?
 22   Q.·   ·2014?                                                      22   A.·   ·I think -- I'm not certain -- around $110, $120.
 23   A.·   ·Yeah.· On or about that.                                   23   Q.·   ·What percentage of your business was that back at that
 24   Q.·   ·Okay.                                                      24   ··    ·time?
 25   A.·   ·I don't have a date in front of me, so I don't know for    25   A.·   ·Just doing prosecution?

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 ·1   Q.·   ·Just doing prosecution for the City of Melvindale --       ·1   Q.·   ·Well, you said "personal injury," and then you also said
 ·2   A.·   ·And the Safety Commission?                                 ·2   ··    ·"civil."
 ·3   Q.·   ·Well, we haven't gotten to that yet.                       ·3   A.·   ·Just general civil.
 ·4   ··    · · · You said first was prosecution and the Safety         ·4   Q.·   ·Okay.· That's what I'm asking.· Other than --
 ·5   ··    ·Commission at the same time, the appointment, or not?      ·5   A.·   ·Contractual issues, representing corporations, suing
 ·6   A.·   ·Pretty much the same time, as I recall.                    ·6   ··    ·people.
 ·7   Q.·   ·Okay.· So, let's roll back.                                ·7   ··    · · · There's a number of -- I mean, it's a pretty
 ·8   ··    · · · Prior to you being hired to do prosecution for the    ·8   ··    ·diverse practice.
 ·9   ··    ·City of Melvindale, what were you doing?                   ·9   Q.·   ·So, you didn't have one particular area of specialty
 10   A.·   ·Private practice for a number of years.                    10   ··    ·other than criminal?
 11   ··    · · · I also represented other municipalities as            11   A.·   ·Well, I did some domestic, too.· I mean, it was a pretty
 12   ··    ·prosecutor.                                                12   ··    ·wide --
 13   Q.·   ·Okay.· When did you become a lawyer?· When were you        13   Q.·   ·Okay.
 14   ··    ·licensed?                                                  14   A.·   ·-- practice.
 15   A.·   ·1988, I believe.                                           15   Q.·   ·All right.· So, then you began to obtain work from
 16   ··    · · · Thirty years.                                         16   ··    ·municipalities.
 17   Q.·   ·Okay.· And so you were in private practice.                17   ··    · · · Are you from Downriver?
 18   ··    · · · And you remain in private practice; correct?          18   A.·   ·Yes.
 19   A.·   ·Correct.                                                   19   Q.·   ·Okay.· Where did you grow up?
 20   Q.·   ·All right.· So, what did you do between the time you       20   A.·   ·First, I grew up initially in Lincoln Park, and then,
 21   ··    ·became a lawyer and the time you were retained or          21   ··    ·subsequently, we moved to Melvindale.· So, between
 22   ··    ·appointed to be handling prosecutions and/or Public        22   ··    ·Lincoln Park and Melvindale.
 23   ··    ·Safety Commission for Melvindale?                          23   Q.·   ·Okay.· And where do you live today?
 24   ··    · · · What was the nature of your work?                     24   A.·   ·I live in Dexter.
 25   A.·   ·When I first became a lawyer, I was --                     25   Q.·   ·Okay.· And where did you go to high school?
                                                              Page 10                                                                  Page 12
 ·1   Q.·   ·Not when you first, but -- okay.· I'm sorry.· Go ahead.    ·1   A.·   ·Melvindale High School.
 ·2   ··    ·You do it your way.                                        ·2   Q.·   ·And college?
 ·3   A.·   ·Assistant city -- I'm just trying to be clear on this.     ·3   A.·   ·I first went to Henry Ford Community College, received
 ·4   ··    · · · Maybe you can ask me the question again.              ·4   ··    ·an associate degree in criminal justice, and then I went
 ·5   Q.·   ·No.· Go ahead.                                             ·5   ··    ·on to get my bachelor's degree from University of
 ·6   A.·   ·I was a prosecutor for the City of River Rouge, when I     ·6   ··    ·Michigan in business, political science and history, and
 ·7   ··    ·first started practicing law, as well as had a private     ·7   ··    ·a doctorate degree at Detroit College of Law, which is
 ·8   ··    ·practice.                                                  ·8   ··    ·now located on Michigan State campus.
 ·9   ··    · · · I also --                                             ·9   Q.·   ·A doctorate degree, you said?
 10   Q.·   ·Go ahead.                                                  10   A.·   ·A doctorate of law, yeah.· Juris doctor --
 11   A.·   ·-- helped out with prosecution, when needed, in the City   11   Q.·   ·Doctor of law?
 12   ··    ·of Lincoln Park and sometimes in Ecorse as well.           12   A.·   ·Yeah.
 13   Q.·   ·Okay.· And for how long did you do that?· Continually?     13   Q.·   ·Okay.
 14   A.·   ·For a number of years.· I don't -- 1988 to probably --     14   ··    · · · All right.· So, I'm going to go back to when you
 15   ··    ·five years or so.· Five, six, seven years.                 15   ··    ·got hired in at Melvindale.
 16   Q.·   ·Okay.· And then, other than the municipal work you were    16   ··    · · · You were handling the prosecutions.· And then what
 17   ··    ·handling, were you doing anything else?                    17   ··    ·were you doing vis-à-vis Public Safety Commission?· What
 18   A.·   ·My private practice.                                       18   ··    ·was your role there?
 19   Q.·   ·And what was that?                                         19   A.·   ·To sit on the Public Safety Commission as their attorney
 20   A.·   ·I do criminal.· I do some personal injury.· I do civil     20   ··    ·and advise them of any legal issues.
 21   ··    ·litigation, some labor disputes.                           21   Q.·   ·Okay.· And were you replacing somebody in that role?
 22   Q.·   ·What kind of civil --                                      22   A.·   ·Yes, I did.
 23   A.·   ·Some wrongful termination cases.                           23   Q.·   ·Who did you replace?
 24   Q.·   ·Okay.· What kind of civil litigation?                      24   A.·   ·The law firm that had it was Pentiuk and Couvreur.
 25   A.·   ·I just explained that to you.                              25   ··    · · · As to which attorney they sent to the Public Safety

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 ·1   · · ·Commission, I'm not certain.                                 ·1   ··    ·for a long time?
 ·2   Q.· ·Okay.· And what were you getting paid for your work on       ·2   A.·   ·I think Carl Louvet because he's the -- he's the
 ·3   · · ·the Public Safety Commission?                                ·3   ··    ·son-in-law of a real good friend of mine.
 ·4   A.· ·Hourly rate.                                                 ·4   Q.·   ·Okay.· Who else?
 ·5   Q.· ·$110 roughly?                                                ·5   A.·   ·I'm not sure what you mean "a long time."
 ·6   A.· ·(Nods head.)                                                 ·6   ··    · · · I know them, know who they are.
 ·7   · · · · · THE REPORTER:· I'm sorry.· Is that --                   ·7   Q.·   ·Okay.· Well, let's --
 ·8   A.· ·Approximately, yes.                                          ·8   A.·   ·But I don't have a -- it's not like we go out to dinner
 ·9   BY MS. GORDON:                                                    ·9   ··    ·and --
 10   Q.· ·Okay.                                                        10   Q.·   ·How long have you known Ms. Barnes?
 11   A.· ·I'm not going to quote the exact rate.· I really don't       11   A.·   ·Since she was involved with -- she ran for city council.
 12   · · ·know.· I think it was around $110.                           12   Q.·   ·Okay.· And how did you get to know her, or did you know
 13   Q.· ·That's fine.                                                 13   ··    ·her before she ran for city council?
 14   · · · · · So, what's the next thing that happened to you with     14   A.·   ·Yeah, I don't believe I had met her until she ran for
 15   · · ·regard to the City of Melvindale?                            15   ··    ·city council.
 16   · · · · · When were your duties added to?                         16   Q.·   ·Okay.· And then how did you meet her?
 17   A.· ·Well, Corinne left, and they appointed me corporation        17   A.·   ·Just through her running for office.
 18   · · ·counsel, and I've had it ever since.                         18   Q.·   ·Okay.· And did you -- have you ever given her a campaign
 19   Q.· ·And who -- who did you know on the council at the time       19   ··    ·contribution?
 20   · · ·you were appointed corp counsel?                             20   A.·   ·Her personally?
 21   A.· ·I know all of them.                                          21   ··    · · · I don't believe so, no.
 22   Q.· ·And how did you know all of them?                            22   Q.·   ·Well, why do you ask it that way?· "Her personally?"
 23   A.· ·They're on the city council.                                 23   ··    ·Was there some kind a PAC or something?
 24   Q.· ·Well, you said you were doing prosecutions, and you're       24   A.·   ·Well, I don't know -- there may have been.· I don't know
 25   · · ·working for the Public Safety Commission.                    25   ··    ·if she was part of that.
                                                              Page 14                                                                  Page 16
 ·1   ··    · · · So, you haven't yet said how you would know the       ·1   Q.·   ·Okay.
 ·2   ··    ·members of the council.                                    ·2   A.·   ·So, I've never given her campaign dollars.
 ·3   A.·   ·Okay.· I graduated from Melvindale High School and, as     ·3   Q.·   ·But you've given money to PACs or groups of candidates
 ·4   ··    ·such, I've met them -- to even grow up, I knew most of     ·4   ··    ·or slates in the City of Melvindale; correct?
 ·5   ··    ·them.                                                      ·5   A.·   ·Yes, I have.
 ·6   Q.·   ·Okay.· So, you've grown up with most of the city council   ·6   Q.·   ·And you do that each election cycle; is that correct?
 ·7   ··    ·members?                                                   ·7   A.·   ·No.
 ·8   A.·   ·Well, they're younger -- a lot younger than me, but they   ·8   Q.·   ·What do you mean "no"?
 ·9   ··    ·grew up in the town that I grew up in, so I knew them      ·9   A.·   ·That's not correct.
 10   ··    ·from that.                                                 10   Q.·   ·Okay.· Is there an election cycle where you have not
 11   Q.·   ·So, you've had long relationships with most of the city    11   ··    ·contributed money to a candidate?
 12   ··    ·council members?                                           12   A.·   ·Yes.
 13   A.·   ·I don't have a relationship with them.· I know them.       13   Q.·   ·Okay.· When would that have been?
 14   ··    · · · I never stated I had a relationship.· I know them.    14   A.·   ·Dozens of elections, I haven't donated to the campaign.
 15   Q.·   ·Okay.· Well, if you've known them for a really long        15   Q.·   ·How much money do you typically donate when you do
 16   ··    ·time, I presume that's somewhat of a relationship.         16   ··    ·donate in an election year?
 17   ··    ·These are people that knew you enough to select you for    17   A.·   ·I don't really recall.
 18   ··    ·this job and who you apparently have had multiple years    18   Q.·   ·What's the range?
 19   ··    ·of being in the community with; correct?                   19   A.·   ·You're asking me to speculate.· I wouldn't --
 20   A.·   ·I've lived in the community up until I was 40, that's      20   Q.·   ·No, I'm not.· I'm asking you what you recall.
 21   ··    ·correct.                                                   21   A.·   ·I would think the campaign --
 22   Q.·   ·Well, I'm talking about your relationship with the         22   Q.·   ·It's not speculation.· It's your money that you wrote a
 23   ··    ·council members.                                           23   ··    ·check --
 24   ··    · · · So, let's go through it.                              24   A.·   ·Are you going to allow me to answer the question?
 25   ··    · · · Which council members would you say you've known      25   Q.·   ·Hang on one second.

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 ·1   ··    · · · Do you write checks, or is there some other way you   ·1   Q.·   ·Okay.· So, you communicate with Ms. Barnes with which of
 ·2   ··    ·give money?                                                ·2   ··    ·those numbers?
 ·3   A.·   ·Checks.                                                    ·3   ··    · · · You've already said cell phone.
 ·4   Q.·   ·Okay.· All right.· Go ahead.                               ·4   ··    · · · Office phone?
 ·5   ··    · · · I mean, we can go --                                  ·5   A.·   ·Yes.
 ·6   A.·   ·Yeah.                                                      ·6   Q.·   ·Okay.· Do you have a number at the City?
 ·7   Q.·   ·-- get the checks, but let's take a shot at it here.       ·7   A.·   ·No.
 ·8   A.·   ·I think somewhere between $100 and $500 is all that's      ·8   Q.·   ·Okay.· Your office number is your law firm number?
 ·9   ··    ·permitted under the campaign finance law.· So, certainly   ·9   A.·   ·Correct.
 10   ··    ·whatever was provided for in the campaign finance law is   10   Q.·   ·Okay.· And you said you text with Ms. Barnes?
 11   ··    ·what I would have donated, somewhere between there.        11   A.·   ·I have.· Not that terribly often.
 12   Q.·   ·Is Nicole Barnes a friend?                                 12   Q.·   ·Okay.· Well, I would like you to retain all texts you
 13   A.·   ·No.                                                        13   ··    ·currently have on your phone with regard to Ms. Barnes.
 14   Q.·   ·Do you have her cell phone number in your phone?           14   ··    ·Certainly anything going back to January 2016.
 15   A.·   ·Yes, I do.                                                 15   ··    · · · Okay?
 16   Q.·   ·Do you text with her?                                      16   A.·   ·Yeah.
 17   A.·   ·I have.                                                    17   ··    · · · I don't think I have that, but okay.
 18   Q.·   ·How do you typically communicate with her?                 18   Q.·   ·Why don't you have them?
 19   A.·   ·Most people I communicate with is via phone call.          19   A.·   ·I don't think there's very many texts that I text with
 20   Q.·   ·Well, I didn't ask you most.· I just wanted her. I         20   ··    ·her, but --
 21   ··    ·wanted to know how you communicate with her typically.     21   Q.·   ·Okay.· Well, whatever.
 22   A.·   ·Phone call.                                                22   A.·   ·Whatever is there.
 23   Q.·   ·Cell phone to cell phone?                                  23   Q.·   ·Whatever you have, I'm asking that you retain it because
 24   A.·   ·Could be office phone; could be cell phone.                24   ··    ·we're going to be requesting it.
 25   Q.·   ·How many numbers do you have?                              25   A.·   ·That's fine.
                                                              Page 18                                                                  Page 20
 ·1   A.·   ·In my phone?                                               ·1   Q.·   ·Okay.· When is the last time you talked to Ms. Barnes?
 ·2   Q.·   ·No.                                                        ·2   A.·   ·At the last council meeting.
 ·3   ··    · · · How many phone numbers do you have?· You              ·3   Q.·   ·When was that?
 ·4   ··    ·personally?· How many phone numbers are connected          ·4   A.·   ·It would be approximately two weeks ago.· I could pull
 ·5   ··    ·with --                                                    ·5   ··    ·my calendar up if you want me to look and give you the
 ·6   A.·   ·To my office?                                              ·6   ··    ·date.
 ·7   Q.·   ·Well, I'm asking you.· I don't know, Mr. Coogan. I         ·7   Q.·   ·No.
 ·8   ··    ·assume you have an office phone.· I assume you have a      ·8   A.·   ·The council meetings are on the first and third
 ·9   ··    ·cell phone.                                                ·9   ··    ·Wednesday of the month.
 10   ··    · · · Do you have a landline phone at home?                 10   Q.·   ·You haven't talked to her since her deposition?
 11   A.·   ·Yes, I do.                                                 11   A.·   ·No, I have not.
 12   Q.·   ·Okay.· What other phones do you have?                      12   Q.·   ·You've read her deposition transcript?
 13   A.·   ·I have my cell phone.· I have my office phone, and I       13   A.·   ·No, I have not.
 14   ··    ·have a home phone.                                         14   Q.·   ·You haven't read it?
 15   Q.·   ·What's your cell phone?                                    15   A.·   ·No, I haven't.
 16   A.·   ·What is it?                                                16   Q.·   ·Do you have a copy?
 17   Q.·   ·What's your number?                                        17   A.·   ·I don't believe so.
 18   A.·   ·(734) 368-4927.                                            18   Q.·   ·Well, you've been obtaining copies of deposition
 19   Q.·   ·How long have you had that number?                         19   ··    ·transcripts, haven't you?
 20   A.·   ·I don't recall.                                            20   A.·   ·Some, not all.
 21   Q.·   ·A long time?                                               21   Q.·   ·Which ones?· Which ones?
 22   A.·   ·Yeah, it's been a while.                                   22   A.·   ·I don't know.
 23   Q.·   ·Who is your carrier?                                       23   Q.·   ·Well, let's just pause a moment and let you think about
 24   A.·   ·Right now?                                                 24   ··    ·that.
 25   ··    · · · Sprint.                                               25   ··    · · · Whose dep transcript do you remember obtaining a

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                                                              Page 21                                                                  Page 23
 ·1   ··    ·copy of?                                                   ·1   · · · · · · ·(Ms. Marzotto Taylor enters the room.)
 ·2   A.·   ·I know I have Mike Welch's.· I'm not sure if I have        ·2   A.· ·Election.· Campaign election day --
 ·3   ··    ·Wheeler's.· I think I may have Wheeler's.                  ·3   BY MS. GORDON:
 ·4   ··    · · · I don't recall.                                       ·4   Q.· ·Okay.
 ·5   Q.·   ·Okay.· So, have you been advised of what Ms. Barnes        ·5   A.· ·-- for various candidates.· Not just her but other
 ·6   ··    ·testified to in this office last week?                     ·6   · · ·people as well.
 ·7   A.·   ·No.                                                        ·7   Q.· ·And how about Ms. Striz?· How long have you known her?
 ·8   Q.·   ·You have no idea?                                          ·8   A.· ·Are you referring to Mayor Bazman?
 ·9   A.·   ·No.· I wasn't here.                                        ·9   Q.· ·Yeah.
 10   Q.·   ·I didn't ask you if you were here --                       10   A.· ·I knew her when she first ran for city council.· That's
 11   A.·   ·I have not read the transcript, I have not been advised,   11   · · ·when I met her, when she was running on the Cadez team.
 12   ··    ·and I have not talked with her.                            12   Q.· ·Okay.· And is she a friend?
 13   Q.·   ·You don't know what she said about you?                    13   A.· ·Yeah, I think so.
 14   A.·   ·I think I was pretty clear about that.                     14   Q.· ·Do you socialize with her from time to time?
 15   ··    · · · I have not been advised, I have not talked with       15   A.· ·We've went to lunch a few times to discuss City issues.
 16   ··    ·her, and I don't know what she testified.                  16   · · · · · So, socialize as relates to City issues.
 17   Q.·   ·Okay.· Have you read her original deposition transcript?   17   Q.· ·Any other members of the council that you socialize
 18   A.·   ·No, I have not.                                            18   · · ·with?
 19   Q.·   ·Okay.· And you have not talked to her since the last       19   A.· ·Currently now, no.
 20   ··    ·council meeting?                                           20   Q.· ·Historically?
 21   A.·   ·That's correct.                                            21   A.· ·Kelly Hess, the former treasurer, I socialized with her
 22   ··    · · · She tried calling me, and I tried calling her.· We    22   · · ·a bit.· But mostly as it relates to like Oktoberfest or
 23   ··    ·have not talked.                                           23   · · ·the City festivals and Melvindale Days, things of that
 24   Q.·   ·Do you socialize with her at all in any manner?· Lunch?    24   · · ·nature.
 25   ··    ·Dinner?· Coffee?                                           25   Q.· ·Okay.· What percentage of your overall income is your
                                                              Page 22                                                                  Page 24
 ·1   A.·   ·No.                                                        ·1   ··    ·remuneration from the City of Melvindale as of January
 ·2   Q.·   ·Social event?                                              ·2   ··    ·2018?
 ·3   A.·   ·I've never had coffee with her.· I had lunch with her      ·3   A.·   ·Of course, having a private -- you're talking about as
 ·4   ··    ·the day she testified at the first deposition here.        ·4   ··    ·of 2018?
 ·5   ··    ·I've seen her at political events involving the City.      ·5   Q.·   ·Sure.
 ·6   Q.·   ·Such as what?                                              ·6   A.·   ·This year until now?
 ·7   A.·   ·Meetings that she would attend and I would attend.         ·7   Q.·   ·Sure.
 ·8   Q.·   ·Well, is that a political event?· A meeting?               ·8   A.·   ·Maybe 20 percent.
 ·9   ··    · · · What kind of meetings are you talking about?          ·9   Q.·   ·So, what is your income from Melvindale?
 10   A.·   ·City functions.                                            10   A.·   ·I'm on a salary.
 11   Q.·   ·Like what?                                                 11   Q.·   ·What is it?
 12   A.·   ·City council meetings.· She's attended some Public         12   A.·   ·I believe it's $160,000 a year.
 13   ··    ·Safety Commission meetings.                                13   Q.·   ·And do you receive any other money?
 14   Q.·   ·Do you call those political events?                        14   A.·   ·From the City?
 15   ··    · · · I mean, that's the term --                            15   Q.·   ·Yeah.
 16   A.·   ·They're City functions.                                    16   ··    · · · For any other functions whatsoever.
 17   Q.·   ·Okay.· Well, you said "political" --                       17   A.·   ·Yes, I do.
 18   A.·   ·Well, political events, I -- well, don't mischaracterize   18   Q.·   ·Okay.
 19   ··    ·my statement.· I've seen her at political events           19   A.·   ·I get something for the Downtown Development Authority.
 20   ··    ·involving people running for office.                       20   Q.·   ·Okay.· What is that?
 21   Q.·   ·Okay.· Well --                                             21   A.·   ·It's an hourly rate.
 22   A.·   ·So, that would be political events.                        22   Q.·   ·And what do you make roughly a year on that?
 23   Q.·   ·I said --                                                  23   A.·   ·I think last year it was approximately $2,500.
 24   A.·   ·The City events would be the meetings.                     24   Q.·   ·Okay.· So, you make roughly -- from your employment with
 25   Q.·   ·Okay.· What political events have you seen her at?         25   ··    ·the City roughly $162,500 a year?

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 ·1   A.·   ·That would be correct.                                     ·1   A.· ·That would be a good -- I guess that's a good
 ·2   Q.·   ·And that's what percent of your total reported income?     ·2   · · ·approximation.
 ·3   A.·   ·You know, I don't know.· I can't give you the exact        ·3   Q.· ·Okay.· And how many hours a week do you work for the
 ·4   ··    ·percentage.                                                ·4   · · ·City of Melvindale?
 ·5   Q.·   ·Well, give me a rough idea.                                ·5   A.· ·Anywhere between 15 to 60, depending upon which tasks
 ·6   A.·   ·I just can't.                                              ·6   · · ·are being done.
 ·7   Q.·   ·Okay.· Well, I'm going to have to get an answer from you   ·7   Q.· ·How long is your term -- current term of appointment?
 ·8   ··    ·of what -- then give me your total income you reported,    ·8   A.· ·Well, like all appointed officials, I serve at the will
 ·9   ··    ·if you don't want to give me a percentage, and I'll do     ·9   · · ·and pleasure of the mayor and council.
 10   ··    ·the math.                                                  10   · · · · · So, it would be, I believe, until they remove me or
 11   ··    · · · What did you -- I mean, Tax Day was, what, last       11   · · ·the end of this term.
 12   ··    ·week?· I don't know if you filed or got an extension,      12   · · · · · · · ·(Mr. Hayse enters the room.)
 13   ··    ·but you know what you earned in '18.                       13   BY MS. GORDON:
 14   ··    · · · So, what percentage of your remuneration, your        14   Q.· ·Okay.· And at the end of this term, what happens?
 15   ··    ·entire income was the money you received from              15   · · · · · Do you have to get reappointed?
 16   ··    ·Melvindale?                                                16   A.· ·Yes.· Yes.· Yes.
 17   A.·   ·Last year may have been about 40 percent.· That's best     17   Q.· ·Okay.· So, when is the end of the term?
 18   ··    ·guess.                                                     18   A.· ·The November -- I think on the '19 -- '19 would be the
 19   Q.·   ·Okay.· So, you're making $3-, $4-, $500,000 a year?        19   · · ·next election.
 20   ··    · · · Is that what you're telling me?                       20   Q.· ·Okay.· So, at that point somebody will presumably make a
 21   A.·   ·Gross income?                                              21   · · ·motion --
 22   Q.·   ·Yeah.                                                      22   A.· ·Well, there will be a new mayor appointed or elected and
 23   A.·   ·I --                                                       23   · · ·a new council, and they will appoint who they wish.
 24   Q.·   ·No, net to you.· Net to you.                               24   Q.· ·Right.
 25   ··    · · · I don't know what you mean by "gross."                25   · · · · · But you've been appointed how many times now?
                                                              Page 26                                                                  Page 28
 ·1   ··    · · · I'm not talking about what fees come in before you    ·1   A.·   ·In various capacities?
 ·2   ··    ·have to pay bills at your law firm.· I'm talking about     ·2   Q.·   ·Sure.· Yeah.
 ·3   ··    ·reportable income.                                         ·3   A.·   ·At least three.
 ·4   A.·   ·What's the question again?                                 ·4   Q.·   ·Okay.· And I guess --
 ·5   Q.·   ·Uh-huh.                                                    ·5   A.·   ·In Melvindale.
 ·6   ··    · · · So, what was your reportable income for 2018?         ·6   Q.·   ·I presume you intend -- your plan is that you will be
 ·7   A.·   ·I think I knew my gross, but I don't know exactly what     ·7   ··    ·reappointed again if all goes well?
 ·8   ··    ·my net is.                                                 ·8   A.·   ·I would like to see that happen, yes.
 ·9   Q.·   ·I don't know what you mean by "gross."· Just what you're   ·9   Q.·   ·And you have no reason to think you will not be
 10   ··    ·reporting as -- what do you mean by "gross"?               10   ··    ·reappointed, I assume?
 11   A.·   ·Total gross proceeds the office received was, I think,     11   A.·   ·Well, I don't know --
 12   ··    ·around --                                                  12   Q.·   ·Nothing you know of?
 13   Q.·   ·Before, you mean, you pay salaries and stuff?              13   A.·   ·Yeah.· I don't know who is going to be running for which
 14   A.·   ·Correct.                                                   14   ··    ·office and who is going to be elected.
 15   Q.·   ·Yeah.· Well, that's not going to be very helpful.          15   ··    · · · So, I would hope I'm in consideration, yes.
 16   ··    · · · You --                                                16   Q.·   ·Is your performance evaluated by the City?
 17   A.·   ·$150,000, let's just say.                                  17   A.·   ·There are no performance review hearings.
 18   Q.·   ·That's net to you that you report?                         18   Q.·   ·Okay.· And give me -- so, you said you originally
 19   A.·   ·That's my best guess at this point.· I don't have my       19   ··    ·started out as being a prosecutor and being legal
 20   ··    ·taxes in front of me.· I don't have the exact --           20   ··    ·representative for the PSC.
 21   Q.·   ·Okay.· Fair enough.                                        21   ··    · · · What was the next thing that happened with you and
 22   ··    · · · So, you make roughly 50 percent a year your income    22   ··    ·the City?
 23   ··    ·from the City of Melvindale?                               23   A.·   ·I also said -- to reiterate, I was involved in
 24   A.·   ·No.· I think it's less.                                    24   ··    ·litigation for the City.
 25   Q.·   ·40 to 50?                                                  25   Q.·   ·Okay.· And what did that involve?

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                                                              Page 29                                                                  Page 31
 ·1   A.·   ·Any litigation that the City was involved with.            ·1   A.·   ·Well, as you -- you deposed Mr. Guzall.· He was used to
 ·2   Q.·   ·Give me just a -- an example of what that would be.        ·2   ··    ·moderate, mediate, or facilitate the removal hearing
 ·3   A.·   ·One case that -- off the top of my head would be the       ·3   ··    ·that was set regarding this case, Mr. Hayse.
 ·4   ··    ·lawsuit filed by a management company against the City,    ·4   Q.·   ·Okay.· And how do you know Mr. Guzall?
 ·5   ··    ·JRV versus the City of Melvindale.                         ·5   A.·   ·I've known him for several years.
 ·6   Q.·   ·Okay.· And did you handle that yourself?                   ·6   Q.·   ·How many?
 ·7   A.·   ·Yes.                                                       ·7   A.·   ·Three, four, maybe a little -- he was a prosecutor in
 ·8   Q.·   ·Do you have the ability to hire outside counsel?           ·8   ··    ·the City of Romulus for a while.
 ·9   A.·   ·If needed.                                                 ·9   Q.·   ·So, how do you know him?
 10   Q.·   ·Have you done that?                                        10   A.·   ·Well, I've had cases in Romulus.· He was a prosecutor
 11   A.·   ·On occasion.                                               11   ··    ·there years ago.· I kind of -- didn't really know him
 12   Q.·   ·Okay.· When is the last time that happened?                12   ··    ·well, but I met him there years ago, probably five or
 13   A.·   ·I'm uncertain.· I don't recall.                            13   ··    ·six years ago.
 14   ··    · · · Occasionally, I have conflicts and, as such, people   14   Q.·   ·Well, so --
 15   ··    ·cover things.                                              15   A.·   ·I never had discussions with him.· Just prosecuted.· I'm
 16   Q.·   ·And who have you hired or recommended be hired as          16   ··    ·defense attorney, negotiate a plea.
 17   ··    ·outside counsel that you --                                17   Q.·   ·Is he a friend?
 18   A.·   ·Joe Grenn represents EDC.                                  18   A.·   ·No.
 19   Q.·   ·I don't know who Joe Grenn is, and I don't know what EDC   19   Q.·   ·Do you refer him cases?
 20   ··    ·is.                                                        20   A.·   ·I may have.
 21   A.·   ·Economic Development Corporation.                          21   Q.·   ·You may have referred him cases?
 22   Q.·   ·Okay.· Did you bring him in to handle something?           22   A.·   ·I may have.
 23   A.·   ·Actually they were looking for an attorney on EDC, and     23   Q.·   ·Does he refer you cases?
 24   ··    ·Corinne Galusky held that position.· And I recommended     24   A.·   ·One case I can recall right now.
 25   ··    ·someone else to do that.                                   25   Q.·   ·And what is that?
                                                              Page 30                                                                  Page 32
 ·1   Q.·   ·And that was Grenn?                                        ·1   A.·   ·It was a domestic case.
 ·2   A.·   ·Yeah, Joe Grenn.                                           ·2   Q.·   ·Okay.· So, how did you happen to pick him to run this
 ·3   Q.·   ·Spell that, please.                                        ·3   ··    ·hearing?
 ·4   A.·   ·G-r-e-n-n.                                                 ·4   A.·   ·Well, he was an individual who was very competent in
 ·5   Q.·   ·And how do you know him?                                   ·5   ··    ·labor law.· He had been involved in representing
 ·6   A.·   ·I've known him since U of M.                               ·6   ··    ·municipalities.· He had been involved in representing
 ·7   Q.·   ·So, he's an old friend -- college friend?                  ·7   ··    ·plaintiffs and police officers, firefighters, suing
 ·8   A.·   ·His brother worked for me.· Fred Grenn is also an          ·8   ··    ·municipalities.· So, I thought someone with his type of
 ·9   ··    ·attorney.· Joe's dad was an attorney.· Fred worked for     ·9   ··    ·background and experience would -- give someone the
 10   ··    ·the supreme court for a while.· I've known the family      10   ··    ·opportunity to oversee it who had experience in the area
 11   ··    ·for years.                                                 11   ··    ·on both sides.
 12   Q.·   ·Did you get any referral fees from him?                    12   ··    · · · So, I just thought it made really good sense to
 13   A.·   ·No.                                                        13   ··    ·pick a real good attorney who had experience on both
 14   Q.·   ·Never?                                                     14   ··    ·sides to handle that.· I recommended him to the City.
 15   A.·   ·No.· On City cases, no.                                    15   Q.·   ·And have you ever represented anybody in his family?
 16   Q.·   ·On anything.· On anything.                                 16   A.·   ·You know the answer to that question is yes.
 17   A.·   ·Yeah.· There may have been referrals back and forth on     17   Q.·   ·Okay.· Well, why don't you tell me what the
 18   ··    ·civil litigation.                                          18   ··    ·representation is.
 19   Q.·   ·Okay.· So, he refers you cases periodically?               19   ··    · · · What's the case?
 20   A.·   ·No.· I think I referred him cases.                         20   A.·   ·His wife.
 21   Q.·   ·Okay.· You refer him cases --                              21   Q.·   ·And what's the case?
 22   A.·   ·Yeah, some personal injury or something like that.         22   A.·   ·Wrongful termination case.
 23   Q.·   ·-- and then he gives you referral fees?                    23   Q.·   ·Against who?
 24   A.·   ·He has, yes.                                               24   A.·   ·The City of Romulus.
 25   Q.·   ·Okay.· Who else have you used as outside counsel?          25   Q.·   ·Okay.· And when did you undertake to represent her?

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                                                            Page 33                                                                  Page 35
 ·1   A.· ·I don't recall the exact date.                             ·1   Q.·   ·Is -- are there any other lawyers on the case
 ·2   Q.· ·Well, give me a year.                                      ·2   ··    ·representing her other than yourself?
 ·3   A.· ·I don't recall.· The Complaint was filed.· An attorney     ·3   A.·   ·No.
 ·4   · · ·left the case, and she asked me to take the case.          ·4   Q.·   ·Did you prepare the questions for Guzall to ask at the
 ·5   Q.· ·When was this?                                             ·5   ··    ·hearing?
 ·6   A.· ·So, I think it could have been sometime -- I'm unclear.    ·6   A.·   ·No.
 ·7   · · ·I think it was '17.· Sometime in '17.                      ·7   Q.·   ·No?
 ·8   Q.· ·Are you still representing her?                            ·8   ··    · · · Who prepared the questions?
 ·9   A.· ·Yes, I am.                                                 ·9   A.·   ·I don't know.
 10   Q.· ·The case is ongoing?                                       10   Q.·   ·Well, how much did the City spend on him?
 11   A.· ·Yes, it is.                                                11   A.·   ·I'm unclear as to the dollar amount.· I think it was
 12   Q.· ·Where is that filed?                                       12   ··    ·somewhere at $2,000.· I'm guessing.
 13   A.· ·Last week we were in the U.S. Sixth Circuit Court of       13   Q.·   ·All right.· So, what was his hourly rate?
 14   · · ·Appeals in Cincinnati.                                     14   A.·   ·I don't know.
 15   Q.· ·Okay.· So, it was a federal court case?                    15   Q.·   ·Okay.· So, he was there for two days; correct?
 16   A.· ·Yes, it is.                                                16   A.·   ·The hearing was two days.· That's correct.
 17   Q.· ·And was it a summary judgment dismissal?                   17   Q.·   ·Right.
 18   A.· ·Yes, it was.                                               18   ··    · · · So, if his fee was $200 an hour, just for his time
 19   Q.· ·Okay.                                                      19   ··    ·in the hearing would have been roughly $3,000; correct?
 20   A.· ·Some interesting issues.                                   20   A.·   ·I don't know what he made.
 21   Q.· ·So, now you've appealed it to the Sixth Circuit?           21   Q.·   ·Well, I do know what he made.· It was -- his bill was
 22   A.· ·Uh-huh.· Uh-huh.                                           22   ··    ·$3,000, roughly.
 23   · · · · · THE REPORTER:· I'm sorry.· Is that "yes"?             23   A.·   ·Okay.· Then he made $3,000.
 24   BY MS. GORDON:                                                  24   Q.·   ·Okay.· So --
 25   Q.· ·That's a "yes"?                                            25   A.·   ·Okay.
                                                            Page 34                                                                  Page 36
 ·1   A.· ·Yes, that's correct.                                       ·1   Q.·   ·I'm trying to --
 ·2   Q.· ·And you're representing her on appeal?                     ·2   A.·   ·I really don't know.
 ·3   A.· ·That is correct.                                           ·3   Q.·   ·All right.· Look, Mr. Coogan, you brought the man in,
 ·4   Q.· ·Okay.· So, was it ever filed in Wayne County?              ·4   ··    ·you selected him, you gave him his job duties; is that
 ·5   A.· ·To the best of my knowledge, it's always been a federal    ·5   ··    ·correct?
 ·6   · · ·case.                                                      ·6   A.·   ·He asked me in what capacity, and the mayor asked me in
 ·7   · · · · · The Complaint was already filed prior to my           ·7   ··    ·what capacity, and he was going to oversee the hearing.
 ·8   · · ·involvement.                                               ·8   ··    ·Yes.
 ·9   Q.· ·Okay.· And are you on a contingency or an hourly or        ·9   Q.·   ·Okay.· What does "oversee the hearing" mean?
 10   · · ·what?                                                      10   A.·   ·To moderate, mediate, facilitate the hearing.
 11   A.· ·Contingency.                                               11   Q.·   ·Okay.· Well, he did more than that.· He asked questions
 12   Q.· ·And did Mr. Guzall -- Ray Guzall refer that case to you?   12   ··    ·of witnesses, didn't he?
 13   · · ·Is that how you got connected up with his spouse?          13   A.·   ·I think he did.
 14   A.· ·His wife contacted me.· So, I would assume -- well, I've   14   Q.·   ·Okay.· So, how did he know what questions to ask?
 15   · · ·had discussions with her husband.· I don't know how, but   15   A.·   ·He was given a copy of the Complaint.
 16   · · ·she contacted me and asked me to represent her.            16   Q.·   ·That's how he knew what questions to ask?
 17   · · · · · And then subsequently I talked with both of them.     17   A.·   ·I think it's a good question to ask him.· I don't know
 18   Q.· ·Okay.· And what's her name?                                18   ··    ·how he knew what questions to ask.· He's a labor
 19   A.· ·Marianne.                                                  19   ··    ·attorney --
 20   Q.· ·Guzall?                                                    20   Q.·   ·Okay.· Well, I'm asking about -- I'm asking --
 21   A.· ·Uh-huh.                                                    21   A.·   ·-- who has done -- excuse me.· I'd like to answer the
 22   · · · · · THE REPORTER:· I'm sorry.· Is that "yes"?             22   ··    ·question.
 23   BY MS. GORDON:                                                  23   Q.·   ·Go ahead.
 24   Q.· ·That's a "yes"?                                            24   A.·   ·He's a labor attorney who has represented both
 25   A.· ·Correct.                                                   25   ··    ·municipalities and individuals.· I'm assuming he's

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 ·1   ··    ·intelligent enough to come up with his own questions.      ·1   A.·   ·No.· The city council person brought forth a complaint
 ·2   Q.·   ·Well --                                                    ·2   ··    ·and a hearing was held to either substantiate or not
 ·3   A.·   ·So, I don't know how he knew what to ask or what not to    ·3   ··    ·substantiate the claims that were brought against the
 ·4   ··    ·ask.                                                       ·4   ··    ·chief.
 ·5   Q.·   ·Okay.· Well, did you sit down with him and discuss this    ·5   Q.·   ·Right.
 ·6   ··    ·case at any time prior to the moment the hearing           ·6   ··    · · · And you took on the role of being the advocate on
 ·7   ··    ·started?                                                   ·7   ··    ·behalf of the City.· You called witnesses.· You asked
 ·8   A.·   ·Other than him coming in to mediate and giving him a       ·8   ··    ·questions, and you objected to things Chad Hayse did.
 ·9   ··    ·copy of the Complaint and going over the Complaint a       ·9   ··    ·You did all those things just as a lawyer would in a
 10   ··    ·little bit and -- no, didn't have any other --             10   ··    ·trial.
 11   Q.·   ·So, you did sit down with him and go over the Complaint?   11   ··    · · · I mean, I see that from the transcript.· That's
 12   A.·   ·I didn't sit down with him at all.                         12   ··    ·uncontested; right?
 13   Q.·   ·You said, "He came in."· I assume he sat down.             13   A.·   ·Well, he contested it.· Mr. Hayse contested it.
 14   A.·   ·No.· I sent him a copy of the Complaint.                   14   Q.·   ·Your role is uncontested, sir.
 15   Q.·   ·You said, "We sat down."                                   15   ··    · · · You called witnesses?
 16   A.·   ·Well, called me on the phone.· We had no face-to-face on   16   A.·   ·I did.
 17   ··    ·that issue.                                                17   Q.·   ·You placed objections to what Mr. Hayse was doing.
 18   Q.·   ·Okay.· So, when did you talk on the phone with him?        18   ··    · · · You made argument on behalf of the City or Nicole
 19   A.·   ·Shortly after the City engaged him.· I sent him a copy     19   ··    ·Barnes', at least, theory of the case.· That's what you
 20   ··    ·of the Complaint.· I sent him a copy of some -- I can't    20   ··    ·did there.
 21   ··    ·remember.· I can't recall, but --                          21   ··    · · · I mean, it's -- I don't want to argue with you
 22   Q.·   ·Well, what else did you send him?                          22   ··    ·about it.· You can see from the document.
 23   A.·   ·Something that pertains to the case.· Probably the         23   ··    · · · But you took on an adversarial role.· You were not
 24   ··    ·City -- the --                                             24   ··    ·neutral during the proceeding; correct?
 25   Q.·   ·The what?                                                  25   A.·   ·I represent the City --
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 ·1   A.·   ·The City charter or something, perhaps.                    ·1   Q.·   ·Right.· Well --
 ·2   Q.·   ·What else?                                                 ·2   A.·   ·-- and the city council.
 ·3   A.·   ·I don't recall anything else.· I don't know.               ·3   Q.·   ·Okay.· The City hadn't done anything.· There was a
 ·4   Q.·   ·Okay.· So, you talked with him on the phone about the      ·4   ··    ·complaint filed by one city council member in her sole
 ·5   ··    ·case, though, did you not?                                 ·5   ··    ·capacity as a city council member; correct?
 ·6   A.·   ·For a few minutes, that's correct.                         ·6   A.·   ·A complaint was filed by one council member.
 ·7   Q.·   ·And you told him about what had occurred; correct?         ·7   Q.·   ·By one person?
 ·8   A.·   ·I said, "A complaint had been filed.· I'm going to send    ·8   A.·   ·That's correct.
 ·9   ··    ·you a copy of it.· And the hearing is set for this date,   ·9   Q.·   ·The City had not done anything; correct?
 10   ··    ·and the rules and regulations of the charter are as        10   A.·   ·The city council person filed the complaint.
 11   ··    ·follows."                                                  11   Q.·   ·Right.
 12   ··    · · · I think I gave him a copy of the charter.· I may      12   ··    · · · But the City had never voted to bring charges
 13   ··    ·have given him some rules and regs.· I don't recall. I     13   ··    ·against Chad Hayse.· We know that.
 14   ··    ·really don't recall.· I gave him whatever I thought was    14   A.·   ·The city council set a hearing at the request of the
 15   ··    ·necessary, for someone who was going to moderate over a    15   ··    ·complaint that was filed by Nicole Barnes.
 16   ··    ·hearing, to have in front of him.                          16   Q.·   ·Okay.· But the city council never voted on whether --
 17   Q.·   ·Why did you need a moderator?                              17   ··    ·well, they have certain requirements of bringing forward
 18   A.·   ·I thought it would be best to have someone who is          18   ··    ·complaints that are made by individuals; correct?
 19   ··    ·neutral and --                                             19   A.·   ·Correct.
 20   Q.·   ·You think he was neutral?                                  20   Q.·   ·Okay.· But the city council never voted to bring charges
 21   A.·   ·Yeah.· He had no stake in the outcome.                     21   ··    ·against Chad Hayse.· They -- those were filed by one
 22   Q.·   ·Wait a minute.                                             22   ··    ·individual person?
 23   ··    · · · This was an adversarial process, and you were the     23   A.·   ·It was filed by a city council member.
 24   ··    ·adversary to the chief; correct?· You took on the          24   Q.·   ·Yes.· One person; correct?· Nicole Barnes?
 25   ··    ·adversarial role?                                          25   ··    · · · That's what she's testified to.

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 ·1   A.·   ·That's correct.                                            ·1   · · ·MR. GILLIAM:· Attorney/client privilege.
 ·2   Q.·   ·Okay.· And at the hearing, you acted on behalf of          ·2   · · ·MS. GORDON:· For what?· What question?
 ·3   ··    ·Ms. Barnes by bringing forth the allegations she had       ·3   · · ·MR. GILLIAM:· Ms. Barnes approached Mr. Coogan
 ·4   ··    ·made; correct?                                             ·4   and --
 ·5   A.·   ·I acted in the capacity as city attorney on behalf of      ·5   · · ·MS. GORDON:· Well, that -- you know what?
 ·6   ··    ·the City.                                                  ·6   · · ·MR. GILLIAM:· And that's the privilege that we're
 ·7   Q.·   ·Okay.· Well, what in your duties in writing anywhere       ·7   asserting.
 ·8   ··    ·gives you the role of bringing forward disciplinary        ·8   · · ·MS. GORDON:· Okay.· You'll be -- yeah.· Well,
 ·9   ··    ·charges based on a Complaint made by a lone individual?    ·9   you'll be in contempt of court very soon on that one.
 10   A.·   ·I did not bring charges forward.· The city council         10   · · ·MR. THOMAS:· Just for the record, if they're
 11   ··    ·person brought the charges forward.                        11   asserting a privilege, I'm instructing my client not to
 12   Q.·   ·Okay.· Well, you wrote the charges, sir.· So, let's        12   answer questions relating what was told to him.· I'm not
 13   ··    ·start with that.                                           13   sure what that question involved.
 14   ··    · · · What gives you the authority to --                    14   · · ·MS. GORDON:· Have you read the court order?
 15   A.·   ·Well --                                                    15   · · ·MR. THOMAS:· I did.· I have it in front of me --
 16   Q.·   ·Hang on.                                                   16   · · ·MS. GORDON:· Have you got the transcript?
 17   ··    · · · -- to write the charges?                              17   · · ·MR. THOMAS:· I do.· Yes, I do.
 18   ··    · · · What exists in the city charter?                      18   · · ·MS. GORDON:· You read the judge's transcript?
 19   A.·   ·I am corporation counsel for the City of Melvindale. I     19   · · ·MR. THOMAS:· I did.
 20   ··    ·handle any and all litigation, any and all                 20   · · ·MS. GORDON:· Okay.
 21   ··    ·employee-related --                                        21   · · ·Would you read back my last question, John?
 22   Q.·   ·This wasn't litigation.                                    22   · · ·THE REPORTER:· Yes, one second, please.
 23   A.·   ·-- issues.                                                 23   · · ·MS. GORDON:· It had nothing -- before we go, it had
 24   ··    · · · THE REPORTER:· I'm sorry --                           24   nothing to do with any conversation with Ms. Barnes,
 25   A.·   ·Contractual negotiations, grievance procedures.            25   just so you all on that side of the table can like stay
                                                              Page 42                                                                Page 44
 ·1   BY MS. GORDON:                                                    ·1   · · ·with it.· It had to do with what authority he had to do
 ·2   Q.· ·Okay.                                                        ·2   · · ·something; what exists in writing.
 ·3   A.· ·I do all of it.                                              ·3   · · · · · Go ahead.· Read the question.
 ·4   Q.· ·But on all of that, you are representing the City itself     ·4   · · · · · THE REPORTER:· One second, please.
 ·5   · · ·because the City has taken action, they voted on             ·5   · · · · · · ·(Record repeated by the reporter.)
 ·6   · · ·something, or they are going to have to sign their names     ·6   BY MS. GORDON:
 ·7   · · ·to a contract.                                               ·7   Q.· ·Okay.· What gave you the authority to write out what --
 ·8   · · · · · This was not that situation.                            ·8   · · ·you're governed by the charter.
 ·9   · · · · · So, I want to know what gave you the authority, in      ·9   · · · · · · ·(Discussion held off the record.)
 10   · · ·writing, to write out the charges on behalf of Nicole        10   BY MS. GORDON:
 11   · · ·Barnes and/or yourself against the police chief when the     11   Q.· ·Okay.· Let's talk about the charter.
 12   · · ·council had never voted on any such thing?                   12   · · · · · Per the charter, who do you represent?
 13   · · · · · What exists in writing?                                 13   A.· ·I represent the mayor and city council.
 14   · · · · · MR. GILLIAM:· Let me just object.· I think there's      14   Q.· ·Okay.
 15   · · ·an attorney/client privilege issue here based on             15   A.· ·I represent the Public Safety Commission.
 16   · · ·Ms. Barnes that we're asserting.                             16   Q.· ·Okay.· As a --
 17   · · · · · MS. GORDON:· You've got to be kidding me.               17   A.· ·I --
 18   · · · · · Well, Ms. Barnes has waived it up one side and down     18   Q.· ·Hang on.
 19   · · ·the other.                                                   19   · · · · · Who else?
 20   · · · · · MR. GILLIAM:· I don't think so.                         20   A.· ·DDA.· I represent DDA.
 21   · · · · · MS. GORDON:· Okay.· I'm not going to argue with         21   Q.· ·Okay.
 22   · · ·you.                                                         22   A.· ·I represent the Planning Commission, the Zoning
 23   · · · · · MR. GILLIAM:· No.· Well, I'm asserting the              23   · · ·Commission.
 24   · · ·privilege on behalf of Ms. Barnes.                           24   Q.· ·Okay.· So, here is what the charter says about the
 25   · · · · · MS. GORDON:· What privilege are you asserting?          25   · · ·corporation counsel.

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 ·1   · · · · · MR. THOMAS:· Can I ask what page you're at?             ·1   ··    · · · · · ·"Corporation counsel shall furnish, upon
 ·2   · · · · · MS. GORDON:· 22.                                        ·2   ··    · · · request, written opinions upon all subjects
 ·3   BY MS. GORDON:                                                    ·3   ··    · · · submitted by the council, the mayor, or any
 ·4   Q.· ·(Reading.)                                                   ·4   ··    · · · department head."
 ·5   · · · · · · · ·"Corporation counsel shall superintend             ·5   ··    · · · Is that correct?
 ·6   · · · · · and conduct all of the legal business of the            ·6   A.·   ·If requested, yes.
 ·7   · · · · · City."                                                  ·7   Q.·   ·And it says:
 ·8   · · · · · What is the definition of "legal business"?             ·8   ··    · · · · · ·"Corporation counsel shall have further
 ·9   A.· ·You're asking me what the definition of "legal               ·9   ··    · · · powers as shall be prescribed by ordinance."
 10   · · ·business" is?                                                10   ··    · · · Are there any other ordinances that give you
 11   Q.· ·Yep.                                                         11   ··    ·powers?
 12   A.· ·Handle any and all legal needs the City has.                 12   A.·   ·I'm not sure.
 13   · · · · · That's kind of a self-descript- --                      13   Q.·   ·Okay.· So, you are allowed to act as legal counsel for
 14   Q.· ·Hang on.                                                     14   ··    ·the City itself; correct?
 15   A.· ·I'm not done answering the question.                         15   ··    · · · MR. THOMAS:· Ms. Gordon, could I ask a question
 16   · · · · · It's kind of a self-descriptive analysis, but I         16   ··    ·before you move on?
 17   · · ·handle any and all legal issues the City has.                17   ··    · · · Has he answered -- now answered that question?
 18   Q.· ·Where the City is a party to something or the City is        18   ··    ·Have we gotten around the attorney/client issue?
 19   · · ·going to take action as a City, or the City is going to      19   ··    · · · Because as you rephrased the questions, I don't see
 20   · · ·negotiate a contract; correct?                               20   ··    ·any issue.
 21   A.· ·That would be part of it, yes, not all of it.· And           21   ··    · · · MS. GORDON:· Okay.· I didn't rephrase anything, but
 22   · · ·that's your definition, not mine.                            22   ··    ·I'm going to move on.
 23   Q.· ·Well, I'm just looking at the charter.                       23   ··    · · · MR. THOMAS:· Well, you re-asked the question, and I
 24   · · · · · I mean -- all right.· So, that's what this says.        24   ··    ·think --
 25   · · · · · You're going to conduct all legal business of the       25   ··    · · · MS. GORDON:· No, John read it.
                                                              Page 46                                                                  Page 48
 ·1   ··    ·City.                                                      ·1   · · · · · MR. THOMAS:· Okay.· He did.
 ·2   ··    · · · You're going to draft ordinances; correct?            ·2   · · · · · MS. GORDON:· John read what I had asked.
 ·3   A.·   ·I handle all legal matters for the City.· That's           ·3   · · · · · MR. THOMAS:· And are you satisfied that he's
 ·4   ··    ·correct.                                                   ·4   · · ·answered it now?
 ·5   Q.·   ·Okay.· I'm reading from --                                 ·5   · · · · · Because I thought that he tried to clarify it
 ·6   A.·   ·In part and parcel --                                      ·6   · · ·without getting into attorney/client privilege issues.
 ·7   Q.·   ·-- the charter.                                            ·7   · · · · · MS. GORDON:· I really don't understand what you're
 ·8   A.·   ·Part and parcel would be drafting ordinances.              ·8   · · ·saying, Phil, but I'll just keep going, and you'll let
 ·9   Q.·   ·Okay.· Well, do you know what?· That's not how the         ·9   · · ·me know if you have a concern --
 10   ··    ·charter sets it forth.· So, I'm just going to deal with    10   · · · · · MR. THOMAS:· Okay.· Okay.· That's fine.
 11   ··    ·the charter.                                               11   · · · · · MS. GORDON:· -- and we'll revisit it.· I'm not sure
 12   ··    · · · It says:                                              12   · · ·what your point is.
 13   ··    · · · · · ·"Corporation counsel shall draft all proposed    13   BY MS. GORDON:
 14   ··    · · · ordinances and approve them as to form."              14   Q.· ·So, you are allowed to act on behalf of the City but not
 15   ··    · · · Do you do that?                                       15   · · ·on behalf of individual council members; correct?
 16   ··    · · · Do you draft proposed ordinances?                     16   A.· ·No.
 17   A.·   ·Yes.                                                       17   Q.· ·Okay.· Well, where do you have authority to act on
 18   Q.·   ·(Reading.)                                                 18   · · ·behalf of individual council members?
 19   ··    · · · · · ·"Corporation counsel shall prepare all           19   A.· ·If --
 20   ··    · · · leases, deeds, contracts and other documents          20   Q.· ·Where does that exist?
 21   ··    · · · as may be required by the council or any              21   A.· ·If a council member comes to me for legal advice, I can
 22   ··    · · · department."                                          22   · · ·give them legal advice.
 23   ··    · · · Do you do that?                                       23   Q.· ·Give me an example.
 24   A.·   ·Yes.                                                       24   A.· ·Well, the ordinance or the policy or charter provision
 25   Q.·   ·(Reading.)                                                 25   · · ·that says a council person can file a complaint.· That's

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 ·1   ··    ·one example.                                               ·1   A.· ·Any time a council --
 ·2   Q.·   ·Okay.· Well, I'm not talking about what the charter says   ·2   · · · · · MR. GILLIAM:· Let me just object --
 ·3   ··    ·about a council member being able to file a complaint.     ·3   · · · · · THE REPORTER:· I'm sorry.
 ·4   A.·   ·Well, I --                                                 ·4   · · · · · MR. GILLIAM:· Objection on the form.· Seeks a legal
 ·5   Q.·   ·Hang on.                                                   ·5   · · ·conclusion.
 ·6   ··    · · · I'm trying to find out what gives you authority to    ·6   BY MS. GORDON:
 ·7   ··    ·advise individual council members where the activity you   ·7   Q.· ·Go ahead.
 ·8   ··    ·are undertaking is not being done on behalf of the City    ·8   · · · · · MR. THOMAS:· Could I ask what case you're referring
 ·9   ··    ·or the council as a whole.                                 ·9   · · ·to?· The legal opinion?
 10   A.·   ·When an individual comes to me for legal counsel, asks     10   · · · · · MS. GORDON:· Reed versus Baxter, Sixth Circuit.
 11   ··    ·for help, that gives me the authority.                     11   · · · · · MR. THOMAS:· Well, I'm going to raise an objection
 12   Q.·   ·So, you took it upon yourself to draft a Complaint         12   · · ·because I don't believe that that's what that case says.
 13   ··    ·against the police chief --                                13   · · ·I believe that the magistrate cited one sentence from
 14   A.·   ·No.                                                        14   · · ·that opinion in the footnote.
 15   Q.·   ·I'm not done with my question.                             15   · · · · · MS. GORDON:· Okay.· That's fine.
 16   A.·   ·I just want to state right now.· Part of that question     16   · · · · · MR. THOMAS:· And she didn't cite the follow-up
 17   ··    ·is false.                                                  17   · · ·sentence.
 18   Q.·   ·Okay.· Well, you know, you've had --                       18   · · · · · MS. GORDON:· Okay.· I just want to know what
 19   A.·   ·I didn't take anything upon myself.                        19   · · ·authority Mr. Coogan believes he has to work with
 20   Q.·   ·Okay.· Well, we'll see what Ms. -- we'll see as the case   20   · · ·individual council members while being paid for that
 21   ··    ·goes along what you did and what you didn't do.            21   · · ·action by the City.
 22   ··    · · · You believe that you can act outside the scope of     22   BY MS. GORDON:
 23   ··    ·representing the City itself?                              23   Q.· ·I want to know where your authority comes from, in your
 24   A.·   ·I don't believe that.                                      24   · · ·mind.
 25   Q.·   ·You don't believe what?                                    25   A.· ·Any time someone comes to my office and asks for legal
                                                              Page 50                                                                  Page 52
 ·1   A.· ·Acting outside the scope is something that's                 ·1   ··    ·assistance, I have authority to act on their behalf.
 ·2   · · ·appropriate.                                                 ·2   Q.·   ·Give me an example.
 ·3   Q.· ·Okay.                                                        ·3   A.·   ·I just did.
 ·4   · · · · · THE REPORTER:· I'm sorry.· Something "is" or "is        ·4   Q.·   ·Somebody gets a traffic ticket, and you can help a
 ·5   · · ·not" appropriate?· Sorry.                                    ·5   ··    ·council member.· Council member gets a traffic ticket.
 ·6   A.· ·Acting outside the scope of the City was her -- she          ·6   ··    · · · They can get legal advice from you?
 ·7   · · ·asked me a question, if I believe it was appropriate to      ·7   A.·   ·It would depend upon which jurisdiction the ticket was
 ·8   · · ·act outside of the scope of the City, and I said I don't     ·8   ··    ·written in.
 ·9   · · ·believe that's appropriate.· I'm the attorney for the        ·9   Q.·   ·Well, what if it's written in the City of Melvindale?
 10   · · ·City.                                                        10   ··    ·You can help them with their legal problem?
 11   BY MS. GORDON:                                                    11   A.·   ·Absolutely not.
 12   Q.· ·Are you aware that the Sixth Circuit has found that it's     12   Q.·   ·Okay.· So --
 13   · · ·the full city council that's the client of the City's        13   A.·   ·That would be -- as you know, you're a learned counsel.
 14   · · ·attorney?                                                    14   ··    ·That would be a conflict of interest.· I can't represent
 15   A.· ·I'm aware of an opinion that you're referring to, I          15   ··    ·the City against a council person.
 16   · · ·believe.                                                     16   Q.·   ·Okay.· But -- so, you're telling me you would give
 17   Q.· ·And that communications between the City's attorney and      17   ··    ·Ms. Barnes advice about a ticket written in Romulus.
 18   · · ·individual council members are not privileged --             18   ··    ·You would assist her with her legal problem there. I
 19   A.· ·I don't --                                                   19   ··    ·guess that's what you're saying.
 20   Q.· ·-- because the councilmen are not clients.                   20   A.·   ·Well, it would depend upon whether or not they came to
 21   · · · · · MR. GILLIAM:· I'll just object --                       21   ··    ·my office and asked for assistance.
 22   A.· ·Any time --                                                  22   Q.·   ·Well --
 23   BY MS. GORDON:                                                    23   A.·   ·If they came to my office and asked for assistance,
 24   Q.· ·Are you aware of that or not?                                24   ··    ·anybody, in another jurisdiction, I'm certainly free to
 25   · · · · · I'll just ask you that.                                 25   ··    ·take that case if I choose to take it.

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 ·1   Q.· ·Not to take it, but to give her legal advice in your         ·1   · · ·MR. THOMAS:· I requested it of Melinda, from
 ·2   · · ·role as counsel for the City of Melvindale.                  ·2   Mr. Meihn's office, and I haven't gotten it yet, but for
 ·3   A.· ·Well, that's not a council issue.· That's a separate         ·3   right now --
 ·4   · · ·issue.                                                       ·4   · · ·MS. GORDON:· Well, it was -- she ordered it
 ·5   Q.· ·Okay.· I'm going to take an answer to my question.           ·5   expedited.
 ·6   · · · · · Would you give Ms. Barnes legal advice, in my           ·6   · · ·MR. THOMAS:· Well, I didn't get a copy of it.
 ·7   · · ·hypothetical, if she came to the City -- your offices at     ·7   · · ·MS. GORDON:· Okay.· So, I don't know how you can
 ·8   · · ·the City and said, "I need some assistance on figuring       ·8   come here today and start asserting attorney/client
 ·9   · · ·out what to do with this traffic ticket.· I want your        ·9   privilege without having seen what the so-called client
 10   · · ·advice"?                                                     10   testified to already.
 11   A.· ·If she came to my office to retain me to represent her       11   · · ·MR. THOMAS:· Ms. Gordon --
 12   · · ·in another jurisdiction, and I decided to take the case,     12   · · ·MS. GORDON:· Yeah.
 13   · · ·yes, I would.                                                13   · · ·MR. THOMAS:· -- the attorney/client privilege is
 14   Q.· ·Okay.· But you wouldn't do it in your role as counsel        14   the City's.· He asserted the privilege, and what I'm
 15   · · ·for the City of Melvindale?                                  15   telling my client is that, since they have asserted the
 16   A.· ·No.                                                          16   privilege, he can't get into the contents of it.
 17   Q.· ·But you were helping her with her Complaint against          17   · · ·MS. GORDON:· Okay.· This is --
 18   · · ·Chief Hayse in your role as counsel for the City of          18   · · ·MR. THOMAS:· He's -- his office has been in the
 19   · · ·Melvindale is what you're arguing here?                      19   case for a long time.· I haven't.
 20   A.· ·She came to me for --                                        20   · · ·MS. GORDON:· Okay.· Phil -- okay.· Maybe we'll get
 21   · · · · · MR. GILLIAM:· Same objection.                           21   the magistrate on the phone today, but you obviously are
 22   BY MS. GORDON:                                                    22   being obstructive.· You don't seem to follow what your
 23   Q.· ·It's just a "yes" or "no."                                   23   client is saying.
 24   A.· ·She -- no, it's not --                                       24   · · ·What he's saying is that when he worked with
 25   Q.· ·It's just a "yes" or "no."                                   25   Ms. Barnes, he was working with her.
                                                              Page 54                                                                Page 56
 ·1   A.·   ·No.                                                        ·1   · · ·There was no activity by the City.· The City was
 ·2   ··    · · · She came to me for help with a legal issue pursuant   ·2   not a party to her amended complaint and complaint that
 ·3   ··    ·to the charter --                                          ·3   she worked with Mr. Coogan on.· They had nothing to do
 ·4   Q.·   ·What was --                                                ·4   with it.
 ·5   A.·   ·-- as a council person.                                    ·5   · · ·I guess you're not aware of that.
 ·6   Q.·   ·What was the legal issue?                                  ·6   · · ·MR. THOMAS:· Well, I'll tell you, I've had a
 ·7   ··    · · · MR. THOMAS:· I'm going to raise an objection.· At     ·7   conversation with counsel for the City, with his office,
 ·8   ··    ·this juncture, I have to assert the attorney/client        ·8   and it's their opinion that their reading of the Reed
 ·9   ··    ·privilege because he's -- he's asserting the privilege     ·9   case and the City of Memphis case do not say that a
 10   ··    ·and, if he's not waiving it, I'm going to say that         10   municipal attorney when they're giving advice sought by
 11   ··    ·anything that was discussed between him and the            11   a city council member that that conversation is not
 12   ··    ·councilwoman is privileged, unless he's willing to waive   12   protected by the attorney/client privilege.
 13   ··    ·it.                                                        13   · · ·MS. GORDON:· So, you haven't read it yourself?
 14   ··    · · · MS. GORDON:· Well, you're going to have a real        14   · · ·MR. THOMAS:· The cases, yes, I have read the cases.
 15   ··    ·problem because the councilwoman has already testified     15   · · ·MR. GILLIAM:· Let me just --
 16   ··    ·and the Court has already opined.· I don't know if         16   · · ·MR. THOMAS:· Yes, I have read the cases.· You asked
 17   ··    ·you -- have you read Nicole Barnes' deposition, Phil?      17   me if I read a transcript from Nicole Barnes, and I said
 18   ··    · · · MR. THOMAS:· I have not.· I actually requested it,    18   the answer is no.
 19   ··    ·and I didn't get a copy of it.· I requested it last        19   · · ·MS. GORDON:· Hang on one second.
 20   ··    ·week.· I've been in this case since Tuesday of last        20   · · ·John, to keep track of my hours, we're going to
 21   ··    ·week.                                                      21   have to have all this argument and colloquy be timed, if
 22   ··    · · · MS. GORDON:· Okay.· Well, do you know what?           22   you can do that.
 23   ··    · · · MR. THOMAS:· So, I requested it, and I didn't get     23   · · ·THE REPORTER:· One second, please.
 24   ··    ·it, but, Counsel --                                        24   · · ·MR. GILLIAM:· Let me just clarify.
 25   ··    · · · MS. GORDON:· Who did you request it of?               25   · · ·THE REPORTER:· One second.

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04/30/2018                                                                                                                  Pages 57–60
                                                            Page 57                                                                  Page 59
 ·1   · · ·MS. GORDON:· Hang on.· Hang on.· Hang on.                  ·1   A.·   ·I sued a -- like an oil change place who did a tune-up
 ·2   · · ·Ready?                                                     ·2   ··    ·and dropped a screw down in my motor in my car when I
 ·3   · · ·MR. GILLIAM:· My objection is to Ms. Barnes' -- on         ·3   ··    ·was like 27 years old.
 ·4   behalf of Ms. Barnes.· It's her privilege.                      ·4   Q.·   ·What else?
 ·5   · · ·MS. GORDON:· She's waived it.                              ·5   A.·   ·They replaced the motor.
 ·6   · · ·MR. THOMAS:· She has not waived it.                        ·6   ··    · · · I can't recall anything else off the top of my
 ·7   · · ·MS. GORDON:· Have you read her dep?                        ·7   ··    ·head.· I may have been, but I don't recall anything.
 ·8   · · ·MR. GILLIAM:· I've had conversations, and I know           ·8   Q.·   ·Have you been divorced?
 ·9   she's not waived the privilege.                                 ·9   A.·   ·Oh, yeah.
 10   · · ·MS. GORDON:· Okay.· She's told -- okay.· I'm not           10   Q.·   ·How many times?
 11   going to argue with you guys.· I'm not going to waste my        11   A.·   ·Once.
 12   time.· You run the risk of being found in contempt or           12   Q.·   ·Were you a party in litigation there?
 13   whatever else.                                                  13   A.·   ·I certainly was.
 14   · · ·Just for the record, counsel for the City doesn't          14   Q.·   ·Okay.· What else?
 15   even know what Nicole Barnes has said here under oath.          15   A.·   ·When I was 18, I got a careless driving ticket.
 16   · · ·MR. GILLIAM:· I object to that.                            16   ··    · · · That's it.
 17   · · ·MS. GORDON:· And -- hang on.                               17   Q.·   ·Have you been sued by anybody?
 18   · · ·MR. GILLIAM:· No.· I --                                    18   A.·   ·I was.
 19   · · ·MS. GORDON:· You object to what?· You haven't read         19   Q.·   ·Okay.· What is --
 20   her dep.                                                        20   A.·   ·Yeah.· Now that you mention, yeah.· It was dismissed.
 21   · · ·MR. GILLIAM:· You don't know what I know or what I         21   Q.·   ·Now that I mention it?
 22   don't know.                                                     22   A.·   ·Yeah.· I just recalled it.
 23   · · ·MS. GORDON:· Did you read her dep?· It's very              23   ··    · · · Yeah, it was dismissed.
 24   simple.· Either --                                              24   Q.·   ·You just recalled it?· What is it you're just recalling?
 25   · · ·MR. GILLIAM:· I'm not answering questions.                 25   A.·   ·A gentleman sued me, I think, two years ago.
                                                            Page 58                                                                  Page 60
 ·1   · · · · · MS. GORDON:· You said no, you didn't.                 ·1   Q.·   ·And you just happened to forget that?· You went all the
 ·2   · · · · · MR. GILLIAM:· No, I didn't.· I did not say that.      ·2   ··    ·way back --
 ·3   · · · · · MS. GORDON:· Well, then, if you read it, you know     ·3   A.·   ·The case was dismissed.· So, yeah.
 ·4   · · ·she's waived the privilege, but you're not willing to      ·4   Q.·   ·Does that mean you weren't --
 ·5   · · ·weigh in on --                                             ·5   A.·   ·But, no, it's -- yeah, I remember it now.
 ·6   · · · · · MR. GILLIAM:· She's not waiving the privilege, and    ·6   Q.·   ·Does that mean you weren't sued?
 ·7   · · ·that's our position.                                       ·7   A.·   ·When I recalled it, I told you.· I'm trying to refresh
 ·8   · · · · · MS. GORDON:· I know, because you don't --             ·8   ··    ·my memory.
 ·9   · · · · · MR. GILLIAM:· And I'm asserting the privilege on      ·9   Q.·   ·Oh.
 10   · · ·her behalf.                                                10   A.·   ·I wasn't prepared to talk about --
 11   · · · · · MS. GORDON:· Well, that's fine.                       11   Q.·   ·You weren't prepared to talk about two years ago, but
 12   · · · · · MR. GILLIAM:· And I'll continue to assert the         12   ··    ·you did go back to age 18.
 13   · · ·privilege.                                                 13   A.·   ·Is there a question?
 14   · · · · · And at that juncture, if there's not a question on    14   Q.·   ·Yes.
 15   · · ·the table, can we take a short recess.                     15   A.·   ·Okay.· Go ahead.· What's your question?
 16   A.· ·Sounds good.                                               16   Q.·   ·The question is, what was the litigation?
 17   · · · · · MS. GORDON:· I guess.                                 17   A.·   ·He tried to sue me for --
 18   · · · · · · · (Short recess at 11:09 a.m.)                      18   Q.·   ·Well, did he try or did he sue?
 19   · · · · · · · · · · · ·*· ·*· ·*                                19   A.·   ·Well, it was dismissed because it wasn't filed timely.
 20   · · · · · · (Record resumed at 11:18 a.m.)                      20   Q.·   ·Okay.
 21   BY MS. GORDON:                                                  21   A.·   ·He tried to sue me, yes.
 22   Q.· ·Mr. Coogan, have you been involved in any litigation       22   Q.·   ·Did he file a lawsuit?
 23   · · ·that involves you as a party?                              23   A.·   ·Yes, he did file a lawsuit, and it was dismissed.
 24   A.· ·Yes, as a matter of fact.                                  24   Q.·   ·And what was it about?
 25   Q.· ·Okay.· What have you been involved in?                     25   A.·   ·I represented him in a divorce case.

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                                                              Page 61                                                                  Page 63
 ·1   Q.·   ·That doesn't tell me why he sued you.                      ·1   Q.·   ·Do you have a responsibility for litigation holds within
 ·2   A.·   ·And --                                                     ·2   ··    ·the City of Melvindale when litigation is filed?
 ·3   Q.·   ·I'm sorry.                                                 ·3   A.·   ·My responsibility is all legal issues in the City of
 ·4   ··    · · · What was the nature of the claim?                     ·4   ··    ·Melvindale.
 ·5   ··    · · · I don't know what the nature of the claim was.        ·5   Q.·   ·Can you answer my question now?
 ·6   ··    · · · Are you saying it was malpractice?                    ·6   A.·   ·I think I just did.
 ·7   A.·   ·Yeah.· He attempted to file a malpractice claim.           ·7   Q.·   ·No, you didn't.
 ·8   Q.·   ·Well, did he file -- I mean, you keep saying --            ·8   ··    · · · I'll just take a "yes" or "no" to litigation holds.
 ·9   A.·   ·He filed it, yes, and it was dismissed because it wasn't   ·9   A.·   ·We haven't had any.
 10   ··    ·filed and served, and we contested service we --           10   Q.·   ·You've never issued a litigation hold?
 11   Q.·   ·Who represented you?                                       11   A.·   ·No.
 12   A.·   ·Roger did, in my office.                                   12   Q.·   ·Okay.· You didn't issue one in this case?
 13   Q.·   ·Roger who?                                                 13   A.·   ·We've never --
 14   A.·   ·Roger Kaly.                                                14   Q.·   ·Hayse versus Melvindale?
 15   Q.·   ·Is he an employee of yours?                                15   A.·   ·We've never issued any litigation holds.
 16   A.·   ·He works in my office.· He's his own attorney.· I'm my     16   Q.·   ·Why not?
 17   ··    ·own attorney.· We share office space.                      17   A.·   ·We've never done it.
 18   Q.·   ·So, he's -- you just share space?                          18   Q.·   ·Well, do you know you have a responsibility to ensure
 19   A.·   ·Yeah, uh-huh.                                              19   ··    ·that litigation materials are placed on hold?
 20   Q.·   ·Okay.· Do you have any employees?                          20   ··    · · · Are you aware of that?
 21   A.·   ·Yes, I do.                                                 21   A.·   ·If there's litigation, yes.
 22   Q.·   ·Who are your employees?                                    22   Q.·   ·Okay.· There was litigation in the Chad Hayse case,
 23   ··    · · · Excuse me.· Let me just get off this litigation.      23   ··    ·wasn't there?
 24   ··    · · · Is there anything else that you have not yet          24   A.·   ·There is now, yeah.
 25   ··    ·mentioned where you have been a party to a lawsuit?        25   Q.·   ·Well, there has been since the day it was filed.
                                                              Page 62                                                                  Page 64
 ·1   A.·   ·Not that I can recall at this time.                        ·1   ··    · · · You've never --
 ·2   Q.·   ·Have you ever had any grievances filed against you?        ·2   A.·   ·That would be correct.
 ·3   A.·   ·I have.                                                    ·3   Q.·   ·You've never issued a litigation hold?
 ·4   Q.·   ·How many?                                                  ·4   A.·   ·No.
 ·5   A.·   ·Oh, I don't know.· There's been several.                   ·5   Q.·   ·You've done -- taken no steps to ensure that evidence to
 ·6   Q.·   ·Okay.· Well, give me a rough idea.                         ·6   ··    ·be utilized in this case would be maintained?
 ·7   A.·   ·Four, maybe five in 30 years.                              ·7   A.·   ·Well, I certainly indicated that we needed to keep a
 ·8   Q.·   ·Okay.· And were you disciplined for any of them?           ·8   ··    ·copy of all the stuff.· We have a copy of the hearing.
 ·9   A.·   ·No.                                                        ·9   ··    ·We had tapes of the hearing.· So, all that stuff was
 10   Q.·   ·It sounds like you're not sure.                            10   ··    ·reserved.· And what was introduced at the hearing was
 11   A.·   ·No, I -- I wasn't disciplined for anything.                11   ··    ·preserved, yes.
 12   Q.·   ·Did you have --                                            12   Q.·   ·Okay.· But with regard to all evidence regarding Chad
 13   A.·   ·You're talking about being suspended from the Bar          13   ··    ·Hayse that would have been subsumed by our lengthy
 14   ··    ·discipline -- type discipline or --                        14   ··    ·Complaint, you didn't ask that anybody hold onto
 15   Q.·   ·No, I'm not --                                             15   ··    ·anything?
 16   A.·   ·No, I don't recall.                                        16   A.·   ·We already saved everything as it relates to Mr. Hayse.
 17   Q.·   ·Hang on.                                                   17   ··    ·The Complaint, the transcript of the hearing and all the
 18   ··    · · · I'm not talking about being suspended.· I'm talking   18   ··    ·evidence that was introduced as -- that was at the
 19   ··    ·about any finding on behalf of the Attorney Grievance      19   ··    ·clerk's office.
 20   ··    ·Commission, any direction to you to do anything, take      20   Q.·   ·Well, that's your -- those may be the materials that
 21   ··    ·any steps, any finding of wrongdoing.                      21   ··    ·you're using for your defense -- I really don't know --
 22   A.·   ·One was a -- directed me to restructure my fee             22   ··    ·but that has nothing to do with what my Complaint would
 23   ··    ·agreement.                                                 23   ··    ·involve.
 24   Q.·   ·Okay.· Anything else?                                      24   ··    · · · So, I guess you've told me what you asked people
 25   A.·   ·Not that I can recall at this time.                        25   ··    ·hang onto.

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                                                              Page 65                                                                Page 67
 ·1   ··    · · · What about your e-mails with Chad Hayse?· Where are   ·1   · · ·comment.· So -- content.· So, even though he's saying
 ·2   ··    ·those?                                                     ·2   · · ·that they're asserting the privilege with Nicole, I'm
 ·3   A.·   ·They have been produced.                                   ·3   · · ·telling you, I think you could answer that question
 ·4   Q.·   ·No, they haven't.                                          ·4   · · ·without getting into content.· She asked a very specific
 ·5   ··    · · · You've produced a handful.· That's all.               ·5   · · ·question.
 ·6   ··    · · · Have you --                                           ·6   A.· ·I believe they have been.
 ·7   A.·   ·Every e-mail that I have has been produced.                ·7   BY MS. GORDON:
 ·8   Q.·   ·No, it hasn't.                                             ·8   Q.· ·They've been what?
 ·9   ··    · · · Have you personally looked for e-mail?                ·9   A.· ·Produced.
 10   A.·   ·My office staff and I both.                                10   Q.· ·Your e-mails with Nicole Barnes?
 11   Q.·   ·Okay.· Well, tell me what you've done in that regard,      11   A.· ·I don't have any e-mails.
 12   ··    ·you and/or your office staff.                              12   Q.· ·Texts?
 13   A.·   ·Looked for any and all e-mails that would have came from   13   A.· ·There may be some texts.· I --
 14   ··    ·Chad Hayse.                                                14   Q.· ·Have you produced those?
 15   Q.·   ·Okay.· And what did you do to find those?                  15   A.· ·I believe so, yeah.
 16   A.·   ·I searched my e-mail.                                      16   Q.· ·You have no e-mails with Nicole Barnes?
 17   Q.·   ·How did you look for them?                                 17   A.· ·No, I don't believe so.
 18   A.·   ·I looked for them on my e-mail history.                    18   Q.· ·You didn't e-mail her back and forth with regard to
 19   Q.·   ·Well, what did you do?· You did a search?                  19   · · ·these drafts --
 20   A.·   ·Correct.                                                   20   · · · · · MR. GILLIAM:· Same objection.
 21   Q.·   ·You're going to have to explain to me what you did, sir,   21   BY MS. GORDON:
 22   ··    ·because there's a lot of different ways to --              22   Q.· ·-- of these complaints you filed?
 23   A.·   ·Okay.· We --                                               23   · · · · · MR. GILLIAM:· Same objection as --
 24   Q.·   ·Hang on.· I'm still talking.                               24   BY MS. GORDON:
 25   ··    · · · There's a lot of different ways to search out of      25   Q.· ·Were they all exchanged --
                                                              Page 66                                                                Page 68
 ·1   · · ·e-mail, and I would like to know what you did to search      ·1   · · · · · THE REPORTER:· I'm sorry.· "Same objection --"
 ·2   · · ·for e-mail with regard to this case.                         ·2   BY MS. GORDON:
 ·3   A.· ·Any and all e-mails that came from Chad Hayse to me were     ·3   Q.· ·-- physically?
 ·4   · · ·searched and produced.· That's what I did.                   ·4   · · · · · MR. THOMAS:· Excuse me.· He's raised an objection,
 ·5   Q.· ·Okay.· And how many e-mails were those, roughly?             ·5   · · ·and I'm going to tell you that you can answer that "yes"
 ·6   A.· ·I don't recall.                                              ·6   · · ·or "no" without getting into content.· You either saved
 ·7   Q.· ·And have you deleted any e-mails between you and Chad        ·7   · · ·them or have them or you don't.
 ·8   · · ·Hayse?                                                       ·8   A.· ·I don't believe there are any e-mails.· I don't recall
 ·9   A.· ·No.                                                          ·9   · · ·any e-mails with Nicole Barnes, no.
 10   Q.· ·So, all of your e-mail between you and Chad Hayse,           10   BY MS. GORDON:
 11   · · ·dating back to 2015, would be on your computer; is that      11   Q.· ·Okay.· So, then I'll go on to -- my next question is
 12   · · ·correct?                                                     12   · · ·with regard to this drafting process of drafting back
 13   A.· ·They've been produced.                                       13   · · ·and forth, the two of you, did you exchange them
 14   Q.· ·They would still be on your computer; is that correct?       14   · · ·physically?
 15   A.· ·They should be in my history of my e-mail, yes.              15   · · · · · Because there were drafts that went back and forth.
 16   Q.· ·I don't know what you mean by "should be on my history."     16   · · · · · So, if you didn't e-mail them --
 17   A.· ·Well, it's e-mail history, so it should be available.        17   A.· ·Yeah.
 18   Q.· ·Okay.· And what about your communications with Nicole        18   Q.· ·-- were you meeting together?
 19   · · ·Barnes?· Have you produced that?                             19   A.· ·Correct.· We were meeting together.
 20   · · · · · MR. GILLIAM:· Same objection as it pertains to any      20   Q.· ·And how many times would you say you met with Ms. Barnes
 21   · · ·attorney/client privilege.                                   21   · · ·with regard to the complaints filed against Chad Hayse?
 22   BY MS. GORDON:                                                    22   A.· ·I don't recall the number of times, but there were
 23   Q.· ·Go ahead.                                                    23   · · ·several.
 24   · · · · · MR. THOMAS:· Excuse me.· I think you could answer       24   Q.· ·More than ten?
 25   · · ·that question "yes" or "no" without getting into any         25   A.· ·No.

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                                                              Page 69                                                                  Page 71
 ·1   Q.· ·Okay.                                                        ·1   ··    ·placing an expedited order.
 ·2   A.· ·A handful.                                                   ·2   Q.·   ·Have you ordered any other depositions?
 ·3   Q.· ·Okay.                                                        ·3   A.·   ·I believe Wheeler Marsee's, to the best of my
 ·4   A.· ·To the best of my recollection.                              ·4   ··    ·recollection.
 ·5   Q.· ·And where did you meet with her on this?                     ·5   Q.·   ·Okay.· And other than that, is Mr. Balian ordering the
 ·6   · · · · · Where did these meetings take place, or what -- if      ·6   ··    ·depositions?
 ·7   · · ·there's more than one location, what were the locations?     ·7   A.·   ·Yes.
 ·8   A.· ·Primarily at my office.                                      ·8   Q.·   ·Okay.· So, why did you --
 ·9   Q.· ·Your law firm office?                                        ·9   A.·   ·Or Greg.
 10   A.· ·Uh-huh.                                                      10   Q.·   ·-- order the Mike Welch dep then?
 11   · · · · · THE REPORTER:· I'm sorry.· Is that "yes"?               11   A.·   ·I wanted a copy of it.
 12   BY MS. GORDON:                                                    12   Q.·   ·How did you happen to decide you wanted a copy?· What
 13   Q.· ·That's a "yes"?                                              13   ··    ·caused you to form that opinion?
 14   A.· ·Yes, that's correct.                                         14   A.·   ·Discussions.
 15   Q.· ·By the way, do you have an office at the city building       15   Q.·   ·With?
 16   · · ·or not?                                                      16   A.·   ·Council.
 17   A.· ·No.                                                          17   Q.·   ·About what?
 18   Q.· ·Okay.· So, at your law office and where else?                18   ··    · · · MR. GILLIAM:· Work product.· Objection.
 19   A.· ·I made a trip to her employment.                             19   ··    · · · MS. GORDON:· Well, I don't -- what is privileged
 20   Q.· ·What is that?· Remind me.                                    20   ··    ·about -- the discussion about ordering a dep transcript?
 21   A.· ·Where she worked at.· I made a trip to her employer, and     21   ··    · · · MR. GILLIAM:· Anything in furtherance of defense of
 22   · · ·we met in the conference room there one time, I believe.     22   ··    ·this case is protected by our work product and as
 23   Q.· ·And the other times were in your office?                     23   ··    ·counsel --
 24   A.· ·To the best of my recollection.· That's the best of my       24   ··    · · · MS. GORDON:· Well, you can just say whether you're
 25   · · ·recollection.                                                25   ··    ·instructing him not to answer.
                                                              Page 70                                                                  Page 72
 ·1   Q.·   ·Would this be on your calendar, what your meeting dates    ·1   · · · · · MR. GILLIAM:· I raised my objection.
 ·2   ··    ·were with her?                                             ·2   · · · · · MS. GORDON:· Well, are you instructing him not to
 ·3   A.·   ·It might be; it might not be.                              ·3   · · ·answer or just raising an objection?
 ·4   Q.·   ·How did you set up the dates?· Was it by text or by        ·4   · · · · · MR. GILLIAM:· Yes.· I'm instructing him not to
 ·5   ··    ·e-mail?                                                    ·5   · · ·answer regarding any discussions in defense of this
 ·6   A.·   ·Usually she would call.                                    ·6   · · ·matter.
 ·7   Q.·   ·Did you keep track of your time that you spent with her?   ·7   BY MS. GORDON:
 ·8   A.·   ·No.                                                        ·8   Q.· ·Okay.· So, you got the transcript of Mike Welch?
 ·9   ··    · · · I should.                                             ·9   A.· ·Yes.
 10   Q.·   ·We asked earlier about -- or I asked earlier about         10   · · · · · And I think Wheeler Marsee's as well.
 11   ··    ·depositions -- transcripts that you had, and you said      11   Q.· ·And then you handed out the Mike Welch dep transcript to
 12   ··    ·you didn't have Ms. Barnes and you hadn't read             12   · · ·members of the city council; is that right?· You put
 13   ··    ·Ms. Barnes.                                                13   · · ·them in their mailboxes or handed them out?
 14   ··    · · · You said you did have Mike Welch?                     14   A.· ·No, I don't -- I don't believe I handed them out to the
 15   A.·   ·Yes, I do.                                                 15   · · ·city council.· No, that's not correct.
 16   Q.·   ·And how did you happen to get that?                        16   Q.· ·Did you put them in their mailboxes?
 17   A.·   ·I requested it.                                            17   A.· ·No, I did not.
 18   Q.·   ·Because I don't think you were at the dep.                 18   Q.· ·Okay.· And who did you hand them out -- who did you make
 19   A.·   ·I requested it.                                            19   · · ·copies and hand it out to?
 20   Q.·   ·And who did you request it from?                           20   A.· ·The Safety Commission.
 21   A.·   ·I think John, the court reporter.                          21   Q.· ·Okay.· And why did you do that?
 22   Q.·   ·Okay.· Did you request it yourself?                        22   A.· ·Because they wanted a copy.
 23   A.·   ·Yes.                                                       23   Q.· ·Why?
 24   Q.·   ·You placed an expedited order?                             24   A.· ·And I gave it to them.
 25   A.·   ·No.· I don't think I requested a -- I don't recall         25   Q.· ·Did you talk to them about what was in it?

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 ·1   · · · · · Were you the one that -- obviously -- strike that.    ·1   · · ·not?
 ·2   · · · · · Let me start again.                                   ·2   Q.· ·Stop interrupting me.
 ·3   · · · · · Obviously, the Public Safety Commission is not a      ·3   A.· ·Do you want me to answer the question --
 ·4   · · ·party to this case.· The Public Safety Commission is not   ·4   Q.· ·I'm not --
 ·5   · · ·sitting in on the deps.                                    ·5   A.· ·-- or not.
 ·6   · · · · · Why did the City Public Safety Commission ask for     ·6   Q.· ·I'm not here to answer questions from you, sir.
 ·7   · · ·this?                                                      ·7   A.· ·Okay.· Well, I'm here to answer questions for you.
 ·8   · · · · · MR. GILLIAM:· Objection.· Attorney/client             ·8   · · · · · MR. THOMAS:· Hold on.· Let's hear what the question
 ·9   · · ·privilege.· He's represented he represents the Public      ·9   · · ·is.
 10   · · ·Safety Commission.· That's a client of the City.· That's   10   A.· ·I'm trying to.
 11   · · ·the City, and this is representations.                     11   BY MS. GORDON:
 12   BY MS. GORDON:                                                  12   Q.· ·I don't need you to boil anything down.· I just want you
 13   Q.· ·Well, were you giving legal advice about this case to      13   · · ·to answer my questions.
 14   · · ·the Public Safety Commission, or was this for some other   14   · · · · · I appreciate you're trying to boil it down, but I
 15   · · ·purpose?                                                   15   · · ·had a question.
 16   · · · · · MR. GILLIAM:· Same objection.                         16   · · · · · MS. GORDON:· Would you read it back, John?
 17   · · · · · MR. THOMAS:· If they're not waiving the -- if         17   · · · · · THE REPORTER:· Yes, One second, please.
 18   · · ·they're not waiving the privilege, I have to instruct my   18   · · · · · · ·(Record repeated by the reporter.)
 19   · · ·client not to answer.                                      19   BY MS. GORDON:
 20   BY MS. GORDON:                                                  20   Q.· ·What did you say to the Public Safety Commission?
 21   Q.· ·Okay.· Well, you spoke on the record about this, didn't    21   · · · · · MR. THOMAS:· Excuse me.· I want to raise an
 22   · · ·you, at a public meeting?                                  22   · · ·objection.
 23   A.· ·There was -- may have been some discussion.                23   · · · · · It's not clear to me whether this occurred at a
 24   Q.· ·Yeah.                                                      24   · · ·public meeting or confidentially.
 25   · · · · · So, what did you say?· What did you tell the --       25   · · · · · And if it occurred confidentially, his objection
                                                            Page 74                                                                Page 76
 ·1   A.· ·I don't recall exactly what was said.                      ·1   · · ·stands.· If this was at a public meeting, I'm not
 ·2   Q.· ·Well, give me the gist of it.                              ·2   · · ·objecting, Ms. Gordon.
 ·3   · · · · · Because you're the one that raised the issue with     ·3   · · · · · MS. GORDON:· Okay.· Good.· That's good.
 ·4   · · ·the Public Safety Commission, obviously, with regard to    ·4   BY MS. GORDON:
 ·5   · · ·something that Officer Welch said -- Lieutenant Welch.     ·5   Q.· ·What did you say?
 ·6   · · ·You're, then, the one that took it upon yourself to take   ·6   A.· ·I don't recall verbatim what statement was made.
 ·7   · · ·copies to the Public Safety Commission.                    ·7   Q.· ·What was the gist of it?
 ·8   · · · · · And you're the one that then talked about it at a     ·8   A.· ·The truth and veracity of a Melvindale police officer
 ·9   · · ·public meeting.                                            ·9   · · ·may be called into question again --
 10   · · · · · So, what was your point?                              10   Q.· ·Okay.
 11   · · · · · MR. GILLIAM:· Object to form.· Compound.              11   A.· ·-- upon reviewing his statements.
 12   BY MS. GORDON:                                                  12   Q.· ·Okay.· Did you read his statements at the dep?
 13   Q.· ·Go ahead.                                                  13   A.· ·Yes.· In fact, I have.
 14   A.· ·I put them on notice that the truth and veracity of a      14   Q.· ·Okay.· So, what were the statements of truth and
 15   · · ·current police officer may have been called into           15   · · ·veracity that you read that you discussed with the
 16   · · ·question again.                                            16   · · ·Public Safety Commission --
 17   Q.· ·Okay.· What called it into question again?                 17   A.· ·Wonderful.
 18   · · · · · What did you say?                                     18   · · · · · I --
 19   A.· ·Well, I think I can boil this down pretty succinctly for   19   Q.· ·-- that called into question the truth and veracity?
 20   · · ·you, and in trying to --                                   20   · · ·What topics?
 21   Q.· ·Excuse me.· Excuse me, Mr. Coogan.· I don't need you to    21   A.· ·I told them to read the transcript and decide what it is
 22   · · ·boil down anything.· You're here to answer --              22   · · ·they'd like to do.
 23   A.· ·Do you want me to answer the question or not?              23   · · · · · But you want to know my opinion of what was in the
 24   Q.· ·Excuse me.· You're --                                      24   · · ·transcript that I felt that dealt with truth and
 25   A.· ·I'm asking you, do you want me to answer the question or   25   · · ·veracity?

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 ·1   Q.·   ·Sure.                                                      ·1   Q.· ·(Reading.)
 ·2   A.·   ·Is that what you'd like to know?                           ·2   · · · · · · · ·"I provided the transcript to this body."
 ·3   Q.·   ·Sure.                                                      ·3   · · · · · Okay?
 ·4   A.·   ·Sure.                                                      ·4   · · · · · So, I want to know what hearings you're aware of
 ·5   ··    · · · I'd be more than willing to answer that question.     ·5   · · ·that Lieutenant Welch has ever testified at.
 ·6   ··    · · · Well, Mr. Welch's testimony is he had no idea why     ·6   · · · · · So, let's start with the very first hearing.
 ·7   ··    ·he was being brought up for discipline.                    ·7   A.· ·The hearing in front of the mayor and council as relates
 ·8   ··    · · · Mr. Walch(ph), in fact, received a written            ·8   · · ·to Mr. Hayse's discipline.
 ·9   ··    ·complaint --                                               ·9   Q.· ·Okay.
 10   Q.·   ·You're saying "Walch(ph)."                                 10   A.· ·And that --
 11   ··    · · · Is it Welch?                                          11   Q.· ·Hang on a second.
 12   A.·   ·It's Mr. Welch.                                            12   A.· ·You asked me a question.
 13   Q.·   ·Okay.· Go ahead.                                           13   · · · · · Do you want me to answer?
 14   A.·   ·He indicated in his deposition -- I believe that you       14   Q.· ·Okay.· You've got to calm down.
 15   ··    ·conducted the deposition -- that he had no idea as to      15   A.· ·I am calm.· I'm just trying to --
 16   ··    ·why he was being charged, had no idea when, in fact, he    16   · · · · · MR. GILLIAM:· Wait.· Wait.· Wait.
 17   ··    ·received a written complaint informing him exactly what    17   BY MS. GORDON:
 18   ··    ·the reasons were and what he was being charged with.       18   Q.· ·I'm trying to follow --
 19   ··    · · · The balance of the content of the conversation is     19   A.· ·I'm trying to give you the dates and times.
 20   ··    ·statements he made during a disciplinary hearing that      20   · · · · · It was like August of 2016, 29th and 30th or 28th
 21   ··    ·was a closed session, and I'm not at liberty to discuss    21   · · ·and 29th of August.
 22   ··    ·that.                                                      22   Q.· ·Okay.· So, what did Welch say at the hearing that you
 23   Q.·   ·Okay.· So, you've now said his veracity was called into    23   · · ·felt was -- what are you referring to?· What happened at
 24   ··    ·question "again."                                          24   · · ·that hearing that's of relevance?
 25   ··    · · · What's the first time his veracity was in question?   25   A.· ·Mr. Welch testified at that hearing that he never heard
                                                              Page 78                                                                  Page 80
 ·1   A.· ·Well, when he lied to the mayor and council regarding        ·1   ··    ·Chad Hayse call the mayor any of those names I just
 ·2   · · ·the statements Chad Hayse made about the mayor being a       ·2   ··    ·referred to earlier.
 ·3   · · ·"bitch," "slut," "whore," and "cunt," and                    ·3   ··    · · · I hope I don't have to repeat it again.
 ·4   · · ·subsequently --                                              ·4   Q.·   ·Okay.· And at the time he said that, had he said
 ·5   Q.· ·He what?                                                     ·5   ··    ·something differently previously?
 ·6   A.· ·He's told three different versions now.                      ·6   A.·   ·Subsequently.
 ·7   Q.· ·Okay.· Subsequently he what?                                 ·7   Q.·   ·Okay.· So, at the time of the hearing, was he under
 ·8   A.· ·Recanted.                                                    ·8   ··    ·oath?
 ·9   · · · · · · (Discussion held off the record.)                     ·9   A.·   ·Yes.
 10   BY MS. GORDON:                                                    10   ··    · · · To the best of my knowledge, information and
 11   Q.· ·Okay.· Is -- what -- so, let's just roll back here and       11   ··    ·belief, they all were put under oath.
 12   · · ·figure out what it is you're saying.                         12   ··    · · · I don't -- I'd have to read the transcript.
 13   · · · · · You told the Public Safety Commission that you were     13   Q.·   ·Okay.
 14   · · ·privy to a deposition statement made by a police             14   A.·   ·I'd really have to read the transcript.· That's --
 15   · · ·officer, and it seemed to be inconsistent with his           15   Q.·   ·Okay.· And who testified that the chief had said those
 16   · · ·testimony at a prior hearing.                                16   ··    ·things?
 17   A.· ·Hearings.· Should have been plural.· Hearings.· There        17   A.·   ·At least three other officers.
 18   · · ·had been a hearing in front of the mayor and council --      18   Q.·   ·Okay.· And who testified the chief hadn't said those
 19   Q.· ·I'm not done yet.· I'm not done yet.                         19   ··    ·things?
 20   A.· ·-- and there had been a hearing in front of the Safety       20   A.·   ·Mr. Welch.
 21   · · ·Commission --                                                21   Q.·   ·He's the only one, you think?
 22   · · · · · THE REPORTER:· Excuse me --                             22   A.·   ·I'd have to review the transcript.
 23   BY MS. GORDON:                                                    23   Q.·   ·Okay.· So, did the other officers give dates that these
 24   Q.· ·I'm still talking, Mr. Coogan.                               24   ··    ·things were said?
 25   A.· ·I see that.                                                  25   A.·   ·I'd have to refer to the transcript.· I don't recall if

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 ·1   ··    ·they gave dates or not.                                    ·1   A.·   ·With the Public Safety Commission, he admitted.
 ·2   Q.·   ·They didn't.· I mean, that's -- I've looked at the         ·2   Q.·   ·Okay.· Was the Public Safety Commission on the record?
 ·3   ··    ·transcript.                                                ·3   A.·   ·It was a closed session.
 ·4   ··    · · · Do you have any recollection to the contrary?         ·4   Q.·   ·Okay.
 ·5   A.·   ·I'd have to look at the transcript.· I don't recall.       ·5   A.·   ·And it's required to be kept for one year --
 ·6   Q.·   ·Okay.                                                      ·6   Q.·   ·Okay.· Wasn't it taped?
 ·7   A.·   ·There was two days of testimony, so it's kind of hard      ·7   A.·   ·-- and it wasn't -- I don't recall if the closed session
 ·8   ··    ·to --                                                      ·8   ··    ·was taped or not, but it would only be required to be
 ·9   Q.·   ·Okay.· So, Welch made that comment under oath at the       ·9   ··    ·kept for one year, and it's well past that
 10   ··    ·hearing, and then you were upset about it; correct?        10   ··    ·unfortunately.
 11   A.·   ·No.                                                        11   ··    · · · But I'm quite certain that --
 12   Q.·   ·Well, he was subsequently called in for discipline and     12   Q.·   ·You're quite certain --
 13   ··    ·that was --                                                13   A.·   ·-- all members of the Public Safety Commission will
 14   A.·   ·By the Safety Commission.                                  14   ··    ·remember exactly what Mr. Welch said at the closed
 15   Q.·   ·Well, sir, that involved you.· You were involved in        15   ··    ·session.
 16   ··    ·bringing him in --                                         16   Q.·   ·Okay.· Well, what do you remember that he said?
 17   A.·   ·No.                                                        17   A.·   ·Are we here for Mr. Welch's case or Mr. Hayse's case?
 18   Q.·   ·-- and placing him --                                      18   Q.·   ·You're here to answer my questions.
 19   A.·   ·I'm an attorney for the Safety Commission.                 19   ··    · · · What did he say?
 20   Q.·   ·Okay.· You know, I got --                                  20   A.·   ·I just want to be clear.
 21   A.·   ·I didn't bring anybody in.· The Safety Commission does     21   Q.·   ·I'm not making anything clear to you.· You're here as a
 22   ··    ·their own.                                                 22   ··    ·witness.
 23   Q.·   ·Okay.· Well, did the safety -- who raised this with the    23   A.·   ·I don't recall the question.
 24   ··    ·Safety Commission?                                         24   ··    · · · What was the question?
 25   A.·   ·Jeff Bolton filed a complaint.                             25   Q.·   ·What did he say at the closed session that you are now
                                                              Page 82                                                                  Page 84
 ·1   Q.·   ·Okay.· And that was after he talked to you; correct?       ·1   · · ·sitting here today saying was false or that was a
 ·2   A.·   ·I don't know if that was before or after he talked to      ·2   · · ·recantment?
 ·3   ··    ·me.                                                        ·3   · · · · · I don't know what you're saying.
 ·4   Q.·   ·Okay.· Well, Jeff Bolton wasn't at the hearing in          ·4   A.· ·I could paraphrase, but I'm not certain if we're at
 ·5   ··    ·August, was he --                                          ·5   · · ·liberty to discuss what happened in a closed session
 ·6   A.·   ·Yes.                                                       ·6   · · ·involving that employee.· That employee specifically
 ·7   Q.·   ·-- where there was testimony --                            ·7   · · ·requested that the session be closed and, therefore, I
 ·8   A.·   ·Yes, he was.                                               ·8   · · ·don't feel comfortable absent --
 ·9   Q.·   ·He sat for the whole hearing?                              ·9   Q.· ·Well, he's waived it.
 10   ··    · · · No, he did not.                                       10   A.· ·Well, I don't feel comfortable --
 11   ··    · · · Jeff Bolton sat in that hearing?                      11   Q.· ·Okay.
 12   A.·   ·I've already answered that question.                       12   A.· ·-- testifying to what happened in the closed session.
 13   ··    · · · Yes.                                                  13   Q.· ·Okay.· Well, you've got a problem with that because
 14   Q.·   ·Okay.· All right.· So, what was he charged with at the     14   · · ·you've now accused him to the Public Safety Commission
 15   ··    ·Public Safety Commission with regard to allegedly giving   15   · · ·publicly --
 16   ··    ·false testimony?                                           16   A.· ·I didn't accuse him.· I said, "Read the transcript" --
 17   A.·   ·There's a complaint that sets forth the reasons.           17   Q.· ·You know, you've got --
 18   ··    · · · Basically his lack of truth and candor.               18   A.· ·-- as you said.
 19   Q.·   ·And why did he have a lack of truth and candor?            19   Q.· ·You've got to wait and let me get the question out.
 20   A.·   ·Because he was impeached and subsequently admitted --      20   · · · · · MR. GILLIAM:· I'd like to just interject, and I
 21   Q.·   ·How was he impeached?                                      21   · · ·would ask you to extend the same courtesy and let him
 22   A.·   ·His own statements.                                        22   · · ·finish his answers, because you've been repeatedly
 23   Q.·   ·At the hearing, he was impeached?                          23   · · ·interjecting and cutting him off.· So, I'd just like
 24   A.·   ·His own statements.                                        24   · · ·to state that for the record.
 25   Q.·   ·At the hearing, was he impeached?                          25   BY MS. GORDON:

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 ·1   Q.·   ·I just read -- I just read into the record what you said   ·1   · · ·deposition as well as a transcript of the hearing to go
 ·2   ··    ·at the Public Safety Commission.· You said:                ·2   · · ·point by point down what he said that was different.
 ·3   ··    · · · · · ·"I was privy to a deposition statement           ·3   BY MS. GORDON:
 ·4   ··    · · · made by a police officer, and it seemed to be         ·4   Q.· ·Well, you're talking about what he said about the mayor,
 ·5   ··    · · · inconsistent with his testimony at a private(sic)     ·5   · · ·testifying to what he heard the chief say about the
 ·6   ··    · · · hearing."                                             ·6   · · ·mayor and others?· Is that what you're talking about?
 ·7   ··    · · · So, you are now referring to his testimony here in    ·7   A.· ·Part of it.
 ·8   ··    ·my office that occurred in March of 2018.                  ·8   Q.· ·What's the other part?
 ·9   ··    · · · That's the deposition you're referring to.· And       ·9   A.· ·His admissions.
 10   ··    ·you're saying:                                             10   Q.· ·Of what?
 11   ··    · · · · · ·"-- it seemed to be inconsistent with his        11   · · · · · Of what?
 12   ··    · · · testimony at a prior hearing."                        12   A.· ·Of lying.
 13   ··    · · · What prior hearing were you talking about?            13   Q.· ·Okay.· Look, let's try to stick together here.
 14   A.·   ·It should be "hearings," as in two.· There were two        14   · · · · · I'm just going off of your deposition testimony.
 15   ··    ·hearings.                                                  15   · · · · · Why don't you take a piece of paper, if you need
 16   Q.·   ·Okay.· Well --                                             16   · · ·to, and write down what I'm saying to you so we can stay
 17   A.·   ·One was with --                                            17   · · ·on the same page.
 18   Q.·   ·-- let's break it down.                                    18   · · · · · I'm talking about your testimony here today under
 19   A.·   ·Well, I'm breaking it down.                                19   · · ·oath that Welch said something different at hearings.
 20   ··    · · · One was with the mayor and council at Mr. Hayse's     20   · · · · · So, let's first count the number of "hearings."
 21   ··    ·removal hearing --                                         21   · · · · · MR. GILLIAM:· Let me just state for the record
 22   Q.·   ·Hang on.                                                   22   · · ·Ms. Gordon has torn off a piece of paper and pushed it
 23   A.·   ·-- when he testified one way.                              23   · · ·toward the deponent and also is using air quotes in a
 24   Q.·   ·All right.· And what did he testify that way?              24   · · ·demeaning manner toward the deponent.
 25   A.·   ·I believe that's been asked and answered, but I'll --      25   · · · · · MS. GORDON:· It's not air quotes.· We're having a
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 ·1   Q.· ·Okay.· No, you're right.· It has.                            ·1   · · ·hard time getting through this.
 ·2   A.· ·Yeah.· And I'm not trying to be difficult.                   ·2   BY MS. GORDON:
 ·3   Q.· ·But hang on.                                                 ·3   Q.· ·The first hearing that Mr. Welch -- Lieutenant Welch was
 ·4   · · · · · MR. GILLIAM:· Let him answer.· He needs to answer.      ·4   · · ·under oath was a open hearing for the Chad Hayse removal
 ·5   BY MS. GORDON:                                                    ·5   · · ·that apparently was August 29, 2016.
 ·6   Q.· ·Hang on.                                                     ·6   · · · · · Are we agreed?
 ·7   · · · · · What he said at the Chad Hayse hearing was the same     ·7   A.· ·That was the first hearing he was put under oath and
 ·8   · · ·thing he said here in this room under oath.· Both times      ·8   · · ·testified.
 ·9   · · ·they were under oath.                                        ·9   Q.· ·Okay.· Now, what's the second hearing that he was put
 10   · · · · · Do you think he said something different at the         10   · · ·under oath and testified that -- because you keep
 11   · · ·Chad Hayse hearing than he said at his deposition?           11   · · ·saying -- you keep correcting me --
 12   A.· ·Yes.                                                         12   A.· ·He came --
 13   Q.· ·Okay.· And what was different about it?                      13   Q.· ·-- and saying it's "hearings."
 14   A.· ·It was a closed session, and I'm not certain I can           14   · · · · · So, what's the second hearing?
 15   · · ·divulge the content of a closed session.                     15   A.· ·I'd like the record to reflect that the tone and
 16   Q.· ·I'm not asking you about the closed session.· I'm asking     16   · · ·demeanor in which counsel is addressing me is
 17   · · ·you about the Chad Hayse open session, which you're          17   · · ·inappropriate, and these quotation marks are irritating
 18   · · ·saying is the first hearing.· And you're saying that         18   · · ·and inappropriate as well.
 19   · · ·Welch said something different at that closed hearing --     19   Q.· ·Okay.
 20   · · ·I'm sorry -- open hearing -- than he then said in my         20   A.· ·I simply would like to have the person who is deposing
 21   · · ·office recently.                                             21   · · ·me to act in a professional manner just like I'm acting.
 22   · · · · · So, what are the differences between the two sworn      22   · · ·When she asks me a question, I will answer.
 23   · · ·statements?                                                  23   Q.· ·Okay.· Do you know what, Mr. Coogan?· This is being
 24   · · · · · · (Discussion held off the record.)                     24   · · ·recorded.
 25   A.· ·I would have to have both the transcript of the              25   A.· ·Thank you.

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 ·1   Q.· ·And John has the recording --                              ·1   BY MS. GORDON:
 ·2   A.· ·It's not my first deposition.                              ·2   Q.· ·Are you getting up, Mr. Coogan?
 ·3   Q.· ·Well -- so, my tone and demeanor --                        ·3   A.· ·If he's taking a break, I am.
 ·4   A.· ·Is not reflected in the transcript.                        ·4   Q.· ·Well, how late do you have to be here today?
 ·5   Q.· ·Okay.· My tone is on the recording, and with regard to     ·5   A.· ·As late as you'd like.
 ·6   · · ·air quotes, I'm quoting literally -- using it to quote     ·6   · · · · · MS. GORDON:· Okay.
 ·7   · · ·literally your statement to the Public Safety Commission   ·7   · · · · · MR. THOMAS:· Well --
 ·8   · · ·where you literally use the term "air quote, hearing,      ·8   A.· ·Whatever you'd like to do.
 ·9   · · ·close air quote."                                          ·9   · · · · · MR. THOMAS:· -- the court rules say a 7-hour day --
 10   · · · · · Okay.· It wasn't a casual expression.· You used the   10   · · · · · MS. GORDON:· Well, this is all carved out, Phil.
 11   · · ·word "hearing," and I'm going to continue to use air       11   · · · · · MR. THOMAS:· Excuse me --
 12   · · ·quotes because a hearing is far different to me, as a      12   · · · · · MS. GORDON:· Breaks are not part of the 7 hours.
 13   · · ·lawyer, than other circumstances.                          13   · · · · · MR. THOMAS:· Let's just catch a breath.· I don't
 14   · · · · · So, the first hearing --                              14   · · ·know whether -- if you need a break --
 15   · · · · · MR. THOMAS:· I think we should --                     15   · · · · · MR. GILLIAM:· Yeah.
 16   BY MS. GORDON:                                                  16   · · · · · MS. GORDON:· You're the only one that needs --
 17   Q.· ·-- hearing --                                              17   · · · · · MR. THOMAS:· Could we just sit here and wait for
 18   · · · · · MR. THOMAS:· Look, I just would like the tone to be   18   · · ·him --
 19   · · ·lowered a little bit.                                      19   · · · · · MS. GORDON:· Of course.
 20   · · · · · MS. GORDON:· Well, I don't care what you want.        20   · · · · · MR. THOMAS:· -- if nobody leaves the room other
 21   · · · · · MR. THOMAS:· This -- well --                          21   · · ·than him?
 22   · · · · · MS. GORDON:· I'm moving forward.· So, could you       22   · · · · · MS. GORDON:· Sure.· Fair enough, Phil.
 23   · · ·guys just, you know, deal with it like big people and      23   · · · · · Go to the washroom --
 24   · · ·let's move on?                                             24   · · · · · MR. GILLIAM:· I'd like to talk to Mr. Coogan, so --
 25   · · · · · MR. GILLIAM:· Let's take a break.                     25   · · · · · MS. GORDON:· Okay.· So, now there's a question
                                                            Page 90                                                                Page 92
 ·1   · · ·MR. THOMAS:· Well, you know, that's a --                   ·1   · · ·pending and you're talking to --
 ·2   · · ·MS. GORDON:· No, I'm not taking a break.                   ·2   · · · · · MR. GILLIAM:· There's not a question pending.
 ·3   · · ·MR. GILLIAM:· We're going to take a break.                 ·3   · · · · · MS. GORDON:· Is there a question pending, John?
 ·4   · · ·MS. GORDON:· We're not taking a break.                     ·4   · · · · · THE REPORTER:· I could read the record --
 ·5   · · ·MR. GILLIAM:· Yeah, I need a --                            ·5   · · · · · MR. GILLIAM:· I think there's a long diatribe.
 ·6   · · ·MS. GORDON:· You just got -- do you need like --           ·6   · · ·There's just --
 ·7   · · ·MR. GILLIAM:· Yeah.                                        ·7   · · · · · MS. GORDON:· No.· There's a question pending, and
 ·8   · · ·MS. GORDON:· -- a breath of fresh air to get               ·8   · · ·you're now --
 ·9   yourself under.                                                 ·9   · · · · · MR. GILLIAM:· What's the question pending?
 10   · · ·MR. GILLIAM:· I think we need to take -- I think           10   · · · · · MS. GORDON:· Okay.· Well, it was what do you -- I
 11   everybody needs to cool down.                                   11   · · ·want the second hearing.
 12   · · ·MS. GORDON:· I don't.· And I'm not -- you people --        12   · · · · · I know what the dep is.· I want the second hearing.
 13   no, we're not taking a break.                                   13   · · · · · MR. GILLIAM:· I'll wait to hear the question.
 14   · · ·Mr. Coogan, I don't know how late you plan to be           14   · · · · · THE REPORTER:· One second, please.
 15   here today but with counsel taking breaks and running           15   · · · · · · ·(Record repeated by the reporter.)
 16   out of the room, it's going to definitely prolong this          16   · · · · · MS. GORDON:· Thank you.
 17   deposition.                                                     17   · · · · · That was the last question.
 18   · · ·MR. GILLIAM:· Well, I --                                   18   · · · · · MR. GILLIAM:· All right.· We'll sit for the
 19   · · ·MS. GORDON:· This will be the second break in a            19   · · ·question.
 20   half hour you people have asked for, and you don't need         20   A.· ·This --
 21   a break.· You can deal with this, I promise.                    21   BY MS. GORDON:
 22   · · ·Would you read the last question back?                     22   Q.· ·What's the second hearing?
 23   · · ·MR. GILLIAM:· I think I'm going to take a break.           23   A.· ·Was the hearing in front of the Public Safety
 24   · · ·MS. GORDON:· Okay.· You take a break.· I'm moving          24   · · ·Commission.
 25   forward and I'm creating a record.                              25   Q.· ·Okay.· What date are we talking about, Larry?

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 ·1   · · · · · I don't know what you're referring to.· Explain it      ·1   · · · · · You've told me about the dep testimony in my
 ·2   · · ·to me.                                                       ·2   · · ·office.
 ·3   A.· ·His discipline hearing.· I don't know what the date is       ·3   · · · · · What's the prior testimony?
 ·4   · · ·either.· I don't have that in front of me.                   ·4   · · · · · MR. MEIHN:· And I'm just going to object to the
 ·5   Q.· ·Okay.                                                        ·5   · · ·extent that that testimony requires testimony in a
 ·6   · · · · · MR. GILLIAM:· All right.· Now, I'd like to take a       ·6   · · ·closed session meeting.
 ·7   · · ·break.· There's no question on the record.                   ·7   · · · · · Subject to that, please answer.
 ·8   A.· ·Okay.                                                        ·8   A.· ·Well, I'm concerned -- in response to your question, I
 ·9   · · · · · MS. GORDON:· Okay.· We're -- just so you-all know,      ·9   · · ·don't want to have an unfair labor practice filed
 10   · · ·we're carving this out of our 7 hours whenever we take a     10   · · ·against me.· If an employee requests to have a hearing
 11   · · ·break.                                                       11   · · ·done in closed session, I don't think I'm capable of
 12   · · · · · MR. GILLIAM:· That's fine.                              12   · · ·divulging the content of that closed --
 13   A.· ·Whatever you guys want to do, that's fine.· I'm yours        13   BY MS. GORDON:
 14   · · ·for the day.                                                 14   Q.· ·Well, I don't know what you're talking about.· If you're
 15   · · · · · MS. GORDON:· Fun.                                       15   · · ·talking about a closed session, let's -- tell me that
 16   · · · · · · · (Short recess at 11:48 a.m.)                        16   · · ·and --
 17   · · · · · · · · · · · ·*· ·*· ·*                                  17   A.· ·I just did.
 18   · · · · · · ·(Record resumed at 11:57 a.m.)                       18   Q.· ·-- then we'll take it from there.
 19   · · · · (Mr. Meihn is present after the break.)                   19   A.· ·Yeah.
 20   · · · · · MS. GORDON:· Okay.· Back on the record.                 20   Q.· ·No, you didn't.· You picked up on your counsel -- so,
 21   BY MS. GORDON:                                                    21   · · ·where was the other testimony?
 22   Q.· ·At the recent Public Safety Commission meeting that          22   A.· ·There was testimony given in a closed session.
 23   · · ·occurred on April 10th, you told the Public Safety           23   Q.· ·When?
 24   · · ·Commission, on the record in public, that you were privy     24   A.· ·Under Mr. Welch's disciplinary hearing.
 25   · · ·to a deposition statement by a police officer and it         25   Q.· ·Mr. Welch?
                                                              Page 94                                                                  Page 96
 ·1   ··    ·seemed to be inconsistent with his testimony at a prior    ·1   A.·   ·Yeah.
 ·2   ··    ·hearing.                                                   ·2   ··    · · · And there was testimony in front of the city
 ·3   ··    · · · What testimony were you referring to that was made    ·3   ··    ·council.
 ·4   ··    ·at this dep that was inconsistent with what had been       ·4   Q.·   ·Hang on.
 ·5   ··    ·said at a prior hearing?                                   ·5   ··    · · · Okay.· Was the testimony in front of the Public
 ·6   A.·   ·Other than what I just told you earlier?                   ·6   ··    ·Safety Commission under oath?
 ·7   Q.·   ·I don't know what you told me earlier.                     ·7   A.·   ·To the best of my information, knowledge and belief,
 ·8   ··    · · · So, let's take it from the beginning.                 ·8   ··    ·yes.
 ·9   A.·   ·Well, I told you that in the dep transcript, he made a     ·9   Q.·   ·And who swore him in?
 10   ··    ·statement that he had no idea why he was being             10   A.·   ·I don't recall.
 11   ··    ·disciplined.                                               11   Q.·   ·And you believe that there's a record somewhere that he
 12   Q.·   ·Okay.                                                      12   ··    ·was under oath?
 13   A.·   ·And what I said is that there was a complaint that was     13   A.·   ·Well, I believe a lot of -- what I believe is really
 14   ··    ·put forth by the chairman of the Public Safety             14   ··    ·not -- there is no record of the hearing because it's
 15   ··    ·Commission, which was served upon Mr. Welch, and he knew   15   ··    ·been over a year.
 16   ··    ·darn good and well what he was being disciplined for.      16   Q.·   ·Okay.· So --
 17   Q.·   ·Okay.· Thank you.                                          17   A.·   ·But there's testimony that he gave in front of the
 18   A.·   ·So, that's one issue, but there's others, too.             18   ··    ·commission.
 19   Q.·   ·Okay.· But that doesn't answer my question, because what   19   Q.·   ·Okay.· So, that -- there's no record of that testimony.
 20   ··    ·you told the Public Safety Commission, Mr. Coogan, is      20   ··    ·Do I have that right?
 21   ··    ·that it was inconsistent with prior testimony, not that    21   A.·   ·I think there's a record and everybody else who attended
 22   ··    ·it was inconsistent with what happened.· You made the      22   ··    ·the hearing heard.· There was a number of people at the
 23   ··    ·point of saying it was inconsistent with "prior            23   ··    ·meeting.· I can -- just for the --
 24   ··    ·testimony."                                                24   Q.·   ·So --
 25   ··    · · · So, I want to know what the prior testimony is now.   25   A.·   ·I want to answer the question, please.

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 ·1   Q.· ·I didn't --                                                  ·1   Q.·   ·Okay.· And was there anybody transcribing minutes or any
 ·2   A.· ·I was there --                                               ·2   ··    ·record that, you know --
 ·3   Q.· ·-- ask you whether other people heard it.· I want to         ·3   A.·   ·Yeah.· And, as I indicated to you, I believe there was a
 ·4   · · ·know what --                                                 ·4   ··    ·tape at the time, but I don't know if it still exists.
 ·5   A.· ·Roger Kaly --                                                ·5   ··    ·I think they use it to do their minutes of the meeting.
 ·6   · · · · · THE REPORTER:· Excuse me --                             ·6   Q.·   ·Well, are there minutes of closed sessions?
 ·7   A.· ·-- was there.                                                ·7   A.·   ·There can be, yes.
 ·8   · · · · · MR. THOMAS:· Wait.· He can only pick up one person      ·8   Q.·   ·Well, were there at the Public Safety Commission closed
 ·9   · · ·at a time.                                                   ·9   ··    ·session?
 10   A.· ·The members of the Public Safety Commission were all         10   A.·   ·I don't know if they have any minutes for that or not.
 11   · · ·present.· There was a union attorney.· There was a union     11   Q.·   ·What do you mean "there can be"?
 12   · · ·representative.                                              12   A.·   ·Well, you can take minutes at a closed session.· And
 13   BY MS. GORDON:                                                    13   ··    ·they can be divulged if there's a court order that
 14   Q.· ·Mr. Coogan, I'm not asking you who was there, sir.           14   ··    ·allows you to have them divulged.· But absent that,
 15   A.· ·And I believe there was an officer in charge of the          15   ··    ·there can't be.
 16   · · ·union.                                                       16   Q.·   ·So, you know of no closed minutes?· Closed meeting --
 17   Q.· ·Okay.· I had a very specific question which for any          17   A.·   ·No.· I haven't seen any.· I haven't seen any.
 18   · · ·lawyer would be extremely clear-cut.                         18   Q.·   ·Okay.· All right.· So, when you say that Lieutenant
 19   · · · · · Was there a record made of what was said at this        19   ··    ·Welch testifies differently at a hearing, you're
 20   · · ·Public Safety Commission which you're saying was in a        20   ··    ·referring to comments made at a closed session.· You
 21   · · ·closed session, and which you're saying that Lieutenant      21   ··    ·don't know whether or not he was under oath and, as far
 22   · · ·Welch said something?                                        22   ··    ·as you know, there is no record of that meeting.
 23   · · · · · Was there a record made?                                23   ··    · · · Do I have that right?
 24   · · · · · That's just a "yes" or "no."                            24   A.·   ·I don't know if there's a record or not.· That's
 25   A.· ·Do you know what?· I don't recall.· I don't recall.          25   ··    ·correct.
                                                              Page 98                                                                 Page 100
 ·1   Q.·   ·Okay.                                                      ·1   Q.· ·Nothing you know of?
 ·2   A.·   ·But even if there was one, it's only required under law    ·2   A.· ·I don't know for sure if there is or -- there may be
 ·3   ··    ·to keep it for a year, and there was no litigation         ·3   · · ·one, but I haven't --
 ·4   ··    ·pending.· So, I don't know.                                ·4   Q.· ·Nothing you're aware of?
 ·5   Q.·   ·Okay.· Have you --                                         ·5   A.· ·I haven't seen it.
 ·6   A.·   ·I don't recall.                                            ·6   Q.· ·Okay.· And what is the discrepancy between what was said
 ·7   Q.·   ·-- seen or listened to any record of what Lieutenant       ·7   · · ·at the closed session and at the deposition here in my
 ·8   ··    ·Welch said at this Public Safety Commission closed         ·8   · · ·firm?
 ·9   ··    ·session?                                                   ·9   A.· ·I'm --
 10   ··    · · · Have you ever heard a recording of it?                10   · · · · · MR. MEIHN:· I'm going to object to attorney/client
 11   A.·   ·I may have at the time -- shortly thereafter the           11   · · ·privilege to the extent that there was communications
 12   ··    ·hearing.                                                   12   · · ·you're asking him to divulge that were done in a closed
 13   Q.·   ·Okay.· Did you --                                          13   · · ·session.
 14   A.·   ·I may have --                                              14   · · · · · MS. GORDON:· Okay.· Well, I'm not asking him what
 15   Q.·   ·-- take any notes at the hearing?                          15   · · ·action was taken by the PSC at a closed session.· I'm
 16   A.·   ·I'm certain there was some.· I don't know where they're    16   · · ·asking him why he went back to the PSC and said that
 17   ··    ·at at this point.                                          17   · · ·there were two different testimonies and what he was
 18   Q.·   ·Did you take -- you personally take notes?                 18   · · ·referring to.
 19   A.·   ·I believe I did, but I don't know if I still have them     19   · · · · · MR. MEIHN:· I understand, but to get to your
 20   ··    ·any more.· I'd have to look.                               20   · · ·answer, with all due respect, he has to divulge --
 21   Q.·   ·When is the last time you would have seen them; if you     21   · · · · · MS. GORDON:· Okay.· With all due respect, you're
 22   ··    ·even took them?                                            22   · · ·wrong, and I'm going to take an answer.· And you can
 23   A.·   ·Shortly after the hearing.                                 23   · · ·instruct him not to answer, but I promise you we will be
 24   Q.·   ·Okay.                                                      24   · · ·back here.
 25   A.·   ·It's been about a year and a half.                         25   BY MS. GORDON:

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 ·1   Q.·   ·Go ahead.                                                  ·1   ··    · · · Because his statements were inconsistent than what
 ·2   ··    · · · What were you referring to at the PSC on April        ·2   ··    ·he had previously said.
 ·3   ··    ·10th, 2018 when you said that Welch gave inconsistent      ·3   Q.·   ·Okay.· Just so I have --
 ·4   ··    ·testimony?                                                 ·4   A.·   ·So, his lack of ability to tell the truth is in
 ·5   A.·   ·Again, he made statements --                               ·5   ··    ·question, and that's up to them to decide what they want
 ·6   Q.·   ·About what?                                                ·6   ··    ·to do with it.· They can do nothing.· They could do
 ·7   A.·   ·-- in the closed session.                                  ·7   ··    ·something.· It's not up to me.
 ·8   Q.·   ·About what?                                                ·8   Q.·   ·Okay.· So, it's your position that Lieutenant Welch lied
 ·9   A.·   ·And I do not want to commit an unfair labor practice and   ·9   ··    ·under oath at his deposition?· That's what you believe?
 10   ··    ·subject myself -- I respect that employee's ability to     10   A.·   ·Well, yes.
 11   ··    ·keep that information private.· Mr. Hayse had the same     11   Q.·   ·Okay.· And what did he lie --
 12   ··    ·opportunity.· He chose to go public.· Mr. Welch chose to   12   A.·   ·I read it.
 13   ··    ·go private.                                                13   Q.·   ·Okay.· Well, sir, I didn't ask you what you read.
 14   Q.·   ·Okay.· Well, sir --                                        14   ··    · · · So, why don't you tell me what he lied about.
 15   A.·   ·And I want to respect that, and I don't have authority     15   A.·   ·I think I already did one time.· I'll do it again.
 16   ··    ·to release the content in my -- I can't release that       16   Q.·   ·Well, if you don't mind, repeat it, please.
 17   ··    ·information.                                               17   A.·   ·He said that he had no idea as to why he was
 18   Q.·   ·Okay.                                                      18   ··    ·disciplined.
 19   A.·   ·I really can't.                                            19   Q.·   ·Okay.· And you think that's a lie why?
 20   Q.·   ·Well, do you know what?· You're the one that stood up in   20   A.·   ·Because he was served with a copy of the complaint prior
 21   ··    ·front of the public and announced that Lieutenant          21   ··    ·to the hearing, and he knew darn well why he was there
 22   ··    ·Welch -- you've got to let me finish.                      22   ··    ·being disciplined.
 23   A.·   ·Can I breathe?· Because I was breathing just then.         23   Q.·   ·Okay.· What else did he lie about?
 24   Q.·   ·You're the one that said that Lieutenant Welch gave        24   A.·   ·And he made inconsistent statements.
 25   ··    ·inconsistent testimony at a prior hearing.                 25   Q.·   ·What were they?
                                                             Page 102                                                                 Page 104
 ·1   ··    · · · That's fine.· So, we'll just go to court.· We're      ·1   A.·   ·I'm not going to divulge what he said in the closed
 ·2   ··    ·make a note of everything we're going back to court on,    ·2   ··    ·session.
 ·3   ··    ·and I guess you're now worried that you're going to draw   ·3   ··    · · · We keep on going in these ever-increasing
 ·4   ··    ·an unfair labor practice.· So, maybe you're in a           ·4   ··    ·concentric circles.
 ·5   ··    ·conflict now on that as well, but that's your choice at    ·5   Q.·   ·Okay.· So, you went to the Public Safety Commission and
 ·6   ··    ·this time, and I'm quite sure Lieutenant Welch will, in    ·6   ··    ·just said you thought he lied, but you're not willing
 ·7   ··    ·any event, waive whatever alleged privilege there is.      ·7   ··    ·today to say what it was, I guess; right?
 ·8   A.·   ·Is that a question for me or --                            ·8   A.·   ·I don't feel comfortable in terms of respecting that
 ·9   Q.·   ·No.                                                        ·9   ··    ·employee request for a closed session, and if he wanted
 10   A.·   ·-- are you testifying now?                                 10   ··    ·to do it publicly, then I would have no problem
 11   Q.·   ·I'm not testifying.                                        11   ··    ·discussing all those issues.· But he elected to do it
 12   A.·   ·Because I'm here to answer questions.· So, if you could    12   ··    ·privately.
 13   ··    ·ask me questions, I'd like to answer them.                 13   ··    · · · It's not my election.· It's the employee's
 14   Q.·   ·Well, thank you for sharing that, but I'm going to do      14   ··    ·election.
 15   ··    ·what I'm going to do.                                      15   Q.·   ·What was he charged with at the hearing?
 16   A.·   ·No problem.                                                16   A.·   ·There's a copy of a complaint that he was served. I
 17   ··    · · · You're quite welcome.                                 17   ··    ·don't have it in front of me.
 18   Q.·   ·All right.· Now, you also talked to the Public Safety      18   Q.·   ·Okay.
 19   ··    ·Commission on April 10th about discipline of Welch, and    19   A.·   ·Truth and veracity was one, I believe.
 20   ··    ·you talked about that publicly, didn't you?                20   ··    · · · Seems to be a lot of that going around.
 21   A.·   ·You've read that into the record at least twice.           21   Q.·   ·I've noticed the same thing.
 22   ··    · · · Yes.· There were some statements made.                22   ··    · · · The fact is, you were very upset about Mr. --
 23   Q.·   ·Okay.· And why did you believe discipline should be        23   ··    ·Lieutenant Welch's testimony at the hearing because he
 24   ··    ·considered?                                                24   ··    ·undercut your drive to run the chief out of his job.
 25   A.·   ·I have answered that question.                             25   ··    ·You were mad about it, weren't you?· And so you got him

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 ·1   ··    ·disciplined --                                             ·1   A.·   ·We were there at the same time, and we talked and had
 ·2   A.·   ·So, just -- in order to answer your question, you're       ·2   ··    ·dinner --
 ·3   ··    ·asking, I'm mad at Mr. Welch?                              ·3   Q.·   ·I'll make it simple.
 ·4   ··    · · · No, I'm not.                                          ·4   ··    · · · Did you ever hunt with him?
 ·5   Q.·   ·Oh, yeah.                                                  ·5   A.·   ·He was at the camp, but I didn't go in the woods, like
 ·6   A.·   ·No, I'm not.                                               ·6   ··    ·walk in the woods with him.· But it was a big acreage.
 ·7   Q.·   ·Okay.                                                      ·7   Q.·   ·Did you stay overnight together?
 ·8   A.·   ·Not at all.                                                ·8   A.·   ·Well, there's three homes that we stay in.· So --
 ·9   Q.·   ·All right.· How long have you known Lieutenant Welch?      ·9   Q.·   ·Okay.· Did you get along with him?
 10   A.·   ·Gosh.· Probably ever since he started working for the      10   A.·   ·I think so.
 11   ··    ·City.· I don't recall how long ago that was.               11   Q.·   ·Okay.
 12   Q.·   ·And how did you happen to know him?· Did you just know     12   A.·   ·Yeah.
 13   ··    ·him from around?                                           13   Q.·   ·Has he ever been disciplined by the City until you came
 14   A.·   ·Well, just as an officer coming to court and then          14   ··    ·along with your discipline against the chief?· Up until
 15   ··    ·prosecuting.                                               15   ··    ·then, had Welch ever been disciplined for anything?
 16   Q.·   ·Okay.                                                      16   A.·   ·I'm not privy to his file.· I haven't looked at
 17   A.·   ·And then subsequently I knew him a little better.          17   ··    ·Mr. Welch's file.· I have no idea if he was ever
 18   Q.·   ·Okay.· And were you there when he got promoted to          18   ··    ·disciplined.
 19   ··    ·lieutenant?                                                19   Q.·   ·Well, were you ever involved in any discipline with him?
 20   A.·   ·Was I there?                                               20   ··    ·Ever hear of any discipline?
 21   Q.·   ·Yeah.                                                      21   A.·   ·Other than this one time, I had never been involved in
 22   ··    · · · Were you working for the City at that time?           22   ··    ·any discipline --
 23   A.·   ·I believe so, yeah.                                        23   Q.·   ·I said prior --
 24   Q.·   ·Okay.· And had you ever heard of any citizen complaints    24   A.·   ·-- of Mr. Welch.
 25   ··    ·coming in against Lieutenant Welch?                        25   ··    · · · And I'm answering that question --
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 ·1   A.·   ·I personally?                                              ·1   Q.·   ·-- to you coming after the chief, did you ever --
 ·2   Q.·   ·Yeah.                                                      ·2   A.·   ·I didn't come after the chief.· So, I don't like your
 ·3   A.·   ·I may have.                                                ·3   ··    ·characterization.
 ·4   Q.·   ·Nothing you can remember here today?                       ·4   Q.·   ·Okay.· That's fine.
 ·5   A.·   ·Yeah, I don't remember if there's any charges that he      ·5   A.·   ·I didn't come after anybody.
 ·6   ··    ·was brought up on.· I don't recall any of that.            ·6   Q.·   ·The record will speak for itself, Mr. Coogan.
 ·7   Q.·   ·Okay.· Did you ever socialize with him?                    ·7   A.·   ·Thank you.
 ·8   A.·   ·We went to a Christmas party for the City.                 ·8   Q.·   ·So, you don't need to worry about that.
 ·9   Q.·   ·Uh-huh.                                                    ·9   A.·   ·Thank you.
 10   A.·   ·And he used to hunt in the hunt club.                      10   Q.·   ·But up until that time that people went after the chief,
 11   Q.·   ·What was the hunt club?                                    11   ··    ·you knew of no wrongdoing on the part of Welch; right?
 12   A.·   ·It was my hunt club.                                       12   A.·   ·I have not reviewed Mr. Welch's file.· That was my
 13   Q.·   ·What's the -- is there a name?                             13   ··    ·statement.· I --
 14   A.·   ·Yeah.· Larry's Hunt Club.                                  14   Q.·   ·Okay.· I didn't --
 15   Q.·   ·Okay.· And who was in it?                                  15   A.·   ·I -- I have no idea.
 16   A.·   ·Me, Mr. Welch -- there's been a lot of people over the     16   Q.·   ·I didn't ask if you reviewed his file, because if you
 17   ··    ·years, but he was there for a couple years.                17   ··    ·reviewed Mark(sic) Furman's file today --
 18   Q.·   ·Okay.· So, you went hunting with him multiple times?       18   A.·   ·Who is Mark Furman?
 19   A.·   ·I didn't go with him hunting.· He was a member of my       19   Q.·   ·Matthew Furman.
 20   ··    ·club.                                                      20   ··    · · · If you reviewed his file today, you probably
 21   Q.·   ·Well, I don't know what that means.                        21   ··    ·wouldn't see anything in there either.· But do you know
 22   ··    · · · Does that mean you all head out together to hunt,     22   ··    ·what?· He's been called up quite a few times.· So, I'm
 23   ··    ·or what does that mean?                                    23   ··    ·going to --
 24   A.·   ·No.· It's about a 20,000-acre parcel of land we leased.    24   ··    · · · MR. MEIHN:· I'm going to object to the use of "Mark
 25   Q.·   ·So, what does that mean?· You all go -- did you --         25   ··    ·Furman" again, for the third deposition that you've made

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 ·1   ··    ·that comment and --                                        ·1   Q.· ·Like who?
 ·2   ··    · · · MS. GORDON:· You'll just have to cope --              ·2   A.· ·Over the years, there's been a few.· I can't recall
 ·3   ··    · · · MR. MEIHN:· Deb, I'm starting to believe that         ·3   · · ·the --
 ·4   ··    ·you're doing it intentionally to be a bully, and I would   ·4   Q.· ·What are you talking about?· Citizens?
 ·5   ··    ·ask you to stop, please, and give deference to the         ·5   A.· ·Yeah, citizens.· You asked me if I ever heard any
 ·6   ··    ·gentleman.                                                 ·6   · · ·complaints.
 ·7   ··    · · · MS. GORDON:· Okay.· You live in a parallel            ·7   · · · · · But I think he's a nice guy.
 ·8   ··    ·universe.                                                  ·8   Q.· ·Comments to you?
 ·9   ··    · · · MR. THOMAS:· Who is that directed to, Ms. Gordon?     ·9   · · · · · Had you ever heard about any dishonesty on his
 10   ··    · · · MS. GORDON:· Not you.· Not in this case, Phil.        10   · · ·part?
 11   ··    · · · We had another case where I would have said           11   A.· ·Other than this case, involving this case?
 12   ··    ·something differently.                                     12   Q.· ·I said up until the time you and/or whoever did it went
 13   ··    · · · MR. THOMAS:· I'm not sure -- I'm not sure we both     13   · · ·after the chief -- up until the time of the chief's
 14   ··    ·weren't in a parallel universe at that time.               14   · · ·hearing, had you ever heard of any dishonesty by Welch?
 15   ··    · · · MS. GORDON:· Well, I came out on the right side of    15   · · · · · MR. MEIHN:· Object to form.
 16   ··    ·the universe.· You have to admit that one.                 16   A.· ·I don't recall.
 17   ··    · · · Sorry.                                                17   BY MS. GORDON:
 18   A.·   ·Inside jokes.                                              18   Q.· ·Who does the police chief at the City of Melvindale
 19   ··    · · · MS. GORDON:· Yeah.· We had a very odd case            19   · · ·report to?
 20   ··    ·together.                                                  20   A.· ·The Public Safety Commission and the mayor and council.
 21   A.·   ·Just one?                                                  21   Q.· ·Who runs the police department at the City of
 22   ··    · · · MS. GORDON:· Two.                                     22   · · ·Melvindale?
 23   ··    · · · MR. THOMAS:· Two.                                     23   A.· ·Pursuant to the charter, the Safety Commission manages,
 24   ··    · · · MS. GORDON:· Kandrevas.                               24   · · ·directs, and supervisors the Public Safety Commission.
 25   A.·   ·I don't know anything about that one.                      25   Q.· ·What is your job today with the Public Safety
                                                             Page 110                                                                 Page 112
 ·1   · · · · · MS. GORDON:· A judge.                                   ·1   ··    ·Commission?
 ·2   A.· ·I know all about it.                                         ·2   A.·   ·I'm the attorney.
 ·3   · · · · · MS. GORDON:· All right.· So, what was the last          ·3   Q.·   ·What does that mean with regard to the Public Safety
 ·4   · · ·question, John?                                              ·4   ··    ·Commission?
 ·5   · · · · · THE REPORTER:· One second, please.                      ·5   A.·   ·I just -- I sit at their meetings and answer any legal
 ·6   · · · · · MS. GORDON:· Oh, I know.· I'm sorry, John.              ·6   ··    ·questions they have at the meetings or any issues that
 ·7   BY MS. GORDON:                                                    ·7   ··    ·come up.
 ·8   Q.· ·Leave aside the personnel file.                              ·8   Q.·   ·Can you give me an example of what kind of things you
 ·9   · · · · · Had you ever heard of any wrongdoing on the part of     ·9   ··    ·might be called upon to do?
 10   · · ·Lieutenant Welch?                                            10   A.·   ·Well --
 11   A.· ·I may have heard something, yeah.                            11   Q.·   ·I know you're not drafting ordinances.· I know you're
 12   Q.· ·Anything you can think of here today?                        12   ··    ·not going to criminal court.
 13   A.· ·Comments, because he's a big guy.· You know, people          13   ··    · · · So, what kind of questions might come up?
 14   · · ·saying he was intimidating them.                             14   A.·   ·Well, typically it's employee discipline questions that
 15   Q.· ·Who were the people?                                         15   ··    ·come up before them, you know, grievances, discipline,
 16   A.· ·Just over scuttle.· There was -- I have never been           16   ··    ·trial boards.· Things of that nature.
 17   · · ·involved in any formal discipline.· He's a big guy, you      17   Q.·   ·Okay.· So, tell me what your understanding is of the
 18   · · ·know.· So, a lot of people --                                18   ··    ·process, then, based on the fact that you apparently
 19   Q.· ·Well, what does that have to do with wrongdoing?             19   ··    ·answer legal questions on this.
 20   · · · · · He can't help it if he's a big guy.                     20   ··    · · · There's a Collective Bargaining Agreement; is that
 21   A.· ·Well, I mean --                                              21   ··    ·correct?· For police officers?
 22   Q.· ·I'm not sure what your point is.                             22   A.·   ·That's correct.
 23   A.· ·There have been people that have made comments that --       23   Q.·   ·Okay.· And what governs discipline of police officers at
 24   Q.· ·Who?                                                         24   ··    ·the City of Melvindale vis-à-vis the Public Safety
 25   A.· ·Various individuals.                                         25   ··    ·Commission?

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 ·1   A.·   ·Well, there's actually two Collective Bargaining           ·1   Q.·   ·It could be --
 ·2   ··    ·Agreements that govern the police department.              ·2   A.·   ·Yeah.· I mean, there's a lot of --
 ·3   Q.·   ·What are they?                                             ·3   Q.·   ·Separate and apart.
 ·4   A.·   ·One is for the Command Officers Union and the other one    ·4   A.·   ·Right.· Right.
 ·5   ··    ·is the Patrol Officers Union.                              ·5   Q.·   ·Since you've been there, have police officers been
 ·6   Q.·   ·Okay.                                                      ·6   ··    ·disciplined under the Collective Bargaining Agreement?
 ·7   A.·   ·Okay.· So, those are different Collective Bargaining       ·7   A.·   ·Yes.
 ·8   ··    ·Agreements.                                                ·8   Q.·   ·Have you had any experience with that?
 ·9   Q.·   ·Okay.· How many arbitrations have you been involved in     ·9   A.·   ·Yes.
 10   ··    ·since you've been counsel for the Public Safety            10   Q.·   ·Okay.· So, what is the procedure under the Collective
 11   ··    ·Commission; if any?                                        11   ··    ·Bargaining Agreement for disciplining officers?
 12   A.·   ·Zero.                                                      12   A.·   ·It's set forth in the police guidelines -- in the police
 13   Q.·   ·Okay.· So, nothing has actually had to go to               13   ··    ·department guidelines.· Chad Hayse had a copy.· I have a
 14   ··    ·arbitration?                                               14   ··    ·copy.
 15   A.·   ·Correct.                                                   15   Q.·   ·Isn't it set forth in the Collective Bargaining
 16   Q.·   ·All right.· And how often does the Public Safety           16   ··    ·Agreement itself?
 17   ··    ·Commission receive grievances, in your experience?         17   A.·   ·The grievance procedure is, but --
 18   A.·   ·You know, I'm going to say once or twice a year,           18   Q.·   ·No, no, no.· Discipline.
 19   ··    ·perhaps.                                                   19   A.·   ·Well, I'm trying to answer that.
 20   Q.·   ·Okay.                                                      20   Q.·   ·Okay.
 21   A.·   ·Maybe less; maybe more.                                    21   A.·   ·The grievance procedure is set forth in the Collective
 22   Q.·   ·Okay.                                                      22   ··    ·Bargaining Agreement.
 23   A.·   ·I don't -- you know, it ebbs and flows.· There's no        23   Q.·   ·Okay.
 24   ··    ·exact number.                                              24   A.·   ·The discipline practices and procedures are put forth in
 25   Q.·   ·So, under the Public -- strike that.                       25   ··    ·the policy manual.
                                                             Page 114                                                                 Page 116
 ·1   · · · · · Under the Police Officers Collective Bargaining         ·1   Q.·   ·Okay.· I have a section here on the Collective
 ·2   · · ·Agreement, what --                                           ·2   ··    ·Bargaining Agreement on discipline.· Maybe you --
 ·3   A.· ·Which one?· The patrol?                                      ·3   A.·   ·You're talking about the grievance discipline, their
 ·4   Q.· ·The patrol.                                                  ·4   ··    ·steps?
 ·5   A.· ·Okay.                                                        ·5   Q.·   ·No, no, no, no.· I'm talking about giving discipline.
 ·6   Q.· ·Under the patrol, what is the process for discipline?        ·6   A.·   ·Okay.· Which Collective Bargaining Agreement are you
 ·7   A.· ·Well, I'm paraphrasing, not quoting the Collective           ·7   ··    ·referring to?
 ·8   · · ·Bargaining Agreements.                                       ·8   Q.·   ·I'll show it to you --
 ·9   Q.· ·Okay.· All right.                                            ·9   A.·   ·I know.
 10   A.· ·But basically --                                             10   ··    · · · Which one is it, though?· Which -- is it the
 11   Q.· ·We can pull it out if you need it.                           11   ··    ·patrolman's or is it the --
 12   A.· ·That's fine.                                                 12   Q.·   ·Yeah, the patrolman's.
 13   · · · · · But there's a step one and the grievance goes to        13   A.·   ·All right.· Then it's put there, too, as well.
 14   · · ·the police chief.                                            14   Q.·   ·Okay.· It's Section 8.
 15   Q.· ·I'm not talking about grievance.· I'm talking                15   A.·   ·Okay.
 16   · · ·pregrievance, discipline, and then I'm going to ask you      16   Q.·   ·I don't know if you've ever had to use it or give
 17   · · ·about grievance.                                             17   ··    ·anybody any advice on it, but it says "Article 8,
 18   · · · · · Because grievance would come after discipline;          18   ··    ·Discipline."
 19   · · ·right?· Presumably?· At least hypothetically?                19   ··    · · · And then there is a "Grievance" article, as well.
 20   A.· ·Uh-huh.                                                      20   A.·   ·Okay.
 21   Q.· ·All right.· So, how does --                                  21   Q.·   ·And I don't have that marked, but that's in here as
 22   · · · · · THE REPORTER:· I'm sorry.· Is that "yes"?               22   ··    ·well.
 23   A.· ·Yes, it could come after, depending upon -- it could         23   ··    · · · Okay.· So, I want to go to the grievance procedure
 24   · · ·come prior to any discipline, too.                           24   ··    ·on discipline.· The grievance procedure is Article 6.
 25   BY MS. GORDON:                                                    25   ··    · · · · · ·"An employee shall have the right to

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 ·1   ··    · · · present grievances and in accordance --"              ·1   Q.· ·Okay.
 ·2   ··    · · · Okay?                                                 ·2   A.· ·Those are not done typically with counsel present --
 ·3   ··    · · · But Article 8 is "Discipline."                        ·3   · · ·with the city attorney being present.· It would be the
 ·4   ··    · · · It says:                                              ·4   · · ·department head or the chief or the designee as relates
 ·5   ··    · · · · · ·"All employees shall have the right to be        ·5   · · ·to the officers.
 ·6   ··    · · · represented by the local president, his               ·6   Q.· ·I understand.
 ·7   ··    · · · designee, and/or a union representative at all        ·7   · · · · · But it is required that the union be notified, it
 ·8   ··    · · · disciplinary conferences or procedures except         ·8   · · ·sounds like --
 ·9   ··    · · · that the employer has the right to take               ·9   A.· ·Uh-huh.
 10   ··    · · · disciplinary action immediately in emergency          10   · · · · · THE REPORTER:· I'm sorry --
 11   ··    · · · situations."                                          11   BY MS. GORDON:
 12   ··    · · · Does that sound familiar?                             12   Q.· ·-- before such a conference takes place.
 13   A.·   ·It does sound familiar.· I don't -- I've read that, but    13   · · · · · Is that you're understanding?
 14   ··    ·I don't have recall totally on that.                       14   A.· ·Yes.
 15   Q.·   ·All right.· So, first, let me ask you this:· I know most   15   Q.· ·All right.· And --
 16   ··    ·of us in this room are already aware of this, but I'd      16   A.· ·Well, not only the union.· Just to follow up, it would
 17   ··    ·just like your statement on the record of what is the      17   · · ·have to be -- the person who is charged would have to be
 18   ··    ·Collective Bargaining Agreement.                           18   · · ·notified as to what the charges were.
 19   ··    · · · This is a mandatory agreement -- do I have that       19   Q.· ·Sure.
 20   ··    ·right -- once it's signed off on between the City and      20   A.· ·And then that person would probably notify the union.
 21   ··    ·the patrol officers?                                       21   Q.· ·Well, this says that the --
 22   A.·   ·It's a labor contract between the municipality and the     22   A.· ·Suffice to say, the mechanics are set forth in the
 23   ··    ·union.                                                     23   · · ·agreement.
 24   Q.·   ·Okay.· And you -- it's required that the City follow it,   24   Q.· ·Fair enough.
 25   ··    ·and it's required that the union follow it.                25   A.· ·Yeah.
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 ·1   ··    · · · Do I have that right?                                 ·1   Q.·   ·And then after the conference, the employee has an
 ·2   A.·   ·Yes.                                                       ·2   ··    ·opportunity to give his side of the story.
 ·3   Q.·   ·Okay.                                                      ·3   ··    · · · And then who decides whether there will be
 ·4   A.·   ·I would --                                                 ·4   ··    ·discipline given?
 ·5   Q.·   ·And if it's not followed, what happens?· If you breach     ·5   ··    · · · Is that the chief, or is that his designee, or what
 ·6   ··    ·or the City breaches -- or -- excuse me -- the officers    ·6   ··    ·is that?
 ·7   ··    ·breach, what's your remedy?                                ·7   A.·   ·Without looking at the exact document you're looking at,
 ·8   A.·   ·Well, if the officers breach it, they could be written     ·8   ··    ·it's the chief and/or his designee, I believe.
 ·9   ··    ·up, and if the City does it, the union could file a        ·9   Q.·   ·Okay.
 10   ··    ·grievance.· I think that's what you're referring to.       10   A.·   ·Yeah.· That's at the first step.
 11   Q.·   ·Okay.· And so 8.1 says that:                               11   Q.·   ·And is there a requirement that a reprimand be given
 12   ··    · · · · · ·"Employees have the right to be represented      12   ··    ·before suspension, or does it depend on the offense and
 13   ··    · · · by the union at all disciplinary conferences."        13   ··    ·the discretion of the chief?
 14   ··    · · · What's a "disciplinary conference"; if you know?      14   A.·   ·Just -- I want to make sure I'm clear on that.
 15   A.·   ·The disciplinary conference would be when someone is       15   Q.·   ·Sure.
 16   ··    ·accused of doing something in violation of the policies    16   A.·   ·Can you just rephrase that one more time?
 17   ··    ·and procedures.                                            17   Q.·   ·Yeah.
 18   Q.·   ·Okay.                                                      18   ··    · · · So, now we've got a disciplinary issue.· We've gone
 19   A.·   ·They would be brought in front of the chief, or his        19   ··    ·through, very briefly here, what's in Article 8; that
 20   ··    ·designee, and told what the charges were against them,     20   ··    ·there's a conference.· The union is brought in.
 21   ··    ·then have an opportunity to respond to those charges       21   ··    · · · And does the chief get to decide on his own what
 22   ··    ·against them.                                              22   ··    ·the discipline will be, or is there some kind of a
 23   Q.·   ·Okay.                                                      23   ··    ·requirement for a process?
 24   A.·   ·And then the discipline would be imposed or not imposed    24   A.·   ·Okay.· It would be the chief or his designee again.
 25   ··    ·based upon the outcome of that discussion.                 25   Q.·   ·Okay.

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 ·1   A.·   ·And typically it would be a step.· You know, usually       ·1   · · · · · itself the rights, authority and discretion
 ·2   ··    ·there's a step discipline that's imposed unless it's       ·2   · · · · · in the proper discharge of their duties and
 ·3   ··    ·catastrophic.                                              ·3   · · · · · responsibilities to control, supervise and
 ·4   Q.·   ·Okay.· That is not included in this contract.              ·4   · · · · · manage the City police department and its
 ·5   ··    · · · Are you aware of that?                                ·5   · · · · · employees to determine and administer policy,
 ·6   A.·   ·Well, it may be somewhere else, but not in that            ·6   · · · · · to operate the department and to direct
 ·7   ··    ·particular -- there's usually a step to the --             ·7   · · · · · employees."
 ·8   Q.·   ·Okay.                                                      ·8   · · · · · Correct?
 ·9   A.·   ·I mean, first of all, there's a step procedure.            ·9   A.· ·I don't have it in front of me, but that sounds correct.
 10   ··    · · · To the best of my recollection, there's oral, and     10   Q.· ·Okay.· So, this Collective Bargaining Agreement is
 11   ··    ·then there's a written.· Then it could be a suspension,    11   · · ·binding upon the City; correct?
 12   ··    ·depending on -- but the severity could change depending    12   A.· ·Well, it actually would be binding on the City as well
 13   ··    ·upon what the issue is.                                    13   · · ·as the members of that union.· Correct.
 14   Q.·   ·Okay.· And all officers get a copy of the Collective       14   Q.· ·Fair enough.
 15   ··    ·Bargaining Agreement, obviously; correct?                  15   A.· ·And that is the patrolman that we're referring to still?
 16   A.·   ·I --                                                       16   Q.· ·Yep.
 17   Q.·   ·They should?                                               17   A.· ·Okay.
 18   A.·   ·They should, yes.                                          18   · · · · · · (Discussion held off the record.)
 19   ··    · · · As to whether or not they do --                       19   BY MS. GORDON:
 20   Q.·   ·Because it's binding upon them; correct?                   20   Q.· ·And then in addition -- let me just get them out here.
 21   A.·   ·It would be.· If they're part of the union, they would     21   · · · · · There is also something in the police department
 22   ··    ·be bound by that, yes.                                     22   · · ·called the "Melvindale Police Department Rules and
 23   Q.·   ·And the purpose of the Collective Bargaining Agreement     23   · · ·Regulations"?
 24   ··    ·is to set forth terms with respect to rates of pay,        24   · · · · · Are you familiar with those in your role with the
 25   ··    ·wages, hours and other conditions of employment, and to    25   · · ·PSC or the City?
                                                             Page 122                                                                 Page 124
 ·1   ··    ·promote orderly and peaceful labor relations to the        ·1   A.·   ·I am familiar.· They're quite lengthy, and they've
 ·2   ··    ·mutual interest of the employer and the employees.         ·2   ··    ·gotten even larger now.
 ·3   ··    · · · Do I have that right?                                 ·3   Q.·   ·When did they get larger?
 ·4   A.·   ·I don't have it in front of me, but it sounds correct.     ·4   A.·   ·Chief Allen has --
 ·5   Q.·   ·Okay.· And the employer is recognizing the union as the    ·5   Q.·   ·What's he added?
 ·6   ··    ·sole and exclusive bargaining agent; right?                ·6   A.·   ·Oh, God.· I can't -- there's been quite a bit.· Quite a
 ·7   A.·   ·That is correct, I believe.· I don't have it in front of   ·7   ··    ·few policies and procedures.· I can't quote verbatim all
 ·8   ··    ·me, but that sounds absolutely correct.                    ·8   ··    ·of them.· There's quite a few.
 ·9   ··    · · · But now with the new law, employees can opt out of    ·9   Q.·   ·Do you remember anything that he's added?
 10   ··    ·the union.                                                 10   A.·   ·I think -- there are several treatises.· So, there's
 11   Q.·   ·Right.                                                     11   ··    ·quite a bit.· I read them all.
 12   A.·   ·So, there's a little bit --                                12   Q.·   ·Well, what -- do you remember anything they're about?
 13   Q.·   ·Has anybody opted out of the City of Melvindale, patrol    13   A.·   ·Not today.· I'm not going to recall anything today.
 14   ··    ·officers?                                                  14   ··    · · · I don't recall anything right now.
 15   A.·   ·Not patrol officers, no, but other unions.                 15   Q.·   ·Did you have any input or assist him on that?
 16   Q.·   ·Okay.                                                      16   A.·   ·You know, I would read them and go over with him.· I had
 17   A.·   ·Which is interesting.                                      17   ··    ·a problem with certain sections.· I would discuss that
 18   Q.·   ·And in the Collective Bargaining Agreement, there's        18   ··    ·with Chief Allen, and he made revisions, yes, but at
 19   ··    ·also -- as I think in most of these CBAs, there's a        19   ··    ·this point I'm sitting here, I --
 20   ··    ·management rights clause; correct?                         20   Q.·   ·Who is in charge of HR for the police department?
 21   A.·   ·That would be correct.                                     21   ··    · · · The chief?
 22   ··    · · · Don't ask me to quote.· I'd have to look at it.       22   A.·   ·Well, that's an interesting question.
 23   Q.·   ·Fair enough.                                               23   ··    · · · The chief has the files of all his employees in his
 24   ··    · · · And this says:                                        24   ··    ·office, presumably under lock.
 25   ··    · · · · · ·"The employer retains and reserves onto          25   ··    · · · I would think that the chief -- if there's -- HR

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 ·1   ··    ·relations would probably talk to the city administrator.   ·1   ··    ·it goes in front of the Safety Commission, and they
 ·2   Q.·   ·Are you guessing or --                                     ·2   ··    ·would make a determination.
 ·3   A.·   ·No.· I would believe that would be the natural flow.       ·3   Q.·   ·Have there been any trial boards since you've been with
 ·4   ··    ·The chief would probably talk with -- depending on what    ·4   ··    ·the City, in front of the Safety Commission, other than
 ·5   ··    ·the issue is.· I don't know what the issue is.· I mean,    ·5   ··    ·Welch?
 ·6   ··    ·human resources -- it depends on what the issue is.· He    ·6   A.·   ·Yes.
 ·7   ··    ·would probably handle most of it, the chief, but he        ·7   Q.·   ·What else?
 ·8   ··    ·would probably seek out the assistance of --               ·8   A.·   ·There was another officer.· I can't recall his name
 ·9   Q.·   ·But you're not called in?                                  ·9   ··    ·right now, unfortunately.
 10   A.·   ·Well, I could be at the request of the department head.    10   Q.·   ·How long ago was it?
 11   ··    ·At their request, I would come in.                         11   A.·   ·I don't want to say the wrong name, so I'm not going
 12   Q.·   ·What department head?                                      12   ··    ·to -- it was probably a month and a half ago.
 13   A.·   ·Well, the chief.· The chief asks me for assistance, I      13   Q.·   ·What was the issue?
 14   ··    ·would certainly avail myself to him.                       14   A.·   ·Probably more like a domestic disturbance with a
 15   Q.·   ·Has that occurred?                                         15   ··    ·girlfriend/thing.· I don't have all the details.
 16   A.·   ·Did that occur when?                                       16   Q.·   ·Was he charged with something criminally?
 17   Q.·   ·Has that occurred?                                         17   A.·   ·I don't know if it was resolved in civil or it was
 18   ··    · · · Have you ever been called in with regard to a human   18   ··    ·criminal.
 19   ··    ·resources issue by the chief of police, let's say within   19   Q.·   ·So, there was actually a full trial board in front of
 20   ··    ·the last three years?                                      20   ··    ·the PSC?
 21   A.·   ·When you say "human resources," are you referring to       21   A.·   ·Yes.
 22   ··    ·write-ups against individuals?                             22   Q.·   ·What was the result?
 23   Q.·   ·Anything involving, you know, the employees and some       23   A.·   ·The employee was subjected to discipline.
 24   ··    ·issue with how the employees are conducting themselves.    24   Q.·   ·What was the discipline?
 25   A.·   ·Yeah.· I'd say John Allen has called me.                   25   ··    · · · Some kind of --
                                                             Page 126                                                                 Page 128
 ·1   Q.·   ·Okay.                                                      ·1   A.·   ·A number of days off.
 ·2   A.·   ·I can't -- I don't have recall --                          ·2   Q.·   ·Okay.· Any other trial boards you can recall, since
 ·3   Q.·   ·Can you recall anything, any issue that you've been        ·3   ··    ·you've been with the City, in front of the PSC?
 ·4   ··    ·called in on?                                              ·4   A.·   ·Yes.· There's been several.
 ·5   A.·   ·Just employee discipline issues, you know.                 ·5   Q.·   ·Okay.· What else do you recall?
 ·6   Q.·   ·Okay.· Well, who has called you in on employee             ·6   A.·   ·There was a trial board involving, again, an officer who
 ·7   ··    ·discipline issues?                                         ·7   ··    ·had a criminal/civil complaint in another jurisdiction.
 ·8   A.·   ·John Allen has.                                            ·8   ··    · · · Those are the two within the last year and a half
 ·9   Q.·   ·Okay.· And when would that have been?                      ·9   ··    ·or so.
 10   A.·   ·Since he's become chief.· I'm not being evasive, but       10   Q.·   ·Is that officer still employed?
 11   ··    ·there's been a number of, you know --                      11   A.·   ·Yes.
 12   Q.·   ·Okay.· So, tell me what issues he's called you in on.      12   Q.·   ·Okay.· What else do you recall?
 13   A.·   ·Well, for instance, an employee getting charged with an    13   A.·   ·He was given discipline.
 14   ··    ·offense in another jurisdiction.                           14   Q.·   ·What other trials boards do you recall?
 15   Q.·   ·What do you mean by "an offense"?· You mean like a         15   A.·   ·Those are the two that come to my mind --
 16   ··    ·crime?                                                     16   Q.·   ·Okay.
 17   A.·   ·Well, it could be a crime.· It could be a civil            17   A.·   ·-- other than Mr. Welch's was a hearing in front of the
 18   ··    ·infraction.· It could be -- and how that should be         18   ··    ·Safety Commission as well.
 19   ··    ·handled and addressed.                                     19   Q.·   ·Okay.· And what about Officer Easton?
 20   Q.·   ·Okay.· So, what do you go to then for guidance on that?    20   ··    · · · Has he been in front of the PSC?
 21   ··    ·The Collective Bargaining Agreement or --                  21   A.·   ·Yes.
 22   A.·   ·I look at the Collective Bargaining Agreement.· I look     22   Q.·   ·Was it a trial board?
 23   ··    ·at the policies, rules and regulations, and procedures.    23   A.·   ·Yes.
 24   Q.·   ·Okay.                                                      24   Q.·   ·Okay.· So, you didn't mention him.
 25   A.·   ·And then ultimately, if it has to go for a trial board,    25   A.·   ·Well, I didn't mention any officers names, but I

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 ·1   ··    ·mentioned the event.                                       ·1   Q.·   ·All right.· Do you know of anything else that exists at
 ·2   Q.·   ·Well, is he one of the examples you gave me?               ·2   ··    ·the police department other than the Collective
 ·3   A.·   ·Yes, he's one -- yes.· Yes.                                ·3   ··    ·Bargaining Agreement, the policies and procedures of the
 ·4   ··    · · · I didn't mention any officer names because I don't    ·4   ··    ·Melvindale Police Department and the operational policy
 ·5   ··    ·want to --                                                 ·5   ··    ·of the Melvindale Police Department that apply
 ·6   Q.·   ·That's fair.· Okay.· I just wanted to know.                ·6   ··    ·specifically to the police department?
 ·7   ··    · · · And he was charged -- his incident, I think, was a    ·7   A.·   ·I don't recall anything else at this time.
 ·8   ··    ·hit and run.· Does that sound correct?                     ·8   Q.·   ·Okay.
 ·9   ··    · · · That's already out there in the public.               ·9   A.·   ·Other than that.· There may be something, but I don't
 10   A.·   ·I think the citation was leaving the scene of a personal   10   ··    ·recall.
 11   ··    ·injury accident.                                           11   Q.·   ·Okay.· Do you know who is responsible for creating the
 12   Q.·   ·Okay.· And he is still --                                  12   ··    ·policies and procedures at the police department that
 13   A.·   ·And there were some --                                     13   ··    ·we've been talking about?
 14   Q.·   ·Go ahead.                                                  14   A.·   ·Yep, I do.
 15   A.·   ·There was some ambiguity as to whether or not that took    15   Q.·   ·And who is that?
 16   ··    ·place or not.                                              16   A.·   ·It would be -- the chief would create the policies.· He
 17   Q.·   ·Okay.· And he's still with the City?                       17   ··    ·would bring those policies, rules and regulations to the
 18   A.·   ·Yes, he is.                                                18   ··    ·Safety Commission, and they would either approve them or
 19   Q.·   ·Okay.· All right.· So, in addition to the Collective       19   ··    ·not approve them.· And subsequently they would go to the
 20   ··    ·Bargaining Agreement, I have been provided something by    20   ··    ·mayor and council for their ratification as well.
 21   ··    ·the City called Melvindale -- "City of Melvindale Police   21   ··    ·That's the step.
 22   ··    ·Policies and Procedures."                                  22   Q.·   ·Do you have any formal or informal role with the police
 23   ··    · · · Are you familiar with that or you're not?             23   ··    ·department itself?
 24   A.·   ·I've read it, and I've used it on various occasions, but   24   A.·   ·Do I have a formal role with them?
 25   ··    ·I have not committed the document to memory.               25   Q.·   ·Yes.
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 ·1   Q.·   ·Well, I understand that.                                   ·1   ··    · · · Aside from your role on the Public Safety
 ·2   ··    · · · What's the purpose of this as you understand it?      ·2   ··    ·Commission --
 ·3   A.·   ·Just the guidelines or -- not the guidelines, but the      ·3   A.·   ·Yeah, I --
 ·4   ··    ·rules and regulations of the department.                   ·4   Q.·   ·-- where things may come before the commission.· I grasp
 ·5   ··    ·Interdisciplinary department rules and regulations, I'd    ·5   ··    ·that.
 ·6   ··    ·think I'd classify it as.                                  ·6   ··    · · · Other than that -- I'll be more specific.
 ·7   Q.·   ·Okay.· And then I've been given something called           ·7   ··    · · · Do you have any reason to meet regularly with the
 ·8   ··    ·"Operational Policy of the Melvindale Police               ·8   ··    ·police chief for any purpose?· Is that part of your job?
 ·9   ··    ·Department."                                               ·9   A.·   ·Well, the rules and regulations, we talked about.· If
 10   ··    · · · Do you know what that is?                             10   ··    ·there's discipline stuff, he talked to me.
 11   A.·   ·I think that's a continuation of the rules and             11   ··    · · · But also I meet with like the detectives regarding
 12   ··    ·regulations of the department.                             12   ··    ·warrants and things of that nature.
 13   Q.·   ·Okay.                                                      13   Q.·   ·Okay.· That's with your hat of --
 14   A.·   ·Policies, regulations -- rules and regulations of the      14   A.·   ·Prosecution.
 15   ··    ·department.                                                15   Q.·   ·-- prosecutor?
 16   Q.·   ·Okay.                                                      16   ··    · · · Okay.· And I get that.
 17   A.·   ·And I've read -- I've read them all.· I don't commit       17   A.·   ·Okay.
 18   ··    ·them all to memory, though.                                18   Q.·   ·And so you're probably pretty involved with them with
 19   Q.·   ·Okay.· And they have, as I understand it, going through    19   ··    ·your prosecutor role, I assume.· They are kind of your
 20   ··    ·the rules and regulations, what you're supposed to do as   20   ··    ·client; right?
 21   ··    ·a patrol officer, how you're supposed to conduct           21   A.·   ·Well --
 22   ··    ·yourself, they talk somewhat about discipline and the      22   Q.·   ·They are your client.· I mean --
 23   ··    ·like; correct?                                             23   A.·   ·I try to dish off all the warrants to Roger.
 24   A.·   ·That would be part and parcel what's contained in there,   24   Q.·   ·All right.· Just for the record, we all understand here
 25   ··    ·yes.                                                       25   ··    ·that Mr. Coogan has a very specific role as prosecutor

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 ·1   ··    ·for the City of Melvindale and much of that work           ·1   ··    ·asked me if anybody ever came to me, and I said, yes,
 ·2   ··    ·involves the police department.                            ·2   ··    ·they have.
 ·3   ··    · · · But aside from that, you're corporation counsel on    ·3   Q.·   ·Who?
 ·4   ··    ·the civil side?                                            ·4   ··    · · · Has a chief --
 ·5   A.·   ·Correct.                                                   ·5   A.·   ·Well, just --
 ·6   Q.·   ·Okay.· So, with regard to corporation counsel hat, do      ·6   Q.·   ·Has a chief ever come to you with a question?
 ·7   ··    ·you have any reason to meet with the police department,    ·7   A.·   ·Perhaps.· I don't recall anything specific right now.
 ·8   ··    ·the chief or any other command officers on any kind of a   ·8   ··    ·But citizens stop in my office all the time and want to
 ·9   ··    ·regular basis?                                             ·9   ··    ·talk.
 10   ··    · · · I'm not talking about something comes up and          10   Q.·   ·Okay.· So, you've actually had citizens who possibly
 11   ··    ·somebody has a question.· But is there any reason for      11   ··    ·make complaints to you, and then you refer them to the
 12   ··    ·you to interact with the police department?                12   ··    ·chief?
 13   A.·   ·On the corporation counsel side, I do as requested.        13   A.·   ·That is correct.
 14   ··    ·But, again, the prosecution side, domestic disturbance,    14   Q.·   ·Okay.· So, what terminations of command officers have
 15   ··    ·problems in neighborhoods, things of that nature, the      15   ··    ·occurred since you've been corporation counsel, other
 16   ··    ·police department bring the people into the conference     16   ··    ·than Chad Hayse?
 17   ··    ·room and try to resolve issues.                            17   A.·   ·Well, he's the chief, not a command officer, but --
 18   Q.·   ·Do you have any role with citizen complaints that are      18   Q.·   ·Well, I'm putting him in that category.
 19   ··    ·filed against any police officer with Melvindale?          19   A.·   ·None that I know of, no.
 20   A.·   ·Well, certainly if there's a complaint filed, they would   20   Q.·   ·Okay.· Have there been any trial boards of command
 21   ··    ·bring that to my attention, yes.                           21   ··    ·officers or chiefs other than Welch and Hayse since
 22   Q.·   ·Who is "they"?                                             22   ··    ·you've been there?
 23   A.·   ·The police chief.                                          23   A.·   ·Yes.· We alluded to this earlier.
 24   Q.·   ·Well, is that required?                                    24   ··    · · · THE REPORTER:· Excuse me?
 25   ··    · · · I'm not familiar with that in other police            25   A.·   ·We alluded to the one --
                                                             Page 134                                                                 Page 136
 ·1   ··    ·departments where you have to notify city council.         ·1   · · · · · THE REPORTER:· Thank you.
 ·2   A.·   ·I didn't say "they have to," but typically if there's a    ·2   A.· ·-- specific --
 ·3   ··    ·complaint that is an important issue --                    ·3   BY MS. GORDON:
 ·4   Q.·   ·Well, are you guessing, or is this something that's --     ·4   Q.· ·I said command officers.
 ·5   A.·   ·No.· If something is -- a complaint is an important        ·5   A.· ·That's correct.
 ·6   ··    ·issue regarding something in the City, it would be         ·6   Q.· ·That would be Easton?
 ·7   ··    ·brought to my attention through legal representation.      ·7   A.· ·That would be correct.
 ·8   Q.·   ·I don't see that in any of the policies and procedures.    ·8   Q.· ·Okay.· Have there been any civil lawsuits filed against
 ·9   A.·   ·Well, it would be under corporation counsel.· If there's   ·9   · · ·the City with regard to actions by police officers since
 10   ··    ·any issues with any department head, that they have any    10   · · ·you've been with the City as corp counsel?
 11   ··    ·issues, I would address those if they came to me.          11   A.· ·Yes.
 12   Q.·   ·I'm not following what you're saying.                      12   Q.· ·Okay.· When is -- what's the most recent case you
 13   ··    · · · You think any department head has to come to you      13   · · ·recall?
 14   ··    ·with any issue he has?                                     14   A.· ·I think there's two that I recall.
 15   A.·   ·I didn't say they had to, but usually they would come to   15   · · · · · One was against Mr. Furman; another was against --
 16   ··    ·me.                                                        16   · · ·who is the other one against?
 17   Q.·   ·Okay.· Well, has anybody come to you with citizen          17   · · · · · No.· Just one against Mr. Furman, I think.
 18   ··    ·complaints from the police department ever, since you've   18   Q.· ·And what was that about?
 19   ··    ·been with the City?                                        19   A.· ·Or maybe two against Mr. Furman.
 20   A.·   ·I would have to say yes.· And I would refer them to the    20   Q.· ·Okay.· What were those about?
 21   ··    ·chief to address that first with them and see if they      21   · · · · · Excuse me for interrupting --
 22   ··    ·could --                                                   22   A.· ·One is a federal lawsuit you alluded --
 23   Q.·   ·So, you don't think the chief knows that he's the one      23   Q.· ·I was going to ask you, where are they?
 24   ··    ·responsible for the citizen complaints?                    24   A.· ·Yeah.
 25   A.·   ·No.· I didn't say the chief doesn't know that -- you       25   · · · · · One is a federal lawsuit and --

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 ·1   Q.·   ·Is that McClintock or --                                   ·1   Q.·   ·I asked -- I know.· I said, is it in writing?
 ·2   A.·   ·Yeah, there you go.                                        ·2   A.·   ·No, I don't believe it's writing.· No.· It's not been a
 ·3   Q.·   ·-- somebody else?                                          ·3   ··    ·council resolution.
 ·4   A.·   ·Yes.                                                       ·4   Q.·   ·Well, then, who directed you to be here?
 ·5   Q.·   ·Are you representing the City?                             ·5   A.·   ·The mayor.· The mayor.
 ·6   A.·   ·I'm involved in it.· I'm not --                            ·6   Q.·   ·Do you report to the mayor or to the council?
 ·7   Q.·   ·Who is representing the City, then, if you're not?         ·7   A.·   ·Both.
 ·8   A.·   ·I can't tell you at this point.· I can't remember the      ·8   Q.·   ·So, the mayor can direct you without action by the
 ·9   ··    ·name.                                                      ·9   ··    ·council?
 10   Q.·   ·Well, is it insurance counsel?                             10   A.·   ·Certainly.
 11   A.·   ·(Nods head.)                                               11   ··    · · · We all serve at the will -- all appointed officials
 12   Q.·   ·That's a "yes"?                                            12   ··    ·serve at the will and pleasure of mayor and council.· If
 13   A.·   ·Yes.                                                       13   ··    ·they come to me and ask me to do something, I typically
 14   ··    · · · I'm sorry.· Yes.                                      14   ··    ·do it, if it's within the legal --
 15   Q.·   ·Okay.· So, that's ongoing.· That's in federal court.       15   Q.·   ·Well, the charter defines what you can do and can't do,
 16   ··    · · · Do you understand what the allegations are there?     16   ··    ·doesn't it?· Just like it does with the police chief and
 17   A.·   ·Yes.                                                       17   ··    ·just like it does with the mayor?
 18   Q.·   ·What do you understand them to be?                         18   A.·   ·Well, the mayor and council define what I do, too. I
 19   A.·   ·Allegations of excessive force.                            19   ··    ·mean, they tell me to do something.· I work for the
 20   Q.·   ·Okay.· And what was the other one against Officer          20   ··    ·mayor and council.
 21   ··    ·Furman?                                                    21   Q.·   ·Well, they can't go outside the scope of the charter,
 22   A.·   ·Yeah.· It was a -- I don't know if that's in litigation    22   ··    ·can they?· They can only stay within the scope of the
 23   ··    ·right now or if that's been settled.                       23   ··    ·charter when they direct you what to do; right?
 24   Q.·   ·Okay.· What was it about?                                  24   A.·   ·That would be correct.
 25   A.·   ·The one you alluded to in your previous depositions. A     25   Q.·   ·All right.
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 ·1   ··    ·young lady who said that she was placed outside of her     ·1   A.·   ·I believe that would be correct.
 ·2   ··    ·vehicle.                                                   ·2   Q.·   ·All right.· So, I'm going to go back to the other
 ·3   ··    · · · I'm not representing the City.· I've not been         ·3   ··    ·lawsuit.
 ·4   ··    ·involved in that.                                          ·4   ··    · · · Who is the plaintiff in that one?
 ·5   Q.·   ·Was that in city -- state or federal court?                ·5   A.·   ·I don't know the name.
 ·6   A.·   ·To the best of my knowledge, that's in Wayne County        ·6   Q.·   ·Well, tell me what the facts are, and I'll be able to
 ·7   ··    ·Circuit Court.· I'm not 100 percent certain.               ·7   ··    ·figure it out.
 ·8   Q.·   ·Is that excessive force as well?                           ·8   A.·   ·It was the lady who was put outside her vehicle.
 ·9   A.·   ·I haven't been involved in that as much, so I really       ·9   Q.·   ·With her children?
 10   ··    ·don't --                                                   10   A.·   ·Yeah.
 11   Q.·   ·Don't you track these cases, though, in your role as       11   ··    · · · She was placed outside her motor vehicle, and there
 12   ··    ·corp counsel?                                              12   ··    ·was an issue that you alluded to, and I don't remember
 13   A.·   ·I try to, but I'm kind of busy right now with some other   13   ··    ·now --
 14   ··    ·litigation with the City.                                  14   Q.·   ·Is that case ongoing?
 15   Q.·   ·Well, have you been directed by the City to be involved    15   A.·   ·I don't recall if it's been resolved yet or not.
 16   ··    ·in this litigation, even though you've got insurance       16   Q.·   ·Is that Henderson?
 17   ··    ·counsel?                                                   17   A.·   ·That is -- I believe that is correct.· Yeah, that's the
 18   A.·   ·I'm -- yes.                                                18   ··    ·name.
 19   Q.·   ·Did that happen on the record in some kind of formal       19   Q.·   ·And who is the insurance counsel for that?
 20   ··    ·vote by the council?                                       20   A.·   ·I don't have it in front of me.· I've not worked with
 21   A.·   ·Not to the best of my knowledge, no.                       21   ··    ·that individual.
 22   Q.·   ·Or is it just that you have chosen to be here?             22   ··    · · · I have --
 23   A.·   ·I've been directed to be here.                             23   Q.·   ·You don't remember the law firm?
 24   Q.·   ·But that's not in writing anywhere?                        24   A.·   ·-- talked -- I don't remember the law firm.· Sorry.
 25   A.·   ·No.· I've been directed to be here.                        25   ··    ·Honestly, I don't.

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 ·1   Q.·   ·So, do you have a role with that lawsuit?                  ·1   · · · · · You have no expertise in the Elliott-Larsen Civil
 ·2   A.·   ·Minimal.                                                   ·2   · · ·Rights Act.· Am I correct on that?
 ·3   Q.·   ·Okay.                                                      ·3   A.· ·I have dealt with it.
 ·4   A.·   ·I've had minimal involvement.                              ·4   Q.· ·In what way?
 ·5   Q.·   ·What was your involvement with Chad Hayse during the       ·5   A.· ·In litigation.
 ·6   ··    ·time he was chief?· Did you have any reason to interact    ·6   Q.· ·What litigation?
 ·7   ··    ·with him?                                                  ·7   A.· ·Several times over the years.
 ·8   A.·   ·I attempted to.                                            ·8   Q.· ·Can you just tell me what you're referring to?
 ·9   Q.·   ·Okay.· For what purpose?                                   ·9   · · · · · Have you --
 10   A.·   ·Prosecution issues.                                        10   A.· ·In a labor issue, I think.
 11   Q.·   ·Okay.· What else other than that?                          11   Q.· ·Well, labor doesn't involve --
 12   A.·   ·Any and all issues surrounding the police department.      12   A.· ·Well, I'm trying to --
 13   Q.·   ·Well, I'm asking you what they are, sir.                   13   Q.· ·-- usually, Elliott-Larsen.
 14   ··    · · · What -- for what reason would you have interacted     14   A.· ·Well, I've -- I've used it -- I've argued.· I can't
 15   ··    ·with the police chief that you can think of here today,    15   · · ·recall when I -- but I am familiar with it a little bit.
 16   ··    ·other than prosecutions and other than just the normal     16   · · · · · THE REPORTER:· Excuse me?
 17   ··    ·routine?                                                   17   A.· ·I'm familiar with it a little bit.· I don't recall.
 18   A.·   ·Well, Public Safety Commission meetings I attended, and    18   · · ·Yeah, I mean --
 19   ··    ·he was there as well.                                      19   BY MS. GORDON:
 20   Q.·   ·Okay.                                                      20   Q.· ·Okay.· All right.· So, have you ever done any training
 21   A.·   ·So, we had interaction there.                              21   · · ·or asked that any training be done or -- leave you out
 22   ··    · · · Sometimes prior to the meetings, there would be       22   · · ·of it.
 23   ··    ·some discussion, not very often, though.· Chad didn't      23   · · · · · Has anybody from the City, as far as you know, ever
 24   ··    ·really talk to me very much.                               24   · · ·done any training with the police department --
 25   Q.·   ·Okay.                                                      25   A.· ·Yes.
                                                             Page 142                                                               Page 144
 ·1   A.·   ·I don't think he liked me.                                 ·1   Q.· ·Let me finish.
 ·2   Q.·   ·What makes you think that?                                 ·2   A.· ·Okay.
 ·3   A.·   ·Well, I'll tell you what makes me think that.              ·3   Q.· ·-- with regard to civil rights laws?
 ·4   ··    · · · There was an issue which I'm sure you're aware of     ·4   A.· ·We've had -- it's probably been several years.· But,
 ·5   ··    ·when we first started -- when he -- he was an interim      ·5   · · ·yes, I've been involved with training at the request of
 ·6   ··    ·police chief, and the co-applicant's position submitted    ·6   · · ·Officer Bajorek and put on some training for the police
 ·7   ··    ·an application and within a few minutes of Mr. Plemons     ·7   · · ·department on various issues.
 ·8   ··    ·submitting his application, Mr. Hayse was calling his      ·8   Q.· ·But I'm not asking about various issues.· I'm asking
 ·9   ··    ·references and verifying his experience and training       ·9   · · ·about civil rights.
 10   ··    ·that were provided for in Mr. Plemons' application.· And   10   · · · · · Let me break it down.
 11   ··    ·I think Mr. Hayse thinks -- well, first of all, I put on   11   · · · · · Have you -- are you aware of any training that's
 12   ··    ·the record in front of the mayor and council -- and that   12   · · ·been provided with regard to racial profiling, or do you
 13   ··    ·is part of the record -- that Mr. Plemons and I have       13   · · ·know of any?
 14   ··    ·been friends for years, and I really didn't think it       14   A.· ·Do I -- the question is -- let me understand.
 15   ··    ·would be appropriate for me to be involved in any          15   · · · · · Is the question --
 16   ··    ·investigation Mr. Plemons wanted to seek regarding         16   Q.· ·Have you been involved with any training, or do you know
 17   ··    ·Mr. Hayse's conduct.· So, I withdrew from that and --      17   · · ·of any with regard to racial profiling?
 18   Q.·   ·What year are we in here?                                  18   A.· ·I believe we dealt with a little bit of that when
 19   A.·   ·On or about -- probably '14.                               19   · · ·Mr. Bajorek had me come in and give a presentation to
 20   Q.·   ·All right.· Well, if you don't mind, got anything more?    20   · · ·the various members of the police department, both Roger
 21   A.·   ·Well, you asked me why I thought he didn't like me. I      21   · · ·Kaly and I --
 22   ··    ·think that's the case.· I was just answering your --       22   Q.· ·Well, do you know anything about --
 23   Q.·   ·I think that was actually 2012, but okay.                  23   · · · · · THE REPORTER:· I'm sorry?
 24   A.·   ·It may have been.· It may have been.· I'm not certain.     24   BY MS. GORDON:
 25   Q.·   ·All right.· Is -- have you ever done any -- strike that.   25   Q.· ·Do you know anything about racial profiling?

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 ·1   A.·   ·Yeah.· I have a running understanding.· I'm not --         ·1   A.·   ·I met Mike Goch as relates to his application for the
 ·2   Q.·   ·Well, is it --                                             ·2   ··    ·towing position --
 ·3   A.·   ·-- intimately familiar with this.                          ·3   Q.·   ·Had you --
 ·4   Q.·   ·-- a legal running understanding, or is it just what you   ·4   A.·   ·-- at a meeting.
 ·5   ··    ·pick up out there in general in the news media?            ·5   Q.·   ·Had you known him previously?
 ·6   A.·   ·Well, anything --                                          ·6   A.·   ·No.· I have never knew Mike Goch prior to that.
 ·7   Q.·   ·Have you ever had any training yourself on it,             ·7   Q.·   ·Okay.· Do you know anybody in his family?
 ·8   ··    ·professional training?                                     ·8   A.·   ·I've met his brother, and his sister-in-law, who has
 ·9   A.·   ·I have not went to special classes on racial profiling,    ·9   ··    ·also came to city council meetings on behalf of the
 10   ··    ·if that's your question, no.                               10   ··    ·corporation.
 11   Q.·   ·What percentage of your time as corp counsel is done       11   Q.·   ·What his brother's name?
 12   ··    ·acting as prosecutor for the City?                         12   A.·   ·I don't know.· I just call him "Mr. Goch."
 13   A.·   ·I can't really give you percentages.· I can tell you       13   Q.·   ·Okay.· Have you ever had a meeting with Michael Goch
 14   ··    ·more hours.                                                14   ··    ·where the two of you were present anywhere?
 15   Q.·   ·Okay.· Go ahead.                                           15   A.·   ·Have I ever met with --
 16   A.·   ·Usually one full day a week, sometimes -- most often a     16   Q.·   ·Uh-huh.
 17   ··    ·day and a half a week on prosecution issues.· And that     17   A.·   ·Yeah, I've met with him.
 18   ··    ·includes warrants.                                         18   Q.·   ·Okay.· So, how many times, roughly?
 19   Q.·   ·How many days a week are you in court on prosecution       19   A.·   ·More initially when he first got the contract and the
 20   ··    ·issues?                                                    20   ··    ·problems he was having in getting the auctions.· Very
 21   A.·   ·Well, that varies.· If we have trial, it can be several    21   ··    ·infrequently.· I don't really --
 22   ··    ·days.· Typically it's at least one day.                    22   Q.·   ·How many times have you met with him approximately?
 23   Q.·   ·Okay.· Do you have any employees in your office?           23   A.·   ·How many times have I had a meeting with Mike Goch?
 24   A.·   ·Yes.                                                       24   ··    · · · Six, seven, eight.· I don't know.
 25   Q.·   ·Who are they?                                              25   ··    · · · I'm really not sure.
                                                             Page 146                                                                 Page 148
 ·1   A.·   ·Well --                                                    ·1   Q.·   ·Where have you met with him?
 ·2   Q.·   ·Or what job titles are they?                               ·2   A.·   ·My office.
 ·3   A.·   ·Legal secretary and secretary.                             ·3   Q.·   ·Where else?
 ·4   Q.·   ·Okay.                                                      ·4   A.·   ·City hall.
 ·5   A.·   ·Yeah.                                                      ·5   Q.·   ·Where else?
 ·6   Q.·   ·Any other attorneys work for you?                          ·6   A.·   ·For meetings, it would be my office or city hall.
 ·7   A.·   ·Well, there's a number of attorneys who I associate with   ·7   Q.·   ·Have you ever been at a restaurant with him?
 ·8   ··    ·that do work with me or --                                 ·8   A.·   ·Oh, yeah.· A couple times.
 ·9   Q.·   ·Right.· I understand that.                                 ·9   Q.·   ·Okay.· What restaurant?
 10   A.·   ·Yeah.· So, I mean, Roger is in my office with me.          10   A.·   ·The Broadcast Booth.
 11   Q.·   ·Right.                                                     11   Q.·   ·Okay.· What else?
 12   ··    · · · But nobody else is on your payroll?                   12   A.·   ·I don't recall.· Off the top of my head, I don't recall
 13   A.·   ·Payroll.                                                   13   ··    ·any other.
 14   ··    · · · No.                                                   14   Q.·   ·Was anybody else present for these restaurant meetings
 15   ··    · · · At one point, I had up to seven employees working     15   ··    ·or get-togethers?
 16   ··    ·for me, attorneys, and I decided I was working for them.   16   A.·   ·I don't recall.· I've met with him a couple times --
 17   ··    ·They weren't really working for me.· So --                 17   ··    ·several times.· I couldn't tell you.
 18   Q.·   ·When was that?                                             18   Q.·   ·Has your wife ever met him?
 19   A.·   ·Years ago.                                                 19   A.·   ·One time.
 20   Q.·   ·Okay.                                                      20   Q.·   ·Okay.· Where was that?
 21   A.·   ·I found myself coming in at 7:00 a.m. and working until    21   A.·   ·Where did she meet him at?
 22   ··    ·9:00 at night, and they would come in at 10:00 and leave   22   ··    · · · On one occasion, we were at his house.
 23   ··    ·at 3:00.· So, I decided keeping people on a payroll        23   Q.·   ·And what was that for?
 24   ··    ·wasn't really what I wanted to do any more.                24   A.·   ·Dinner.
 25   Q.·   ·When did you meet Michael Goch or anybody in his family?   25   Q.·   ·Okay.

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 ·1   A.·   ·His girlfriend, Katie, cooked dinner.                      ·1   ··    ·Goch?
 ·2   Q.·   ·For the four of you or other people there, too?            ·2   A.·   ·Absolutely not.
 ·3   A.·   ·My son -- my oldest -- my only son.· My son, Luke.         ·3   Q.·   ·Have you ever purchased a car at auction?
 ·4   Q.·   ·What's his name?                                           ·4   A.·   ·Have I?
 ·5   A.·   ·Luke.                                                      ·5   ··    · · · No, I've never --
 ·6   ··    · · · Luke was there.                                       ·6   Q.·   ·Anybody in your family?
 ·7   Q.·   ·Luke Coogan?                                               ·7   A.·   ·No.
 ·8   A.·   ·Yeah.                                                      ·8   Q.·   ·At any Melvindale Police auction, have you ever
 ·9   Q.·   ·How old is he?                                             ·9   ··    ·purchased any vehicle?
 10   A.·   ·Seventeen.                                                 10   A.·   ·No, I haven't.
 11   Q.·   ·Okay.                                                      11   Q.·   ·Has anybody ever purchased a vehicle on your behalf?
 12   A.·   ·My wife.· I believe it was Katie, Mike and myself.· The    12   A.·   ·No.
 13   ··    ·five of us.                                                13   Q.·   ·Do you know the employees of Mike Goch?
 14   Q.·   ·And Katie is who?                                          14   A.·   ·Well, I've seen them come in and out of city hall. I
 15   A.·   ·His girlfriend, I think.                                   15   ··    ·don't know their names.· I don't really -- I don't
 16   ··    · · · Yeah, it's his girlfriend.                            16   ··    ·really know their names.
 17   Q.·   ·Does she live there?                                       17   Q.·   ·What's your daughter's name?
 18   A.·   ·I --                                                       18   A.·   ·Which one?
 19   Q.·   ·As far as you know?                                        19   Q.·   ·I don't know.
 20   A.·   ·She --                                                     20   ··    · · · How many do you have?
 21   Q.·   ·Appears to?                                                21   A.·   ·I have three daughters.· They're beautiful daughters.
 22   A.·   ·Yeah.· I would assume so.· I never really --               22   Q.·   ·You just got lucky.
 23   Q.·   ·Okay.· So, it was the five of you, and they cooked         23   A.·   ·Yeah.
 24   ··    ·dinner for you guys?                                       24   ··    · · · Amy is my oldest.· She's going to be 30.· Annie is
 25   A.·   ·Yeah.· Yeah.                                               25   ··    ·25.· And Abby is 19.
                                                             Page 150                                                                 Page 152
 ·1   Q.·   ·Okay.· Any other times you've been at his home?            ·1   Q.·   ·You're not aware that one of them has purchased a
 ·2   A.·   ·No, no, no.                                                ·2   ··    ·vehicle at a police auction?
 ·3   Q.·   ·Has he been at your home?                                  ·3   A.·   ·My daughters?
 ·4   A.·   ·No.                                                        ·4   Q.·   ·Yeah.· One of your daughters.
 ·5   Q.·   ·Have you been at any club with Mike Goch or anybody in     ·5   A.·   ·No.· I know they haven't.· They purchased a car from
 ·6   ··    ·his family?                                                ·6   ··    ·Mark Chevrolet is where they bought their cars from
 ·7   A.·   ·Any club?                                                  ·7   ··    ·and -- I know the owner, and that's where they bought
 ·8   Q.·   ·Yeah.                                                      ·8   ··    ·their cars from.
 ·9   A.·   ·What do you mean by "club"?· I mean, what do you mean by   ·9   Q.·   ·Have you ever been on Mike Goch's boat?
 10   ··    ·"club"?                                                    10   A.·   ·One time.
 11   Q.·   ·Country club?· Sports club?                                11   Q.·   ·Okay.· When was that?
 12   A.·   ·No.                                                        12   A.·   ·I don't know.· The same day I had dinner.
 13   Q.·   ·Athletic club?· Hunting club?                              13   Q.·   ·What were you doing out there?· Why were you on his boat
 14   A.·   ·No, he was -- I don't think he hunts.                      14   ··    ·and had dinner with him?
 15   Q.·   ·Okay.· Any club?                                           15   A.·   ·He asked me to come over on the boat and go to dinner.
 16   A.·   ·No, I don't -- no, ma'am, I don't think I have.            16   Q.·   ·Well, it sounds like you don't really know him.· You had
 17   Q.·   ·Has he ever given you a gift basket?                       17   ··    ·only met with him a few times.
 18   A.·   ·No.                                                        18   ··    · · · What was the purpose as you understood it?
 19   Q.·   ·Has he ever given you a gift of any kind?                  19   A.·   ·It was just social.
 20   A.·   ·No.                                                        20   Q.·   ·Have you ever been at any sporting event with him?
 21   Q.·   ·Has he ever sent you flowers?                              21   A.·   ·Yes, I have, as a matter of fact.
 22   A.·   ·No, he has not.                                            22   Q.·   ·Okay.· What have you done in that regard?
 23   Q.·   ·Or your law firm flowers?                                  23   A.·   ·I took him to the Red Wings games this year.· One game.
 24   A.·   ·No, he has not sent me flowers or my law firm.             24   Q.·   ·And you bought the tickets?
 25   Q.·   ·Have you ever obtained any money of any kind from Mike     25   A.·   ·Yeah.· Yeah.

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 ·1   Q.·   ·And why did you take Mike Goch to the Red Wings game?      ·1   Q.· ·Aren't you familiar --
 ·2   ··    ·What was the purpose of that?                              ·2   A.· ·I know that Mr. Furman tows vehicles, yes.· I know that
 ·3   ··    · · · Is he a friend?                                       ·3   · · ·Goch & Sons is the tow company.
 ·4   A.·   ·He's kind of a social acquaintance.· You know, I've        ·4   · · · · · As to the dollar amounts they make or don't make, I
 ·5   ··    ·gotten to know him since he's had his contract with the    ·5   · · ·don't know.
 ·6   ··    ·City.                                                      ·6   Q.· ·Well, you get those at the meetings, don't you?
 ·7   Q.·   ·Okay.· Well, how have you gotten to know him since he's    ·7   · · · · · MR. MEIHN:· Object to foundation.
 ·8   ··    ·had --                                                     ·8   A.· ·I haven't seen one of those in a long, long time.
 ·9   A.·   ·Well, I told you.· I went to the Red Wings game with him   ·9   · · ·Honestly, I haven't.
 10   ··    ·this year.                                                 10   BY MS. GORDON:
 11   Q.·   ·Okay.· But how is it you got to know him?                  11   Q.· ·Isn't that a regular topic of conversation at meetings?
 12   ··    · · · You don't have any reason to interact with him now    12   · · · · · MR. MEIHN:· Objection.· Foundation.
 13   ··    ·that he has the contract; am I correct?                    13   BY MS. GORDON:
 14   A.·   ·Well, initially he had some problems with the contract     14   Q.· ·How much money, revenue, is coming in from towing every
 15   ··    ·in that the chief wouldn't allow him to run the            15   · · ·month?
 16   ··    ·auctions.· So, he came to me and said, you know, "My       16   A.· ·Not in a long, long time.
 17   ··    ·agreement says I'm supposed to run these auctions," and    17   Q.· ·Like how long?
 18   ··    ·the chief wouldn't allow him to do that.· So, I got to     18   A.· ·A year and a half ago maybe.
 19   ··    ·talk to him then, and then intermittently issues have      19   Q.· ·Okay.· So, why was it a topic at that time?
 20   ··    ·come up or whatever.                                       20   A.· ·Well, initially, the -- we changed companies because of
 21   Q.·   ·Like what?                                                 21   · · ·some issues going on, and no one could produce a
 22   A.·   ·You know --                                                22   · · ·contract.· No one had the contract with Gene's Towing,
 23   Q.·   ·Like Mike -- Mark Furman and -- the Matthew Furman and     23   · · ·and the mayor came in and said, "How do we have this
 24   ··    ·the towing?· Has that come up a couple times?              24   · · ·relationship?· Where is the contract at?"
 25   A.·   ·Has it come up with me and him?                            25   · · · · · So, then the mayor went out and that's how --
                                                             Page 154                                                               Page 156
 ·1   Q.· ·Yeah.                                                        ·1   Q.· ·I don't need the whole backstory.· I had a very specific
 ·2   · · · · · You said he's had some issues.                          ·2   · · ·question.
 ·3   A.· ·Well, it was primarily when he first got the contract.       ·3   A.· ·So, what was it you'd like to know?· What would you like
 ·4   · · ·It was kind of rocky at first, and then it kind of           ·4   · · ·to know?
 ·5   · · ·smoothed out.                                                ·5   · · · · · MS. GORDON:· Would you read the question back,
 ·6   Q.· ·I know, but then I asked you a different question --         ·6   · · ·John?
 ·7   A.· ·Okay.· What was that question?· I --                         ·7   · · · · · THE REPORTER:· Yes.· One second, please.
 ·8   Q.· ·He's discussed Matthew Furman with you a couple times;       ·8   A.· ·I'm not trying to be evasive, I just --
 ·9   · · ·correct?                                                     ·9   · · · · · MS. GORDON:· That's fine.
 10   A.· ·I don't recall specifically discussing Matt Furman with      10   · · · · · (Record repeated by the reporter.)
 11   · · ·him.                                                         11   A.· ·Oh, okay.
 12   Q.· ·Well, you remember in general, though, his name coming       12   BY MS. GORDON:
 13   · · ·up; correct?                                                 13   Q.· ·Why was towing a topic at city council or Public Safety
 14   A.· ·I don't specifically remember talking to him about           14   · · ·Commission meetings?
 15   · · ·Mr. Furman.                                                  15   A.· ·Well, I think there was -- it wasn't towing.· It was
 16   · · · · · I don't.                                                16   · · ·tickets and towing, and the whole issue.· There was a
 17   Q.· ·Okay.· Are you aware that Furman generates a great deal      17   · · ·significant drop, and the chief was asked, "Chief, do
 18   · · ·of money for Goch & Sons?                                    18   · · ·you know why the enforcement has dropped so much?"· And
 19   · · · · · You must be.                                            19   · · ·he didn't know.
 20   A.· ·I'm not -- I'm not certain what money he does.               20   Q.· ·The enforcement or the towing?
 21   Q.· ·Well, aren't you --                                          21   A.· ·The enforcement -- well, obviously, enforcement is part
 22   A.· ·I know that Mr. Furman --                                    22   · · ·of towing.
 23   Q.· ·-- familiar with the contract?                               23   · · · · · If you pick someone up and give them a citation,
 24   · · · · · THE REPORTER:· Excuse me --                             24   · · ·you have to tow their vehicle, if you have to tow their
 25   BY MS. GORDON:                                                    25   · · ·vehicle, that's part of the citation.

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 ·1   · · · · · So, both the citations were down and so was towing.   ·1   · · ·written by anybody.
 ·2   Q.· ·Okay.· Here's my question to you, sir.· Here is how this   ·2   BY MS. GORDON:
 ·3   · · ·started:· I asked you, isn't it true that Goch & Sons      ·3   Q.· ·Well, haven't you stated publicly that the reduction in
 ·4   · · ·makes a great deal of money based on Matthew Furman's      ·4   · · ·tows is a reduction in revenue for the City?
 ·5   · · ·towing?                                                    ·5   A.· ·Any lack of enforcement --
 ·6   · · · · · Can you answer that "yes" or "no"?                    ·6   Q.· ·You can just answer "yes" or "no" to my question.
 ·7   · · · · · MR. MEIHN:· I would object -- object to foundation.   ·7   A.· ·Okay.· Any lack of enforcement --
 ·8   A.· ·I don't know.                                              ·8   Q.· ·I didn't want you to just opine in general.
 ·9   BY MS. GORDON:                                                  ·9   · · · · · THE REPORTER:· I'm sorry.
 10   Q.· ·Well, aren't you familiar with the contract?               10   BY MS. GORDON:
 11   · · · · · Didn't you help negotiate the contract?               11   Q.· ·Did you state publicly in a meeting that a reduction in
 12   A.· ·They're pay-per-tow.· As to how much they're making, I     12   · · ·tows is a reduction in revenue?
 13   · · ·don't know if they're making a lot.                        13   A.· ·I don't recall making that exact statement, no, or
 14   · · · · · Your statement was, did they make a lot of money?     14   · · ·anything similar.· I don't recall that.
 15   · · · · · I don't --                                            15   Q.· ·I mean -- and you've expressed that your concern as
 16   Q.· ·Did you -- did you help negotiate the contract?            16   · · ·corporation counsel is that you're in a deficit
 17   A.· ·Certainly.                                                 17   · · ·elimination plan, and you do not want to see a reduction
 18   Q.· ·Do you know what their towing rates are?                   18   · · ·in tows, haven't you?
 19   A.· ·Not off the top of my head, but it's in the contract.      19   A.· ·Have I said we're in a deficit elimination plan?· Yes.
 20   Q.· ·Okay.· Do you know how much money the City obtains         20   · · · · · Do I want to see a reduction in enforcement?· No.
 21   · · ·roughly each month?· Do you get that information at        21   Q.· ·That wasn't my question.
 22   · · ·council meetings?                                          22   · · · · · MS. GORDON:· Would you read my question back, John?
 23   A.· ·I haven't -- as I indicated just earlier, we haven't       23   A.· ·I thought it was two questions.· I tried to answer both.
 24   · · ·seen that in about a year and a half or so.                24   BY MS. GORDON:
 25   Q.· ·You're not aware this is -- Mike -- Goch & Sons Towing     25   Q.· ·Just listen to the question.
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 ·1   · · ·makes a presentation at the council meetings?              ·1   A.· ·I'm doing my best.
 ·2   A.· ·They haven't done that in about a year and a half or so.   ·2   · · · · · · ·(Record repeated by the reporter.)
 ·3   · · ·I haven't seen them there recently -- in a long, long      ·3   A.· ·Okay.· Yes, I've said we're in a deficit elimination
 ·4   · · ·time.                                                      ·4   · · ·plan.
 ·5   · · · · · Initially they did, but they don't do it any more.    ·5   · · · · · I'm not certain if I ever said I don't want to see
 ·6   Q.· ·Well, common sense would tell you that Goch & Sons is      ·6   · · ·a reduction in tows.· I don't recall making that
 ·7   · · ·making significant money off of the towing done in         ·7   · · ·specific statement, no.
 ·8   · · ·Melvindale; correct?· You know that?                       ·8   BY MS. GORDON:
 ·9   · · · · · MR. MEIHN:· Objection to foundation.                  ·9   Q.· ·And you've also talked in meetings that -- of being
 10   BY MS. GORDON:                                                  10   · · ·aware that Furman does 80 percent of the towing;
 11   Q.· ·Correct?                                                   11   · · ·correct?
 12   A.· ·No, that's not correct.· I don't know what they're         12   A.· ·I heard someone make that statement.
 13   · · ·making.· I don't keep track of what Mike Goch's tow        13   · · · · · As to whether or not that's correct, I don't keep
 14   · · ·company makes per month.· I really don't.· I could care    14   · · ·track of who tows what --
 15   · · ·less.                                                      15   Q.· ·You're the one that made the statement, sir.
 16   Q.· ·Do you keep -- you could care less?                        16   · · · · · Do you remember making the statement?
 17   A.· ·Honestly, yes, I do.· I could care less.· I have a lot     17   A.· ·I don't remember making the statement that he does
 18   · · ·of other things to worry about.                            18   · · ·80 percent of the tows, no.
 19   Q.· ·Okay.· Well, you're very concerned about the number of     19   Q.· ·Well, actually --
 20   · · ·tows in the City of Melvindale each month, aren't you?     20   A.· ·I remember somebody else making that statement.
 21   A.· ·No.                                                        21   Q.· ·Actually, you said it, but actually you were low.· He
 22   · · · · · MR. MEIHN:· Object to foundation.                     22   · · ·does more than 80 percent of the towing.
 23   A.· ·I would say, you know, from an enforcement, I'd like to    23   A.· ·Okay.· Well, I don't really keep track of his percentage
 24   · · ·keep a busy prosecution.· But, you know, I don't write     24   · · ·of tows.
 25   · · ·the tickets.· I have no influence on what tickets are      25   Q.· ·Oh, don't you?

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 ·1   A.·   ·No, I don't.                                               ·1   BY MS. GORDON:
 ·2   Q.·   ·Well, then how is it you stated it at a public meeting     ·2   Q.· ·-- December 2017?
 ·3   ··    ·if you don't keep track of it?                             ·3   · · · · · MR. MEIHN:· Sorry.
 ·4   A.·   ·Somebody might have had to tell me, because it's not       ·4   · · · · · Objection to foundation.
 ·5   ··    ·like I keep score.                                         ·5   A.· ·Are you saying that something was in the mayor and
 ·6   Q.·   ·Oh, okay.                                                  ·6   · · ·council's packet?
 ·7   A.·   ·If I said it at all.· I don't recall.                      ·7   BY MS. GORDON:
 ·8   ··    · · · I might have.· It's not really something I keep       ·8   Q.· ·I have --
 ·9   ··    ·track of.                                                  ·9   A.· ·I don't recall seeing those, no.
 10   Q.·   ·And is Mike Goch still getting up in meetings and          10   Q.· ·You know what?
 11   ··    ·announcing how many cars were towed each month?            11   A.· ·I don't recall seeing those.
 12   A.·   ·I've asked that -- answered that question at least three   12   Q.· ·I didn't ask you if you saw anything in the packet.
 13   ··    ·times, and I'll answer it again.                           13   A.· ·Okay.
 14   Q.·   ·Go ahead.                                                  14   · · · · · MS. GORDON:· Would you read the question back,
 15   A.·   ·I don't believe I've seen Mike Goch talk about towing      15   · · ·John?
 16   ··    ·for about a year and a half, to the best of my             16   · · · · · THE REPORTER:· Yes.· One second, please.
 17   ··    ·information, knowledge and belief.                         17   · · · · · · ·(Record repeated by the reporter.)
 18   Q.·   ·Who else is there from his office that talks about         18   BY MS. GORDON:
 19   ··    ·towing?                                                    19   Q.· ·Do you deny that?
 20   A.·   ·I don't believe anybody has come before the council in     20   A.· ·I have not seen reports for Goch Towing in a long time.
 21   ··    ·the last year and a half or so.                            21   Q.· ·Do you know what?· I --
 22   ··    · · · I mean initially, when Mike first got the contract,   22   A.· ·And I don't know.· I've never seen those.
 23   ··    ·Goch & Sons --                                             23   · · · · · So, I'd have to -- I'd have to see --
 24   Q.·   ·Since this lawsuit was filed, they stopped coming?· Is     24   Q.· ·Mr. Coogan, you're either not listening to the question
 25   ··    ·that about when it happened?                               25   · · ·or you're intentionally prevaricating.· I didn't ask
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 ·1   A.·   ·I didn't say that.                                         ·1   · · ·you --
 ·2   ··    · · · When was this filed?                                  ·2   A.· ·I'm not prevaricating anything.
 ·3   Q.·   ·I'm asking you.                                            ·3   Q.· ·Oh, yes, you are.· I never used the words "did you see"?
 ·4   A.·   ·When was this filed?                                       ·4   · · · · · I said "they made reports at meetings."
 ·5   ··    · · · I'd have to look at that.· I don't know when it was   ·5   · · · · · And I said, "Are you denying that?"
 ·6   ··    ·filed.                                                     ·6   · · · · · So, are you?· "Yes" or "no"?· That they got up --
 ·7   Q.·   ·All right.· So, this is a transcript of a meeting of the   ·7   A.· ·I do not recall --
 ·8   ··    ·Public Safety Commission --                                ·8   · · · · · THE REPORTER:· Excuse me.
 ·9   A.·   ·Okay.                                                      ·9   BY MS. GORDON:
 10   Q.·   ·-- dated 7-12-16.                                          10   Q.· ·Hang on.
 11   ··    · · · Mr. Goch opens up by saying:                          11   · · · · · That they get up and make a report?
 12   ··    · · · · · ·"Good evening.· I'm Mike Goch from Goch & Sons   12   A.· ·I do not recall them giving a report in front of the
 13   ··    · · · Towing.· I just wanted to give a report from          13   · · ·mayor and council in quite some time.
 14   ··    · · · last month's total."                                  14   · · · · · And if you're saying it happened up and through
 15   A.·   ·And what was the date of that?                             15   · · ·every month to 2017 --
 16   Q.·   ·Hang on.· Hang on.                                         16   Q.· ·Yes.
 17   ··    · · · And we have -- this is July 2016.                     17   A.· ·-- I don't believe that.· No, I don't believe that's
 18   A.·   ·Okay.                                                      18   · · ·correct.
 19   Q.·   ·And we have monthly reports from Goch at the council       19   Q.· ·Okay.· That's fine.
 20   ··    ·meetings, including December -- all through, every         20   A.· ·I don't believe that's correct.
 21   ··    ·month, through December 2017.                              21   Q.· ·Then maybe you're lying under oath here today, sir.
 22   ··    · · · Do you deny that, that there's been reports given     22   A.· ·I don't recall that --
 23   ··    ·every month at city council meetings about towing          23   · · · · · MR. THOMAS:· Objection.
 24   ··    ·through --                                                 24   BY MS. GORDON:
 25   ··    · · · MR. MEIHN:· Objection to foundation --                25   Q.· ·Maybe you just are.

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 ·1   · · · · · MR. THOMAS:· That's argumentative, Ms. Gordon.          ·1   Q.·   ·(Reading.)
 ·2   A.· ·I don't recall seeing any reports.                           ·2   ··    · · · · · ·"I don't think anybody wants the State of
 ·3   · · · · · MR. THOMAS:· Excuse me.· I'm objecting.                 ·3   ··    · · · Michigan coming in and the effects that would
 ·4   · · · · · That's argumentative, and you're harassing the          ·4   ··    · · · have on our community."
 ·5   · · ·witness with statements like that.                           ·5   ··    · · · Do you remember saying that?
 ·6   BY MS. GORDON:                                                    ·6   A.·   ·No, I don't remember saying it, but if it's in the
 ·7   Q.· ·And do you recall Goch & Sons making reports at Public       ·7   ··    ·transcript, I certainly said it.
 ·8   · · ·Safety Commission meetings about the amounts of tows and     ·8   ··    · · · That was 2016.· I don't remember.
 ·9   · · ·the amounts of revenue?                                      ·9   ··    · · · I don't want to see a reduction in any revenue
 10   A.· ·They had, yes.· I haven't seen that in a long, long          10   ··    ·streams on behalf of the City.
 11   · · ·time.· In the past they had, though.                         11   Q.·   ·What other sports events have you been with Mike Goch
 12   Q.· ·And do you recall Mr. Bolton being concerned about the       12   ··    ·to?
 13   · · ·trend of towing going backwards, at a Public Safety          13   A.·   ·None.
 14   · · ·Commission meeting, or expressing concern in some other      14   Q.·   ·Any other ball games of any kind?
 15   · · ·way?                                                         15   A.·   ·No.
 16   A.· ·I think the Safety Commission was concerned, yes.            16   Q.·   ·Do you text with him?
 17   · · · · · And the chief was asked, and he didn't know why it      17   A.·   ·Not particularly.
 18   · · ·was up or down.                                              18   Q.·   ·I don't know what "not particularly" means.· It's either
 19   Q.· ·So, I have minutes or a transcript from a meeting where      19   ··    ·kind of a "yes" or a "no" or a "sometimes," I guess.
 20   · · ·Bolton is asking -- or discussing the number of tows and     20   A.·   ·Have I ever gotten a text from him?
 21   · · ·Bolton asks:                                                 21   Q.·   ·Yes.
 22   · · · · · · · ·"How can one officer be the one that does          22   A.·   ·Yes, I have.
 23   · · · · · all the towing?"                                        23   Q.·   ·Okay.· And what does he text with you about?
 24   · · · · · And you say:                                            24   A.·   ·He bought a boat.
 25   · · · · · · · ·"I think it was 80 percent."                       25   Q.·   ·I didn't ask you whether he bought a boat.· I asked what
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 ·1   ··    · · · Does that sound familiar to you, referring to         ·1   ··    ·the texts were about.
 ·2   ··    ·Furman?                                                    ·2   A.·   ·I just responded to the question.
 ·3   A.·   ·We talked about that earlier.                              ·3   ··    · · · He texted me about he bought a boat.
 ·4   ··    · · · I don't recall saying that, but maybe I did, yeah.    ·4   Q.·   ·Why?
 ·5   Q.·   ·Well, it says right here:                                  ·5   A.·   ·I don't know why he bought a boat.
 ·6   ··    · · · · · ·"I think it was 80 percent."                     ·6   Q.·   ·I didn't ask --
 ·7   ··    · · · You're not denying that, are you?                     ·7   A.·   ·He was glad he bought a boat.· He was happy he bought a
 ·8   A.·   ·I don't know what percentage -- if I said it back then,    ·8   ··    ·boat or something.
 ·9   ··    ·I knew it then.                                            ·9   Q.·   ·So, he contacted you?
 10   ··    · · · When was that meeting; if you know?                   10   A.·   ·He sent a text saying, "I bought a boat."
 11   ··    · · · But I don't recall --                                 11   Q.·   ·And when was that?· Recently?
 12   Q.·   ·We already said.· July 2016.                               12   A.·   ·Yeah.
 13   A.·   ·Oh.· I don't remember what was said in July 2016 in a      13   Q.·   ·This spring?
 14   ··    ·meeting.· I'm sorry.                                       14   A.·   ·No.· It -- well, it was -- it was a couple days ago.
 15   Q.·   ·Okay.· So, here is you also speaking at the same meeting   15   ··    ·Actually he sent me a picture, so --
 16   ··    ·saying:                                                    16   Q.·   ·Can you pull it up?
 17   ··    · · · · · ·"My concern as a corporation counsel is          17   A.·   ·Yeah.
 18   ··    · · · that we're still in a Deficit Elimination Plan.       18   Q.·   ·Let's see.
 19   ··    · · · The reduction in tows means reduction in revenue      19   A.·   ·I don't -- it was a picture of like four boats.· I'm not
 20   ··    · · · for the City, and since, like I said, we're           20   ··    ·sure which --
 21   ··    · · · still in a Deficit Elimination Plan, and that         21   Q.·   ·Okay.
 22   ··    · · · concerns me."                                         22   A.·   ·-- one it is.
 23   A.·   ·Well, if I said it, I said it.                             23   Q.·   ·That's fine.· No problem.
 24   Q.·   ·I'm not done yet.                                          24   A.·   ·I haven't seen the boat.
 25   A.·   ·Oh, I'm sorry.· I thought it was a question.               25   ··    · · · I'm waiting for my phone to start up.

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 ·1   Q.·   ·Okay.                                                      ·1   · · · · · And he sent me a picture of a row boat.
 ·2   A.·   ·Do you want to ask me another question in between or no?   ·2   Q.· ·May I -- can I see it?
 ·3   Q.·   ·It can't be that long, is it?                              ·3   A.· ·No.· I'm not going to give you my phone.· You can look
 ·4   A.·   ·Well --                                                    ·4   · · ·at it.
 ·5   Q.·   ·What's your model there?                                   ·5   · · · · · MR. THOMAS:· Stand over there by her --
 ·6   ··    · · · How old is that phone?                                ·6   A.· ·It was a joke.· Evidently it's not a row boat.
 ·7   A.·   ·Stop it.· I think it's a 7.                                ·7   · · · · · MS. GORDON:· Hang on.· I can't read it.
 ·8   Q.·   ·Come on, 7s are pretty fast.                               ·8   A.· ·Oh, okay.
 ·9   A.·   ·Oh, God.· Now I can't find it.                             ·9   · · · · · MS. GORDON:· Just hang on a second.
 10   ··    · · · Let me see if I can find it.                          10   A.· ·Let me get my glasses on, too.
 11   ··    · · · I can't seem to locate it right now.                  11   · · · · · I said:
 12   Q.·   ·You must have him in there as a contact.                   12   · · · · · · · ·"Send me a picture of your new boat."
 13   ··    · · · What do you have him under?· "Mike"?                  13   · · · · · And he sent this one.· It was a row boat.
 14   A.·   ·I have it under "Mike Goch."· It would be his name. I      14   BY MS. GORDON:
 15   ··    ·put it under his name.                                     15   Q.· ·What's before that, before the:
 16   Q.·   ·You can search "Mike Goch" on the top of the thing.        16   · · · · · · · ·"Send me a picture of your new boat"?
 17   A.·   ·I'm looking for a boat that he sent me.                    17   A.· ·(Reading.)
 18   Q.·   ·Yeah.· I just -- go to "Mike --"                           18   · · · · · · · ·"Sounds good."
 19   A.·   ·Here it is.                                                19   · · · · · · · ·"Okay."
 20   Q.·   ·Okay.· Are all those texts from Mike Goch that you're      20   Q.· ·Scroll back.
 21   ··    ·looking at?                                                21   · · · · · What's the date of this?
 22   A.·   ·No.· I was looking for -- it's not loading.                22   A.· ·This is Friday.
 23   ··    · · · He sent me a link to click on.· It's a boat.· It's    23   Q.· ·This past Friday?
 24   ··    ·"axopar 28" or something.· I don't even know what it is.   24   A.· ·Uh-huh.
 25   Q.·   ·Well, let's just see the text.                             25   Q.· ·All right.· So, roll back to the beginning of last
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 ·1   A.·   ·I'm trying to pull it up.                                  ·1   ··    ·Friday's text communications.
 ·2   ··    · · · I don't have very good service in your place here.    ·2   A.·   ·I'll make you a copy of these texts that we did last
 ·3   Q.·   ·Who is your carrier?                                       ·3   ··    ·Friday.· That' --
 ·4   ··    · · · There it is.                                          ·4   Q.·   ·I just want to take a look at them while you're here,
 ·5   A.·   ·Well, it's not.· That's something else.                    ·5   ··    ·and then you can get me a copy.
 ·6   ··    · · · I'm trying to download, and it's not downloading.     ·6   A.·   ·Okay.· This is dated --
 ·7   Q.·   ·Well who is your carrier?                                  ·7   Q.·   ·Because I might have some questions.
 ·8   A.·   ·Sprint.                                                    ·8   A.·   ·Yeah, Friday.
 ·9   ··    · · · So, yeah.· He said he bought a boat.· He sent me a    ·9   Q.·   ·Okay.· But what's before that?
 10   ··    ·link, and I clicked on the picture.                        10   ··    · · · How many -- how long a string do you have there
 11   Q.·   ·Okay.· I'm looking for the text, though.                   11   ··    ·with Goch?
 12   A.·   ·Yeah.                                                      12   A.·   ·I don't know.
 13   Q.·   ·I mean you shouldn't need service to pull up texts that    13   Q.·   ·Well, roll back and tell me what the date is on your
 14   ··    ·are on your phone.                                         14   ··    ·phone.
 15   A.·   ·No, no.· I -- yeah.                                        15   ··    · · · How far back does it go?
 16   ··    · · · I don't have a picture of his boat, though.           16   A.·   ·I don't know.
 17   ··    · · · I sent him:                                           17   Q.·   ·Well, why?· It's --
 18   ··    · · · · · ·"Send me a picture of your new boat."            18   A.·   ·April 16th, there's a text.· He had 40,000 pounds of
 19   ··    · · · And he sent me this, and I can't load it.· So --      19   ··    ·chicken were on the freeway, and he was cleaning it up.
 20   Q.·   ·I'm interested in the text, not the pictures.              20   Q.·   ·Okay.· I just -- I want to see when you first started
 21   ··    · · · And they're already on your phone, so they don't      21   ··    ·texting with Goch.
 22   ··    ·really need to load.· I just want to see your text with    22   A.·   ·I have some texts from him.
 23   ··    ·Goch about that.                                           23   Q.·   ·I know.· Just let me know when the first date is.
 24   A.·   ·It says:                                                   24   A.·   ·April 15th, this one says.
 25   ··    · · · · · ·"Send me a picture of your boat."                25   Q.·   ·That's not your first text.· You've been texting with

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 ·1   ··    ·him for a long time.                                       ·1   Q.·   ·When did you get the phone?
 ·2   A.·   ·You're asking me, and I'm telling you.                     ·2   A.·   ·I don't know.· I've had it for a couple years.
 ·3   ··    · · · Oh, he actually called me because he was watching a   ·3   Q.·   ·What other texts do you have on there from him that
 ·4   ··    ·movie on TV, and I was on -- in the movie.· So, he sent    ·4   ··    ·you're seeing?
 ·5   ··    ·me a picture of me in the movie.· He said he couldn't      ·5   A.·   ·I'm trying to find --
 ·6   ··    ·believe it.· He said the guy looked just like me.· It      ·6   Q.·   ·Well, they're in front of you, sir.· So, just, what are
 ·7   ··    ·was Christopher Walken and myself, and that's on April     ·7   ··    ·you seeing from him?
 ·8   ··    ·15th.                                                      ·8   ··    · · · May I take a look at it over your shoulder?
 ·9   Q.·   ·Okay.                                                      ·9   ··    · · · I'll come around.
 10   A.·   ·So, I can give you that.                                   10   A.·   ·Yeah.
 11   Q.·   ·So, when did you're first start texting with Mike Goch?    11   ··    · · · There's a SMART bus.· I don't know what that was
 12   A.·   ·I don't text very often.· I don't know.· I can't --        12   ··    ·about.
 13   Q.·   ·I didn't ask you that.                                     13   Q.·   ·Hang on.· I'm coming over.
 14   A.·   ·I don't know.· I couldn't answer that question.            14   ··    · · · Okay.· That's September what year?
 15   Q.·   ·It's going to be on your phone, Mr. Coogan.· We can all    15   A.·   ·It would be September '17.
 16   ··    ·go to our phones and find out when the first text is we    16   Q.·   ·Okay.· Scroll back.
 17   ··    ·receive from somebody.                                     17   A.·   ·So, August --
 18   A.·   ·Well, I don't know.                                        18   Q.·   ·(Reading.)
 19   ··    · · · I don't know when I first started texting with him.   19   ··    · · · · · ·"I have Luke's car.
 20   Q.·   ·Okay.· It's on your phone.· Just take a minute and         20   ··    · · · · · ·Dougherty is done."
 21   ··    ·scroll back to the beginning of the chain.                 21   ··    · · · · · ·"Done like prison?"
 22   A.·   ·I don't know.· There's some texts to Mike Goch.            22   A.·   ·Yeah.
 23   Q.·   ·Okay.· Well, how far back have you gone?· Where are you    23   Q.·   ·Scroll back.
 24   ··    ·in the --                                                  24   ··    · · · The other way.
 25   A.·   ·November '17.                                              25   ··    · · · Okay.
                                                             Page 174                                                                 Page 176
 ·1   Q.·   ·Okay.· Keep going.                                         ·1   · · · · · · · ·"Sorry."
 ·2   A.·   ·He indicated he wanted to call me about something, and I   ·2   · · · · · Hang on.
 ·3   ··    ·said:                                                      ·3   · · · · · · · ·"Mike, are you up?
 ·4   ··    · · · · · ·"I'm hunting."                                   ·4   · · · · · · · ·Can I call you?"
 ·5   Q.·   ·Uh-huh.· What did he want to call you about?               ·5   A.· ·Uh-huh.
 ·6   A.·   ·He said:                                                   ·6   Q.· ·What's that a picture of?
 ·7   ··    · · · · · ·"Give me a call back if you're not busy."        ·7   A.· ·That's a car accident that my son's car was in.
 ·8   Q.·   ·What was that about?                                       ·8   Q.· ·So, why were you calling Goch?
 ·9   ··    · · · What did he want to talk about?                       ·9   A.· ·Because he had -- he has a yard, and I wanted to buy --
 10   A.·   ·I don't know.· A FOIA request or something.· I don't       10   · · ·see if he had any parts.
 11   ··    ·know.                                                      11   · · · · · THE REPORTER:· Excuse me?· Sorry.
 12   Q.·   ·What do you mean "a FOIA request"?· From who?              12   A.· ·He has a yard, and I asked to see if I could buy any
 13   A.·   ·I don't -- I don't know.· I don't know.                    13   · · ·parts for my son's vehicle.
 14   Q.·   ·Did he FOIA something?                                     14   BY MS. GORDON:
 15   A.·   ·I don't know.                                              15   Q.· ·Okay.· Keep going back.
 16   Q.·   ·Well, what's he say?                                       16   A.· ·So, I sent him pictures, like the radiator was busted.
 17   A.·   ·He wanted to talk about a FOIA request.                    17   Q.· ·Keep going back.
 18   Q.·   ·Okay.                                                      18   · · · · · That's June, we're now in.
 19   A.·   ·I don't know if he was supposed to provide something       19   · · · · · · · ·"I sprayed your weeds at your office."
 20   ··    ·or --                                                      20   A.· ·Yeah.
 21   Q.·   ·He's not the government.· He's not providing stuff.        21   Q.· ·What's that?
 22   ··    · · · Go -- go back further in the chain.                   22   A.· ·This is what I paid him to fix my son's car.
 23   ··    · · · Did you start texting with him in 2015?               23   Q.· ·He said:
 24   A.·   ·I didn't even have this phone in 2015, so I don't know     24   · · · · · · · ·"I sprayed your weeds --"
 25   ··    ·if I texted him in 2015 or not.                            25   A.· ·Yeah.· My weeds are my lot.

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 ·1   Q.· ·Hang on.                                                     ·1   ··    ·about.
 ·2   · · · · · So, he came out and sprayed your weeds?                 ·2   ··    · · · MR. THOMAS:· Why don't you just start at May 5th
 ·3   A.· ·Uh-huh.                                                      ·3   ··    ·and let her go forward.
 ·4   Q.· ·Hang on.                                                     ·4   ··    · · · MS. GORDON:· Yeah.
 ·5   · · · · · THE REPORTER:· I'm sorry.· Is that "yes"?               ·5   ··    · · · MR. THOMAS:· Just scroll back to May 5th and let
 ·6   A.· ·Yes.                                                         ·6   ··    ·her do forward.· Let's move things along.
 ·7   BY MS. GORDON:                                                    ·7   ··    · · · MR. MEIHN:· Yeah.
 ·8   Q.· ·Why did he come out and spray your weeds?                    ·8   A.·   ·Well, I'm showing it to her.· I'm just not comfortable
 ·9   A.· ·He was just being nice, I guess.· I don't know.              ·9   ··    ·giving her my phone.
 10   Q.· ·Uh-huh.                                                      10   ··    · · · MR. THOMAS:· She --
 11   · · · · · And did you pay him for that?                           11   ··    · · · MS. GORDON:· Here.
 12   A.· ·I don't recall paying him for spraying my weeds.             12   ··    · · · MR. THOMAS:· No, she's not asking for it.
 13   Q.· ·And then it says:                                            13   ··    · · · MS. GORDON:· Here, I'm not going to -- here.
 14   · · · · · · · ·"What do I owe you?"                               14   ··    · · · MR. THOMAS:· She's going to count.
 15   · · · · · For front alignment.                                    15   ··    · · · MS. GORDON:· I'll just stand right here.
 16   · · · · · · · ·"I'm testing it.· I'll let you know."              16   ··    · · · All right.· So, we've got May 5th.
 17   A.· ·Everything together came to "$1,311."                        17   ··    · · · MR. THOMAS:· Okay.· Go forward.· That's easy.
 18   · · · · · THE REPORTER:· Excuse me?                               18   ··    · · · MS. GORDON:· I'll just put on the record, May 11th,
 19   A.· ·Everything together came to $1,311.88 for the parts and      19   ··    ·May 12th, May -- June 19th, June 21, June 23rd, July --
 20   · · ·things that he did to fix my son's car.                      20   ··    ·June 23rd, July 20, August 3, August 3, August 4,
 21   BY MS. GORDON:                                                    21   ··    ·August 8, August 9, August 9, September 6, September 6,
 22   Q.· ·Okay.· So, he also spray -- takes care of your               22   ··    ·September 8, September 11.
 23   · · ·landscaping at your office?                                  23   ··    · · · And then he writes here on September 11:
 24   A.· ·No, he doesn't landscape my office, no.                      24   ··    · · · · · ·"Are you getting tickets to prosecute?
 25   Q.· ·Okay.· Why was he spraying your weeds?                       25   ··    · · · I'm not getting many tows!· I guess there is
                                                             Page 178                                                                 Page 180
 ·1   A.·   ·I don't know why.· I didn't ask him.· He did it.           ·1   ··    · · · something about mandatory neighborhood patrols.
 ·2   Q.·   ·Now he says:                                               ·2   ··    · · · It's killing me and the City.· I wonder if they
 ·3   ··    · · · · · ·"Washing car now."                               ·3   ··    · · · realize it?· This month the auction will be
 ·4   ··    · · · What's that about?                                    ·4   ··    · · · smaller (about 20 cars) but the October auction
 ·5   A.·   ·That's my son's car.· He took it -- I took it to him and   ·5   ··    · · · will have 6 cars in it only.· We have been
 ·6   ··    ·had him fix it.                                            ·6   ··    · · · averaging about 30 cars give or take a few.· Who
 ·7   Q.·   ·Okay.· Keep going back.                                    ·7   ··    · · · do you think I should bring it up to?"
 ·8   ··    · · · · · ·"Chris will paint it Sunday."                    ·8   ··    · · · And then you write:
 ·9   ··    · · · Keep going back.· That's a car.                       ·9   ··    · · · · · ·"I'm ordering food brother."
 10   A.·   ·That's the new parts put on it.                            10   ··    · · · He says:
 11   Q.·   ·All right.· Keep going back.                               11   ··    · · · · · ·"Order me chicken sandwiches."
 12   A.·   ·I think that's it.                                         12   ··    · · · · · ·"You coming?"
 13   ··    · · · Looks like May --                                     13   ··    · · · · · ·"Tried to call you back."
 14   Q.·   ·Try --                                                     14   ··    · · · · · ·"We are here but we have no fucking clue
 15   A.·   ·It's not -- May 5th, and it must have been when my --      15   ··    · · · where we are."
 16   Q.·   ·Can I count up how many texts you've got from him --       16   ··    · · · You say:
 17   A.·   ·I'll just send you from May 5th forward.· I'll send you    17   ··    · · · · · ·"We're in the back of the lot near the
 18   ··    ·what I've got.· There's nothing --                         18   ··    · · · practice field.· Look for the bus.· It is
 19   Q.·   ·All right.· Well, just -- if you don't mind, just take a   19   ··    · · · painted maize and blue."
 20   ··    ·second and scroll back down just so I can see what's       20   A.·   ·Oh, yeah.· I know what that is.· That refreshed my
 21   ··    ·there.                                                     21   ··    ·memory.
 22   A.·   ·Yeah.· Yeah.· That's fine.                                 22   Q.·   ·What is that?
 23   ··    · · · MR. THOMAS:· Just let her look over your shoulder.    23   A.·   ·It's a Michigan football became.· I have a tailgate for
 24   A.·   ·Yeah.· That's fine.                                        24   ··    ·a Michigan football game.· He came to tailgate.
 25   ··    · · · There's a ticket here.· I don't know what that's      25   Q.·   ·Okay.· So, then it's -- you say:

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                                                             Page 181                                                                 Page 183
 ·1   · · ·"I just pulled in."                                          ·1   Q.·   ·December 22nd:
 ·2   This is now October 8.                                            ·2   ··    · · · · · ·"On job.· Let me know where you're going
 ·3   · · ·"I will call you in the morning."                            ·3   ··    · · · after."
 ·4   · · ·"I hope you had a good time."                                ·4   ··    ·He says to you.
 ·5   He says:                                                          ·5   ··    · · · You go:
 ·6   · · ·"We had a great time.· Thank you for the                     ·6   ··    · · · · · ·"Hey, are you going to get here?"
 ·7   invite and the great party --"                                    ·7   ··    · · · · · ·"Come on."
 ·8   · · ·"We had a great time.· Thank you for the                     ·8   A.·   ·That might be Christmas party for the City.
 ·9   invite and the party."                                            ·9   Q.·   ·(Reading.)
 10   You say:                                                          10   ··    · · · · · ·"What -- happen to you guys tonight?"
 11   · · ·"Can you call me?"                                           11   ··    · · · He says --
 12   · · ·"I need you to call me."                                     12   A.·   ·That was the Christmas party for the City.
 13   · · ·"Are you in town?· Or you hunting?"                          13   Q.·   ·(Reading.)
 14   You say:                                                          14   ··    · · · · · ·"We were on the way to party."
 15   · · ·"Hunting."                                                   15   ··    · · · They had a tow.
 16   · · ·"I can call you after dark."                                 16   ··    · · · · · ·"Happy New Year."
 17   November 17:                                                      17   ··    ·He writes on January 1.
 18   · · ·"I can't talk right now."                                    18   ··    · · · And then:
 19   · · ·"I'm still hunting."                                         19   ··    · · · · · ·"What time does the show start?"
 20   · · ·"What's up?"                                                 20   ··    · · · you say:
 21   · · ·"Do you need me to call you?"                                21   ··    · · · · · ·"7:30."
 22   November 17, he says:                                             22   ··    · · · What's that?
 23   · · ·"Tomorrow sometime when you're not busy."                    23   A.·   ·That is a play that my daughter was in.
 24   · · ·"Hey, Larry, are corporate tax returns                       24   Q.·   ·So, he went to your daughter's play?
 25   available for release under FOIA?· Like those                     25   A.·   ·Yes, he did go to that play.
                                                             Page 182                                                                 Page 184
 ·1   ··    · · · that would be submitted with a bid to a tow           ·1   ··    · · · · · ·"What is the dress code?"
 ·2   ··    · · · for a city.                                           ·2   ··    · · · You say:
 ·3   ··    · · · · · ·Also if you know, how much of the tax            ·3   ··    · · · · · ·"Whatever you want."
 ·4   ··    · · · return would be required normally?· Would the         ·4   ··    · · · He says:
 ·5   ··    · · · first page be sufficient?· I do not like to           ·5   ··    · · · · · ·"Jeans?"
 ·6   ··    · · · hand my competitors private information."             ·6   ··    · · · You say:
 ·7   ··    · · · He continues to ask you --                            ·7   ··    · · · · · ·"That's fine.· I am going from work."
 ·8   A.·   ·Unless he put in an application somewhere else or          ·8   ··    · · · You say:
 ·9   ··    ·something --                                               ·9   ··    · · · · · ·"We're going to grab a beer."
 10   Q.·   ·He continues to ask you about tax returns.· You say:       10   ··    · · · · · ·"Today."
 11   ··    · · · · · ·"I do not believe they are."                     11   ··    · · · He says:
 12   ··    · · · You're talking to him further about tax advice or     12   ··    · · · · · ·"Sure."
 13   ··    ·whatever it is.                                            13   A.·   ·What date was that?· February?
 14   ··    · · · He says:                                              14   Q.·   ·February 16.
 15   ··    · · · · · ·"Let's go for a drink."                          15   A.·   ·Okay.
 16   ··    · · · · · ·"Today."                                         16   Q.·   ·Going to Broadcast.
 17   ··    · · · · · ·"At like 2:30 at the Booth."                     17   ··    · · · · · ·"Yes, sir."
 18   ··    · · · · · ·"Do you have time?"                              18   ··    · · · · · ·"You still going?"
 19   ··    · · · · · ·"Good."                                          19   ··    · · · · · ·"Hello?"
 20   ··    · · · · · ·"On my way."                                     20   ··    · · · · · ·"I'm going home to change."
 21   ··    · · · November 23rd:                                        21   ··    · · · April 11, you write:
 22   ··    · · · · · ·"Happy Thanksgiving."                            22   ··    · · · · · ·"That was Stacy's daughter's car.· She is
 23   ··    · · · Back and forth.                                       23   ··    · · · with me.· WTF."
 24   ··    · · · · · ·"Did I win or lose?"                             24   A.·   ·Oh, yeah.· That was --
 25   A.·   ·I'm not sure what that's about.                            25   Q.·   ·(Reading.)

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                                                             Page 185                                                                 Page 187
 ·1   ··    · · · · · ·"We are downtown at court."                      ·1   ··    · · · fleeing an officer.· And did the same thing
 ·2   ··    · · · And then who is the picture of there?                 ·2   ··    · · · recently in Officer Timmy Sassak's Viper
 ·3   A.·   ·That's me.· He's seeing pictures of me in a movie.         ·3   ··    · · · being chased by retired officer Gary
 ·4   Q.·   ·Okay.· He writes:                                          ·4   ··    · · · Bowerman.· Gives no forgiveness to others.
 ·5   ··    · · · · · ·"To Kill an Irishman?· You're in the             ·5   ··    · · · And he says:
 ·6   ··    · · · movie."                                               ·6   ··    · · · · · ·"Pat Easton --"
 ·7   ··    · · · You say:                                              ·7   A.·   ·Pat Easton --
 ·8   ··    · · · · · ·"That's just one of the many movies I            ·8   Q.·   ·(Reading.)
 ·9   ··    · · · have starred."                                        ·9   ··    · · · · · ·"-- posted this on Facebook."
 10   ··    · · · · · ·"Looks just like you."                           10   A.·   ·Correct.
 11   ··    · · · Then you guys banter back and forth about your        11   Q.·   ·Did he?· He posted that on Facebook?
 12   ··    ·movies.                                                    12   A.·   ·That's what was on Facebook.· That's what was sent to
 13   A.·   ·Uh-huh.                                                    13   ··    ·me.
 14   Q.·   ·That's quite a long text chain.                            14   Q.·   ·And then you say -- he says:
 15   ··    · · · Now I'm on April 16.                                  15   ··    · · · · · ·"Real nice.· Start world war 3."
 16   ··    · · · · · ·"Mexican Gardens in 30."                         16   ··    · · · You say:
 17   ··    · · · You're meeting him for dinner at Mexican Gardens?     17   ··    · · · · · ·"Check his Facebook now."
 18   A.·   ·He never made it.· I --                                    18   A.·   ·It's down.
 19   Q.·   ·But that was the idea there?                               19   Q.·   ·(Reading.)
 20   A.·   ·I don't know.· I'd have to -- I don't know.                20   ··    · · · · · ·"We can't access his page.· Looks like
 21   Q.·   ·Then he says:                                              21   ··    · · · it's down."
 22   ··    · · · · · ·"I'm sorry.· We were flipping a truck            22   ··    · · · · · ·"What did he post?"
 23   ··    · · · back over.· How about tomorrow?"                      23   ··    · · · · · ·"Or did you --"
 24   ··    · · · You say:                                              24   ··    · · · Okay.· That's all I'm seeing, and that goes
 25   ··    · · · · · ·"I will try brother.                             25   ··    ·through -- let me just get the last date, Mr. Coogan.
                                                             Page 186                                                                 Page 188
 ·1   ··    · · · · · ·"About(sic) 5ish."                               ·1   ··    · · · April 17.
 ·2   ··    · · · And:                                                  ·2   ··    · · · So, you'll hang on to those?
 ·3   ··    · · · · · ·"Send me a pic of new boat."                     ·3   A.·   ·Yeah.
 ·4   A.·   ·There you go.                                              ·4   Q.·   ·Thank you.
 ·5   Q.·   ·That was a joke he sent you.                               ·5   A.·   ·No problem.
 ·6   ··    · · · · · ·"First one I'm getting --"                       ·6   Q.·   ·Did Easton get disciplined for a Facebook post about
 ·7   A.·   ·And that's -- I tried to load the boats right there. I     ·7   ··    ·City business?
 ·8   ··    ·couldn't get that to load.                                 ·8   A.·   ·I don't know if that's City business or not.
 ·9   Q.·   ·Okay.· Then:                                               ·9   Q.·   ·Well, isn't he posting about the chief on a Facebook
 10   ··    · · · · · ·"Mike, do you know an Alexandra Carrier?"        10   ··    ·page?· Didn't you --
 11   ··    · · · That's you texting to him.                            11   A.·   ·That was forwarded to me, yes.
 12   ··    · · · You(sic) say:                                         12   Q.·   ·Did somebody tell him to take it down?
 13   ··    · · · · · ·"No, who is she?"                                13   A.·   ·I believe so.
 14   ··    · · · You write:                                            14   Q.·   ·Why?
 15   ··    · · · · · ·"Chief Allen arrested for drunk driving --"      15   A.·   ·I'm not at liberty to discuss.
 16   A.·   ·I didn't write that.· That was someone else's Facebook     16   Q.·   ·You can discuss it with Mike Goch?
 17   ··    ·page.                                                      17   A.·   ·He sent me a picture of that.
 18   Q.·   ·Okay.· So, you sent it, though.                            18   Q.·   ·Okay.· So, he was told -- Easton was told to take it
 19   ··    · · · · · ·"Chief Allen --"                                 19   ··    ·down.
 20   A.·   ·No, I didn't send it.· It was sent to me.                  20   ··    · · · Well, you may not be at liberty to discuss
 21   Q.·   ·Okay.· Fair enough.                                        21   ··    ·elsewhere, but here you are liberty to discuss because
 22   ··    · · · It was sent to you by Goch?                           22   ··    ·I'm talking about a termination of my client.
 23   A.·   ·He seen that on Facebook and sent it to me.                23   ··    · · · So, I want to know what happened with regard to
 24   Q.·   ·(Reading.)                                                 24   ··    ·Easton.
 25   ··    · · · · · ·"Chief Allen arrested for drunk driving          25   A.·   ·I was sent an e-mail -- or a text, rather -- excuse

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                                                           Page 189                                                               Page 191
 ·1   · · ·me -- by Mr. Goch, who said:                               ·1   BY MS. GORDON:
 ·2   · · · · · · · ·Did you see what Easton posted on his            ·2   Q.· ·Did somebody tell Easton to take it down?
 ·3   · · · · · Facebook?                                             ·3   · · · · · MR. MEIHN:· If you know.
 ·4   · · · · · And he sent me that.                                  ·4   A.· ·Someone did, yeah.· I didn't tell him.
 ·5   Q.· ·And what was it?                                           ·5   BY MS. GORDON:
 ·6   · · · · · I could read --                                       ·6   Q.· ·Somebody from the City?
 ·7   A.· ·It was -- you just read it.· It was a ticket.              ·7   A.· ·I don't know who.
 ·8   Q.· ·Look, that was a 2-second thing.                           ·8   Q.· ·Well --
 ·9   A.· ·It was a ticket that John Allen got when he was 19 years   ·9   A.· ·I don't know who told him to take it down, but --
 10   · · ·old.                                                       10   Q.· ·But you never got involved?
 11   Q.· ·Okay.                                                      11   A.· ·-- either it was his attorney --
 12   A.· ·And I think --                                             12   Q.· ·You never got involved?
 13   Q.· ·And Easton posted that up there?                           13   A.· ·It might have been his attorney; it might have been
 14   A.· ·Yes, he did.                                               14   · · ·someone else.· I don't know.
 15   Q.· ·What, to embarrass Allen presumably?                       15   Q.· ·Whose attorney?
 16   · · · · · MR. MEIHN:· Object to foundation.                     16   A.· ·Mr. Easton's attorney.
 17   A.· ·Well, yeah, I -- I can't --                                17   Q.· ·He has his own attorney?
 18   BY MS. GORDON:                                                  18   A.· ·Yes.
 19   Q.· ·Was that your takeaway?                                    19   Q.· ·Why?· I mean, anything you're aware of?
 20   A.· ·I can't tell you why he posted it.· I think it was         20   A.· ·Yes.
 21   · · ·pretty inappropriate to say something like that about      21   Q.· ·Was he involved in something with the City where he
 22   · · ·the current chief.                                         22   · · ·needs counsel?
 23   Q.· ·It would be embarrassing to the chief?                     23   A.· ·Yes.
 24   A.· ·I think it's inappropriate.                                24   Q.· ·What is that?
 25   Q.· ·Okay.                                                      25   · · · · · MR. THOMAS:· If you need to speak to your counsel
                                                           Page 190                                                               Page 192
 ·1   A.· ·Yeah, and --                                               ·1   · · ·outside --
 ·2   Q.· ·So, what happened after you learned of it?                 ·2   A.· ·I think I need to talk to counsel.
 ·3   A.· ·I just found out -- just found out about it.               ·3   · · · · · Mr. Easton has filed a complaint.
 ·4   Q.· ·Well, what did you do?                                     ·4   BY MS. GORDON:
 ·5   · · · · · You said something happened.                          ·5   Q.· ·A civil complaint or a City complaint?
 ·6   A.· ·At this point --                                           ·6   A.· ·A civil complaint.
 ·7   Q.· ·Was it taken down?· Did you --                             ·7   Q.· ·He's filed a lawsuit?
 ·8   A.· ·Yes, it's taken down.                                      ·8   A.· ·Yes.
 ·9   Q.· ·Did you alert somebody, I guess is my question?            ·9   Q.· ·Well, then it's public record.
 10   A.· ·Did I alert somebody?                                      10   · · · · · What does it say?· Where is it filed?
 11   Q.· ·Yes.                                                       11   A.· ·Is that federal court?
 12   A.· ·No, I didn't alert anybody.                                12   · · · · · Yes, federal court.
 13   Q.· ·You didn't call the City and say, "Hey, there's an         13   Q.· ·Okay.· All right.· So, he's got a federal case.· There's
 14   · · ·inappropriate Facebook post up"?                           14   · · ·nothing --
 15   A.· ·Who would I -- no, I didn't alert the City.                15   A.· ·Yeah.
 16   Q.· ·Okay.· So, who found out about it and told him to take     16   Q.· ·-- confidential about it any more.
 17   · · ·it down?                                                   17   A.· ·No, no.· I mean, I'm just --
 18   A.· ·There is -- counsel, am I at liberty to discuss that?      18   Q.· ·What's his complaint about?
 19   · · · · · MR. MEIHN:· You want to take a break for a moment     19   A.· ·It would depend on which complaint you're referring to.
 20   · · ·and --                                                     20   Q.· ·Okay.· How many are there?
 21   · · · · · MS. GORDON:· Well, what's the problem?                21   A.· ·He's filed a complaint against the City.
 22   BY MS. GORDON:                                                  22   Q.· ·More than one?
 23   Q.· ·Why don't you tell me what you're concerned about.         23   A.· ·He's filed a workers' comp case.
 24   · · ·Maybe I can re-craft the question.                         24   Q.· ·Okay.
 25   · · · · · MR. MEIHN:· I mean --                                 25   A.· ·He's filed an EEOC case.

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 ·1   Q.· ·Okay.                                                        ·1   · · · · · · · · · · · · · · · · · Monday, April 30, 2018
 ·2   A.· ·And he's filed a complaint with the city clerk's office.     ·2   · · · · · · · · · · · · · · · · · Bloomfield Hills, Michigan
 ·3   Q.· ·Okay.· What's the lawsuit, the federal lawsuit about?        ·3   · · · · · · · · · · · · · · · · · 2:13 p.m.
 ·4   · · · · · What's the claim there?                                 ·4   · · · · · · · · · · · ·*· ·*· ·*
 ·5   A.· ·The claim --                                                 ·5   · · · · · · (Deposition resumed pursuant to
 ·6   · · · · · MR. MEIHN:· There's no attorney/client privilege.       ·6   · · · · · · its recess; parties present, same
 ·7   BY MS. GORDON:                                                    ·7   · · · · · · as before.· Mr. Meihn is not
 ·8   Q.· ·Yeah.                                                        ·8   · · · · · · present.)
 ·9   A.· ·Okay.· He filed a claim against the City regarding           ·9   · · · · · · · · · · · ·*· ·*· ·*
 10   · · ·allegedly discriminating against him because he has          10   · · · · · MS. GORDON:· Back on the record.
 11   · · ·PTSD, which is baseless, but --                              11   · · · · · · · · · · · ·*· ·*· ·*
 12   Q.· ·Okay.· So, that's what the lawsuit is about, or is there     12   · · · · · · · LAWRENCE J. COOGAN, ESQUIRE,
 13   · · ·any other thing to it?                                       13   · · ·after having been previously duly sworn, was examined
 14   A.· ·Well, it depends on -- like I said, there's four or five     14   · · ·and testified further as follows:
 15   · · ·things he's made complaints.                                 15   · · · · · · · · EXAMINATION (Continued)
 16   Q.· ·In the civil complaint, I mean.                              16   BY MS. GORDON:
 17   A.· ·Yeah.                                                        17   Q.· ·First, let's put on the record that John just got copies
 18   Q.· ·He has other claims as well?                                 18   · · ·or did -- received photos from Mr. Coogan's text
 19   A.· ·There's a couple claims.                                     19   · · ·messages that he and I had gone through before the
 20   Q.· ·Has he been disciplined or discharged for something?· Is     20   · · ·break.· The text messages start in May -- I don't
 21   · · ·that what he alleges in his suit?                            21   · · ·remember the exact date -- of 2017?· No.
 22   A.· ·We alluded to that earlier; the trial board.                 22   A.· ·Yes.
 23   Q.· ·But he's still working?                                      23   Q.· ·Yes.· Yes.
 24   A.· ·Correct.                                                     24   · · · · · And go through now?
 25   Q.· ·And how long has he had PTSD according to his complaint?     25   A.· ·Yeah.· Until like Saturday.
                                                             Page 194                                                                 Page 196
 ·1   A.·   ·I'm not sure of the exact date.· He --                     ·1   Q.·   ·But here is my question to you, Mr. Coogan.
 ·2   Q.·   ·Is this new or is this a long --                           ·2   A.·   ·Yeah.
 ·3   A.·   ·I can't tell you how long he's had it, or if he has it     ·3   Q.·   ·There have to be texts prior to May of 2017.
 ·4   ··    ·for certain.                                               ·4   ··    · · · Did you get a new phone or what happened?· Or where
 ·5   ··    · · · MS. GORDON:· All right.· Are you guys planning to     ·5   ··    ·are those other texts?
 ·6   ··    ·take lunch break or no?                                    ·6   A.·   ·I'm not aware where -- I gave you everything I have.
 ·7   ··    · · · MR. MEIHN:· No.                                       ·7   ··    ·So, I backed it up and it stopped.· There is no other
 ·8   ··    · · · MS. GORDON:· Okay.· Then I'm going --                 ·8   ··    ·texts.
 ·9   ··    · · · MR. THOMAS:· We'll just keep going.                   ·9   Q.·   ·But you did text before May of 2017, obviously.· You met
 10   ··    · · · MS. GORDON:· Okay.· Then I'm going to need about      10   ··    ·the man in '15.
 11   ··    ·15 minutes.· I've got to take care of something in my      11   A.·   ·You know, I don't know if I did or didn't.· Honestly, I
 12   ··    ·office.                                                    12   ··    ·don't know.· I don't recall.· Honestly, I don't recall.
 13   ··    · · · MR. MEIHN:· Absolutely.                               13   Q.·   ·Okay.· Now, with regard to the Complaint and the Amended
 14   ··    · · · (Deposition recessed at 1:28 p.m.)                    14   ··    ·Formal Complaint for Removal of Chad Hayse, have you
 15   ··    · · · · · · · · · ·*· ·*· ·*                                15   ··    ·ever drafted up such a document before for anybody other
 16                                                                     16   ··    ·than Mr. Hayse?
 17                                                                     17   A.·   ·For removal of a police chief?· No.
 18                                                                     18   Q.·   ·Removal of anybody.
 19                                                                     19   A.·   ·I don't believe so.
 20                                                                     20   Q.·   ·Okay.· Now, you were the one that drafted the Amended
 21                                                                     21   ··    ·Formal Complaint; correct?
 22                                                                     22   A.·   ·With the input and direction from Nicole Barnes.
 23                                                                     23   Q.·   ·Okay.
 24                                                                     24   ··    · · · THE REPORTER:· I'm sorry.· "-- from --"
 25                                                                     25   A.·   ·Nicole Barnes.

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 ·1   · · · · · THE REPORTER:· Thank you.                             ·1   · · · · · MR. MEIHN:· You haven't let me finish my record,
 ·2   · · · · · MR. THOMAS:· Don't get into any contents because      ·2   · · ·though.· I'm sorry.
 ·3   · · ·they've asserted the privilege.                            ·3   · · · · · So --
 ·4   · · · · · MS. GORDON:· Well, it's going to have to be           ·4   BY MS. GORDON:
 ·5   · · ·question by question.· I don't think --                    ·5   Q.· ·Okay.· Ms. Barnes testified that you drafted the
 ·6   · · · · · MR. THOMAS:· That's right.· Agreed.                   ·6   · · ·charges.
 ·7   · · · · · · ·(Discussion held off the record.)                  ·7   · · · · · Is she correct?
 ·8   · · · · · MS. GORDON:· All right.· Well, I apologize.· Maybe    ·8   · · · · · MR. MEIHN:· You have to answer the question.
 ·9   · · ·I left it in my office.· I will be right back.· There's    ·9   A.· ·I assisted her.
 10   · · ·one thing I need to get.                                   10   BY MS. GORDON:
 11   · · · · · · · (Short recess at 2:15 p.m.)                       11   Q.· ·Okay.· She didn't say that.· She said you drafted them.
 12   · · · · · · · · · · · ·*· ·*· ·*                                12   A.· ·Okay.· I attempted to get a hold of Ms. Barnes today to
 13   · · · · · · ·(Record resumed at 2:19 p.m.)                      13   · · ·see if she's willing to waive her privilege.
 14   · · · · ·(Mr. Meihn is present after the break.)                14   Q.· ·I'm reading testimony, sir, under oath.
 15   BY MS. GORDON:                                                  15   A.· ·And I'm not -- whose testimony?
 16   Q.· ·When did you begin drafting the original complaint with    16   Q.· ·Question to Nicole Barnes --
 17   · · ·Nicole Barnes?                                             17   · · · · · MR. THOMAS:· Did you see that transcript?
 18   · · · · · Not the amended, but the original.                    18   BY MS. GORDON:
 19   A.· ·I don't recall the exact date.                             19   Q.· ·(Reading.)
 20   Q.· ·Okay.                                                      20   · · · · · · · ·"Question:· --"
 21   A.· ·I really don't.                                            21   A.· ·Uh-uh.
 22   Q.· ·Well, how did it come to pass?                             22   Q.· ·I'm going to read this to you, and then you can all go
 23   A.· ·The original complaint or the amended complaint?           23   · · ·ahead and do what you're going to do.
 24   Q.· ·The original.                                              24   A.· ·Yeah.
 25   · · · · · MR. MEIHN:· Yeah, I'm going to object to any          25   Q.· ·Okay.
                                                           Page 198                                                               Page 200
 ·1   · · ·communications that involved communications and opinions   ·1   · · · · · "Question:· Okay.· So, you said you told
 ·2   · · ·that were provided by Mr. Coogan to Ms. Barnes.            ·2   · · ·Coogan about this, and based on what you said,
 ·3   · · · · · MS. GORDON:· Okay.· Well, do you know what?· The      ·3   · · ·he drafted --
 ·4   · · ·judge has already ruled on this, and she's already said    ·4   · · · · · "Answer:· Yeah, because there was some --
 ·5   · · ·you guys had a chance to set forth the basis for your      ·5   · · · · · "Question:· Hang on.
 ·6   · · ·privilege, and you did not, and it's right in the          ·6   · · · · · Because of what you said, he drafted the
 ·7   · · ·transcript and in the court order that we are asking       ·7   · · ·charges.· Is that what your testimony is?"
 ·8   · · ·about this.· So, you want to --                            ·8   · · · · · "Answer:· Yeah --"
 ·9   · · · · · MR. MEIHN:· That's not true at all.· What the judge   ·9   · · ·MR. MEIHN:· Can you tell me what the transcript
 10   · · ·said was for us to be very careful about --                10   date is and the lines, please, so I can find it?
 11   · · · · · MS. GORDON:· Okay.· I've --                           11   · · ·MS. GORDON:· It's page 220.
 12   · · · · · MR. MEIHN:· -- how we --                              12   · · ·MR. MEIHN:· Because what I want to do is help you
 13   · · · · · MS. GORDON:· -- made my record.· I'm not going to     13   for a moment, Deb.
 14   · · ·argue with you.                                            14   · · ·MS. GORDON:· It's page 220.· Look --
 15   · · · · · THE REPORTER:· Excuse me.· "-- about how --"          15   · · ·MR. THOMAS:· Of which date?
 16   · · · · · MR. MEIHN:· Be very careful.                          16   · · ·MS. GORDON:· There's -- the pages are consecutive.
 17   · · · · · MS. GORDON:· And have you read Nicole Barnes' dep?    17   They start at 1 and they go to the end.
 18   · · · · · MR. MEIHN:· I did, and I can cite to page 111,        18   · · ·MR. THOMAS:· Oh, I see.· Okay.· Okay.
 19   · · ·3-17-18 deposition, where the privilege was communicated   19   · · ·MS. GORDON:· It's actually the second transcript.
 20   · · ·and you did not object, and --                             20   · · ·But, you know, I'm not going to waste a lot of time
 21   · · · · · MS. GORDON:· Okay.· I'm not talking about that.       21   with this.· You'll just make your record, and I'm going
 22   · · ·I'm just going to go ahead and make my record.· You do     22   to go to the court and ask for sanctions and bring
 23   · · ·the same.                                                  23   Mr. Coogan back here, because he will be answering these
 24   BY MS. GORDON:                                                  24   questions.
 25   Q.· ·Okay.                                                      25   · · ·MR. MEIHN:· Do you have a copy of the transcripts?

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 ·1   · · · · · MS. GORDON:· No, I didn't bring an extra copy in      ·1   BY MS. GORDON:
 ·2   · · ·here.                                                      ·2   Q.· ·Go ahead.
 ·3   · · · · · MR. MEIHN:· Okay.· Then I'm going to ask you to       ·3   · · · · · MR. THOMAS:· If I'm going to assert the objection,
 ·4   · · ·wait until I can pull it up so I can address this issue    ·4   · · ·I will do so.
 ·5   · · ·in a professional manner with you.                         ·5   · · · · · So, go ahead and answer the question.· Thank you
 ·6   · · · · · MS. GORDON:· Look at 220.                             ·6   · · ·for pausing.
 ·7   · · · · · MR. MEIHN:· I'm trying to.· I'm not --                ·7   A.· ·What did she tell me?
 ·8   · · · · · MS. GORDON:· Keep track of this, John.· This is not   ·8   · · · · · That's asking me to disclose what was said in the
 ·9   · · ·going to come out of my time.· Thank you.                  ·9   · · ·meeting between her and I --
 10   A.· ·I'd just like to -- I haven't read the transcript. I       10   BY MS. GORDON:
 11   · · ·don't know what she said.                                  11   Q.· ·Okay.· Your attorney is not instructing you not to
 12   BY MS. GORDON:                                                  12   · · ·answer.
 13   Q.· ·Nobody asked you that.                                     13   A.· ·She had some complaints.
 14   A.· ·I would like to have her waive it, but she won't.· So, I   14   Q.· ·About what?
 15   · · ·haven't been able to communicate with her.· I tried.       15   A.· ·About Mr. Hayes.
 16   · · · · · MR. THOMAS:· Why don't you just wait for a            16   Q.· ·What were they?
 17   · · ·question.· Let them pull up the transcript.                17   A.· ·They're contained in the complaint.
 18   A.· ·Certainly.                                                 18   Q.· ·Okay.· What do you recall?
 19   · · · · · MS. GORDON:· We'll make a record on that.             19   A.· ·All the things that are contained in the complaint.
 20   · · · · · MR. MEIHN:· Okay.· John, can you -- would you be      20   Q.· ·Okay.· And did you ask her any questions, or did she
 21   · · ·willing to go off the record so I can pull this up?        21   · · ·just gave you her complaints?
 22   · · · · · I'm having a difficult time pulling it up.· I don't   22   A.· ·There was a discussion with me on numerous issues.
 23   · · ·want to eat into your time also.                           23   · · · · · I can't recall exactly every single issue she
 24   · · · · · MS. GORDON:· Off the record at the Defendant's        24   · · ·discussed with me, but --
 25   · · ·request.                                                   25   Q.· ·Okay.· Did she want him fired?
                                                           Page 202                                                                 Page 204
 ·1   · · · · · MR. MEIHN:· Yes.· Thank you.                          ·1   A.·   ·She wanted to bring it to council to have him removed.
 ·2   · · · · · · ·(Discussion held off the record.)                  ·2   Q.·   ·Why?
 ·3   · · · · · MR. MEIHN:· Mr. Coogan, I'm -- we are not asserting   ·3   ··    · · · Why a removal?
 ·4   · · ·the objection to the question that she asked you with      ·4   A.·   ·Because she felt he was incompetent and unable to do his
 ·5   · · ·regard to drafting the complaint.                          ·5   ··    ·job.
 ·6   BY MS. GORDON:                                                  ·6   Q.·   ·Did she tell you he was incompetent?
 ·7   Q.· ·Okay.· Ms. Barnes has testified that she talked to you     ·7   A.·   ·I don't recall the exact content or exact statements
 ·8   · · ·about Mr. Furman and possibly some other things.           ·8   ··    ·made by her, but she felt that he was unable to perform
 ·9   · · · · · And that, after she talked to you, you drafted the    ·9   ··    ·his duties as a police officer.
 10   · · ·complaint; is that correct?                                10   Q.·   ·In what regard?· What duty was not being performed?
 11   A.· ·I don't know what she testified to, but she talked to me   11   A.·   ·Disciplining employees the correct way.
 12   · · ·about drafting the complaint for her, and I assisted her   12   Q.·   ·Okay.· So, let's take this --
 13   · · ·in doing that, yes.                                        13   A.·   ·He --
 14   Q.· ·Okay.· You did not get permission from the city council    14   Q.·   ·Disciplining -- you're talking about Furman now?
 15   · · ·to do so; correct?                                         15   A.·   ·Yeah.· I could talk about that.· I could talk about --
 16   · · · · · You never went to the council as a whole?             16   Q.·   ·No, no.· It's not what you're going to talk about.· It's
 17   A.· ·I never went to anybody.· She came to me and asked for     17   ··    ·what --
 18   · · ·my legal assistance.                                       18   A.·   ·That's -- whatever is in the complaint is what we talked
 19   Q.· ·Okay.· And what was she asking you to do?                  19   ··    ·about.
 20   A.· ·Well --                                                    20   Q.·   ·Okay.· Okay.· I want to know -- it's not in the
 21   Q.· ·Did she tell you she wanted Hayse fired?                   21   ··    ·complaint that he's incapable of performing his duties
 22   A.· ·I don't recall her using that language, no.                22   ··    ·or whatever you just said.· That's not in the complaint.
 23   Q.· ·Well, what did she say?                                    23   ··    · · · So, I want to know what duties he was incapable of
 24   A.· ·(No verbal response.)                                      24   ··    ·performing.
 25   · · · · · · (Discussion held off the record.)                   25   A.·   ·Being a police chief.

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 ·1   Q.·   ·Okay.· That's not an answer to my question.                ·1   Q.· ·Oh, really?· Well, you need to listen to the questions.
 ·2   ··    · · · I said, what duties was he unable to perform?         ·2   · · · · · So, I'm not asking about the charter.· I asked you
 ·3   A.·   ·The proper discipline of an employee is one.               ·3   · · ·this:· Is it your position that if a police chief kicks
 ·4   Q.·   ·Okay.· Was some employee not disciplined?                  ·4   · · ·over a garbage can, the only thing you can do about
 ·5   A.·   ·Disparaging the City.                                      ·5   · · ·that, either the PSC or the City, is to terminate him?
 ·6   Q.·   ·Okay.· Proper discipline?                                  ·6   A.· ·I can only speculate on the garbage can.· I don't know
 ·7   A.·   ·Disparaging the City on the City's website, lying to the   ·7   · · ·the charge.
 ·8   ··    ·mayor and council.                                         ·8   · · · · · MR. MEIHN:· I'm going to object to foundation and
 ·9   Q.·   ·Okay.· Anything else?                                      ·9   · · ·speculation.
 10   A.·   ·I'm going to turn this off.                                10   BY MS. GORDON:
 11   ··    · · · Whatever else is contained in the complaint.          11   Q.· ·Okay.· Are you telling me --
 12   Q.·   ·Okay.· So, did you say, "Well, let's give him a written    12   A.· ·What I can talk about is lying --
 13   ··    ·warning"?                                                  13   · · · · · THE REPORTER:· I'm sorry.· One at a time, please.
 14   A.·   ·The charter doesn't apply for council giving written       14   A.· ·What I can talk about is him lying to the mayor and
 15   ··    ·warnings.· If --                                           15   · · ·council was the basis -- one of the bases in which he
 16   Q.·   ·I'll repeat my question.                                   16   · · ·was removed.
 17   A.·   ·Okay.                                                      17   · · · · · And that certainly has nothing to do with kicking a
 18   Q.·   ·Did you say, "Let's give him a written warning"?           18   · · ·garbage can, so I don't know where that came from,
 19   A.·   ·I said the charter --                                      19   · · ·but --
 20   Q.·   ·I didn't ask you what the charter said.                    20   BY MS. GORDON:
 21   A.·   ·Okay.· Well, I'm responding to your question.              21   Q.· ·I'm going to tell you where it came from, and then if
 22   ··    · · · The charter --                                        22   · · ·you can't answer my question, you'll tell me.
 23   Q.·   ·So, your answer is "no"?                                   23   · · · · · You just got done telling me the only thing the
 24   A.·   ·No, my answer is the charter doesn't provide for written   24   · · ·council can do is remove an appointed official.· That's
 25   ··    ·discipline by council.· It is removal of appointed         25   · · ·what you just got done saying here on the record.
                                                             Page 206                                                                 Page 208
 ·1   ··    ·officials.                                                 ·1   ··    · · · So, my follow-up to that was, then there's no other
 ·2   Q.·   ·And what is the --                                         ·2   ··    ·discipline that can be meted out, to a police chief or
 ·3   A.·   ·And that was the mechanism for which the city council      ·3   ··    ·any department head or you as an appointee, other than
 ·4   ··    ·had to proceed on.                                         ·4   ··    ·termination.
 ·5   Q.·   ·So, if you inadvertently kick a trash can over, and        ·5   ··    · · · Do I have that right?
 ·6   ··    ·you're the police chief, the only thing the council can    ·6   A.·   ·We serve at the will and pleasure of mayor and council.
 ·7   ··    ·do about it is fire you?· That's the only remedy?          ·7   ··    ·That's correct.
 ·8   A.·   ·I don't know of any remedy for kicking a garbage can       ·8   Q.·   ·I didn't ask you that.· I didn't ask you that.
 ·9   ··    ·over.                                                      ·9   A.·   ·No, they can --
 10   Q.·   ·Well, let's say you intentionally kick a garbage can       10   Q.·   ·In fact, my client doesn't serve at the will and
 11   ··    ·over and you're the police chief, and it's a violation     11   ··    ·pleasure, sir.
 12   ··    ·of the rule.                                               12   A.·   ·He's an appointed official.· I disagree.
 13   ··    · · · You're telling me the only remedy is termination?     13   Q.·   ·He -- excuse me.
 14   ··    · · · You just got done telling me that.                    14   ··    · · · He's got a -- do you have a Collective Bargaining
 15   A.·   ·I didn't say anything about kicking the can; you did.      15   ··    ·Agreement contract?
 16   Q.·   ·You just said the council can't do anything --             16   A.·   ·With Chad Hayse?
 17   A.·   ·I said the council --                                      17   Q.·   ·Do you as corporation counsel?
 18   Q.·   ·You've got to let me finish, Mr. Coogan.                   18   A.·   ·No.
 19   A.·   ·Okay.· The council's procedure is --                       19   Q.·   ·Do you have any contract?
 20   Q.·   ·Stop talking and let me finish.                            20   A.·   ·No.
 21   A.·   ·-- set forth in a charter how you remove appointed         21   Q.·   ·Okay.· Does Chad Hayse have any contract?
 22   ··    ·officials.                                                 22   A.·   ·No.
 23   Q.·   ·You know, I didn't ask you that.· I realize you have a     23   Q.·   ·Has he ever had a contract?
 24   ··    ·little spiel you want to give here today, but you --       24   A.·   ·Yeah, when he was part of the Collective
 25   A.·   ·I don't have any spiel, actually.                          25   ··    ·Bargaining Agreement --

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 ·1   Q.· ·Is he a due process employee?                              ·1   · · · · · · ·(Record repeated by the reporter.)
 ·2   · · · · · Yes, he is, isn't he?                                 ·2   A.· ·She came --
 ·3   A.· ·He was given due process.                                  ·3   · · · · · MR. MEIHN:· Same objection.
 ·4   Q.· ·Okay.· He's a due process employee.                        ·4   A.· ·She came to me asking for legal assistance in how to --
 ·5   · · · · · You're not, are you?                                  ·5   · · ·how a city council person could remove an appointed
 ·6   A.· ·He was appointed by the Safety Commission, and he          ·6   · · ·official.
 ·7   · · ·serves the Safety Commission, and he also serves at the    ·7   BY MS. GORDON:
 ·8   · · ·will and pleasure of the mayor and council.                ·8   Q.· ·That's not an answer to my question.
 ·9   Q.· ·Is he entitled to due process?                             ·9   · · · · · You knew Chad Hayse reported to the Public Safety
 10   A.· ·He's an appointed official.                                10   · · ·Commission, didn't you?· You knew that?
 11   Q.· ·You're not going to answer my question, or you just        11   A.· ·Of course he does.
 12   · · ·don't know the answer?                                     12   Q.· ·Of course.
 13   A.· ·There's a procedure in place which I can read to you if    13   · · · · · But you never --
 14   · · ·you --                                                     14   A.· ·He reports to the mayor and council as well.
 15   Q.· ·Which requires due process.                                15   Q.· ·And you never -- you never -- well, not for his
 16   · · · · · Is that true for you?                                 16   · · ·day-to-day duties, he certainly does not, and under any
 17   · · · · · MR. MEIHN:· I am going to object to foundation.       17   · · ·set of circumstances.
 18   BY MS. GORDON:                                                  18   · · · · · But in any event, you never said, "Well, why don't
 19   Q.· ·Is that a true -- is that true for you?                    19   · · ·we go check with the Public Safety Commission and see
 20   · · · · · MR. MEIHN:· And I'm going to object to                20   · · ·what they have to say?"
 21   · · ·foundation --                                              21   · · · · · You never did that, did you?
 22   BY MS. GORDON:                                                  22   A.· ·She didn't ask me to.· She asked me what she could do.
 23   Q.· ·Do you get a --                                            23   Q.· ·Okay.· Did you know she had a personal relationship with
 24   · · · · · MR. MEIHN:· -- of the question as --                  24   · · ·Matthew Furman?
 25   BY MS. GORDON:                                                  25   A.· ·No.
                                                           Page 210                                                               Page 212
 ·1   Q.· ·-- due process hearing if you're terminated?               ·1   Q.· ·Do you know that sitting here today?
 ·2   · · · · · MR. MEIHN:· Would you please wait for a moment?       ·2   A.· ·No, I don't.
 ·3   · · · · · I'm going to object to the foundation as it relates   ·3   · · · · · Well, she knows him.· I don't know what her
 ·4   · · ·to the question on Mr. Hayse.· There's been no testimony   ·4   · · ·relationship is with him.
 ·5   · · ·that he understands or has knowledge of that.· But as to   ·5   Q.· ·Uh-huh.
 ·6   · · ·Mr. Coogan, I don't have an objection.                     ·6   · · · · · Well, what do you think her relationship with him
 ·7   A.· ·What was the question?                                     ·7   · · ·is?
 ·8   BY MS. GORDON:                                                  ·8   A.· ·I have no idea.
 ·9   Q.· ·Are you entitled to a due process hearing before you're    ·9   Q.· ·You have no idea?
 10   · · ·removed?                                                   10   A.· ·I have no idea.
 11   A.· ·Under the appointed officials, I believe I would be.       11   Q.· ·You're not aware that they get together socially?
 12   Q.· ·So, then you don't serve at the will and pleasure of?      12   · · · · · Were you aware of that when you wrote up these
 13   A.· ·No.· We certainly serve at the will and pleasure.          13   · · ·charges?
 14   · · ·There's just a mechanism in place in which to remove       14   A.· ·I have no idea what her relationship is with Mr. Furman.
 15   · · ·appointed officials.                                       15   Q.· ·I didn't ask -- I asked you --
 16   Q.· ·Okay.· Did you -- why did you not recommend that Nicole    16   A.· ·I'm not aware of any relationship --
 17   · · ·Barnes go to the Public Safety Commission since Chad       17   · · · · · MS. GORDON:· Would you read back my question, John?
 18   · · ·Hayse reports to them?                                     18   A.· ·-- with Mr. Furman and Nicole Barnes.
 19   · · · · · MR. MEIHN:· Object to the foundation.· I don't        19   · · · · · So, no, I'm not aware of that.
 20   · · ·think he ever said that he didn't recommend it.            20   BY MS. GORDON:
 21   BY MS. GORDON:                                                  21   Q.· ·Okay.· You're not aware that he's been to her home?
 22   Q.· ·Go ahead.                                                  22   A.· ·I believe she testified the first time when I was here,
 23   A.· ·She came in to me and asked what a city council person     23   · · ·and she indicated he came to her house one time as a
 24   · · ·could do to remove an appointed official.                  24   · · ·result of a complaint or something, yes.· I'm aware he's
 25   · · · · · MS. GORDON:· Would you read my question back, John?   25   · · ·been to her home.

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 ·1   Q.· ·No, she -- were you here for that dep?                     ·1   A.·   ·Okay.
 ·2   A.· ·I think I was.                                             ·2   Q.·   ·So, what were the concerns versus -- with regard to
 ·3   Q.· ·Then why did you just tell me you're not aware of her      ·3   ··    ·Furman?· What was her concern?
 ·4   · · ·relationship and act like, oh, wow, I'm stunned?           ·4   A.·   ·That he was laid off while they were getting notices of
 ·5   · · · · · You sat right here and listened to the woman say      ·5   ··    ·the charges that were against him.
 ·6   · · ·he's been to her house socially.· He stops by.· They       ·6   Q.·   ·Okay.· And did you look into that?
 ·7   · · ·text, and they've met for drinks.· You sat right here      ·7   A.·   ·Yes.
 ·8   · · ·and heard it, yet just this moment you acted like, in      ·8   Q.·   ·You never did an investigation into any of this, did
 ·9   · · ·fact, your eyes were like back and forth like, what? I     ·9   ··    ·you?
 10   · · ·don't know about that.                                     10   A.·   ·That's not correct.
 11   · · · · · Why did you do that?                                  11   Q.·   ·Okay.· I asked Ms. Barnes if --
 12   · · · · · You heard her testify; correct?                       12   A.·   ·I --
 13   A.· ·I was here for part of her deposition, not the entire --   13   Q.·   ·I asked Mr. Barnes if there was an investigation into
 14   Q.· ·Did you hear her testify --                                14   ··    ·any of the matters alleged in your complaint, whether
 15   A.· ·That he came to her house on -- one time.                  15   ··    ·anybody took it upon him or herself to investigate what
 16   Q.· ·You know, I'm talking now.                                 16   ··    ·Ms. Barnes believed prior to a formal charge being
 17   · · · · · THE REPORTER:· Excuse me.                             17   ··    ·brought.
 18   BY MS. GORDON:                                                  18   ··    · · · She has nothing in writing whatsoever, from you or
 19   Q.· ·You've got to stop talking until the question is           19   ··    ·from her, regarding an investigation.
 20   · · ·complete.                                                  20   ··    · · · Do you have something?
 21   A.· ·Ask your question, and I'll answer it.                     21   A.·   ·In writing?
 22   Q.· ·I was in the middle of asking my question.                 22   Q.·   ·Yeah.
 23   A.· ·I thought I was in the middle of answering it.             23   ··    · · · Of course in writing.
 24   Q.· ·No, you weren't.                                           24   A.·   ·No.
 25   · · · · · MS. GORDON:· John, read my question.                  25   ··    · · · I had a phone call from the union inquiring to
                                                           Page 214                                                                 Page 216
 ·1   · · · · · · ·(Record repeated by the reporter.)                 ·1   ··    ·me -- Tom Funke, I believe it was -- that the union
 ·2   BY MS. GORDON:                                                  ·2   ··    ·wanted to know --
 ·3   Q.· ·Did you hear her testify about their personal              ·3   Q.·   ·Okay.· I don't want to --
 ·4   · · ·relationship?                                              ·4   A.·   ·-- why Mr. Furman was not working.
 ·5   A.· ·I don't recall that, no.                                   ·5   Q.·   ·Okay.· Do you know what?· You've got to answer only my
 ·6   Q.· ·And why was she involved in this Matthew Furman issue      ·6   ··    ·questions.· You want to just say stuff here to make
 ·7   · · ·when she came to you to draft this complaint?              ·7   ··    ·yourself sound better than you are.· I didn't ask you
 ·8   · · · · · What did you understand her -- her big issue was      ·8   ··    ·who called you.
 ·9   · · ·and why she cared?· Was it because of towing dollars?      ·9   A.·   ·Is this ridiculing my personality now?· Is that what
 10   · · ·Was it because she liked him?                              10   ··    ·you're trying to do?
 11   · · · · · What was the reason that she, for the first time,     11   Q.·   ·I'm --
 12   · · ·was parachuting into police matters?· Why?                 12   A.·   ·Let's ask me a question, and I'll answer it, Counsel.
 13   A.· ·I'm not aware of anybody parachuting into any matters.     13   Q.·   ·I'm telling you that your question -- your answer is not
 14   · · · · · I know she had a number of concerns --                14   ··    ·designed to answer my question.· It's designed for
 15   Q.· ·What were they?                                            15   ··    ·another purpose, and the purpose is obvious to anybody
 16   A.· ·-- with Mr. Hayse's conduct.                               16   ··    ·in this room.· You want to put yourself in a better
 17   Q.· ·What were they?· What were they?                           17   ··    ·light.
 18   A.· ·I think probably the first and foremost was the fact       18   ··    · · · So, when I say to you, "Did you do any
 19   · · ·that he lied to council.                                   19   ··    ·investigation?" instead of saying "yes" or "no," you
 20   Q.· ·Okay.· Well, we'll cover that later.                       20   ··    ·announce that a union guy called you.
 21   A.· ·Okay.                                                      21   ··    · · · I didn't ask you who called you.
 22   Q.· ·That big fat lie.                                          22   A.·   ·Yes.
 23   A.· ·Which one?· How many?                                      23   Q.·   ·I'm still not done with my question.
 24   Q.· ·I don't know.· The one you got.· The one that's in your    24   A.·   ·Oh, it's a narrative.
 25   · · ·papers, sir.                                               25   Q.·   ·I think you did no investigation that is in writing.

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 ·1   · · · · · Am I correct?                                         ·1   A.· ·He had an opportunity to respond, yes.
 ·2   A.· ·You're not correct --                                      ·2   Q.· ·Okay.· Before you brought the charges, he did not have
 ·3   Q.· ·Okay.· What is in writing --                               ·3   · · ·an opportunity --
 ·4   A.· ·-- that I didn't do an investigation.                      ·4   A.· ·I didn't bring --
 ·5   · · · · · You are correct that there's nothing in writing.      ·5   · · · · · THE REPORTER:· I'm sorry.
 ·6   Q.· ·Okay.· So, part of your investigation was not to go to     ·6   BY MS. GORDON:
 ·7   · · ·Chief Hayse and ask him to respond to these allegations.   ·7   Q.· ·Mr. Coogan, you cannot keep interrupting me.
 ·8   · · ·Do I have that right?                                      ·8   A.· ·I do not -- don't mischaracterize the statements then.
 ·9   · · · · · You never once went to Chief Hayse?                   ·9   · · · · · I did not bring a charge.· The council person
 10   A.· ·I wrote Mr. Hayse a letter, actually several letters --    10   · · ·brought charges.
 11   Q.· ·What date?                                                 11   Q.· ·Okay.· Well, you drafted them.· And before you drafted
 12   A.· ·-- and asked him -- I don't have the dates in front of     12   · · ·them, you never went to talk to Chad Hayse about the
 13   · · ·me.                                                        13   · · ·concerns that had been brought to your attention.
 14   Q.· ·Before you drafted the amended complaint?                  14   · · · · · Do I have that right?
 15   A.· ·I -- I wrote several letters to him --                     15   A.· ·I wrote -- no, you don't.· You don't have it right.
 16   Q.· ·Well, then --                                              16   Q.· ·What day did you go talk to him?
 17   A.· ·-- saying --                                               17   A.· ·I wrote him letters.
 18   Q.· ·-- you should have produced them.                          18   Q.· ·Okay.· What letters did you write?
 19   A.· ·-- "Chief, tell --"                                        19   A.· ·The two that I just alluded to earlier, which you have
 20   · · · · · THE REPORTER:· I'm sorry.                             20   · · ·copies of.
 21   A.· ·They're part of the record.· I did produce them.           21   Q.· ·Okay.· You never said in either of those letters,
 22   BY MS. GORDON:                                                  22   · · ·"Complaints have been made against you, and I need to
 23   Q.· ·What record?                                               23   · · ·ask you questions and get a response."
 24   A.· ·Part of the discovery request --                           24   · · · · · That never happened.· I don't have any letters like
 25   Q.· ·What are the dates of your letters?                        25   · · ·that.
                                                           Page 218                                                                 Page 220
 ·1   · · · · · THE REPORTER:· Excuse me.                             ·1   ··    · · · Do you have some letter like that?
 ·2   A.· ·It would have been -- I believe it was July or August.     ·2   A.·   ·I'd have to refer to the two letters I wrote.
 ·3   · · ·July or August of 2016.                                    ·3   Q.·   ·All right.· We will.
 ·4   BY MS. GORDON:                                                  ·4   A.·   ·Good.
 ·5   Q.· ·Yeah.                                                      ·5   Q.·   ·So, you wrote him two letters?
 ·6   · · · · · Oh, you wrote him --                                  ·6   A.·   ·Yeah.
 ·7   A.· ·Two letters, yeah.                                         ·7   ··    · · · I've said that three times in the last 5 minutes.
 ·8   Q.· ·And what did they say?                                     ·8   ··    · · · Yes, there's two letters that I --
 ·9   A.· ·"Please indicate to me why Officer Furman is no longer     ·9   Q.·   ·And that's it?· That's what you did?
 10   · · ·working."· Or "is not working."                            10   A.·   ·That I can recall off the top of my head, yes.
 11   Q.· ·Okay.· No, you asked him for a packet of materials.· You   11   Q.·   ·Okay.· And you never talked to Lieutenant Welch and
 12   · · ·said, "Send all your materials."                           12   ··    ·asked him questions, did you?
 13   · · · · · That's what you did, and you got them?                13   A.·   ·Regarding what?
 14   A.· ·The second letter, I think I said that.                    14   Q.·   ·The charges against Chad Hayse.
 15   Q.· ·Okay.· Did you ever tell the chief, charges -- "There's    15   A.·   ·No.· I didn't talk to Mike Welch about charges against
 16   · · ·been a complaint against you, and I'm going to             16   ··    ·Mr. Hayse.
 17   · · ·investigate it.· I need to ask you some questions.         17   Q.·   ·Well, wasn't he Furman's lieutenant?
 18   · · ·Let's meet"?                                               18   A.·   ·He was probably one of them.
 19   · · · · · No.· You never did that, did you?                     19   Q.·   ·Yeah.
 20   A.· ·Chad didn't talk to me.                                    20   ··    · · · And he was involved in the discipline.
 21   Q.· ·You know, whether he talked to you or not is really not    21   ··    · · · Were you aware of that?
 22   · · ·the issue as a matter of law.· The issue it whether you    22   A.·   ·I think I came to be aware of that later.
 23   · · ·investigated this and gave him an opportunity to           23   Q.·   ·And were you aware that Lieutenant Allen was involved in
 24   · · ·respond.                                                   24   ··    ·his discipline -- Furman's discipline?
 25   · · · · · You did not, did you?                                 25   A.·   ·Yes.· He reinstated Mr. Furman.

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 ·1   Q.·   ·No.· I said "involved in the discipline," not the          ·1   · · · · · MS. GORDON:· He's trying to avoid the question,
 ·2   ··    ·reinstatement.                                             ·2   · · ·Phil.
 ·3   A.·   ·Well, part of the discipline is reinstating him.· So --    ·3   · · · · · MR. THOMAS:· Well --
 ·4   Q.·   ·Okay.· You want to say that here today at your dep. I      ·4   BY MS. GORDON:
 ·5   ··    ·don't have time for your personal desire to get your       ·5   Q.· ·Here is my question:· Did you talk to Allen prior to
 ·6   ··    ·version of events on the table.· I'm just here to get      ·6   · · ·issuing the amended complaint against Hayse?
 ·7   ··    ·answers.                                                   ·7   A.· ·Yes.
 ·8   ··    · · · Were you aware that Lieutenant Allen was involved     ·8   Q.· ·Okay.· What date?
 ·9   ··    ·in discipline that was meted out to Furman?                ·9   A.· ·I don't have the dates in front of me.
 10   ··    · · · It's a "yes" or "no."                                 10   Q.· ·And what did you ask him about with regard to Furman?
 11   A.·   ·Yes, I was aware he was involved with the discipline.      11   A.· ·I asked him to provide me -- like I asked Mr. Hayse -- a
 12   Q.·   ·And you never went to talk to him to ask what happened;    12   · · ·copy of the write-up that is in the file.· We had a
 13   ··    ·correct?                                                   13   · · ·grievance hearing, and I needed a copy of what was
 14   A.·   ·As a matter of fact, I did talk with him.                  14   · · ·written up.· And Mr. Allen came in and said, "There is
 15   Q.·   ·When?                                                      15   · · ·no write-up.· He never was written up."
 16   A.·   ·Subsequent to Mr. Hayse being terminated.· He came in my   16   Q.· ·What is a "write-up"?· Under the contract, what's a
 17   ··    ·office.                                                    17   · · ·"write-up"?
 18   Q.·   ·Oh, I'm not interested in that.· I want to --              18   A.· ·It is a statement of charges --
 19   A.·   ·Actually, it was prior to Mr. Hayse's termination, I       19   Q.· ·Okay.· Is that required --
 20   ··    ·talked to him.                                             20   A.· ·-- that would be brought.
 21   Q.·   ·Okay.                                                      21   Q.· ·-- under the contract?
 22   A.·   ·I talked to him because we had a grievance hearing         22   A.· ·It's somewhat ironic that Mr. Hayse is claiming he had
 23   ··    ·scheduled, and I wanted a copy of the write-up.            23   · · ·no knowledge when he is -- he had due process and
 24   Q.·   ·Okay.· Now you're just talking.                            24   · · ·Mr. Furman did not.
 25   ··    · · · Before --                                             25   Q.· ·Okay.
                                                             Page 222                                                               Page 224
 ·1   A.· ·No, you asked me if I talked to Mr. Allen, and I'm           ·1   A.· ·Mr. Furman did not receive a notice of the charges,
 ·2   · · ·responding to your question --                               ·2   · · ·the --
 ·3   Q.· ·No, I --                                                     ·3   · · · · · MS. GORDON:· Can you --
 ·4   A.· ·-- and you don't like my answer.· Let me finish.             ·4   A.· ·-- union didn't know.
 ·5   Q.· ·No, I asked you --                                           ·5   · · · · · MS. GORDON:· Can you tell him to listen --
 ·6   A.· ·You asked if I talked to Allen.                              ·6   · · · · · THE REPORTER:· I'm sorry --
 ·7   · · · · · THE REPORTER:· I'm sorry --                             ·7   · · · · · MS. GORDON:· Can you tell him to listen to my
 ·8   A.· ·The answer to that question is yes.                          ·8   · · ·question?
 ·9   BY MS. GORDON:                                                    ·9   · · · · · MR. THOMAS:· There's not a question on the table
 10   Q.· ·Did you talk --                                              10   · · ·right now.
 11   A.· ·I talked to Allen.                                           11   · · · · · MS. GORDON:· There was a question, actually.
 12   Q.· ·-- to Allen before you wrote a complaint --                  12   · · · · · MR. THOMAS:· Well, I think we may have lost it
 13   A.· ·I talked to Allen about the discipline --                    13   · · ·somewhere.
 14   · · · · · THE REPORTER:· Excuse me.· I'm sorry.· One at a         14   · · · · · MS. GORDON:· It was very specific.
 15   · · ·time, please.                                                15   A.· ·What was the question?
 16   · · · · · MR. THOMAS:· Yeah.· Yeah.                               16   · · · · · MR. THOMAS:· If you want to have it reread, you
 17   A.· ·I talked to Allen about the discipline --                    17   · · ·could have it reread.
 18   · · · · · MS. GORDON:· Okay.· You've got to tell your client      18   · · · · · MS. GORDON:· It was about whether there's any
 19   · · ·to just answer the questions I've asked.                     19   · · ·requirement in the contract.
 20   · · · · · MR. THOMAS:· I'd like to say something, but -- I        20   · · · · · Just listen to the question.
 21   · · ·have to tell you, Ms. Gordon, I think you're badgering       21   · · · · · ·(Record repeated by the reporter.)
 22   · · ·him a little bit.· He's trying.· Maybe he doesn't            22   BY MS. GORDON:
 23   · · ·answer --                                                    23   Q.· ·In the Collective Bargaining, what is a write-up and
 24   · · · · · MS. GORDON:· No, he's not.                              24   · · ·is --
 25   · · · · · MR. THOMAS:· Well --                                    25   A.· ·It is a notice -- I'm sorry.· I'll wait till your

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 ·1   ··    ·question is -- it is a notice that's given to the person   ·1   · · · · · There's no requirement in there for anything in
 ·2   ··    ·who is being charged for the discipline as to what that    ·2   · · ·writing.· "Yes" or "no"?
 ·3   ··    ·discipline is.                                             ·3   · · · · · · ·(Discussion held off the record.)
 ·4   ··    · · · That person is brought in to address those charges    ·4   A.· ·It says:
 ·5   ··    ·with his union rep, and he's afforded an opportunity to    ·5   · · · · · · · ·"Further details or documentation of
 ·6   ··    ·respond.                                                   ·6   · · · · · disciplinary action shall be made available
 ·7   Q.·   ·Okay.· That's not -- there's no requirement of a written   ·7   · · · · · to the union."
 ·8   ··    ·notice in the contract, is there?                          ·8   BY MS. GORDON:
 ·9   A.·   ·There is a notice that's provided to the --                ·9   Q.· ·I'm talking about notice of the charges against the
 10   Q.·   ·But it's not in writing; correct?                          10   · · ·officer.· It says a conference -- the union rep shall be
 11   A.·   ·Typically, yes.                                            11   · · ·at the conference; correct?
 12   Q.·   ·Okay.· Look, it's either -- a contract is not              12   A.· ·That's what this says.
 13   ··    ·"typically."· There's language in a contract that has to   13   Q.· ·Okay.
 14   ··    ·be followed; correct?                                      14   A.· ·Section 8.1 says that.
 15   A.·   ·Written notice of the charges against the officer -- and   15   Q.· ·Right.
 16   ··    ·he has an opportunity to respond with his union rep --     16   · · · · · And that's the Collective Bargaining Agreement that
 17   Q.·   ·Okay.· That's --                                           17   · · ·you must follow by law; correct?
 18   A.·   ·-- prior to the imposition of any discipline, yes.         18   A.· ·It's part and parcel of it, yes.
 19   Q.·   ·That's not what the contract says.                         19   Q.· ·You must follow that by law; am I correct?
 20   A.·   ·That's exactly what the contract says.                     20   A.· ·It's part and parcel of it, yes.
 21   Q.·   ·Okay.· I'm going to read it to you again for the second    21   Q.· ·Okay.· And you've not pointed me to anything that says
 22   ··    ·time during the dep.                                       22   · · ·anything in writing must be given to the officer.· Okay.
 23   ··    · · · · · ·"All employees shall have the right to           23   · · · · · · ·(Discussion held off the record.)
 24   ··    · · · be represented by the Local president, his            24   BY MS. GORDON:
 25   ··    · · · designee and a union representative at all            25   Q.· ·Okay.· At the time that Barnes came to you about Furman,
                                                             Page 226                                                               Page 228
 ·1   · · · · · disciplinary conferences except that the                ·1   · · ·discipline, were you aware of Officer Furman's track
 ·2   · · · · · employer has the right to take disciplinary             ·2   · · ·record with regard to citizen complaints?
 ·3   · · · · · action immediately in emergency situations."            ·3   A.· ·Barnes didn't come to me about Furman's discipline.· She
 ·4   · · · · · That says a "disciplinary conference," doesn't it?      ·4   · · ·came to me about disciplining Chad Hayse.
 ·5   A.· ·That's part of it, yes.                                      ·5   Q.· ·Well, one of your counts is the discipline of Furman.
 ·6   Q.· ·Okay.· There's no --                                         ·6   · · · · · We've already covered that here.
 ·7   A.· ·There's policies and procedures in the department --         ·7   · · · · · That's one of your counts, Count 4.· You said she
 ·8   Q.· ·Okay.· You show me --                                        ·8   · · ·was upset about discipline.
 ·9   A.· ·-- in how the City is to discipline employees.               ·9   · · · · · MR. MEIHN:· That wasn't your question, Counsel.
 10   Q.· ·-- where in the contract it says you have to give            10   · · ·You said, "When she came to you to complain about
 11   · · ·written notice of the charges.                               11   · · ·Furman."
 12   A.· ·There's policies and procedures --                           12   · · · · · MS. GORDON:· Yeah.
 13   Q.· ·I -- sir --                                                  13   · · · · · MR. MEIHN:· And so he's answering the question.
 14   A.· ·-- of the City discipline procedure.                         14   BY MS. GORDON:
 15   · · · · · MS. GORDON:· I'm asking about the Collective            15   Q.· ·Well, she complained to you about Furman, that he was
 16   · · ·Bargaining Agreement, Phil.· He's refusing to answer.        16   · · ·being disciplined improperly, didn't she?
 17   · · · · · MR. THOMAS:· Do you remember the Collective --          17   A.· ·No.· She complained to me about Chief Hayse not doing
 18   · · · · · MS. GORDON:· I've put it in front of him.               18   · · ·his job.
 19   · · · · · MR. THOMAS:· If not --                                  19   Q.· ·Well, wasn't one of the things she complained about
 20   A.· ·Let me take -- I'll read it.                                 20   · · ·Matthew Furman's discipline?
 21   · · · · · MR. THOMAS:· Okay.                                      21   · · · · · You've been testifying to that.
 22   A.· ·What provision are you specifically referring to?            22   A.· ·She came to me about the discipline of Chad Hayse.· She
 23   BY MS. GORDON:                                                    23   · · ·didn't come to me about the discipline to Furman.
 24   Q.· ·I just turned it to you.· I gave you the page.· It's         24   · · · · · MS. GORDON:· Oh, God.· Now, we're just going around
 25   · · ·called "Discipline."                                         25   · · ·in circles needlessly.

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 ·1   · · · · · I'm saying this for the judge.                          ·1   · · ·documentation as to why Mr. Furman was being
 ·2   · · · · · Now I've asked the same question four times.            ·2   · · ·disciplined.· Correct.
 ·3   BY MS. GORDON:                                                    ·3   BY MS. GORDON:
 ·4   Q.· ·You've already testified to this, but yet you're making      ·4   Q.· ·Right.
 ·5   · · ·me repeat myself over and over again.                        ·5   A.· ·So, I did.
 ·6   · · · · · You've already testified that -- so has Barnes --       ·6   Q.· ·But with regard to Furman's record, did you look to see
 ·7   · · ·that she came to you because she was upset about             ·7   · · ·whether he had been a problem in the department?
 ·8   · · ·discipline of Matthew Furman.· You've already admitted       ·8   · · · · · I think your answer is "no."
 ·9   · · ·to that.                                                     ·9   A.· ·No, that's not my answer.· But go ahead.
 10   · · · · · You're now arguing with me about that?                  10   Q.· ·Well, did --
 11   A.· ·No, I'm not arguing with you, Counsel.· What I'm saying      11   A.· ·I like my answer better.
 12   · · ·is, she came to me over the discipline of Chad Hayse and     12   · · · · · My answer is that I --
 13   · · ·she was upset with Chad Hayse not performing his job.        13   Q.· ·I know you do.
 14   · · ·And part of the discussion was issues of inappropriate       14   A.· ·And it is.
 15   · · ·discipline, but that wasn't --                               15   Q.· ·Because you don't want to be honest --
 16   Q.· ·Of who?· Of who?                                             16   A.· ·I asked Mr. Hayse --
 17   A.· ·Of Mr. Furman.                                               17   Q.· ·-- and tell the truth.
 18   Q.· ·Okay.· At the time she came to you with that and you put     18   · · · · · THE REPORTER:· Excuse me --
 19   · · ·together a complaint, in detail, about wrongdoing on the     19   A.· ·-- if there was any discipline or anything that was
 20   · · ·part of Chad Hayse with regard to Matthew Furman's           20   · · ·related to Furman, please provide it to me.· You can see
 21   · · ·discipline, were you aware of Matthew Furman's record of     21   · · ·it in the letter.· So, yeah, I did.
 22   · · ·citizen complaints?                                          22   BY MS. GORDON:
 23   A.· ·You know, I don't recall if I was aware of that or not.      23   Q.· ·No, you asked for anything about his discipline of
 24   Q.· ·Did you know -- did you know --                              24   · · ·Furman.
 25   A.· ·I knew that every officer occasionally gets a complaint,     25   · · · · · I'm asking you whether you went to see whether
                                                             Page 230                                                               Page 232
 ·1   ··    ·so I'd have to say that --                                 ·1   · · ·Hayse had a history, for example, of citizen complaints
 ·2   Q.·   ·Oh, really?· Oh, really?· Have you looked at that?         ·2   · · ·against him that ultimately caused the chief to
 ·3   A.·   ·No, I'm just aware officers sometimes get complaints.      ·3   · · ·discipline him?
 ·4   Q.·   ·How many complaints has Lieutenant Welch had in his long   ·4   A.· ·I'm not aware of Mr. Hayse having a series of citizen --
 ·5   ··    ·career?                                                    ·5   · · · · · MR. THOMAS:· I think you might have misspoke,
 ·6   A.·   ·I have not -- as I indicated to you earlier -- it's the    ·6   · · ·Ms. Gordon.· You said "citizen complaints against
 ·7   ··    ·second or third time you've asked me this question -- I    ·7   · · ·Mr. Hayse."· I think you misspoke.
 ·8   ··    ·did not review Mr. Welch's file for discipline.· So, I'm   ·8   · · · · · MS. GORDON:· Against Furman.· Against Furman.
 ·9   ··    ·sorry.                                                     ·9   A.· ·If the chief didn't provide it to me, I did not see it.
 10   Q.·   ·Well, I don't think citizen complaints are in the file,    10   BY MS. GORDON:
 11   ··    ·sir.                                                       11   Q.· ·Okay.· Well, you asked the chief only for discipline.
 12   ··    · · · But I just wanted to know what --                     12   · · · · · But -- okay.· So, let's go through them -- a few of
 13   A.·   ·So, I can't -- I'm not qualified to answer.· An opinion?   13   · · ·the complaints and just find out whether you knew about
 14   ··    ·I don't know.                                              14   · · ·this.
 15   Q.·   ·Did you look into citizen complaints of Furman to see      15   · · · · · I'll start with complaints that actually you
 16   ··    ·whether or not he had been a problem in the department     16   · · ·received via e-mail in the City, and you never produced
 17   ··    ·leading up to the discipline?                              17   · · ·to us.
 18   A.·   ·I don't believe anything was provided to me.               18   · · · · · MS. GORDON:· And I'm going to make a record of
 19   Q.·   ·Well, did you go looking for anything?                     19   · · ·this.· I'm going to mark these one by one.
 20   A.·   ·Did I go looking for anything?                             20   · · · · · · · ·(Deposition Exhibit 1 marked
 21   Q.·   ·Yes.· In order to try to put together your case and your   21   · · · · · · · ·for identification.)
 22   ··    ·complaint --                                               22   BY MS. GORDON:
 23   A.·   ·Yes, I did, as a matter of fact.                           23   Q.· ·I'm going to hand you -- okay.· Here is from Stacy Striz
 24   ··    · · · THE REPORTER:· I'm sorry --                           24   · · ·to Chad Hayse and Jeff Bolton.· It's Exhibit 1.
 25   A.·   ·I asked Mr. Hayse to provide me any and all                25   · · · · · · · ·"Good morning, Chief.· Over the weekend

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 ·1   · · · · · there were some rumblings of a situation where        ·1   · · · · · Michelle and advised what her daughter could
 ·2   · · · · · Officer Furman had to use his TASER on a woman        ·2   · · · · · do to help.· To my knowledge, neither the
 ·3   · · · · · that he had pulled over last week who had a           ·3   · · · · · daughter or Michelle have taken the action
 ·4   · · · · · small baby in the back seat.· I would like to         ·4   · · · · · that I suggested and neither have come to the
 ·5   · · · · · see reports, recordings and audios and know           ·5   · · · · · police station to make any complaints against
 ·6   · · · · · how many times the individual had to be               ·6   · · · · · the officers.
 ·7   · · · · · TASED.· Please let me know if I can stop by           ·7   · · · · · · · ·Kassie Weinstein was upset because her
 ·8   · · · · · today."                                               ·8   · · · · · adult son's vehicle was towed.· The divorced
 ·9   · · · · · Have you ever seen that before?                       ·9   · · · · · parents gave the son a vehicle but nobody
 10   A.· ·No, I'm not aware of that.                                 10   · · · · · bothered to transfer the license plates.· The
 11   · · · · · · (Discussion held off the record.)                   11   · · · · · vehicle was towed.· She was upset because the
 12   · · · · · · · ·(Deposition Exhibit 2 marked                     12   · · · · · fine sheet from the court was an old one which
 13   · · · · · · · ·for identification.)                             13   · · · · · had the wrong fine amount.· They just want to
 14   BY MS. GORDON:                                                  14   · · · · · complain but aren't taking any
 15   Q.· ·Okay.                                                      15   · · · · · responsibility --"
 16   A.· ·It's -- just for the record, it's Monday, February 23rd,   16   · · · · · It's Exhibit 2.
 17   · · ·2015, and if I was aware of it, I don't recall that.       17   · · · · · Have you seen this before?
 18   · · · · · MR. THOMAS:· Can I take a look at it?                 18   A.· ·Now I'll take a look at it.
 19   · · · · · MS. GORDON:· Yeah.                                    19   · · · · · So, this is a November 21st, 2013 letter from Chad
 20   A.· ·Sure.· Sorry.                                              20   · · ·Hayse sent --
 21   BY MS. GORDON:                                                  21   · · · · · MR. THOMAS:· It's not a letter.· It looks like an
 22   Q.· ·Do you know why that -- are you responsible for pulling    22   · · ·e-mail.
 23   · · ·documents in this case to produce to us in response to     23   A.· ·E-mail communication from Chad Hayse to Stacy Striz.
 24   · · ·requests for production of documents?                      24   BY MS. GORDON:
 25   A.· ·No, I had --                                               25   Q.· ·Have you ever seen that before?· Were you aware of that?
                                                           Page 234                                                               Page 236
 ·1   Q.· ·Who is responsible at the City for pulling documents?      ·1   · · · · · Your name is in it.
 ·2   A.· ·There's a collective group of individuals that had been    ·2   A.· ·I have no recollection of this.
 ·3   · · ·getting together documents.                                ·3   Q.· ·Okay.· I have another one.
 ·4   Q.· ·Who are they --                                            ·4   A.· ·It's from 2013, so I'm --
 ·5   A.· ·I got together everything I had.                           ·5   Q.· ·Okay.· You can just set that right down there.
 ·6   · · · · · MS. GORDON:· Okay.· Well, I'm telling you, counsel    ·6   A.· ·-- not sure what to tell you about that one.· I'm
 ·7   · · ·for the City, I've never received any of these e-mails     ·7   · · ·sorry.
 ·8   · · ·I'm marking, and they're obviously things we've asked to   ·8   · · · · · · · ·(Deposition Exhibit 3 marked
 ·9   · · ·be produced, and I continue to be concerned that           ·9   · · · · · · · ·for identification.)
 10   · · ·documents are being withheld from us.                      10   BY MS. GORDON:
 11   · · · · · MR. THOMAS:· Could we have a copy of this,            11   Q.· ·December 2, 2014, "Subject:· Officer Complaint."· It's
 12   · · ·Ms. Gordon?                                                12   · · ·"From:· Stacy Striz," "To:· Police Chief."
 13   · · · · · MS. GORDON:· Yeah.                                    13   · · · · · It starts, actually, on December 2nd, 2014 at 9:32.
 14   · · · · · MR. THOMAS:· Did you make a copy for us?              14   · · · · · · · ·"Good morning.· I received a call on
 15   · · · · · MS. GORDON:· No.· I just pulled these just now        15   · · · · · Sunday from a person who was pulled over by
 16   · · ·myself.· I'll get a copy.· After it's marked, I'll get a   16   · · · · · Officer Furman on November 21.· He alleged
 17   · · ·copy.                                                      17   · · · · · that Officer Furman was swearing at him and
 18   · · · · · MR. THOMAS:· Okay.                                    18   · · · · · yelling at him repeatedly and that it was
 19   BY MS. GORDON:                                                  19   · · · · · unwarranted.· Is there a tape we can listen
 20   Q.· ·Here is something from Chad Hayse to the mayor of          20   · · · · · to when a situation like this -- situations
 21   · · ·Melvindale, November 21, 2013.                             21   · · · · · like this arise?· I'm just curious."
 22   · · · · · · · ·"Michelle Hollis.· Her adult daughter was        22   · · · · · Were you made aware of this citizen complaint about
 23   · · · · · assaulted by a neighbor.· The report was              23   · · ·Furman?
 24   · · · · · forwarded to Larry Coogan's office for                24   · · · · · Did the mayor ever discuss that with you?
 25   · · · · · potential charges.· I personally spoke with           25   A.· ·This is a communication from allegedly Chad Hayse to the

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 ·1   · · ·mayor, dated --                                            ·1   Q.· ·When did you become aware of that?
 ·2   Q.· ·It's from the mayor to Chad Hayse.· Look down at the       ·2   A.· ·I'm not certain, but I was aware of that about --
 ·3   · · ·bottom.                                                    ·3   Q.· ·Before this lawsuit?
 ·4   A.· ·From Chad Hayse to Stacy Striz --                          ·4   A.· ·I believe so.· I --
 ·5   Q.· ·Go down to the --                                          ·5   Q.· ·Were you aware that the mayor knew that and told Chad
 ·6   · · · · · THE REPORTER:· Excuse me?                             ·6   · · ·Hayse, "Nice job"?
 ·7   A.· ·It's dated --                                              ·7   A.· ·I haven't seen any communication to that --
 ·8   BY MS. GORDON:                                                  ·8   Q.· ·Yes, you have.
 ·9   Q.· ·Go down to the bottom, Mr. Coogan, and see where it        ·9   A.· ·Oh, I have?
 10   · · ·starts.                                                    10   Q.· ·Yeah.
 11   A.· ·I'm making a record, too.· It's December 3rd, 2014 at      11   A.· ·Okay.
 12   · · ·9:02 a.m.                                                  12   Q.· ·Exhibit 4.· Your name is right on it.· Read it --
 13   · · · · · And it says, "From:· Stacy Striz."                    13   A.· ·So, if my name is --
 14   · · · · · The second part says, "To:· Police Chief."            14   Q.· ·-- top to bottom.
 15   Q.· ·The record has already been made.· I already said that     15   A.· ·-- on it, that means I've seen it?
 16   · · ·on the record, but go ahead.                               16   Q.· ·These are -- none of these have been produced.
 17   · · · · · MR. THOMAS:· Ms. Gordon, can I ask you a question?    17   · · · · · Read top to bottom.
 18   · · · · · Did you want him to start at the bottom of it?        18   · · · · · Does that refresh your recollection?
 19   · · ·Would that save time?· Is that really what you were        19   A.· ·Well, it says here -- it doesn't --
 20   · · ·asking him to do?                                          20   · · · · · THE REPORTER:· I'm sorry?
 21   · · · · · MS. GORDON:· Yeah.· From the mayor.                   21   BY MS. GORDON:
 22   · · · · · MR. THOMAS:· I think what she wants you to do is      22   Q.· ·I'm sorry?
 23   · · ·start at the bottom --                                     23   A.· ·It says "CC:· Larry Coogan."· It doesn't have an e-mail.
 24   A.· ·Okay.· And.                                                24   · · ·I don't know how I was cc'd this.
 25   · · · · · MR. THOMAS:· -- and go up.· That might save a         25   · · · · · Just the fact that the letter says "cc'd" -- that
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 ·1   · · ·minute or two.                                             ·1   · · ·doesn't show an e-mail going to me.
 ·2   A.· ·I was not aware of anybody making this accusation.· It     ·2   Q.· ·Okay.
 ·3   · · ·was not communicated to me.                                ·3   A.· ·So, I don't know if I ever got this or not.· So, I
 ·4   · · · · · I don't see it going to the Safety Commission         ·4   · · ·don't --
 ·5   · · ·either.· So --                                             ·5   Q.· ·You see --
 ·6   BY MS. GORDON:                                                  ·6   A.· ·I don't recall that.
 ·7   Q.· ·Were you aware -- okay.· You can put that down.            ·7   Q.· ·You see that Chad sent Furman for counseling.· He
 ·8   · · · · · · · ·(Deposition Exhibit 4 marked                     ·8   · · ·reported to the mayor, and she told him "Nice job";
 ·9   · · · · · · · ·for identification.)                             ·9   · · ·correct?
 10   A.· ·Yeah.· I --                                                10   · · · · · You see that?
 11   BY MS. GORDON:                                                  11   A.· ·I'm looking for the part where it says "Nice job."
 12   Q.· ·I'm going to hand you Exhibit 4.                           12   Q.· ·It's got a little smiley face.
 13   A.· ·I have -- this is from 2014.                               13   · · · · · MR. THOMAS:· Right there.
 14   Q.· ·Were you aware that in early 2015, Matthew Furman was      14   A.· ·(Reading.)
 15   · · ·sent for psychological counseling based on his potential   15   · · · · · · · ·"Thank you for the update.· Nice job."
 16   · · ·anger problems and inability to use discretion in his      16   BY MS. GORDON:
 17   · · ·job?                                                       17   Q.· ·Okay.· Were you aware of the history of problems Chief
 18   · · · · · Did you ever become aware of that?                    18   · · ·Hayse had had with Matthew Furman, beginning at least in
 19   A.· ·I was here --                                              19   · · ·2013, with regard to complaints made by citizens?
 20   Q.· ·Other than in this case.· Other than in this lawsuit       20   · · · · · Did you become aware of that at any time?
 21   · · ·here.                                                      21   A.· ·I'm sure I did at some point.
 22   A.· ·I was aware that he sent Furman for counseling.            22   Q.· ·Okay.· When did you become aware of it?
 23   · · · · · "He" being the chief of police.                       23   A.· ·I'm sure I did at some point.· If there's complaints
 24   Q.· ·When did you --                                            24   · · ·against an officer, I'm sure I would hear about it.
 25   A.· ·Demanded Mr. Furman to go to counseling.                   25   Q.· ·Well, at the time you had the hearing against Hayse,

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 ·1   · · ·were you aware of a number of years that had gone by         ·1   · · ·intentionally refusing to answer questions.
 ·2   · · ·where the chief had had to respond to serious concerns       ·2   · · · · · Read the question back, John.
 ·3   · · ·from citizens about their treatment by Furman along the      ·3   · · · · · THE REPORTER:· One second.
 ·4   · · ·lines, for example, of the mayor here knowing of             ·4   · · · · · · ·(Record repeated by the reporter.)
 ·5   · · ·somebody that was TASED?                                     ·5   BY MS. GORDON:
 ·6   · · · · · Did you know what the chief had had to deal with        ·6   Q.· ·"Yes" or "no"?
 ·7   · · ·for all those years?                                         ·7   A.· ·My job is to provide legal assistance to everybody in
 ·8   A.· ·I didn't see any write-ups from the chief writing Furman     ·8   · · ·the City, every department head --
 ·9   · · ·up.                                                          ·9   · · · · · MS. GORDON:· Again, the witness --
 10   Q.· ·I didn't ask you that.                                       10   A.· ·-- mayor and council.
 11   A.· ·Well, that's my --                                           11   · · · · · So, yes, my job is to provide legal assistance to
 12   · · · · · MS. GORDON:· Do you want to read back the question,     12   · · ·anyone.
 13   · · ·John?                                                        13   · · · · · MS. GORDON:· Okay.· Again, this question was
 14   A.· ·My response is --                                            14   · · ·nonresponsive.· The witness is intentionally not
 15   BY MS. GORDON:                                                    15   · · ·responding to my question.
 16   Q.· ·Excuse me.                                                   16   BY MS. GORDON:
 17   · · · · · All right.· Let's stop right there?                     17   Q.· ·As part of your -- I'm going to ask it again.
 18   A.· ·I'm trying to respond to your question.                      18   · · · · · As part of your job, Mr. Coogan, you do not get
 19   Q.· ·Do you --                                                    19   · · ·copies of every directive to every employee by his boss;
 20   A.· ·I don't recall receiving any write-ups from Mr. Hayse --     20   · · ·correct?· That's not what you get?
 21   Q.· ·Okay.· You don't get write-ups every time somebody is        21   A.· ·That's correct.· I don't get copies of every single
 22   · · ·written up --                                                22   · · ·directive by every employee in the City.
 23   A.· ·Well, typically if somebody grieves it --                    23   Q.· ·In fact, you don't get copies --
 24   Q.· ·Okay.· You've got to left me finish.                         24   A.· ·By their boss.
 25   · · · · · When the police chief sent Furman for counseling,       25   Q.· ·-- of discipline unless it goes to grievance, do you?
                                                             Page 242                                                                 Page 244
 ·1   ··    ·you didn't get a copy of that, did you?                    ·1   A.·   ·No, that's not true.
 ·2   A.·   ·I don't know.· I'd have to look at your letter.            ·2   Q.·   ·Okay.· There's nothing -- there's no rule that people
 ·3   ··    · · · Did you say I got a copy of that or not?              ·3   ··    ·have to send city counsel copies of discipline; correct?
 ·4   Q.·   ·No, you didn't.                                            ·4   A.·   ·Well, you didn't ask me if there was a rule.· You asked
 ·5   A.·   ·Well, then, if you already know the answer to the          ·5   ··    ·me if I ever get copies, and I said yes.
 ·6   ··    ·question, no, I guess I didn't then.                       ·6   Q.·   ·Okay.· Is there a rule that you have to get copies?
 ·7   Q.·   ·I -- you don't get copies of directives that the chief     ·7   A.·   ·I don't believe there's a rule that says any department
 ·8   ··    ·gives to employees, do you?                                ·8   ··    ·has to conform or tell me anything unless --
 ·9   A.·   ·I do now, I think, yeah.                                   ·9   Q.·   ·Okay.· So, it's up to the department head as to whether
 10   Q.·   ·Okay.                                                      10   ··    ·the department head wants to copy you in?
 11   A.·   ·I do now by Mr. Allen.· Pretty much, he gives me --        11   A.·   ·Yeah.· I would think that's --
 12   Q.·   ·All right.· Well, I'm not talking about now.               12   Q.·   ·Okay.
 13   ··    · · · I'm talking about between the years of 2013 and       13   A.·   ·-- that's a fair assessment.
 14   ··    ·2017.                                                      14   Q.·   ·Okay.· And when Chad Hayse, at least, was chief, as far
 15   ··    · · · It's not that you didn't -- because you just got      15   ··    ·as you know, you were not regularly being copied on what
 16   ··    ·done saying, "Well, I didn't get any discipline."          16   ··    ·he was doing within his department; correct?
 17   ··    · · · My point is, it's not your job as city attorney to    17   A.·   ·Chad wouldn't communicate with me.· That's correct.
 18   ··    ·get copies of every discipline issued around the City,     18   Q.·   ·Again, the question was evasive -- the answer was
 19   ··    ·is it?                                                     19   ··    ·evasive.
 20   A.·   ·Normally, if there's a problem employee, I hear about      20   A.·   ·No, you asked me did he communicate with me.
 21   ··    ·it.                                                        21   ··    · · · I said he was not communicating with me.· That's
 22   Q.·   ·Okay.· I didn't ask you that.                              22   ··    ·correct.
 23   ··    · · · MS. GORDON:· I'm going to have the question read      23   Q.·   ·I didn't ask you that, sir.· I asked you, did he send
 24   ··    ·back, and I'm going to make a record that the witness is   24   ··    ·you copies of disciplines or directives?
 25   ··    ·intentionally -- this is for my 7 hours for the court --   25   A.·   ·When I wrote a letter to him?

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                                                             Page 245                                                                 Page 247
 ·1   Q.·   ·No.· Generally speaking, day in, day out, you were not     ·1   ··    ·complainant was upset that she had been stranded on
 ·2   ··    ·copied, were you?                                          ·2   ··    ·Greenfield after her vehicle had been towed.
 ·3   A.·   ·I don't believe so.· I don't recall for certain, though.   ·3   ··    · · · See that on the second page?
 ·4   ··    ·There may be some correspondence.· I don't recall. I       ·4   A.·   ·It doesn't say that she was stranded.
 ·5   ··    ·can't say with absolute --                                 ·5   Q.·   ·That's the word on the second page, sir.· 6372.
 ·6   Q.·   ·For example, you didn't know until that e-mail came        ·6   ··    · · · · · ·"She was now mostly upset that she had
 ·7   ··    ·later, after the counseling, that Furman was being sent    ·7   ··    · · · been stranded on Greenfield."
 ·8   ··    ·for counseling, did you?· You were never told that in      ·8   ··    · · · Do you see it?
 ·9   ··    ·advance by the chief?                                      ·9   A.·   ·You're not talking about the first page?
 10   A.·   ·I don't recall.                                            10   Q.·   ·Hang on a second.· Let me see what I gave you there.
 11   Q.·   ·Okay.                                                      11   A.·   ·(Reading.)
 12   A.·   ·I don't think so.                                          12   ··    · · · · · ·"-- upset the Officer --"
 13   Q.·   ·Okay.                                                      13   Q.·   ·Why don't you just hand it to me, and I'll point it to
 14   A.·   ·That's in 2013 or something.· I don't --                   14   ··    ·you.
 15   Q.·   ·Okay.· Now I'm going to hand you complaint against         15   A.·   ·Yeah.· Sure.· Sure.
 16   ··    ·Officer Furman, March 4, 2013, Bates stamp -370 and        16   ··    · · · Oh, it's on the second page of the second document.
 17   ··    ·-371, to Chief Hayse from Sergeant Jones, and the          17   ··    ·Okay.· I was looking at the second page.
 18   ··    ·citizen complaint from Daisy Truss.                        18   Q.·   ·She was upset that she had been stranded on Greenfield."
 19   A.·   ·Thank you.                                                 19   ··    · · · Do you see that?
 20   Q.·   ·Were you aware of that?                                    20   A.·   ·Yeah.· She was making an accusation.· She was upset that
 21   ··    · · · MR. THOMAS:· Are you having that marked?              21   ··    ·she was stranded, yeah.
 22   ··    · · · MS. GORDON:· No.· I'm just using --                   22   Q.·   ·Okay.· And then if you skip down to the line that says:
 23   ··    · · · MR. THOMAS:· Because we didn't get a copy.            23   ··    · · · · · ·"Officer Furman was professional --"
 24   ··    · · · MS. GORDON:· -- the Bates numbers, Phil.              24   ··    · · · Do you see that Sergeant Jones says he:
 25   ··    · · · MR. THOMAS:· Okay.                                    25   ··    · · · · · ·"-- could have been more courteous --
                                                             Page 246                                                                 Page 248
 ·1   · · · · · MS. GORDON:· I did say on the record what the Bates     ·1   · · · · · considering it was an accident and the location
 ·2   · · ·numbers were.                                                ·2   · · · · · she was at."
 ·3   · · · · · I can get you a copy of whatever you want.              ·3   · · · · · Do you see that?
 ·4   · · · · · MR. THOMAS:· Yeah.· That's all the -- that's the        ·4   A.· ·Yes.
 ·5   · · ·reason I was asking.· So, they have it primarily.            ·5   · · · · · And it also says:
 ·6   · · · · · MS. GORDON:· Yeah.                                      ·6   · · · · · · · ·"I believe that this matter is closed and
 ·7   · · · · · · (Discussion held off the record.)                     ·7   · · · · · does not require any further follow-up --"
 ·8   A.· ·Do you want me to -- do you want me to read the second       ·8   · · · · · MS. GORDON:· Okay.· Again, the witness is
 ·9   · · ·page of this, Counsel?                                       ·9   · · ·intentionally not responding to the question --
 10   BY MS. GORDON:                                                    10   A.· ·I'm reading the document you gave me.
 11   Q.· ·I just wanted to know whether you became -- you were         11   BY MS. GORDON:
 12   · · ·aware of this.                                               12   Q.· ·I didn't ask you to read it out loud.
 13   A.· ·I'd have to read --                                          13   A.· ·Oh, okay.· I'll read it to myself.
 14   Q.· ·It doesn't appear you were, but I don't know.                14   Q.· ·I asked you to answer a question, and instead of
 15   A.· ·I don't -- I could read it and see if it refreshes my        15   · · ·answering the question you're adding in things you want
 16   · · ·memory, but -- if you'd like.                                16   · · ·to add in because they make you feel better in the
 17   · · · · · Yeah, it -- it looks as though Officer Jones            17   · · ·moment.
 18   · · ·responded to the accusations made by this                    18   · · · · · Let's go to the third thing on --
 19   · · ·Mrs. Jones(sic).                                             19   A.· ·I'd like the record reflect that counsel is now
 20   · · · · · MR. THOMAS:· I think she wanted to know if you saw      20   · · ·testifying as to how I feel.· I don't know how she has
 21   · · ·it.                                                          21   · · ·this clairvoyant ability --
 22   A.· ·I did not see it, no.                                        22   Q.· ·You know, you don't have to say that, Mr. Coogan --
 23   BY MS. GORDON:                                                    23   A.· ·-- to tell how I feel or don't feel.
 24   Q.· ·Okay.· So, you can see here that Officer Jones concluded     24   Q.· ·-- because it's already on the record, what I just said.
 25   · · ·the sergeant -- that -- well, first of all, the              25   A.· ·But it's amazing that you can testify to my state of

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 ·1   · · ·mind.                                                      ·1   Q.·   ·Okay.· So, are you -- this is in 2013, and we're going
 ·2   Q.· ·Okay.· When you stop adding things to your answers that    ·2   ··    ·to keep going, but you're going to see that in 2016,
 ·3   · · ·have nothing to do with my question, I'll stop --          ·3   ··    ·Furman was still being counseled for the way he handled
 ·4   A.· ·Why don't you ask your --                                  ·4   ··    ·tows.
 ·5   Q.· ·Okay.· Now --                                              ·5   ··    · · · All right.· Let's go to --
 ·6   A.· ·-- question, and I'll answer.                              ·6   A.·   ·Sorry.· I thought you were going to hand me another
 ·7   Q.· ·-- you're interrupting me.                                 ·7   ··    ·document.
 ·8   · · · · · THE REPORTER:· Excuse me --                           ·8   Q.·   ·Let's go to August 6th, 2013.
 ·9   BY MS. GORDON:                                                  ·9   ··    · · · This is Bates stamp -373.
 10   Q.· ·Once you stop adding to your answers and delaying this     10   ··    · · · And it's got an attachment.
 11   · · ·deposition on purpose, I will stop pointing out what       11   A.·   ·Thank you.
 12   · · ·you're doing.                                              12   Q.·   ·And I would like you to observe that this is from Chad
 13   A.· ·Why don't you ask a question, and I'll answer.             13   ··    ·Hayse to Tiffany Osley, O-s-l-e-y, "Subject:· Horrible
 14   Q.· ·I did.                                                     14   ··    ·experience with one of your officers."
 15   A.· ·Please state it again.· I don't recall.                    15   ··    · · · And Tiffany Osley is saying that she was on her way
 16   Q.· ·You've already answered it.· You just added something      16   ··    ·to take her son to urgent care, at the bottom:
 17   · · ·in.                                                        17   ··    · · · · · ·"A police officer stopped me for a broken
 18   A.· ·Okay.· Go ahead.                                           18   ··    · · · windshield.· He asked me if I was having
 19   Q.· ·Do you see that the sergeant stated that he advised        19   ··    · · · financial trouble.· I told him yes."
 20   · · ·Furman not to accuse people of lying when there's a        20   ··    · · · The problem -- she says:
 21   · · ·possibility they are not?                                  21   ··    · · · · · ·"-- the problem was, I had no knowledge
 22   A.· ·You don't want me to read it out loud?· You just want me   22   ··    · · · of Detroit suspending my license.· The officer
 23   · · ·to read it?                                                23   ··    · · · then takes my license, myself and my five
 24   Q.· ·No.· I said, do you see that?                              24   ··    · · · children, including a one-year-old, get out of
 25   · · · · · MR. THOMAS:· It's this paragraph.                     25   ··    · · · the car, and have us wait on the side of the
                                                           Page 250                                                                 Page 252
 ·1   A.· ·Yeah.· Yeah.· He did accuse her of lying.                  ·1   ··    · · · road.· So, I have no form of ID, no
 ·2   BY MS. GORDON:                                                  ·2   ··    · · · transportation to get to school and further my
 ·3   Q.· ·Do you see what his sergeant is telling him, giving him    ·3   ··    · · · education or to transport my kids."
 ·4   · · ·correction?                                                ·4   ··    · · · Do you see that?
 ·5   · · · · · · · ·"I advised not to accuse people of lying --"     ·5   A.·   ·Yes.
 ·6   · · · · · Do you see that?                                      ·6   Q.·   ·Is that appropriate conduct for a police officer?
 ·7   · · · · · MR. THOMAS:· It's the last --                         ·7   A.·   ·Well, if she's driving without a valid license and she's
 ·8   A.· ·Yeah.                                                      ·8   ··    ·driving without a valid plate on her vehicle, she
 ·9   · · · · · · · ·"I advised not to accuse people of lying         ·9   ··    ·shouldn't be operating on the roads of the City, or
 10   · · · · · when there is a possibility they are not."            10   ··    ·anybody, in the State of Michigan.
 11   BY MS. GORDON:                                                  11   Q.·   ·So, you support --
 12   Q.· ·Okay.                                                      12   A.·   ·I don't know what all the facts and circumstances are.
 13   A.· ·Okay.· I see it, yeah.                                     13   ··    ·I don't know.
 14   Q.· ·Go to the next paragraph.                                  14   Q.·   ·Okay.· But you see in 2013, here we have a woman
 15   A.· ·Sure.                                                      15   ··    ·complaining about the exact same thing that caused Chief
 16   Q.· ·Do you see where Sergeant Jones told Furman:               16   ··    ·Hayse to finally direct Furman in 2016 to call into the
 17   · · · · · · · ·"I observed that the accident did occur          17   ··    ·desk before he makes tows?
 18   · · · · · on Greenfield and out of courtesy he should           18   ··    · · · You see this is now going on in August '13, don't
 19   · · · · · have at least given her a ride to the nearest         19   ··    ·you, Mr. Coogan?
 20   · · · · · location so she didn't have to walk down              20   A.·   ·That --
 21   · · · · · Greenfield and Allen Road intersection in the         21   Q.·   ·Citizens are upset; right?
 22   · · · · · cold.· I spoke with him about this, and he            22   A.·   ·This lady is upset --
 23   · · · · · states he understands"?                               23   Q.·   ·You see this?
 24   · · · · · Do you see that?                                      24   A.·   ·-- right here.· The number that you just read.
 25   A.· ·Yeah.                                                      25   Q.·   ·Yeah.· Yeah.· Exactly.

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                                                             Page 253                                                                 Page 255
 ·1   A.·   ·Yeah.· This is dated August 6th of --                      ·1   A.·   ·At the dep day, we had lunch together.
 ·2   Q.·   ·Yeah.· Well, I'm showing you the history, sir, that you    ·2   Q.·   ·You've had lunch with him other times, haven't you?
 ·3   ··    ·knew nothing about.                                        ·3   A.·   ·I don't believe so.
 ·4   A.·   ·Yeah.· She was driving with her license suspended --       ·4   Q.·   ·You text with him; correct?
 ·5   Q.·   ·Are you just really so dug in, you're going to defend      ·5   A.·   ·Not -- no, not really.
 ·6   ··    ·Matthew Furman --                                          ·6   Q.·   ·Check your phone.
 ·7   A.·   ·I'm not -- I'm reading the ticket he gave --               ·7   A.·   ·All right.· I'll look in my phone.
 ·8   Q.·   ·Do you do any -- do you have any business dealings with    ·8   ··    · · · I have to turn it back on again.
 ·9   ··    ·Matthew Furman?                                            ·9   Q.·   ·I'm going to ask you to retain that phone because we're
 10   A.·   ·Business dealings?                                         10   ··    ·going to have the court -- we're going to ask the court
 11   Q.·   ·Is he a friend of yours?                                   11   ··    ·to have somebody inspect it, do a forensic exam.· So, do
 12   A.·   ·He's an acquaintance.· I see him as a police officer.      12   ··    ·not remove anything from that phone, Mr. Coogan, and do
 13   Q.·   ·Do you socialize with him?                                 13   ··    ·not do anything with that phone.
 14   A.·   ·I see him as a police officer.                             14   A.·   ·I'm still turning it on right now.· So --
 15   Q.·   ·Have you socialized with him ever?                         15   Q.·   ·Okay.
 16   A.·   ·Have I socialized with him ever?                           16   A.·   ·I have some texts from Furman.
 17   ··    · · · I think -- I think I may have had a beer with him     17   Q.·   ·Okay.· May I see them, please?
 18   ··    ·once or twice.                                             18   ··    · · · I'm going to come around.
 19   Q.·   ·Okay.· Where would that be?                                19   ··    · · · MR. THOMAS:· I have to make a call.· Can we go off
 20   A.·   ·Probably at the Broadcast Booth.                           20   ··    ·the record while you review those --
 21   Q.·   ·I mean, is that once or twice true, or is it like when     21   ··    · · · MS. GORDON:· Sure.
 22   ··    ·you told me you hardly ever texted with Goch, and then     22   ··    · · · MR. THOMAS:· -- or are you going to stay on the
 23   ··    ·we had quite a few texts?                                  23   ··    ·record?
 24   ··    · · · I mean, are you guessing or do you know?              24   ··    · · · MS. GORDON:· All right.
 25   A.·   ·I think I've had a beer with him maybe once or twice.      25   ··    · · · MR. THOMAS:· I'd like to go off the record.
                                                             Page 254                                                                 Page 256
 ·1   ··    ·But I don't --                                             ·1   · · · · · MS. GORDON:· All right.· For the record, Mr. Thomas
 ·2   Q.·   ·It's been more than that, hasn't it?                       ·2   · · ·is stepping out but he's --
 ·3   A.·   ·I -- I don't recall.                                       ·3   · · · · · MR. THOMAS:· To make a call.
 ·4   Q.·   ·It might be?                                               ·4   · · · · · MS. GORDON:· -- going to allow me to go through the
 ·5   A.·   ·I think twice for sure.                                    ·5   · · ·phone.
 ·6   Q.·   ·It might be; right?                                        ·6   · · · · · MR. THOMAS:· Yes.
 ·7   ··    · · · You're under oath here.                               ·7   · · · · · MS. GORDON:· And then I'll --
 ·8   A.·   ·I don't recall.· I think a couple times I had a beer.      ·8   · · · · · All right.· Let's go to the top, Mr. Coogan.
 ·9   Q.·   ·Oh.· Why were you having a beer with him?                  ·9   A.· ·March 12, 2018.
 10   A.·   ·I have beer with the officers once in a while, different   10   BY MS. GORDON:
 11   ··    ·officers.                                                  11   Q.· ·Okay.· So, I'm -- if you don't mind, let's just read
 12   Q.·   ·Okay.· Who else?                                           12   · · ·some of this into the record.
 13   A.·   ·Quite a few of them, actually.                             13   A.· ·Yeah, I can read it to you --
 14   Q.·   ·Well, when is the last time you saw Furman?                14   Q.· ·All right.· The green is you?
 15   A.·   ·At -- wait a minute.                                       15   · · · · · · ·(Mr. Thomas leaves the room.)
 16   ··    · · · At this deposition he had here.· And then he          16   BY MS. GORDON:
 17   ··    ·stopped by my office because he rode there with me, and    17   Q.· ·Go ahead.
 18   ··    ·he picked up his coat that he had had -- it had been       18   A.· ·Okay.· It says:
 19   ··    ·hanging in my office for a couple weeks.                   19   · · · · · · · ·"It's still up in the air so I will keep you
 20   ··    · · · So, he was there maybe a week ago.                    20   · · · · · · · ·posted."
 21   Q.·   ·So, he rode with you to the dep?                           21   · · · · · I don't know what we're referring to.
 22   A.·   ·Yeah.                                                      22   · · · · · It says:
 23   Q.·   ·Uh-huh.                                                    23   · · · · · · · ·"Okay.· They come off like a bunch of clowns
 24   A.·   ·Rich and Furman all rode --                                24   · · · · · changing dates."
 25   Q.·   ·And you've had lunch with him, too; is that correct?       25   · · · · · I'm assuming they're talking about the date of the

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                                                             Page 257                                                                 Page 259
 ·1   ··    ·deposition.                                                ·1   ··    · · · Keep going.
 ·2   Q.·   ·Read the whole thing, please.                              ·2   ··    · · · Saturday, March 17th.
 ·3   A.·   ·(Reading.)                                                 ·3   A.·   ·It's something -- wait a minute.
 ·4   ··    · · · · · ·"Clowns changing dates at the last minute!       ·4   Q.·   ·You write:
 ·5   ··    · · · Unprofessional!"                                      ·5   ··    · · · · · ·"Nice."
 ·6   Q.·   ·That's talking about us?                                   ·6   A.·   ·I know -- I read that and said:
 ·7   A.·   ·I would assume.                                            ·7   ··    · · · · · ·"Nice."
 ·8   Q.·   ·Okay.· Go ahead.                                           ·8   ··    · · · I'm not sure what this says.
 ·9   A.·   ·But I don't know.                                          ·9   Q.·   ·It's a legal pleading.
 10   Q.·   ·That's fine.                                               10   A.·   ·Yeah, I know what it is, but --
 11   A.·   ·(Reading.)                                                 11   Q.·   ·Look at it.
 12   ··    · · · · · ·"That's what I've been dealing with."            12   A.·   ·Yeah.· I know.· I'm pulling it up so we can look at it
 13   Q.·   ·Is that from you, the green?                               13   ··    ·together.
 14   A.·   ·I believe so.                                              14   ··    · · · Oh, shit.· Where the heck did that go?
 15   Q.·   ·And then that's Furman responding to you:                  15   Q.·   ·Go ahead.
 16   ··    · · · · · ·"I'd tell them to fuck themselves.· Can't        16   A.·   ·It says:
 17   ··    · · · wait to destroy any hopes they have of $$$$."         17   ··    · · · · · ·"Defendants Hayse and Welch questioned
 18   ··    · · · That's from Furman to you, sir?                       18   ··    · · · Plaintiff and refused to allow the Plaintiff
 19   A.·   ·That's correct.                                            19   ··    · · · to leave without making a statement regarding
 20   Q.·   ·And then you say:                                          20   ··    · · · Barse's death."
 21   ··    · · · · · ·"I will keep you posted."                        21   ··    · · · And then it says the complaint number.
 22   ··    · · · Furman:                                               22   ··    · · · THE REPORTER:· I'm sorry.· "-- regarding --"
 23   ··    · · · · · ·"When are they supposed to let us know by?"      23   A.·   ·B-a-r-s-e-'-s death.
 24   ··    · · · Your answer --                                        24   ··    · · · · · ·"Plaintiff finally alleges that he was
 25   A.·   ·It should say "Let's plan."· It said:                      25   ··    · · · only -- only released after being held for
                                                             Page 258                                                                 Page 260
 ·1   ··    · · · · · ·"Let plan --"                                    ·1   · · · · · more than 48 hours after writing a statement
 ·2   Q.·   ·(Reading.)                                                 ·2   · · · · · of facts directed by the Defendants."
 ·3   ··    · · · · · ·"Let's plan on meeting at 7:30 at my             ·3   · · · · · Hayse and Welch.
 ·4   ··    · · · office unless something changes."                     ·4   · · · · · So, he's referring to -- he found some lawsuit
 ·5   ··    · · · Answer:                                               ·5   · · ·against Hayse and Welch.
 ·6   ··    · · · · · ·"Okay."                                          ·6   · · · · · MS. GORDON:· Okay.· So, that's -- for the record,
 ·7   ··    · · · March 14, 10:07:                                      ·7   · · ·that was an attachment.
 ·8   ··    · · · · · ·"David Robinson lawyer, former DPD cop,          ·8   A.· ·Yeah.
 ·9   ··    · · · sued Hayse for illegal imprisonment and got --"       ·9   · · · · · MS. GORDON:· Or it was texted.
 10   ··    ·it looks like seven dollar signs --                        10   A.· ·Yeah.
 11   ··    · · · · · ·"-- $$$$$$$ from Melvindale."                    11   · · · · · I'll give you a copy.· I'll give you a copy of
 12   A.·   ·Right.                                                     12   · · ·that.
 13   Q.·   ·Okay.· And then he --                                      13   BY MS. GORDON:
 14   A.·   ·I guess I could download that.· I don't know what          14   Q.· ·Okay.· Then you write:
 15   ··    ·that --                                                    15   · · · · · · · ·"Nice."
 16   Q.·   ·I'll tell you what it is.· It's something from David       16   · · · · · And then you write:
 17   ··    ·Robinson.                                                  17   · · · · · · · ·"Call me when you can."
 18   A.·   ·Yeah.· That's --                                           18   · · · · · And we're now on --
 19   Q.·   ·And then he writes:                                        19   A.· ·Correct.· And that was Tuesday, whatever day it was.
 20   ··    · · · · · ·"The case is Dale Barnes versus Chad Hayse.      20   · · · · · And this says:
 21   ··    · · · Case number --"                                       21   · · · · · · · ·"I heard Welch was at the station --"
 22   ··    ·blank --                                                   22   · · · · · This came last Tuesday.
 23   ··    · · · · · ·"-- United District Court for the                23   · · · · · · · ·"-- meeting with Kennaley."
 24   ··    · · · Eastern District of Michigan."                        24   Q.· ·And you went:
 25   ··    · · · · · ·"Welch is also named in the lawsuit."            25   · · · · · · · ·"?"

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 ·1   A.·   ·And so there was concerns regarding witness tampering is   ·1   · · · · · How did Furman find out about it?
 ·2   ··    ·what my question is, because there's been a lot of that    ·2   A.· ·About what?
 ·3   ··    ·going around.                                              ·3   Q.· ·That you think Welch lied under oath at his deposition?
 ·4   ··    · · · · · ·"Welch is at the station with Kennaley."         ·4   A.· ·I don't --
 ·5   ··    · · · Same thing twice.· They're buddies or something.      ·5   · · · · · MR. THOMAS:· If he knows.· Objection.
 ·6   Q.·   ·Hang on.                                                   ·6   A.· ·I don't know.
 ·7   ··    · · · · · ·"Welch was at the --"                            ·7   · · · · · MR. THOMAS:· Foundation.
 ·8   ··    · · · This is Wednesday:                                    ·8   BY MS. GORDON:
 ·9   ··    · · · · · ·"Welch was at the police station with            ·9   Q.· ·Well, he sent Nicole Barnes --
 10   ··    · · · Kennaley --"                                          10   A.· ·I don't know how he found out about it.
 11   A.·   ·Kennaley.                                                  11   Q.· ·He sent Nicole Barnes a text about it, saying:
 12   Q.·   ·(Reading.)                                                 12   · · · · · · · ·"I fucking hate him."
 13   ··    · · · · · ·"-- got to be careful.· They are                 13   · · · · · You don't know how he -- you didn't call him and
 14   ··    · · · hunting/outdoor buddies."                             14   · · ·tell him?
 15   A.·   ·Okay.                                                      15   A.· ·No, I don't believe I had a conversation with him.
 16   Q.·   ·What's the next --                                         16   Q.· ·Okay.· So, what else do you do socially with Furman?
 17   A.·   ·That's it.· That's all there is.· That's all there is.     17   · · · · · Obviously you keep in touch with him.· He contacts
 18   Q.·   ·Okay.                                                      18   · · ·you about the Plaintiff in this case, sending you what
 19   ··    · · · So, obviously --                                      19   · · ·he thinks is dirt on the Plaintiff.· He tells you --
 20   A.·   ·So, there's a few -- few texts.                            20   A.· ·Yeah, I -- I did -- yeah.
 21   Q.·   ·Well, this --                                              21   Q.· ·He -- excuse me.
 22   A.·   ·It started March 12th --                                   22   · · · · · He talks about legal counsel:
 23   Q.·   ·But -- but hang on.· Hang on.                              23   · · · · · · · ·"They can fucking go --"
 24   ··    · · · The March 12th is obviously a continuation of an      24   · · ·something.
 25   ··    ·earlier line of texts because the March 12th text is a     25   · · · · · So, obviously he has a kind of relationship with
                                                             Page 262                                                                 Page 264
 ·1   · · ·response to something else that's currently not showing      ·1   ··    ·you where he easily uses profanity.· He talks about the
 ·2   · · ·up on your phone.                                            ·2   ··    ·litigation.
 ·3   · · · · · The first text on this phone says:                      ·3   ··    · · · So, you must have a close relationship with this
 ·4   · · · · · · · ·"It's still up in the air so I will keep           ·4   ··    ·man.· This isn't just a business relationship.
 ·5   · · · · · you posted."                                            ·5   A.·   ·Yeah.· I don't have a real close relationship with him,
 ·6   · · · · · So, you obviously texted with Furman before March       ·6   ··    ·no.
 ·7   · · ·12th.                                                        ·7   Q.·   ·Oh, really?· People just write you that kind of e-mail,
 ·8   A.· ·It was the dates for depositions we were referring to.       ·8   ··    ·sending you dirt on --
 ·9   Q.· ·Okay.· It doesn't matter.                                    ·9   A.·   ·Well, we spent the day here in the dep, and he's -- you
 10   A.· ·Oh, no --                                                    10   ··    ·know, so --
 11   Q.· ·There was a text before that, and I'm going to have you      11   Q.·   ·You're not -- you've never been neutral in this
 12   · · ·preserve that phone because we're going to get those         12   ··    ·matter -- entire matter since day one, have you?
 13   · · ·texts.                                                       13   ··    · · · You've always been on the side of getting rid of
 14   A.· ·I don't care.· That's fine.                                  14   ··    ·Chief Hayse, no matter what.
 15   Q.· ·Well, it's not a matter of whether you care, but I           15   ··    · · · Fair statement?
 16   · · ·appreciate your cooperation.                                 16   A.·   ·No, absolutely not.
 17   A.· ·That's fine.                                                 17   Q.·   ·You've never been neutral?
 18   · · · · · Well, absolutely.· No problem.                          18   A.·   ·I had -- I had no disagreement with Chad.· I don't
 19   · · · · · · ·(Mr. Thomas enters the room.)                        19   ··    ·really dislike him or like him.
 20   A.· ·Always willing to cooperate.                                 20   Q.·   ·Yeah.· But you were extremely upset and made -- made
 21   BY MS. GORDON:                                                    21   ··    ·your sentiments clear because the towing numbers were
 22   Q.· ·Did you tell Furman about the Welch testimony?               22   ··    ·down because he disciplined Furman; correct?
 23   A.· ·I don't believe I had a conversation with Furman about       23   A.·   ·No, that's not correct.
 24   · · ·the Welch testimony.                                         24   Q.·   ·You were very upset about the numbers being down.· You
 25   Q.· ·Uh-huh.                                                      25   ··    ·made it clear publicly.

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 ·1   A.· ·You said was I extremely upset?                            ·1   · · · · · September 2014.· The chief was forced to respond to
 ·2   Q.· ·Yes, you were.                                             ·2   · · ·a woman whose husband was a 20-year police officer and
 ·3   A.· ·The facts speak for themselves.                            ·3   · · ·had been treated very poorly by Furman.
 ·4   · · · · · I was more concerned because you're the chief and     ·4   · · · · · This is Bates stamp 6387 and 6388.
 ·5   · · ·you're asked a question, why that was, and he couldn't     ·5   · · · · · Dawn Harris.· The complaint is:
 ·6   · · ·even answer that question.                                 ·6   · · · · · · · ·"I wish to complaint against Officer Furman."
 ·7   Q.· ·Are you -- are you concerned that there's a man --         ·7   · · · · · MR. THOMAS:· Are you going to have these marked
 ·8   A.· ·I was concerned about not being able to articulate what    ·8   · · ·also?
 ·9   · · ·the reasons were.                                          ·9   · · · · · MS. GORDON:· No.· I'm just reading the Bates
 10   Q.· ·Are you concerned that there's a man that works            10   · · ·numbers in.
 11   · · ·full-time for the department that does nothing but tow     11   BY MS. GORDON:
 12   · · ·cars all day every day?                                    12   Q.· ·(Reading.)
 13   A.· ·That who --                                                13   · · · · · · · ·"Nature of complaint:· My aunt was pulled
 14   Q.· ·That that's what he does for the citizens?                 14   · · · · · over for a rear light facing -- out.· The
 15   A.· ·Am I concerned?                                            15   · · · · · officer told her that her DL was suspended.· So,
 16   Q.· ·Yeah.· And he's not out there patrolling or backing up     16   · · · · · I, Dawn Harris, called my husband that is also a
 17   · · ·his fellow officers.                                       17   · · · · · police officer because the officer would not let
 18   · · · · · Was that ever a concern to you?                       18   · · · · · me drive her car home.· He had her car towed,
 19   · · · · · MR. MEIHN:· Objection.· Foundation.                   19   · · · · · and he also gave her a ticket for no proof of
 20   BY MS. GORDON:                                                  20   · · · · · insurance.· When she tried to give the officer
 21   Q.· ·All he wants to do is tow.                                 21   · · · · · her insurance, he said it took her too long.
 22   A.· ·I don't know whether he's backing up officers or not.      22   · · · · · There was only Deborah Hughes, Dawn Harris and
 23   Q.· ·Well, have you ever --                                     23   · · · · · my daughters in the car.· Officer Furman was
 24   A.· ·I know that he's writing tickets --                        24   · · · · · very rude from the start.· My husband has been
 25   · · · · · THE REPORTER:· I'm sorry --                           25   · · · · · a police officer for -- years --"
                                                           Page 266                                                               Page 268
 ·1   A.· ·-- for people who don't have licenses on their vehicle     ·1   A.· ·"20 years."
 ·2   · · ·and don't have licenses to drive in Michigan.              ·2   Q.· ·"20 years."
 ·3   · · · · · It may come as a shock to some people, but you have   ·3   · · · · · I don't think we've got --
 ·4   · · ·to have a valid driver's license in order to operate a     ·4   A.· ·Yeah.· I don't have the rest of it, but that's what she
 ·5   · · ·motor vehicle.                                             ·5   · · ·says.
 ·6   BY MS. GORDON:                                                  ·6   · · · · · · ·(Discussion held off the record.)
 ·7   Q.· ·I didn't ask you that.                                     ·7   BY MS. GORDON:
 ·8   A.· ·You have to have a valid plate on your vehicle.            ·8   Q.· ·You didn't produce this.· I'll let the City attorneys
 ·9   Q.· ·I didn't ask you that.                                     ·9   · · ·know that second page was not produced.
 10   A.· ·Do I have a problem with him towing vehicles?· No, I       10   · · · · · So, then the chief was forced to write an apology
 11   · · ·don't.                                                     11   · · ·letter on September 18, 2014.
 12   Q.· ·How about ten a day?                                       12   · · · · · · · ·"Ms. Harris,
 13   A.· ·I don't -- I don't know how many -- if there's ten         13   · · · · · · · ·On behalf of the men and women of the
 14   · · ·violations, he writes them up.· I have no problem with     14   · · · · · Melvindale Police Department, I would like
 15   · · ·that.                                                      15   · · · · · to sincerely apologize for Corporal Furman's
 16   Q.· ·Do you know that's all he does?· He sits on Schaefer.      16   · · · · · actions on September 27, 2014.· His actions do
 17   · · ·He doesn't patrol.· He doesn't patrol the --               17   · · · · · not represent the hard work that our officers
 18   A.· ·I don't know that.· No, I don't know that.                 18   · · · · · perform every day.· I will counsel Corporal
 19   Q.· ·After all this --                                          19   · · · · · Furman about using discretion in towing
 20   A.· ·I don't know where he sits.                                20   · · · · · vehicles with a licensed passenger or occupied
 21   Q.· ·Okay.· That's good to know.                                21   · · · · · by children.· Lieutenant Welch called your
 22   A.· ·Yeah.                                                      22   · · · · · aunt this morning to apologize and I have
 23   Q.· ·All right.· I've got another one.                          23   · · · · · dismissed the citation, so she will not go to
 24   A.· ·Sure.                                                      24   · · · · · court.· Please thank your husband for picking
 25   Q.· ·This is -- what date is this one?                          25   · · · · · you up.· I know how busy he must have been at

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 ·1   · · · · · work.· If ever I can be of assistance, please         ·1   · · · · · after the procedure of the stop, he notified
 ·2   · · · · · don't hesitate to contact me.· I'm sorry your         ·2   · · · · · he was going to take -- impound my car.· I told
 ·3   · · · · · experience was not a good one."                       ·3   · · · · · him that didn't sound right, 'Let me call
 ·4   · · · · · You didn't know about that, I guess?                  ·4   · · · · · somebody.'· He was telling me that I could not
 ·5   A.· ·No, I didn't know about the chief dismissing that ticket   ·5   · · · · · operate my vehicle without insurance.· I said,
 ·6   · · ·or this event at all.                                      ·6   · · · · · 'Okay.· Let me call somebody.'· When I pick up
 ·7   Q.· ·Oh, you want to criticize Chad Hayse?                      ·7   · · · · · my phone to call someone, Officer Furman
 ·8   A.· ·No.· I didn't know about him dismissing the ticket or --   ·8   · · · · · snatched my phone from my hands and yelled,
 ·9   Q.· ·Is that what you want to do here today now?                ·9   · · · · · 'Get out of the car.'· I asked him to give me
 10   A.· ·-- this at all.                                            10   · · · · · back my phone to call someone and come get me.
 11   Q.· ·Because Furman --                                          11   · · · · · I then felt scared.· We argued back and forth
 12   · · · · · MR. THOMAS:· Objection.· Argumentative.               12   · · · · · about the phone, and he said --"
 13   BY MS. GORDON:                                                  13   · · · · · MS. GORDON:· Again, I don't have the second page.
 14   Q.· ·Because Furman is doing great work here with these         14   · · ·I'm letting the City know.
 15   · · ·citizen complaints, to you; right?                         15   A.· ·This is what she's reading now?
 16   A.· ·I didn't get these citizen complaints.· You asked me       16   · · · · · MS. MARZOTTO TAYLOR:· Yeah.
 17   · · ·that.                                                      17   BY MS. GORDON:
 18   Q.· ·Well, now that you see them, what's your thinking on       18   Q.· ·6396.
 19   · · ·them?                                                      19   · · · · · Do you think that's appropriate, too, to pull
 20   A.· ·I think if people are driving without a license, without   20   · · ·somebody's phone out of her hand?
 21   · · ·insurance, without a proper plate on their vehicle         21   · · · · · MR. MEIHN:· And that was the Bates stamp that you
 22   · · ·that's required under the laws of the State of Michigan,   22   · · ·just gave?
 23   · · ·I think they should be enforced.                           23   · · · · · MS. GORDON:· Yep.
 24   Q.· ·I didn't ask you that.· I asked you --                     24   · · · · · MR. MEIHN:· Thank you.
 25   A.· ·Well, you asked what I thought.· I'm telling you.          25   · · · · · MS. GORDON:· We're missing second pages on these.
                                                           Page 270                                                               Page 272
 ·1   Q.· ·I asked you whether -- did Furman misuse his discretion    ·1   · · · · · MR. MEIHN:· Got it.· Thank you.
 ·2   · · ·in any of these instances?                                 ·2   · · · · · · ·(Discussion held off the record.)
 ·3   A.· ·And my response is that driving without a license and no   ·3   A.· ·Taking the phone out of her hands, probably not good.
 ·4   · · ·insurance and improper plate on the vehicle --             ·4   · · · · · Giving her a ticket for no insurance, I don't have
 ·5   · · · · · MR. THOMAS:· It's a "yes" or "no."                    ·5   · · ·a problem with that.
 ·6   · · · · · Why don't you answer "yes" or "no"?                   ·6   BY MS. GORDON:
 ·7   A.· ·I --                                                       ·7   Q.· ·Okay.· So, I'm not going to spend all of our time today
 ·8   · · · · · MR. THOMAS:· Let's tighten things up.                 ·8   · · ·going through these one by one.
 ·9   A.· ·Okay.                                                      ·9   A.· ·Okay.
 10   · · · · · MR. THOMAS:· Let's tighten things up.                 10   Q.· ·But I can tell you that the City refused to turn over
 11   A.· ·Okay.· What was the question?· Is he acting                11   · · ·any of these complaints, but the court has now ordered
 12   · · ·appropriately?                                             12   · · ·that they be turned over.· And so, as of today's date, I
 13   BY MS. GORDON:                                                  13   · · ·have at least -- I believe it's 14 complaints --
 14   Q.· ·Did you -- yeah.                                           14   · · · · · MS. MARZOTTO TAYLOR:· Total of 20.
 15   A.· ·Yeah, I think so, if they're not complying with the law.   15   BY MS. GORDON:
 16   Q.· ·We can see what the jury thinks about that.                16   Q.· ·-- 20 on Matthew Furman.
 17   A.· ·All right.                                                 17   A.· ·Okay.
 18   · · · · · MR. THOMAS:· Objection to that comment,               18   Q.· ·Okay.· Which is far more than any police officer in the
 19   · · ·Ms. Gordon.                                                19   · · ·City of Melvindale, I think, has ever had with much
 20   · · · · · MS. GORDON:· Okay.· Fair enough.                      20   · · ·longer careers than Matthew Furman.
 21   BY MS. GORDON:                                                  21   · · · · · But you didn't know that; correct?
 22   Q.· ·All right.· I've got more.                                 22   A.· ·No.· I don't have a copy of those.· I've never seen
 23   A.· ·Okay.                                                      23   · · ·those.
 24   Q.· ·I've got Ratasha Moore, 1-14-14.                           24   · · · · · And I don't know about other police officers ever
 25   · · · · · · · ·"I was pulled over by Officer Furman and         25   · · ·getting more write-ups --

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 ·1   Q.· ·Well, you can go back and look now if you want to.         ·1   ··    · · · all documents or writings regarding or
 ·2   A.· ·No, I --                                                   ·2   ··    · · · concerning the recently alleged misconduct,
 ·3   Q.· ·But otherwise you'll have to take my word for it.          ·3   ··    · · · disciplinary action and work suspension of
 ·4   · · · · · MR. MEIHN:· Deb, can we have a 2-minute, 3-minute     ·4   ··    · · · Police Officer Matthew Furman.
 ·5   · · ·break?                                                     ·5   ··    · · · · · ·Furthermore, please identify all persons
 ·6   · · · · · · (Discussion held off the record.)                   ·6   ··    · · · in the governmental agencies who have performed
 ·7   · · · · · · · ·(Short recess at 3:27 p.m.)                      ·7   ··    · · · any investigation, fact-finding, interviews or
 ·8   · · · · · · · · · · · · *· ·*· ·*                               ·8   ··    · · · any other form of information gathering of
 ·9   · · · · · · · (Record resumed at 3:42 p.m.)                     ·9   ··    · · · Officer Furman's alleged misconduct.· The names
 10   · · · ·(Mr. Meihn is not present after the break.)              10   ··    · · · and contact information of all persons who are
 11   · · · · · MS. GORDON:· Back on the record.                      11   ··    · · · or were involved in the investigation of this
 12   · · · · · Wanted to say that on the break, Mr. Coogan           12   ··    · · · matter are also requested, including the
 13   · · ·provided his cell phone to the court reporter, who         13   ··    · · · identification of the individual who initiated
 14   · · ·apparently was able to capture photos of the texts that    14   ··    · · · any communication upon the matter and the
 15   · · ·we had tried to read into the record as best we could      15   ··    · · · individual who received that communication."
 16   · · ·earlier with regard to you and Mr. Furman.                 16   ··    · · · Okay.· What is your point of including this?
 17   BY MS. GORDON:                                                  17   ··    ·What's the point being made here that you asked -- other
 18   Q.· ·Correct?                                                   18   ··    ·than the -- obviously that you asked for materials?
 19   A.· ·Correct.· I gave him what I had.                           19   ··    · · · Is there any other point to that?
 20   · · · · · · (Discussion held off the record.)                   20   A.·   ·Yeah.· I was basically trying to respond to the union
 21   · · · · · MS. GORDON:· All right.· Just to correct the          21   ··    ·that was wanting to know why Furman was laid off and/or
 22   · · ·record, Mr. Coogan had in his hand his cell phone, and     22   ··    ·not working.· And I wanted -- and members of the council
 23   · · ·the court reporter was able, at Mr. Coogan's suggestion,   23   ··    ·had asked me, "Why is he not working?· What's going on?"
 24   · · ·to take pictures of it to capture them for the record so   24   ··    · · · And I said, "I don't know."
 25   · · ·we would have them, but Mr. Coogan at all times had        25   ··    · · · So, that's why I wrote it, because I did not know.
                                                           Page 274                                                                 Page 276
 ·1   · · ·control of the cell phone.                                 ·1   Q.· ·When had he been suspended?· July 5th?
 ·2   · · · · · All right.· Back at it.                               ·2   A.· ·I don't recall --
 ·3   A.· ·Let's do it.                                               ·3   Q.· ·Take a look at your document.
 ·4   BY MS. GORDON:                                                  ·4   A.· ·Yeah.
 ·5   Q.· ·I'm going to hand you the amended complaint, Mr. Coogan.   ·5   Q.· ·Look at Count 4.
 ·6   · · ·I'm going to go to Count 4.· It's on page 16, Bates        ·6   · · · · · Doesn't it say July 5th?
 ·7   · · ·stamp Hayse 24.                                            ·7   A.· ·July 5th.
 ·8   A.· ·Thank you.                                                 ·8   Q.· ·Was he suspended with pay?
 ·9   · · · · · On page 16, Count 4.                                  ·9   A.· ·He was suspended with pay at that time and then
 10   Q.· ·Yes.                                                       10   · · ·subsequently suspended --
 11   · · · · · · · ·"Willful misconduct in office by the             11   · · · · · MR. THOMAS:· She didn't ask that question.
 12   · · · · · improper issuance of discipline upon Corporal         12   A.· ·Okay.
 13   · · · · · Matthew Furman."                                      13   BY MS. GORDON:
 14   · · · · · And according to Ms. Barnes, as we've already         14   Q.· ·Okay.· All right.· So --
 15   · · ·discussed, in particular -- she did point out this         15   · · · · · MR. THOMAS:· We're going to tighten things up here.
 16   · · ·count -- you wrote this.                                   16   BY MS. GORDON:
 17   · · · · · So, I've got some questions for you.                  17   Q.· ·Here is your letter to the chief that you've just
 18   · · · · · Let's go to Number 26.                                18   · · ·quoted.· It was marked as Exhibit 5 at the Hayes dep.
 19   A.· ·Okay.                                                      19   · · ·It's Hayse 171.
 20   Q.· ·You say:                                                   20   · · · · · That's your letter; is that correct?
 21   · · · · · · · ·"On July 25th, the city attorney, in a           21   A.· ·That is correct.
 22   · · · · · letter to Chief Hayse, requested the                  22   Q.· ·Okay.· And you've copied the mayor, the council, the
 23   · · · · · following."                                           23   · · ·Commission of Public Safety and Ortiz; correct?
 24   · · · · · You say:                                              24   A.· ·That is correct.
 25   · · · · · · · ·"Please provide my office with copies of         25   Q.· ·Okay.· And then you received a response from the chief;

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 ·1   ··    ·correct?· In response to your letter, he replied?· Did     ·1   A.·   ·I see that, yes.
 ·2   ··    ·he get --                                                  ·2   Q.·   ·So, that's a good response from him; correct?· He wanted
 ·3   A.·   ·I eventually got a response from the chief.· That is       ·3   ··    ·to meet with you and bring over the documents; right?
 ·4   ··    ·correct.                                                   ·4   A.·   ·That's what it says.
 ·5   ··    · · · I wrote a second letter, I think, before I got a      ·5   Q.·   ·Okay.· And then you responded:
 ·6   ··    ·response, though, or it was a partial response. I          ·6   ··    · · · · · ·"Yes, I should.· Just give me a call."
 ·7   ··    ·wasn't given information that I had requested.             ·7   ··    · · · Do you see that?
 ·8   Q.·   ·Okay.· So, let's look at the documents here.               ·8   A.·   ·Yes, I do.
 ·9   ··    · · · I'll hand you Bates 6025 and 6026.· Go to the         ·9   Q.·   ·And then the chief said:
 10   ··    ·second page because it starts from the back.               10   ··    · · · · · ·"Okay.· Thanks."
 11   ··    · · · On July 5th -- well, your letter was sent at 3:24.    11   ··    · · · Right?· Correct?
 12   ··    ·Do you see that?· From your assistant.                     12   A.·   ·It says:
 13   ··    · · · It says on the very bottom of the second -- you're    13   ··    · · · "Okay.· Thanks."
 14   ··    ·not going to be able to tell from that.· Look at the       14   Q.·   ·All right.· And did you meet with the chief on Thursday
 15   ··    ·e-mail.· It was e-mailed to Chad.                          15   ··    ·afternoon?
 16   ··    · · · Go to the second page, Mr. Coogan, and go to the      16   A.·   ·I did not.
 17   ··    ·bottom?                                                    17   Q.·   ·Why?
 18   ··    · · · Do you see that, Vicky, legal assistant, e-mailed     18   ··    · · · You were not -- you were no longer available?
 19   ··    ·Chad Hayse at 3:24?                                        19   A.·   ·I don't recall what the facts and circumstances were,
 20   A.·   ·I do.                                                      20   ··    ·but we did not meet.
 21   Q.·   ·And she attached your letter which we've just identified   21   Q.·   ·He wanted to meet with you, and you never met with him;
 22   ··    ·a moment ago, requesting documents; correct?               22   ··    ·is that correct?
 23   A.·   ·Correct.                                                   23   A.·   ·We did not meet.
 24   Q.·   ·Okay.· And then within an hour and a half, Chad            24   Q.·   ·But it's not because he wasn't available.· As I
 25   ··    ·responded to you, and he wrote:                            25   ··    ·understand, it's because you weren't available; is that
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 ·1   · · · · · · · ·"I'll be back in the office on Thursday            ·1   ··    ·correct?
 ·2   · · · · · and will provide the information.· There are            ·2   A.·   ·That could be correct.
 ·3   · · · · · two separate matters concerning Corporal                ·3   Q.·   ·Okay.
 ·4   · · · · · Furman, and I assume you want the requested             ·4   A.·   ·I don't --
 ·5   · · · · · information for both."                                  ·5   Q.·   ·Okay.· Okay.· Then it wasn't until after he gave you
 ·6   · · · · · Do you see that?                                        ·6   ··    ·this stuff on July 28 -- he gave you the packet.
 ·7   A.· ·Yes, I do.                                                   ·7   ··    · · · What was in the packet?· Do you remember?
 ·8   Q.· ·Okay.· So, you responded, then -- go to the first page.      ·8   A.·   ·I don't -- I remember bits and pieces of it.
 ·9   · · ·You seemed happy with that, and you say:                     ·9   Q.·   ·Do you still have it somewhere?
 10   · · · · · · · ·"Yes, thank you."                                  10   A.·   ·I don't recall.· I don't think so.
 11   · · · · · Do you see that on the bottom?                          11   Q.·   ·So, you're not going to be able to produce in this case
 12   · · · · · MR. THOMAS:· Right there.                               12   ··    ·what the chief sent you on the 28th, even though you're
 13   A.· ·Yes.· Thank you.                                             13   ··    ·accusing him in your papers that he did not have proper
 14   BY MS. GORDON:                                                    14   ··    ·documentation for discipline of Furman?
 15   Q.· ·Okay.· So, you were content to have him give you the         15   ··    · · · But you can't produce to me what he gave you?
 16   · · ·stuff when he got back Thursday, the 28th; correct?          16   A.·   ·No, no.· That's -- okay.· He gave me stuff in an
 17   A.· ·It appears that way, yes.                                    17   ··    ·envelope, and I wrote him another letter, and he said he
 18   Q.· ·Okay.· So, let's go to the next communication.               18   ··    ·had supplied -- he had given me additional information
 19   · · · · · The next communication is from Chad to you, it's        19   ··    ·as to who the contact people were.· So, I got some
 20   · · ·10:30 in the morning on the 28th.· He's now returned.        20   ··    ·information on that.· I didn't get everything I asked
 21   · · ·And he says:                                                 21   ··    ·for.
 22   · · · · · · · ·"I have the packet available.· Are you             22   Q.·   ·Okay.· Again, you're being not responsive to the
 23   · · · · · available to meet this afternoon between                23   ··    ·question.
 24   · · · · · 2:00 p.m. and 3:30?"                                    24   A.·   ·No --
 25   · · · · · Do you remember that, Mr. Coogan?                       25   Q.·   ·We're going to read it back.· Just listen to the

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 ·1   · · ·question.                                                    ·1   · · ·see attached Bates stamps blank through blank."
 ·2   · · · · · · ·(Record repeated by the reporter.)                   ·2   · · · · · Okay.· You'll be able to find that.
 ·3   BY MS. GORDON:                                                    ·3   · · · · · In fact, in court, Ms. Balian said you had advised
 ·4   Q.· ·You have no record of what the chief provided to you on      ·4   · · ·her you didn't have it.
 ·5   · · ·July 28th.· Do I have that right?                            ·5   A.· ·I don't know what she advised you right now.
 ·6   A.· ·I think we already gave it to you folks.                     ·6   Q.· ·Are you representing the City in this --
 ·7   Q.· ·No.· We've received nothing that was the packet that was     ·7   A.· ·I don't know what she --
 ·8   · · ·given to you, Mr. Coogan.                                    ·8   Q.· ·I thought you were representing the City, and now you're
 ·9   · · · · · So, where is it?                                        ·9   · · ·really unclear about what has been produced that is your
 10   A.· ·I don't know.· I don't know.                                 10   · · ·material.
 11   Q.· ·You don't know?                                              11   · · · · · MR. THOMAS:· Objection.· Argumentative.
 12   A.· ·No, I don't know.· I thought you already had it.             12   BY MS. GORDON:
 13   Q.· ·You fired the man because --                                 13   Q.· ·And you fired the chief --
 14   A.· ·I didn't fire anybody.                                       14   A.· ·I didn't fire anybody.
 15   Q.· ·The City fired the man because he allegedly didn't do        15   · · · · · MR. THOMAS:· Objection.· Argumentative.
 16   · · ·the right discipline procedure with Furman.                  16   BY MS. GORDON:
 17   · · · · · He sends you his stuff in a packet that shows you       17   Q.· ·All right.· I think the record has been made here, and I
 18   · · ·what he did, but you don't have that?                        18   · · ·think the -- your answers speak for themselves, and
 19   A.· ·He never disciplined him.· He sent some information to       19   · · ·you're going to say you're going to go back and look.
 20   · · ·me.· There was no discipline that he took --                 20   · · · · · We've already gone to court on this, sir.· To
 21   Q.· ·You've got to listen to my questions; okay?                  21   · · ·federal court, and if you have it somewhere, you best be
 22   A.· ·I'm trying to.· I really am.                                 22   · · ·producing it.· And if you don't have it, I guess that
 23   Q.· ·Okay.· What does your letter say?                            23   · · ·speaks volumes about what you knew.
 24   · · · · · Let's go back to your letter.· Let's go back to         24   · · · · · But it's not a question, so I'll move on.
 25   · · ·your letter of July 25th, sir.                               25   · · · · · MR. THOMAS:· It's not a question.
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 ·1   ··    · · · You just are wasting my time.                         ·1   A.· ·Okay.
 ·2   ··    · · · On July 25th, you wrote to the chief, saying:         ·2   BY MS. GORDON:
 ·3   ··    · · · · · ·"Provide me with all copies of documents         ·3   Q.· ·Now, on August 1, after Chad gives you the materials on
 ·4   ··    · · · concerning disciplinary action and work               ·4   · · ·the 28th, which you can't find, you write him and say:
 ·5   ··    · · · suspension."                                          ·5   · · · · · · · ·"Dear Chief Hayse,
 ·6   ··    · · · My client sends you a packet.· You don't have it.     ·6   · · · · · · · ·On July 25th, I wrote a letter to you
 ·7   ··    ·And your answer to me at this deposition is, "Well, he     ·7   · · · · · requesting that you provide me all documents
 ·8   ··    ·was never disciplined."                                    ·8   · · · · · or writings regarding or concerning the
 ·9   ··    · · · Do you follow what you just got done doing here?      ·9   · · · · · alleged misconduct of Officer Furman.· In
 10   A.·   ·Absolutely.· Absolutely.                                   10   · · · · · addition, I requested the names and contact
 11   Q.·   ·All right.· You were sent a packet with regard to          11   · · · · · information of all persons in governmental
 12   ··    ·disciplinary action per your request.                      12   · · · · · agencies who have performed any investigation.
 13   ··    · · · You don't have it; is that correct?                   13   · · · · · · · ·Upon receipt and review of what you
 14   A.·   ·I didn't say that.· I thought it was already provided.     14   · · · · · provided, there is no contact information,
 15   Q.·   ·You don't have to tell me what you said.                   15   · · · · · nor did you indicate who made contact."
 16   A.·   ·I thought it was already provided.                         16   · · · · · Do you remember that?
 17   Q.·   ·Your answer to the question --                             17   A.· ·I -- it's the second letter I wrote, yeah.
 18   A.·   ·You're saying you don't have it, so I'll take another      18   Q.· ·Right.
 19   ··    ·look and see if we have it.                                19   · · · · · Those are the grand total of the two letters you
 20   Q.·   ·Wow.                                                       20   · · ·sent to the chief before he was fired; correct?
 21   A.·   ·It was an envelope, and I think it was already supplied.   21   A.· ·I sent two letters to the chief.
 22   Q.·   ·You'll take another look.                                  22   Q.· ·And these are the two that we've just now identified
 23   ··    · · · It wasn't supplied.· And if it was, you can go --     23   · · ·here right now?· The one was --
 24   ··    ·since you're the city attorney, you'll be easily able to   24   A.· ·There may have been additional letters on additional
 25   ··    ·find the answer to the pleading where you say, "Please     25   · · ·subjects, but as it relates to this issue, I think those

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 ·1   ··    ·are the two.                                               ·1   · · ·you?
 ·2   Q.·   ·Okay.· So, what you're saying on August 1 is, "Okay. I     ·2   · · · · · List the items.
 ·3   ··    ·got your packet.· I got everything on the disciplines."    ·3   · · · · · Because there's nothing in writing where you tell
 ·4   A.·   ·I don't think I said that.                                 ·4   · · ·him, "You haven't produced things to me."
 ·5   Q.·   ·Okay.· Here it is.· You say all that's missing is the      ·5   · · · · · So, what in the world are you talking about?
 ·6   ··    ·contact info.                                              ·6   A.· ·He never wrote Furman up for any violation.
 ·7   ··    · · · You don't say, "I didn't get the disciplinary         ·7   Q.· ·Okay.· Did he give you everything you requested?
 ·8   ··    ·paperwork."                                                ·8   A.· ·No.
 ·9   ··    · · · Correct?                                              ·9   Q.· ·Okay.· What did he not give you?
 10   A.·   ·The letter speaks for itself.                              10   A.· ·He never gave me a write-up.
 11   Q.·   ·Thank you.                                                 11   · · · · · If all this information is so important, why didn't
 12   ··    · · · And right away Chad Hayse responds to you.· Right     12   · · ·he write up the employee and tell him what he was
 13   ··    ·the same very day.· Bates stamp 5897 and 5898.             13   · · ·charged with?
 14   A.·   ·Thank you.                                                 14   · · · · · There was never a write-up.
 15   Q.·   ·(Reading.)                                                 15   · · · · · MR. THOMAS:· You've answered the question.
 16   ··    · · · · · ·"I'm sorry for the oversight.· I spoke           16   BY MS. GORDON:
 17   ··    · · · with Sunshine Ponzetti from MSP.· Her cell            17   Q.· ·Okay.· Are you talking about the suspension with pay or
 18   ··    · · · number is blank.· She was accompanied by two          18   · · ·without pay or both?
 19   ··    · · · men from the FBI.· I do not have their                19   A.· ·Both.
 20   ··    · · · information.· The first incident was brought          20   Q.· ·And are you aware that Corporal Furman had a conference
 21   ··    · · · to my attention by Lieutenant John Allen and          21   · · ·and wrote a multiple-page letter response to the
 22   ··    · · · then by Mr. McClintock by a complaint against         22   · · ·allegations against him as given to him by Chief Hayse?
 23   ··    · · · an officer form.· I originally contacted the          23   A.· ·I may have been.· I don't recall exactly what that is
 24   ··    · · · second district captain from MSP.· Her name           24   · · ·right now, no.
 25   ··    · · · is Monica Yesh --"                                    25   Q.· ·Well, you never gave it to Nicole Barnes.· We'll cover
                                                             Page 286                                                               Page 288
 ·1   · · ·and so on.                                                   ·1   · · ·that in a minute, though.
 ·2   · · · · · So, here is your contact info; correct?                 ·2   · · · · · I'm going to hand you Bates stamp 6504.
 ·3   A.· ·There was a contact person's info on here, yes.              ·3   A.· ·Thank you.
 ·4   Q.· ·So, he's now supplied you with what was missing, which       ·4   Q.· ·Before you look at that, Mr. Coogan, I've got another
 ·5   · · ·was the contact info; correct?· As of Monday, August 1st     ·5   · · ·question for you.
 ·6   · · ·at 4:05; right?                                              ·6   · · · · · After Chief Hayse sent the packet of information on
 ·7   A.· ·He gave me a phone number, yes.                              ·7   · · ·Furman, did you give it to Nicole Barnes?
 ·8   Q.· ·Okay.· So, as of Monday, August 1 at 4:05, you had           ·8   A.· ·No.
 ·9   · · ·everything you had requested from Chief Hayse; correct?      ·9   · · · · · I don't recall ever giving it to Nicole Barnes.
 10   A.· ·No.                                                          10   Q.· ·Okay.· But it's her complaint, and the complaint is
 11   Q.· ·What do you mean "no"?                                       11   · · ·that --
 12   · · · · · Where is your follow-up e-mail saying, "I still         12   · · · · · MR. THOMAS:· Are you looking for your copy to show
 13   · · ·don't have material"?· Where is your letter?                 13   · · ·him?
 14   · · · · · You're actually in here saying "no," and you can't      14   · · · · · MS. GORDON:· I am.
 15   · · ·even locate the packet?                                      15   · · · · · Thank you.
 16   A.· ·I'm saying "no," yes.                                        16   BY MS. GORDON:
 17   Q.· ·Okay.· Well, what didn't you have, Mr. Coogan?               17   Q.· ·And the complaint is that -- she wrote:
 18   A.· ·He never wrote Furman up.                                    18   · · · · · · · ·"Corporal Furman was never provided with
 19   · · · · · MS. GORDON:· Okay.· Read -- okay.· This -- okay.        19   · · · · · any notice stating the cause, reason or basis
 20   · · ·Back on the record.                                          20   · · · · · for the suspension of his duties -- being
 21   · · · · · I'm now wasting more of my 7 hours, okay, because       21   · · · · · either with pay or without."
 22   · · ·Mr. Coogan has now made an answer to my question that        22   · · · · · · · ·Do you remember that?· That's what he was
 23   · · ·makes no sense and is not an answer.                         23   · · ·disciplined for.· For -- excuse me.· That's what you
 24   BY MS. GORDON:                                                    24   · · ·were -- that's one of the allegations against Hayse;
 25   Q.· ·What material did you ask Hayse for that he did not give     25   · · ·that Corporal Furman was never provided with any notice.

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 ·1   ··    · · · Do you recall that you wrote that?                    ·1   · · ·attached it to your table of attachments with regard to
 ·2   A.·   ·If it's in the complaint I wrote it, yeah.                 ·2   · · ·the amended complaint to take away Chief Hayse's job?
 ·3   Q.·   ·Okay.· I'm going to read to you paragraph 29.              ·3   · · ·You never attached what you received from Hayse, did
 ·4   A.·   ·Thank you.                                                 ·4   · · ·you?
 ·5   Q.·   ·And this is something that you did with Nicole Barnes.     ·5   A.· ·Not to the complaint.
 ·6   ··    · · · · · ·"Corporal Furman was never provided with         ·6   Q.· ·Thank you.
 ·7   ··    · · · any notice stating the cause, reason or basis         ·7   A.· ·He was never disciplined.· The chief never wrote Furman
 ·8   ··    · · · for the suspension from his duties as a               ·8   · · ·up.
 ·9   ··    · · · Melvindale police officer, either with pay or         ·9   Q.· ·Hang on.
 10   ··    · · · without pay."                                         10   A.· ·That's all I'm trying to tell you.
 11   ··    · · · Okay.· So, that's what you're saying.                 11   Q.· ·Well, you're wrong.
 12   ··    · · · And now you asked the chief for all of the            12   A.· ·He's never wrote him up.
 13   ··    ·documents, and I suppose you're looking to see if Furman   13   Q.· ·You're lying, and we're going to get to that in a
 14   ··    ·ever had notice?· Is that what you were looking for?       14   · · ·minute.
 15   ··    · · · Don't look at the documents in front of you,          15   · · · · · MR. GILLIAM:· Whoa, whoa.
 16   ··    ·because --                                                 16   · · · · · MR. THOMAS:· Objection.· Objection.
 17   A.·   ·Well, you handed me to look it --                          17   · · · · · MR. GILLIAM:· Object.
 18   Q.·   ·-- I need you to focus on my question.                     18   · · · · · MR. THOMAS:· Objection.
 19   A.·   ·Okay.· That's fine.                                        19   BY MR. THOMAS:
 20   Q.·   ·You are alleging that Hayse should be fired because        20   Q.· ·Okay.· You're perjuring yourself.· I'll change it.
 21   ··    ·Furman was never provided with any notice stating the      21   · · · · · MS. GORDON:· I'll use his word.· I'll use his word.
 22   ··    ·cause, reason or basis for the suspension from his         22   · · · · · MR. THOMAS:· It's not a question of --
 23   ··    ·duties as a Melvindale police officer.                     23   · · · · · MS. GORDON:· What is it then?
 24   ··    · · · That's what it says.                                  24   · · · · · MR. THOMAS:· I'm going to raise an objection --
 25   A.·   ·Okay.                                                      25   · · · · · MS. GORDON:· Phil, he's not telling the truth.
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 ·1   Q.· ·Your letter of July 25th asked Hayse for all of the          ·1   · · · · · MR. THOMAS:· You're being -- well, you want to know
 ·2   · · ·material he had with regard to the Furman discipline or      ·2   · · ·something, Deb?· That's something for a jury or a judge
 ·3   · · ·misconduct; right?                                           ·3   · · ·to decide, not me, but you're being very argumentative
 ·4   A.· ·It certainly did.                                            ·4   · · ·with him.
 ·5   Q.· ·And you got a packet of information from him?                ·5   · · · · · MS. GORDON:· No.· We'll see documents in a minute.
 ·6   A.· ·I got some information from him.· Correct.                   ·6   · · · · · MR. THOMAS:· Okay.
 ·7   Q.· ·And you don't know where it is today?                        ·7   BY MS. GORDON:
 ·8   A.· ·I thought it was --                                          ·8   Q.· ·All right.· You never attached the materials that you
 ·9   · · · · · MR. THOMAS:· Objection.· Repetitive questioning.        ·9   · · ·received from Chad Hayse about Furman to your table of
 10   A.· ·Yeah, I thought it --                                        10   · · ·attachments that went with the amended complaint to get
 11   · · · · · MR. THOMAS:· Asked and answered.                        11   · · ·the chief fired?· You never handed out to the council
 12   BY MS. GORDON:                                                    12   · · ·everything that had been put in writing against Furman;
 13   Q.· ·All right.· Fair enough.                                     13   · · ·correct?
 14   · · · · · But whatever you did get, you never shared it with      14   A.· ·I did not attach what the chief gave me.· That's
 15   · · ·Ms. Barnes?                                                  15   · · ·correct.
 16   · · · · · That's what you just testified to.                      16   Q.· ·And did you ask Furman, "Hey, give me all the documents
 17   A.· ·No.· You asked if I gave her a copy, and I said no.          17   · · ·you have received from the chief with regard to
 18   Q.· ·Did you share your packet with Ms. Barnes?                   18   · · ·misconduct.· I need to look at them"?
 19   A.· ·I don't recall.                                              19   A.· ·No.
 20   Q.· ·Okay.                                                        20   Q.· ·Okay.
 21   A.· ·I don't recall.                                              21   A.· ·What needs to be said here --
 22   Q.· ·Did you attach it to the -- I know you didn't, but I'm       22   Q.· ·No, sir.· There's not a question on the table.
 23   · · ·going to ask you.                                            23   · · · · · MR. THOMAS:· There's no question on the table,
 24   · · · · · You never attached -- the packet you got from Chad      24   · · ·yeah.
 25   · · ·Hayse outlining the discipline against Furman, you never     25   BY MS. GORDON:

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 ·1   Q.· ·So, I guess you weren't aware that after being told that   ·1   · · ·his rights under Garrity, does he?· That's a choice;
 ·2   · · ·the charges against him, Furman asserted his Fifth         ·2   · · ·right?· Once he knows what the charges are; correct?
 ·3   · · ·Amendment rights with regard to the July 5th suspension?   ·3   A.· ·A police officer can assert a Garrity.· This doesn't say
 ·4   · · ·You didn't know that, or you've just forgotten?            ·4   · · ·what he's charged with.
 ·5   A.· ·I don't recall seeing that.                                ·5   Q.· ·So, do you think Furman asserted his Garrity rights
 ·6   Q.· ·Okay.· Well, it was sent to you in the packet.             ·6   · · ·without knowing what he was accused of?
 ·7   · · · · · Furman knew what he was accused of, talked to the     ·7   A.· ·I don't know.· I didn't see what he was charged with.
 ·8   · · ·union, and he asserted his Fifth Amendment rights.         ·8   · · · · · There's no write-up.· The chief never wrote him up.
 ·9   · · · · · You didn't know that?                                 ·9   Q.· ·Wow.
 10   A.· ·I don't recall seeing that.                                10   · · · · · MR. THOMAS:· Just -- you've answered the question.
 11   Q.· ·Okay.· Well, I'll hand you Bates stamp --                  11   BY MS. GORDON:
 12   · · · · · MS. ARNOTTO TAYLOR:· He already has it.               12   Q.· ·I'm going to hand you Bates stamp 940 through 943, dated
 13   BY MS. GORDON:                                                  13   · · ·7-5-16.
 14   Q.· ·-- 6504.                                                   14   A.· ·Thank you.
 15   A.· ·Is this it?                                                15   Q.· ·Have you ever seen that before?
 16   Q.· ·Which is -- do you know where I got that from?· Guess      16   · · · · · That was in your packet.
 17   · · ·where I got that, Mr. Coogan.· I got that from the City    17   · · · · · Have you ever seen it?· Do you see the subject
 18   · · ·of Melvindale.                                             18   · · ·number on the document, sir?
 19   · · · · · So, you read that.                                    19   · · · · · Do you see the subject number on the document?
 20   A.· ·I don't see anything that indicates where he's charged     20   A.· ·Yes, I do.
 21   · · ·with something.· He's invoking his Fifth --                21   Q.· ·Okay.· You've seen that document before, haven't you,
 22   Q.· ·Do you see there's --                                      22   · · ·that I just gave you?
 23   A.· ·-- and Fourteenth Amendment, but I don't see charges       23   A.· ·I don't recall.· I'm reading it right now.
 24   · · ·that are pending here.                                     24   Q.· ·Okay.· Well, I got it from the City.
 25   Q.· ·You know, I didn't ask you that.                           25   · · · · · No, I take it back.· This is from Chief Hayse.
                                                           Page 294                                                               Page 296
 ·1   A.· ·It's a Garrity form.                                       ·1   · · · · · · ·(Discussion held off the record.)
 ·2   Q.· ·I didn't ask you that.                                     ·2   · · · · · MS. GORDON: It's a City document.
 ·3   · · · · · Do you see that there's a case number?                ·3   A.· ·Well, it's from the police chief.· I don't know if it's
 ·4   A.· ·It's a Garrity form.                                       ·4   · · ·a City document or not.
 ·5   Q.· ·Do you see there's a case number?                          ·5   BY MS. GORDON:
 ·6   · · · · · Do you see it written in hand?                        ·6   Q.· ·Okay.· You see here that Matthew Furman has written a --
 ·7   · · · · · Why don't you read the number into the record?        ·7   · · ·one, two, three -- three-page response to the charges
 ·8   A.· ·I see something --                                         ·8   · · ·against him?
 ·9   Q.· ·Read the number into the record, please.                   ·9   · · · · · Do you see there's three pages there?
 10   A.· ·Okay.· I see something with a "2016-01932."                10   · · · · · MR. GILLIAM:· I'm going to just object to
 11   Q.· ·Okay.                                                      11   · · ·foundation.
 12   A.· ·I don't know what that represents.                         12   A.· ·There's actually four pages, what you provided me.
 13   Q.· ·Okay.· Well, you did because you got a packet that         13   BY MS. GORDON:
 14   · · ·you've chosen not to recall it and you chose to hide --    14   Q.· ·Okay.
 15   A.· ·This is not saying what he's charged with.                 15   A.· ·Well, three pages and the top of the other one.
 16   Q.· ·And you chose --                                           16   Q.· ·Okay.· So, let's read the top.· It's to Chief Hayse from
 17   · · · · · MR. THOMAS:· Objection.· Argumentative.               17   · · ·Corporal Furman, 7-5-16, "subject:· 2016-01932."
 18   · · · · · THE REPORTER:· I'm sorry --                           18   · · · · · · · ·"It has come to my attention that Richard
 19   BY MS. GORDON:                                                  19   · · · · · Crosslin has filed a complaint against me in
 20   Q.· ·And you chose to hide it --                                20   · · · · · regards to excessive force during the incident
 21   A.· ·This is a Garrity form.                                    21   · · · · · occurring on 7-4-2016."
 22   · · · · · MR. THOMAS:· Excuse me.· Objection.· Argumentative,   22   · · · · · Let's stop right there.
 23   · · ·Ms. Gordon.                                                23   · · · · · So, we now know that, as of July 5th, Corporal
 24   BY MS. GORDON:                                                  24   · · ·Furman had been made aware that a complaint was filed
 25   Q.· ·Okay.· Well, a police officer does not have to assert      25   · · ·against him for use of excessive force, and that the

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 ·1   ··    ·incident -- are you listening to me?                       ·1   ··    ·page.
 ·2   A.·   ·Yes, I'm listening.                                        ·2   A.·   ·Okay.
 ·3   Q.·   ·-- and that the incident occurred on 7-4-16.               ·3   Q.·   ·At the top, where the police chief is writing to you,
 ·4   ··    · · · Do you see that?· That Furman knows that, and he      ·4   ··    ·sir, and to Stacy Striz, and he's telling you-all the
 ·5   ··    ·knows the date and he knows the charge.                    ·5   ··    ·following at 11:15 a.m.:
 ·6   ··    · · · Do you see that?                                      ·6   ··    · · · · · ·"I met with a detective from the Michigan
 ·7   A.·   ·I see a letter to Chief Hayse, allegedly from Furman,      ·7   ··    · · · State Police on Friday to discuss an allegation
 ·8   ··    ·which is dated 7-5-16, and it has the same                 ·8   ··    · · · of excessive force about Corporal Furman.
 ·9   ··    ·correspondence number that you indicated.                  ·9   ··    · · · Today, I received another allegation of
 10   ··    · · · It's not signed, and I don't know if he sent this     10   ··    · · · excessive force about Corporal Furman.· Furman
 11   ··    ·or not.· I don't know -- I don't recall ever seeing        11   ··    · · · has been suspended effective today, pending the
 12   ··    ·this.                                                      12   ··    · · · outcome of both investigations.
 13   Q.·   ·Well, I didn't ask you any of that.                        13   ··    · · · · · ·MSP will be contacted again today and
 14   A.·   ·Okay.· Go ahead.                                           14   ··    · · · given an update.· He may face criminal charges
 15   Q.·   ·I said, do you see that Furman was aware that              15   ··    · · · and potentially termination from his employment.
 16   ··    ·Crosslin -- there had been a complaint filed against       16   ··    · · · Obviously discussions with corp counsel and others
 17   ··    ·him, that the complaint was for excessive force and that   17   ··    · · · would have to precede that decision."
 18   ··    ·the incident occurred on 7-4-16?                           18   ··    · · · Do you see that?
 19   ··    · · · Do you see that?                                      19   A.·   ·I see that.
 20   A.·   ·I see what you're representing is a letter dated that      20   Q.·   ·Did you respond to this?
 21   ··    ·date, yes, I do.                                           21   A.·   ·I don't recall.
 22   Q.·   ·Okay.· Very good.                                          22   Q.·   ·So, as of July 5th, you knew all the particulars, and
 23   ··    · · · Now, do you see that Furman goes into great detail    23   ··    ·you knew that you were going to be in a discussion with
 24   ··    ·in the next three pages?                                   24   ··    ·Chad Hayse to determine what should happen next.
 25   A.·   ·I have not read that.                                      25   ··    · · · You see that?
                                                             Page 298                                                                 Page 300
 ·1   Q.· ·All right.· Well, let's go -- and by the way, I can tell     ·1   A.· ·I see the letter.
 ·2   · · ·you that Furman has already testified that this is his       ·2   Q.· ·Okay.· And then Stacy Striz responds with a few
 ·3   · · ·response to what he was told was his wrongdoing.             ·3   · · ·questions, and you're cc'd.
 ·4   · · · · · Go to the third page, please.· And he gets very         ·4   · · · · · · · ·"What are the allegations?· What is
 ·5   · · ·specific.                                                    ·5   · · · · · protocol?· Would Public Safety conduct an
 ·6   · · · · · Go to page 942.                                         ·6   · · · · · investigation?· Is he suspended with or
 ·7   · · · · · MR. THOMAS:· I think she's saying the third page of     ·7   · · · · · without pay?"
 ·8   · · ·the document.                                                ·8   · · · · · Do you see that?
 ·9   · · · · · MS. GORDON:· Yeah.                                      ·9   A.· ·I certainly do.
 10   A.· ·Okay.                                                        10   Q.· ·And then the chief responds on the bottom, doesn't he,
 11   BY MS. GORDON:                                                    11   · · ·at 2:13?
 12   Q.· ·Where he says:                                               12   · · · · · And he lays out the process.
 13   · · · · · · · ·"At no point did I strike, punch, kick,            13   · · · · · And it says:
 14   · · · · · choke, TASER, pepper spray or shoot Crosslin.           14   · · · · · · · ·"He is suspended with pay to avoid
 15   · · · · · at no point did I use any excessive or                  15   · · · · · immediate grievance."
 16   · · · · · unnecessary force."                                     16   · · · · · Do you see that?
 17   · · · · · Do you see that?                                        17   · · · · · MR. THOMAS:· (Indicating.)
 18   A.· ·Yes, I do.                                                   18   A.· ·(Reading.)
 19   Q.· ·Okay.· Now, I'm going to go to an e-mail sent to the         19   · · · · · · · ·"He is suspended with pay to avoid
 20   · · ·mayor.· I'm going to hand you Bates stamp 5839 and 5840.     20   · · · · · immediate grievance."
 21   A.· ·Should we start from the second page and go forward?         21   BY MS. GORDON:
 22   · · · · · MR. THOMAS:· Wait for the question.· She just           22   Q.· ·Uh-huh.
 23   · · ·handed you the document.                                     23   · · · · · And then you received this from Stacy Striz on the
 24   BY MS. GORDON:                                                    24   · · ·last page she's sending it to you; correct?
 25   Q.· ·No.· In this one, we're going to start on the first          25   A.· ·At 3:30, it looks like, yes.

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                                                             Page 301                                                               Page 303
 ·1   Q.·   ·Right.                                                     ·1   · · · · · Agreed?
 ·2   ··    · · · Now, on July 5th, you don't jump on this and say,     ·2   · · · · · MR. GILLIAM:· Same objection.
 ·3   ··    ·"Well, wait a minute.· Where's the write-up?"              ·3   A.· ·Yeah, I didn't see this, so I don't know whether or not
 ·4   ··    · · · You don't write anybody that once you get this        ·4   · · ·he was aware at the time.
 ·5   ··    ·e-mail string, do you?                                     ·5   BY MS. GORDON:
 ·6   A.·   ·I'm sorry.· What was the question?                         ·6   Q.· ·Well, now you're seeing it.
 ·7   Q.·   ·On July 5th, when you received this e-mail string, being   ·7   · · · · · Now that you've --
 ·8   ··    ·very specific about what the chief is doing, that he's     ·8   A.· ·If he wrote it.
 ·9   ··    ·going to sit down with corp counsel, that here is the      ·9   Q.· ·Now that you've worked with somebody to ruin somebody's
 10   ··    ·charges against Furman, here is what he's doing -- he's    10   · · ·career, you're now seeing it.· Good.· That's great.
 11   ··    ·suspending him without pay -- you don't contact the        11   · · · · · MR. THOMAS:· Objection to the form of the question,
 12   ··    ·chief or anybody from the City and say, "Well, wait a      12   · · ·and it's badgering and it's harassing.
 13   ··    ·minute.· You haven't filled out a form."                   13   BY MS. GORDON:
 14   ··    · · · You don't say that, do you?                           14   Q.· ·Let me hand you Bates stamp 6507.
 15   A.·   ·No.· What it was, was an allegation pursuant to the        15   · · · · · MR. GILLIAM:· Let the record reflect she's tossing
 16   ··    ·chief's letter.· It said, "I received an allegation." I    16   · · ·these documents --
 17   ··    ·did not --                                                 17   · · · · · MS. GORDON:· No, I am not.· I am handing it across
 18   Q.·   ·Mr. Coogan, I asked you a question.                        18   · · ·the table.
 19   ··    · · · I asked you whether -- this says the man is being     19   · · · · · MR. GILLIAM:· I don't think that was a hand. I
 20   ··    ·suspended.                                                 20   · · ·mean, look, I get that it's getting tense, but let's
 21   ··    · · · You don't then write to anybody and say, "Well,       21   · · ·keep it respectful.
 22   ··    ·wait a minute.· Where's the form?"                         22   · · · · · MS. GORDON:· It's -- okay.· It's respectful.
 23   ··    · · · You don't do that; correct?                           23   · · · · · MR. GILLIAM:· I don't think it was.
 24   A.·   ·I did not respond to that.                                 24   · · · · · MS. GORDON:· Tell you what.· You walk over here and
 25   Q.·   ·Thank you.                                                 25   · · ·stand behind me, and I'll hand you the paper, and you
                                                             Page 302                                                               Page 304
 ·1   A.· ·It was an allegation at that time.                           ·1   · · ·can walk around to Larry.· Otherwise, I'm going to slide
 ·2   Q.· ·Well, there was discipline --                                ·2   · · ·it across the table.
 ·3   A.· ·He wasn't written up yet.                                    ·3   · · · · · MR. GILLIAM:· I'm just noting it for the record.
 ·4   Q.· ·Okay.· He was suspended, sir.                                ·4   · · ·You've placed some.· That one was tossed.· You tossed
 ·5   A.· ·For an allegation of excessive force.· I see that. I         ·5   · · ·one before.· Let's just -- we're asking --
 ·6   · · ·read that.                                                   ·6   · · · · · MS. GORDON:· Okay.· You're wrong, and I'm not
 ·7   Q.· ·Okay.· What is a write-up?                                   ·7   · · ·agreeing with you.
 ·8   A.· ·A write-up is when you tell somebody what they're            ·8   · · · · · MR. GILLIAM:· Okay.· That's not --
 ·9   · · ·charged with.· You give them notice.· They come in with      ·9   BY MS. GORDON:
 10   · · ·the union rep, and they're given an opportunity to           10   Q.· ·Okay.· Do you see that here we have the union and
 11   · · ·respond.                                                     11   · · ·Corporal Furman signing, on 7-5-16, a document that says
 12   Q.· ·Okay.· Well, go back to the Hayse/Furman letter, where       12   · · ·he asserted his right to remain silent after --
 13   · · ·you can see that Furman was already told what he was         13   A.· ·It's a Garrity form.· This is a Garrity form.
 14   · · ·charged with because he had responded on the 5th.            14   Q.· ·You know what?· You don't have to tell me what it is.
 15   · · · · · MR. GILLIAM:· Object to foundation.                     15   · · ·Your job is to listen to the questions.
 16   BY MS. GORDON:                                                    16   · · · · · Do you see that he was with his union rep on July
 17   Q.· ·Do you see that?                                             17   · · ·5th and signed off on a document?
 18   · · · · · We already have covered this, Mr. Coogan, and we        18   A.· ·I don't see that he was with his union rep.
 19   · · ·already know that Furman was notified of what he did         19   Q.· ·Well, look at the bottom --
 20   · · ·wrong and he wrote a three-page single-spaced letter in      20   A.· ·But I see that was signed by --
 21   · · ·response.                                                    21   Q.· ·Look --
 22   · · · · · He's responding to a charge.· And, in fact, he          22   A.· ·If I could answer?
 23   · · ·asserted his Fifth Amendment rights.                         23   Q.· ·Look at the bottom.
 24   · · · · · So, Furman was well aware that there was a charge       24   · · · · · Who signed this?
 25   · · ·against him and he was being suspended.                      25   A.· ·It was signed by Matthew Furman.

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 ·1   Q.· ·And who else?                                              ·1   A.· ·Yes, I do.· I told you.· I just read it into the record.
 ·2   A.· ·Matthew Furman is the only signature on it.                ·2   Q.· ·Okay.· Good.· Good.
 ·3   · · · · · There's printing of Kennaley on it.                   ·3   · · · · · But you want to sit here and waste my time --
 ·4   Q.· ·That's Kennaley's signature, sir.                          ·4   A.· ·One says "M. Furman" and one says --
 ·5   · · · · · Who is Kennaley?                                      ·5   Q.· ·-- and argue --
 ·6   · · · · · Is he in the union?                                   ·6   A.· ·-- "B. Nolin."
 ·7   A.· ·He's an officer.                                           ·7   · · · · · THE REPORTER:· I'm sorry.· One at a time.
 ·8   Q.· ·He's the union president.                                  ·8   BY MS. GORDON:
 ·9   · · · · · You're not aware of that?                             ·9   Q.· ·But you want to argue with me, hoping against hope
 10   A.· ·He was at the time, I think.                               10   · · ·somehow, Mr. Coogan, that these aren't really
 11   Q.· ·Okay.· Good.· Now we've established that.                  11   · · ·signatures, I guess.· But you know what?· Furman has
 12   A.· ·I think he was.                                            12   · · ·already identified this.
 13   Q.· ·Okay.· Good.· So, now --                                   13   A.· ·This is a Garrity form again.
 14   A.· ·I don't know if he was president, but he was certainly     14   Q.· ·I didn't ask you what it was, and I realize you
 15   · · ·an officer.                                                15   · · ·gratuitously want to tell me that.· But it's very clear
 16   Q.· ·Okay.· So, now we see -- we have a document that both      16   · · ·that there's a case number on here, and that, here,
 17   · · ·Furman and his union president signed off on, on the       17   · · ·Furman is being ordered to answer questions about an
 18   · · ·5th, after you say he was not given notice.· We also see   18   · · ·incident that has a number, and then he does answer.
 19   · · ·that we have a letter from Furman.· We've already          19   · · · · · And you got this in your packet, sir, but you've
 20   · · ·covered that.                                              20   · · ·managed to lose it, and you never gave it to Nicole
 21   · · · · · Nicole Barnes has testified she was never given any   21   · · ·Barnes.· Maybe you were trying to help your friend Mike
 22   · · ·of this by you.                                            22   · · ·Goch and get the chief fired.
 23   · · · · · MR. GILLIAM:· Object to the form.                     23   · · · · · MR. THOMAS:· Objection.
 24   BY MS. GORDON:                                                  24   · · · · · MR. GILLIAM:· Yeah.
 25   Q.· ·Okay.· Now, let's go to the suspension with pay,           25   · · · · · MR. THOMAS:· Form of the question.
                                                           Page 306                                                               Page 308
 ·1   · · ·Mr. Coogan.                                                ·1   · · · · · MS. GORDON:· Well, I'll change it.
 ·2   · · · · · Now we have another form filled out, documented,      ·2   · · · · · MR. THOMAS:· Compound question.
 ·3   · · ·that Furman has been advised and his union rep is with     ·3   A.· ·Do you know what --
 ·4   · · ·him.· And once again, he's saying:                         ·4   BY MS. GORDON:
 ·5   · · · · · · · ·I assert my right to remain silent, but          ·5   Q.· ·Were you trying to --
 ·6   · · · · · I was ordered to submit information which             ·6   A.· ·I need to have counsel act -- no, I need to say
 ·7   · · · · · includes a report, statement or answers to            ·7   · · ·something.
 ·8   · · · · · questions.· And in view of possible job               ·8   · · · · · You need to act in a professional manner.· Ask me
 ·9   · · · · · forfeiture, I'm going to answer his questions.        ·9   · · ·questions, and I'll answer.
 10   · · · · · okay?                                                 10   Q.· ·Okay.· I'm going to ask --
 11   · · · · · So, here it is.                                       11   A.· ·Okay?· So, answer(sic) questions --
 12   · · · · · -516, 7-20.                                           12   Q.· ·I'm going to ask you questions.
 13   · · · · · You see, once again, Matthew Furman and his union     13   A.· ·Don't give editorial comments.· Thank you.
 14   · · ·rep signed this; correct?                                  14   Q.· ·Here is my question.
 15   A.· ·Well, they're two printed names.· It doesn't look like     15   · · · · · Did you intentionally withhold all of these
 16   · · ·anybody signed them.· But one is printed "M. Furman."      16   · · ·documents from Nicole Barnes and the entire city council
 17   · · ·The other one is looks like "B. Nolin."                    17   · · ·because you were so anxious to make Mike Goch happy and
 18   Q.· ·Wow.· You're really in deep on this.· You're --            18   · · ·to fire the chief?· Is that what you did?
 19   · · · · · MR. GILLIAM:· Objection.                              19   A.· ·Absolutely not.
 20   A.· ·I'm just telling you what it -- I don't know if it's       20   Q.· ·Well, then why did Nicole Barnes testify under oath that
 21   · · ·signed or not.· It looks printed.                          21   · · ·she knew about none of these documents showing that
 22   BY MS. GORDON:                                                  22   · · ·Furman was on notice and had a chance to respond?
 23   Q.· ·Okay.· You have no -- okay.· That's not for you to say.    23   · · · · · Why did she know about none of that when she's the
 24   · · · · · You see what potentially looks likes signatures on    24   · · ·one that signed the amended complaint?· Why?
 25   · · ·the page?· Do you see that?                                25   · · · · · MR. GILLIAM:· Object to foundation.

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 ·1   A.· ·I can't say whether she knew about it or not.· I wasn't    ·1   · · · · · So, I say:
 ·2   · · ·here --                                                    ·2   · · · · · · · ·"Question:· So, with regard to Count 4,
 ·3   BY MS. GORDON:                                                  ·3   · · · · · 'Willful misconduct in office by improper issuance
 ·4   Q.· ·She testified under oath.                                  ·4   · · · · · of discipline,' who wrote that language?
 ·5   A.· ·I don't know why -- what she did.· I don't know.           ·5   · · · · · · · ·"Answer:· That would have been Coogan.
 ·6   · · · · · All I can tell you is that Mr. Furman was never --    ·6   · · · · · · · ·"He wrote the wording."
 ·7   Q.· ·Don't tell me anything.                                    ·7   · · · · · Okay.
 ·8   A.· ·-- written up by the chief.                                ·8   · · · · · · · ·"Question: --"
 ·9   · · · · · If all this is true, why didn't the chief write him   ·9   · · · · · 271.
 10   · · ·up?                                                        10   · · · · · MR. THOMAS:· Excuse me.· Are we supposed to follow?
 11   Q.· ·Okay.· There's nothing in the union contract that --       11   · · · · · MS. GORDON:· No.
 12   · · ·we've already covered this -- requires -- I know you're    12   · · · · · MR. THOMAS:· Is there a question on the table?
 13   · · ·hanging onto this desperately.                             13   · · · · · MS. GORDON:· I'm sorry.· I'm sorry.· Here's the
 14   · · · · · There's nothing in the union contract that requires   14   · · ·point I'm making.· Page 271.
 15   · · ·anything other than a conference.· You've already agreed   15   · · · · · Good point, Phil.
 16   · · ·with me on that.· I handed you the contract and you        16   BY MS. GORDON:
 17   · · ·could find nothing.                                        17   Q.· ·(Reading.)
 18   · · · · · MS. GORDON:· Where is Nicole Barnes' dep?             18   · · · · · · · ·"Question:· Have you ever asked
 19   · · · · · · (Discussion held off the record.)                   19   · · · · · Mr. Coogan -- we've been back and forth in
 20   · · · · · MS. GORDON:· There it is.· Thank you very much.       20   · · · · · federal court about getting documents -- why
 21   BY MS. GORDON:                                                  21   · · · · · he didn't provide you with all the documents?
 22   Q.· ·Okay.· Here is what she says.· Because I'm asking her      22   · · · · · · · ·"Answer:· I have not, but I definitely will
 23   · · ·about all this, and I'm handing her page by page.          23   · · · · · talk to him after today."
 24   · · · · · MR. GILLIAM:· What page are you on?                   24   · · · · · Why would Ms. Barnes not have known about all these
 25   · · · · · MS. GORDON:· Of Nicole's dep?                         25   · · ·documents that I'm now handing you?
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 ·1   · · · · · MR. GILLIAM:· Yes.                                    ·1   A.· ·I don't know.
 ·2   · · · · · MS. GORDON:· 213, 214.                                ·2   Q.· ·Okay.· Okay.
 ·3   · · · · · MR. GILLIAM:· Thank you.                              ·3   A.· ·I don't know why she would or would not know.
 ·4   BY MS. GORDON:                                                  ·4   Q.· ·Okay.· You had to have done that intentionally,
 ·5   Q.· ·Okay.· She says -- she's talking about Chief --            ·5   · · ·Mr. Coogan; correct?
 ·6   · · ·then-Lieutenant Allen.                                     ·6   · · · · · MR. GILLIAM:· Objection.
 ·7   · · · · · · · ·"He told it to myself and Larry Coogan,          ·7   · · · · · MR. THOMAS:· Objection.· That's argument.
 ·8   · · · · · and there was no one else there."                     ·8   · · · · · MR. GILLIAM:· Asked and answered.· That's
 ·9   · · · · · Okay.· Now I'm going down to 214.                     ·9   · · ·argumentative.
 10   · · · · · · · ·"And Larry was requesting like information       10   · · · · · MS. GORDON:· I'm asking --
 11   · · · · · regarding the write-up.· Larry had requested          11   · · · · · MR. THOMAS:· No, you didn't -- it wasn't -- you
 12   · · · · · that he get the information regarding the             12   · · ·didn't ask it, Ms. Gordon.· You made a statement.
 13   · · · · · write-up, and he had requested it from Chief          13   BY MS. GORDON:
 14   · · · · · Hayse, and he was never provided with the             14   Q.· ·That was intentional on your part to not give Barnes the
 15   · · · · · information.· And -- and he said he reviewed          15   · · ·stuff, wasn't it?
 16   · · · · · Furman's --"                                          16   · · · · · MR. GILLIAM:· Asked and answered.
 17   · · · · · I'm sorry.· Now I'm talking about Allen.              17   A.· ·No.
 18   · · · · · Okay.· Then I asked her:                              18   BY MS. GORDON:
 19   · · · · · · · ·"Question:· Well, where was the information      19   Q.· ·Was it a mistake or inadvertent?
 20   · · · · · kept?"                                                20   A.· ·No.· There was never a write-up in the file, and he
 21   · · · · · And she said:                                         21   · · ·filed a grievance --
 22   · · · · · · · ·"Answer:· I don't know where the                 22   Q.· ·Why didn't --
 23   · · · · · information was kept.· I don't know if it was         23   A.· ·Furman filed a grievance.· It was brought before the
 24   · · · · · kept in the disciplinary file."                       24   · · ·Safety Commission.· There wasn't even a write-up in the
 25   · · · · · Now I'm going to page 218.                            25   · · ·file, and he was reinstated because he was never written

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 ·1   · · ·up for any of this alleged conduct.                        ·1   Q.· ·You don't dispute or deny, sitting here today, that
 ·2   Q.· ·Okay.· But --                                              ·2   · · ·Furman was well aware of the two complaints against him,
 ·3   A.· ·Sorry.                                                     ·3   · · ·do you?
 ·4   Q.· ·All right.· You are hung up on the term "write-up."        ·4   · · · · · Because I have multiple-page responses for him.
 ·5   · · · · · Don't talk yet.                                       ·5   · · · · · You don't deny that he knew what the charges were,
 ·6   · · · · · There's nothing in the contract that requires a       ·6   · · ·do you?
 ·7   · · ·write-up, nor did you ever take the position, while you    ·7   A.· ·I don't believe he did.
 ·8   · · ·were being cc'd on all of this correspondence, that        ·8   Q.· ·What do you think his responses are about --
 ·9   · · ·there was no write-up.                                     ·9   A.· ·The union --
 10   · · · · · And when Chad Hayse sent you this packet of           10   Q.· ·Hang on.· You didn't let me --
 11   · · ·information on July 28, you never wrote back to him and    11   A.· ·-- had contacted me --
 12   · · ·said, "Where's the write-up?"                              12   Q.· ·I'm not --
 13   · · · · · MR. GILLIAM:· Objection as to form.                   13   · · · · · THE REPORTER:· Excuse me.
 14   BY MS. GORDON:                                                  14   A.· ·I'm going to respond to your question.· Let me finish.
 15   Q.· ·You never said a word to him about the write-up.           15   · · · · · The union contacted me and asked him -- "Why he was
 16   · · · · · · (Discussion held off the record.)                   16   · · ·suspended?· What was he written up for?"
 17   BY MS. GORDON:                                                  17   · · · · · I told the union, "I haven't seen a write-up."
 18   Q.· ·The amended complaint was August 17th.· By that time,      18   BY MS. GORDON:
 19   · · ·you had asked Chad Hayse for all of his materials.         19   Q.· ·What date --
 20   · · · · · If you were worried about a write-up, in spite of     20   A.· ·"I see some allegations, is what I see."
 21   · · ·the fact that there were multiple forms filled out, and    21   Q.· ·Okay.· This is not an answer to my question.
 22   · · ·in spite of the fact that there was lengthy responses      22   A.· ·It is an answer to your question.
 23   · · ·from Furman, why didn't you send the chief an e-mail and   23   · · · · · I see allegations.
 24   · · ·say, "I don't see a write-up in here"?                     24   Q.· ·Okay.· There's nothing in the contract that requires a
 25   · · · · · MR. GILLIAM:· Objection as to form.                   25   · · ·write-up.· I'm not going to keep arguing with you about
                                                           Page 314                                                               Page 316
 ·1   BY MS. GORDON:                                                  ·1   · · ·this.· At some point I'm going to ask the judge to issue
 ·2   Q.· ·Why didn't you do that, Mr. Coogan?                        ·2   · · ·an order on this.
 ·3   · · · · · MR. GILLIAM:· Form.                                   ·3   · · · · · In the meantime, I'm sick of hearing you say
 ·4   BY MS. GORDON:                                                  ·4   · · ·"There's not a write-up."
 ·5   Q.· ·Because you were trying to set him up?                     ·5   · · · · · My question is different.
 ·6   A.· ·Absolutely not.                                            ·6   · · · · · Matthew Furman responded in detail to allegations
 ·7   Q.· ·Well, did you just forget to write him and say, "I don't   ·7   · · ·against him.
 ·8   · · ·see a write-up, and I think a write-up is required.        ·8   · · · · · You've seen that; right?
 ·9   · · ·Maybe you didn't know --"                                  ·9   A.· ·You showed us some documents today, yes.
 10   A.· ·The union had contacted --                                 10   Q.· ·Okay.· And you've seen that he asserted his Fifth
 11   Q.· ·I'm still talking.                                         11   · · ·Amendment rights?
 12   A.· ·Yeah.· Well, I'm trying to answer your question.           12   · · · · · MR. GILLIAM:· Asked and answered.
 13   Q.· ·No, you're not.                                            13   A.· ·I see that he asserted his Garrity privilege, yes.
 14   A.· ·Oh, okay.                                                  14   BY MS. GORDON:
 15   Q.· ·You're thinking about what to do here.                     15   Q.· ·Now I'm going to hand you Bates stamp 6517 through
 16   · · · · · MR. THOMAS:· Objection.· Argumentative.               16   · · ·65- -- oh, by the way.
 17   · · · · · MS. GORDON:· He's not listening.                      17   · · · · · Who called you from the union?
 18   · · · · · MR. THOMAS:· Objection.· Argumentative.               18   A.· ·I already said that.· I'll tell you again.
 19   · · · · · MS. GORDON:· Okay --                                  19   · · · · · It was Mr. Funke, Tom Funke.
 20   · · · · · MR. THOMAS:· Wait.· Let her finish the question.      20   Q.· ·What date?
 21   · · ·If I have an objection or Rich has an objection, we'll     21   A.· ·He called me several times during this --
 22   · · ·raise it after that.                                       22   Q.· ·What dates?
 23   · · · · · You can answer.                                       23   A.· ·-- procedure.
 24   A.· ·Okay.                                                      24   Q.· ·What dates?
 25   BY MS. GORDON:                                                  25   A.· ·It would have been right after Mr. Furman was suspended

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 ·1   · · ·with pay and then subsequent to -- and then subsequent       ·1   A.· ·Yes.
 ·2   · · ·to Mr. Furman being suspended without pay.                   ·2   Q.· ·Okay.· And are you aware that Furman participated in the
 ·3   Q.· ·Okay.· So, did you immediately contact the chief and         ·3   · · ·investigation and responded to the alleged misconduct?
 ·4   · · ·say, "Hey, the union guy was just in here --"                ·4   A.· ·I'm aware of what you provided me today.
 ·5   A.· ·I wrote a letter to the chief.                               ·5   · · · · · · (Discussion held off the record.)
 ·6   Q.· ·Do you know what?· You can't keep interrupting me.           ·6   BY MS. GORDON:
 ·7   · · · · · Did you ever tell the chief, "The union guy was in      ·7   Q.· ·Okay.· Okay.· Bates stamp -- back to 6517 through 6519.
 ·8   · · ·here and wants to know what the allegations are"?            ·8   A.· ·Thank you.
 ·9   A.· ·Yes.                                                         ·9   Q.· ·You've seen that before.· It was in the packet sent to
 10   Q.· ·Okay.· Where is that?                                        10   · · ·you by Chad Hayse.
 11   A.· ·Phone conversation with the chief.                           11   · · · · · This is a response from Corporal Furman with regard
 12   Q.· ·Okay.· What date?                                            12   · · ·to a -- now a second matter in the same month, this time
 13   A.· ·As soon as the union contacted me.                           13   · · ·involving Robert Michael McClintock.
 14   Q.· ·What date?                                                   14   · · · · · Do you see this?
 15   A.· ·I can't give you the exact date, but I would guess it's      15   · · · · · He says:
 16   · · ·after the 5th of July and prior to --                        16   · · · · · · · ·"I've been ordered to write an account of
 17   Q.· ·Okay.· What did you say?· What did you say?                  17   · · · · · the incident from the time I first saw McClintock
 18   A.· ·"The union is calling me, wanting to know why Mr. Furman     18   · · · · · until he was brought to MEPD.· I have been
 19   · · ·is suspended."                                               19   · · · · · advised by my union representative, Detective
 20   · · · · · · ·(Discussion held off the record.)                    20   · · · · · Nolin that, per Lieutenant Allen, I can be
 21   BY MS. GORDON:                                                    21   · · · · · terminated if I do not provide a written
 22   Q.· ·Okay.· What did he say?                                      22   · · · · · statement."
 23   A.· ·I said I didn't know.                                        23   · · · · · Do you see that?
 24   Q.· ·What did he say?                                             24   A.· ·I see that.
 25   A.· ·He told me there was an internal and external                25   Q.· ·All right.· Now we go through here and he, in great
                                                             Page 318                                                                 Page 320
 ·1   ··    ·investigation.                                             ·1   ··    ·detail, says what happened with Mr. McClintock.
 ·2   Q.·   ·Okay.· That's proper, isn't it?                            ·2   ··    · · · Do you understand that this is his statement?
 ·3   A.·   ·I -- I don't know if that's proper or not.· So --          ·3   A.·   ·Well, it says "From:· Corporal Furman" on the top.
 ·4   Q.·   ·Well, go to the union --                                   ·4   Q.·   ·Okay.· This is the same Mr. McClintock that has now sued
 ·5   A.·   ·-- then I asked --                                         ·5   ··    ·the City; is that correct?
 ·6   Q.·   ·Go to the Collective Bargaining Agreement, and you'll      ·6   A.·   ·That would be correct, I believe.· To the best of my
 ·7   ··    ·see an investigation is required before you bring          ·7   ··    ·knowledge, that would be correct.
 ·8   ··    ·charges.                                                   ·8   Q.·   ·And this is the same Mr. McClintock for whom Chief Allen
 ·9   ··    · · · Do you still have the Collective Bargaining           ·9   ··    ·pulled discipline -- any discipline at all?· Furman has
 10   ··    ·Agreement there?                                           10   ··    ·received no discipline for all of this; correct?
 11   A.·   ·I never had it.· You had a copy of it.                     11   ··    · · · Do I have that right?
 12   Q.·   ·Well, I handed it to you.                                  12   A.·   ·That is correct.
 13   ··    · · · Are you aware that the Collective Bargaining          13   Q.·   ·Okay.
 14   ··    ·Agreement requires an investigation?                       14   A.·   ·He was never written up.
 15   A.·   ·Yes.                                                       15   Q.·   ·In fact -- show me where he has to be written up by law
 16   Q.·   ·Are you aware that part of the investigation is to ask     16   ··    ·before he can be disciplined.
 17   ··    ·the officer who is allegedly engaged in misconduct to      17   ··    · · · Where does that exist?
 18   ··    ·respond?· Are you aware that that's part of the --         18   A.·   ·There was a write-up form in Mr. Furman's file that the
 19   A.·   ·I --                                                       19   ··    ·City operates under.· It was never filled out, and there
 20   Q.·   ·Hang on.                                                   20   ··    ·was -- the grievance was -- he was reinstated.
 21   ··    · · · Are you aware that that's part of the                 21   Q.·   ·Does that trump the Collective Bargaining Agreement?
 22   ··    ·investigation?                                             22   A.·   ·The discipline procedure of the City, I believe, does.
 23   ··    · · · Are you aware of that?                                23   ··    · · · The discipline procedure of the City is what is
 24   A.·   ·Can I talk now or --                                       24   ··    ·followed in all discipline forms.
 25   Q.·   ·Yeah.                                                      25   Q.·   ·Okay.· You know darn well the discipline procedure has

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 ·1   ··    ·zero legal impact.· That's not a mandatory document by     ·1   Q.· ·No.· I'm not listening.
 ·2   ··    ·law.· That's a document that the City may throw out the    ·2   · · · · · MR. THOMAS:· I'll object to that as being
 ·3   ··    ·next day.                                                  ·3   · · ·argumentative and badgering.
 ·4   ··    · · · You know that, don't you, Mr. Coogan?                 ·4   BY MS. GORDON:
 ·5   ··    · · · That's not a legal document.· That's a City           ·5   Q.· ·I'm going to hand you Bates stamp 65- --
 ·6   ··    ·document --                                                ·6   A.· ·You don't want my answer to that question?
 ·7   A.·   ·I believe it was an executive order --                     ·7   Q.· ·I don't really want anything from you, Mr. Coogan.· I'm
 ·8   Q.·   ·It doesn't matter.· It --                                  ·8   · · ·forced to --
 ·9   A.·   ·-- of the City.                                            ·9   A.· ·Then why am I here today?
 10   ··    · · · Well, that's your opinion, not mine.                  10   Q.· ·Because I'm forced to try -- to attempt to get the truth
 11   Q.·   ·Well, excuse me.                                           11   · · ·from you --
 12   ··    · · · Executive orders can be withdrawn at any time,        12   A.· ·It's always --
 13   ··    ·can't they?                                                13   Q.· ·-- which is not going to be possible.
 14   A.·   ·It was in effect at the time.                              14   · · · · · MR. THOMAS:· Objection to that statement.
 15   Q.·   ·Okay.                                                      15   · · · · · MS. GORDON:· I'm sorry.
 16   A.·   ·It's still in effect now.                                  16   · · · · · MR. THOMAS:· That's harassment, and it's
 17   Q.·   ·But the union contract is in force and effect until it     17   · · ·argumentative, Ms. Gordon.
 18   ··    ·expires whether the City wants it to be or not; correct?   18   · · · · · MS. GORDON:· Oh, is it?· Okay.· Look, Phil, I take
 19   A.·   ·Contracts expire upon the expiration date.· That's         19   · · ·your point.· You -- I have to sit here, day after day,
 20   ··    ·correct.                                                   20   · · ·and listen to people from the City of Melvindale come in
 21   Q.·   ·So, then, the executive order is in contrast to the        21   · · ·here and full-on lie, and it gets tiresome.
 22   ··    ·Collective Bargaining Agreement.· Is that what you are     22   · · · · · MR. THOMAS:· I don't know if that's --
 23   ··    ·telling me here?                                           23   · · · · · MS. GORDON:· I know, but it gets really tiresome.
 24   A.·   ·No.· I didn't tell you that.                               24   · · · · · MR. THOMAS:· -- true or not, Ms. Gordon, but --
 25   Q.·   ·Well, the Collective Bargaining Agreement does not         25   · · · · · MS. GORDON:· And it's all run by this man right
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 ·1   · · ·require anything in writing.                                 ·1   · · ·here.
 ·2   A.· ·The executive order is how you discipline employees,         ·2   · · · · · MR. THOMAS:· I can tell you I don't know if that's
 ·3   · · ·written from the mayor to department heads on how to         ·3   · · ·true or not, but the only thing I want to do --
 ·4   · · ·properly discipline employees.                               ·4   · · · · · MS. GORDON:· Well I do, because I have the
 ·5   Q.· ·Okay.· So, why didn't you just tell the chief, "Hey,         ·5   · · ·transcripts.
 ·6   · · ·you've got to put this in writing.· I see what you're        ·6   · · · · · MR. THOMAS:· -- is just move the deposition.
 ·7   · · ·doing here.· I see Furman has done some weird stuff --"      ·7   · · · · · MS. GORDON:· Okay.· All right.
 ·8   A.· ·Well --                                                      ·8   · · · · · MR. THOMAS:· Let's just not make statements.
 ·9   Q.· ·You've got to stop and let me finish.                        ·9   · · ·Questions and answers.
 10   · · · · · "I see you -- I see you want to try to get Furman       10   BY MS. GORDON:
 11   · · ·under control, Chief.· You know what?· Just fill out the     11   Q.· ·Let's look at 6516.
 12   · · ·form, and we're all good"?· Why didn't you do that?          12   · · · · · MR. THOMAS:· Questions and answers.
 13   · · · · · MR. GILLIAM:· Object to the form.                       13   BY MS. GORDON:
 14   A.· ·Well -- okay.                                                14   Q.· ·Let's look at 6516 --
 15   BY MS. GORDON:                                                    15   · · · · · MR. GILLIAM:· And I'll just object to that
 16   Q.· ·Because you wanted to get him.· That's why?                  16   · · ·characterization of the testimony.
 17   · · · · · MR. GILLIAM:· Objection.                                17   BY MS. GORDON:
 18   · · · · · MR. THOMAS:· Objection to that statement.               18   Q.· ·Let's look at 6516.
 19   · · · · · MR. GILLIAM:· Objection.                                19   · · · · · Here we've got another form signed off on by the
 20   · · · · · MR. THOMAS:· You didn't even allow --                   20   · · ·union and by Furman.
 21   · · · · · MS. GORDON:· I'll withdraw the question.                21   · · · · · Do you see that?
 22   · · · · · He has no answers for any of this.                      22   A.· ·It's the same form you gave me a few moments ago.
 23   A.· ·I have an answer to that question, and I'm going to tell     23   Q.· ·Okay.
 24   · · ·you the answer --                                            24   A.· ·Just for the record, it's the same one you just gave me.
 25   BY MS. GORDON:                                                    25   Q.· ·All right.· I hear you.

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 ·1   ··    · · · So, I'm going to go back to my question.              ·1   · · ·anybody --
 ·2   ··    · · · Why didn't you tell Hayse -- if you were really       ·2   Q.· ·Hang on.
 ·3   ··    ·concerned that no form had been filled out, why didn't     ·3   A.· ·-- can always file a grievance.
 ·4   ··    ·you just contact him and say, "You may have missed this,   ·4   Q.· ·Hang on.· Hang on.
 ·5   ··    ·but you need to fill out a form"?                          ·5   · · · · · MR. GILLIAM:· Let him -- please, let him finish his
 ·6   A.·   ·I didn't know that he failed to do it, and Mr. Hayse is    ·6   · · ·answer.
 ·7   ··    ·aware of those forms because he's filled them out in the   ·7   BY MS. GORDON:
 ·8   ··    ·past and has complied with it in the past.                 ·8   Q.· ·Is an employee, per the contract -- is it in the
 ·9   Q.·   ·Okay --                                                    ·9   · · ·contract that an employee has the right to get a written
 10   A.·   ·So, other employees were disciplined using the same        10   · · ·warning before he gets discipline?· Is that in the
 11   ··    ·forms by Mr. Hayse.                                        11   · · ·contract?
 12   Q.·   ·Okay.· But --                                              12   A.· ·It depends upon the level of the offense the employee
 13   A.·   ·So, I didn't feel like it was incumbent upon me to tell    13   · · ·does.
 14   ··    ·him, "Hey, go back to your same form and discipline your   14   Q.· ·No, it doesn't.
 15   ··    ·employee."                                                 15   A.· ·Under certain situations, yes.
 16   Q.·   ·But isn't the point of the form to let the employee know   16   Q.· ·You think that's in the contract, the Collective
 17   ··    ·what he did wrong?· Isn't that the whole point?            17   · · ·Bargaining Agreement?
 18   A.·   ·Correct.                                                   18   A.· ·I think there's a step procedure.· If there's something
 19   Q.·   ·Okay.                                                      19   · · ·that is extremely egregious, they can be terminated.
 20   A.·   ·And there was no write-up in the file.                     20   Q.· ·Okay.· Well, I will hand you the contract.· It's Bates
 21   Q.·   ·Okay.· And you don't doubt that Furman knew what he had    21   · · ·stamp 1245 through 1272, and you show me where there's
 22   ··    ·done wrong because we know he responded in detail?         22   · · ·progressive discipline in the Collective Bargaining
 23   A.·   ·There was no write-up in the file.                         23   · · ·Agreement.
 24   Q.·   ·Okay.                                                      24   · · · · · MR. THOMAS:· Just for the record --
 25   A.·   ·I'm sorry.                                                 25   · · · · · MR. GILLIAM:· I just want --
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 ·1   Q.·   ·Was he told verbally what he did wrong?                    ·1   · · · · · MR. THOMAS:· Just for the record, a document that
 ·2   A.·   ·I have no idea.                                            ·2   · · ·is approximately 28 pages has been handed to my client.
 ·3   Q.·   ·Okay.· Have you checked every single employee in the       ·3   · · · · · So, take a look at it --
 ·4   ··    ·City who has been disciplined to see if a form was         ·4   · · · · · MS. GORDON:· He's very familiar with it, Phil.
 ·5   ··    ·filled out?                                                ·5   · · · · · MR. THOMAS:· -- or any portion of it that you want
 ·6   A.·   ·When requested to do so, yes.                              ·6   · · ·to.
 ·7   Q.·   ·Well, as of today's date have --                           ·7   · · · · · MS. GORDON:· He's very familiar with it, and it has
 ·8   A.·   ·If it involves a termination or suspension, yes.           ·8   · · ·a Table of Contents.
 ·9   Q.·   ·Okay.· Well, that form doesn't apply to a termination or   ·9   BY MS. GORDON:
 10   ··    ·suspension.· It applies to everything, doesn't it?         10   Q.· ·This is a contract that you collectively bargained for;
 11   A.·   ·Employee discipline.                                       11   · · ·correct?
 12   Q.·   ·Okay.· Does the Collective Bargaining Agreement require    12   · · · · · You're at the table, Mr. Coogan, are you?
 13   ··    ·progressive discipline?                                    13   A.· ·I negotiated the last contract.· Some of the terms and
 14   A.·   ·I think I've already testified to that earlier, but I'll   14   · · ·conditions therein were changed; some were not.
 15   ··    ·rephrase it or say it again for you.                       15   Q.· ·Okay.· Fair to say you're familiar with the Collective
 16   ··    · · · It does provide for a step procedure, but certain     16   · · ·Bargaining Agreement or not?
 17   ··    ·instances are enough to terminate someone if they rise     17   A.· ·Not intimately, but I certainly --
 18   ··    ·to that level.                                             18   Q.· ·Okay.· Well, go find me where you're entitled to
 19   Q.·   ·Okay.· So, if I'm in the union -- if I'm a patrol          19   · · ·progressive discipline.
 20   ··    ·officer and I'm in the patrol officers' union, and I get   20   · · · · · MR. GILLIAM:· And I'll just object.· I believe this
 21   ··    ·suspended, can I file a grievance because I didn't get a   21   · · ·whole line of questioning was asked and answered
 22   ··    ·written warning first?                                     22   · · ·earlier.
 23   A.·   ·Depending on what the issue is.                            23   · · · · · MR. THOMAS:· I'll join that objection.
 24   ··    · · · You can always file a grievance, yeah.· Anybody       24   A.· ·It talks about the grievance procedure, Article 6.
 25   ··    ·can always file a grievance.· I'm speculating, but         25   BY MS. GORDON:

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 ·1   Q.· ·Okay.· Mr. Coogan, don't talk out loud.· Don't -- I        ·1   · · ·know when you're ready.
 ·2   · · ·mean, just wait for the --                                 ·2   A.· ·It doesn't speak directly to step.· It talks about
 ·3   A.· ·Well, you want me to just read this document then?         ·3   · · ·additional disciplines.
 ·4   Q.· ·I want you to find the part where you say the contract     ·4   Q.· ·Okay.· So, the executive order does require progressive
 ·5   · · ·requires progressive discipline.                           ·5   · · ·discipline.
 ·6   · · · · · Until you find it, please don't talk on the record.   ·6   · · · · · Are you aware of that?
 ·7   · · · · · MR. THOMAS:· Just for the record, I think that --     ·7   A.· ·I believe that's correct.
 ·8   · · ·I'm going to object.· I think you've misstated his last    ·8   Q.· ·Okay.· But the police department does not have to give
 ·9   · · ·answer.                                                    ·9   · · ·progressive discipline; correct?
 10   · · · · · MS. GORDON:· Okay.                                    10   A.· ·Well, it depends on the nature of the --
 11   · · · · · MR. THOMAS:· Take a look at the document.             11   Q.· ·Under the contract, there's no requirement that they go
 12   A.· ·Okay.· It says exactly what I said.· Have a right to be    12   · · ·through progressive steps.
 13   · · ·disciplined and, in certain steps, an employer has a       13   · · · · · We've just looked for that in the contract, and
 14   · · ·right to disciplinary action.                              14   · · ·you've not been able to find it.
 15   BY MS. GORDON:                                                  15   · · · · · Correct?
 16   Q.· ·Hang on.· Hang on.· Hang on.                               16   · · · · · MR. THOMAS:· Objection.· Repetitive questioning.
 17   A.· ·Immediate action as necessary, emergency action            17   · · ·Asked and answered multiple times today.
 18   · · ·situations.                                                18   BY MS. GORDON:
 19   Q.· ·Okay.· Hang on.                                            19   Q.· ·Okay.· So, my point is, sir, that the executive order
 20   · · · · · Where are you in the document?                        20   · · ·contains a requirement that the police department does
 21   A.· ·I'm on 8.1, under "Discipline."                            21   · · ·not follow; correct?
 22   Q.· ·Yeah.· Read it out loud.                                   22   A.· ·I'd have to review the executive order.· I'm not -- I
 23   A.· ·(Reading.)                                                 23   · · ·don't feel comfortable telling you exactly what the
 24   · · · · · · · ·"All employees so have a right to be             24   · · ·executive order says without having it in front of me.
 25   · · · · · represented by a Local president, his designee,       25   · · · · · · (Discussion held off the record.)
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 ·1   · · · · · and/or a union representative at all                  ·1   A.· ·I don't want to speculate.
 ·2   · · · · · disciplinary conferences or procedures except         ·2   · · · · · MR. THOMAS:· There's no -- there's no question on
 ·3   · · · · · that an employer has the right to take                ·3   · · ·the record.
 ·4   · · · · · disciplinary action immediately in emergency          ·4   · · · · · · ·(Discussion held off the record.)
 ·5   · · · · · situations."                                          ·5   · · · · · MS. GORDON:· We've got it.· We've just got a lot of
 ·6   · · · · · And I think that's what I said.                       ·6   · · ·stuff here.
 ·7   · · · · · MS. GORDON:· Okay.· John, would you please read       ·7   · · · · · · ·(Discussion held off the record.)
 ·8   · · ·back my last question where I asked the witness to take    ·8   BY MS. GORDON:
 ·9   · · ·a look at the Collective Bargaining Agreement.· It had     ·9   Q.· ·Okay.· I'm going to hand you Executive Order 05-01.
 10   · · ·to do with progressive discipline.                         10   · · ·It's Bates stamp 10 through 18, and I'm going to direct
 11   · · · · · So, just let's all wait while John looks.             11   · · ·you to Bates stamp 11, "C.· Disciplinary Steps."
 12   · · · · · THE REPORTER:· One second, please.                    12   · · · · · And do you see that says:
 13   · · · · · · ·(Record repeated by the reporter.)                 13   · · · · · · · ·"If not otherwise set forth in the
 14   BY MS. GORDON:                                                  14   · · · · · applicable Collective Bargaining Agreement,
 15   Q.· ·Okay.· The part you just read, Mr. Coogan, does not        15   · · · · · work rule or departmental policy, or unless
 16   · · ·require progressive discipline.· So, you have not found    16   · · · · · otherwise circumscribed, the collective
 17   · · ·anything.                                                  17   · · · · · discipline requirements are verbal warning,
 18   · · · · · Do I have that right?                                 18   · · · · · written reprimand, suspension and
 19   A.· ·Well, it says if the employee receives subsequent          19   · · · · · termination."
 20   · · ·reprimand for a similar offense within two years --        20   · · · · · Do you see that?
 21   · · · · · THE REPORTER:· Excuse me?                             21   A.· ·Yes, I do.
 22   A.· ·It talks about subsequent reprimand.                       22   Q.· ·So, this document states that look to the Collective
 23   BY MS. GORDON:                                                  23   · · ·Bargaining Agreement; correct?· For -- with regard to
 24   Q.· ·All right.· Get your answer together before you start      24   · · ·what they require.· But if it's not addressed in the
 25   · · ·talking out loud.· Just read it through, and then let us   25   · · ·Collective Bargaining Agreement, you should follow these

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 ·1   ··    ·progressive steps; right?                                  ·1   · · · · · MR. GILLIAM:· Object to foundation.
 ·2   A.·   ·Correct.                                                   ·2   BY MS. GORDON:
 ·3   Q.·   ·Okay.· But you know the police department does not -- is   ·3   Q.· ·Nothing you can come up with here today?
 ·4   ··    ·not required to give a verbal warning, written warning,    ·4   A.· ·Other than the fact he didn't write him up and stick
 ·5   ··    ·and suspension before termination?· You know that?         ·5   · · ·anything in Mr. Furman's file.
 ·6   ··    ·You've been around a long time; right?                     ·6   · · · · · MS. GORDON:· Okay.· Now, I'm going to have to go
 ·7   A.·   ·Well, it depends on the nature and extent of what the      ·7   · · ·back, Phil, because I'm going to have to re-cover this
 ·8   ··    ·issue is.                                                  ·8   · · ·now.
 ·9   Q.·   ·Okay.· There's no requirement that you follow steps in     ·9   BY MS. GORDON:
 10   ··    ·the Collective Bargaining Agreement.· We've already        10   Q.· ·The Collective Bargaining Agreement does not require
 11   ··    ·covered that.                                              11   · · ·that he write him up and stick it in his file.
 12   ··    · · · Now, let's go down to "Guidelines and Imposing        12   · · · · · I thought we had already agreed with that.
 13   ··    ·Discipline."                                               13   · · · · · Mr. Coogan, the Collective Bargaining Agreement
 14   ··    · · · Do you see E on that same page number:                14   · · ·does not require a written notice.
 15   ··    · · · · · ·"1.· Follow any applicable rules and             15   · · · · · Do you -- we've covered this five times today.
 16   ··    · · · · · · · ·regulations, policies or Collective          16   · · · · · MR. THOMAS:· Are you making my objection for me?
 17   ··    · · · · · · · ·Bargaining Agreements"?                      17   · · · · · MS. GORDON:· Yes.· But he keeps saying it.· He
 18   ··    · · · Do you see that?                                      18   · · ·keeps suggesting that that's required by the Collective
 19   A.·   ·Yes, I do.                                                 19   · · ·Bargaining Agreement, and we've -- would you agree,
 20   Q.·   ·Okay.· Did Chad Hayse follow the Collective Bargaining     20   · · ·Phil, that -- I mean, if it's established, it's
 21   ··    ·Agreement here, as far as you can tell, from what I've     21   · · ·established.
 22   ··    ·showed you today?                                          22   · · · · · MR. THOMAS:· No, I don't, but you don't --
 23   A.·   ·He may have.                                               23   · · · · · MS. GORDON:· But the witness keeps saying it.
 24   Q.·   ·Okay.                                                      24   · · · · · MR. THOMAS:· But you don't want me to give a
 25   A.·   ·I don't know for certain.                                  25   · · ·narrative.· But under C, "Disciplinary Steps," Deb, it
                                                             Page 334                                                               Page 336
 ·1   Q.·   ·Well, it appears he did.                                   ·1   · · ·specifically said "if not otherwise set forth in the
 ·2   ··    · · · Would you agree with that from what you've looked     ·2   · · ·applicable --"
 ·3   ··    ·at?                                                        ·3   · · · · · MS. GORDON:· I've already covered that.· I'm fully
 ·4   ··    · · · You have no reason to say otherwise; fair enough?     ·4   · · ·aware of that.
 ·5   A.·   ·There was no write-up in Mr. Furman's file regarding       ·5   · · · · · MR. THOMAS:· But it said that step should be
 ·6   ··    ·this issue.                                                ·6   · · ·followed.· I think that's what he's trying to
 ·7   Q.·   ·That's not required in the Collective Bargaining -- I'm    ·7   · · ·articulate.
 ·8   ··    ·not on that.· I'm on the Collective Bargaining             ·8   · · · · · MS. GORDON:· Unless it's -- unless it's -- I'm not
 ·9   ··    ·Agreement, sir.· You've --                                 ·9   · · ·on that right now.
 10   A.·   ·I thought we were looking at the executive order.          10   BY MS. GORDON:
 11   Q.·   ·I know.                                                    11   Q.· ·The Collective Bargaining Agreement does not include a
 12   ··    · · · The executive order says:                             12   · · ·written notice; correct?
 13   ··    · · · · · ·"Follow all(sic) --"                             13   · · · · · MR. THOMAS:· You've already read it, and you've
 14   A.·   ·Discipline procedures.                                     14   · · ·said "no."· You said "no."
 15   Q.·   ·Hang on.· Hang on.· Just listen.                           15   A.· ·Yeah.
 16   A.·   ·I am.                                                      16   · · · · · MS. GORDON:· Okay.· All right.
 17   Q.·   ·The executive order says:                                  17   · · · · · MR. THOMAS:· So, we're there.
 18   ··    · · · · · ·"Follow any applicable rules, regulations,       18   BY MS. GORDON:
 19   ··    · · · policies or Collective Bargaining Agreements."        19   Q.· ·So, now I'm on E.
 20   ··    · · · Do you see that?                                      20   · · · · · So, you're supposed to follow the Collective
 21   ··    · · · I'm on E.                                             21   · · ·Bargaining Agreement.· Chad Hayse followed the
 22   A.·   ·Yes, I do.· I see that.                                    22   · · ·Collective Bargaining Agreement.
 23   Q.·   ·Okay.· And as far as -- you have no reason here today to   23   · · · · · Now, Number 2 is, you're supposed to discipline
 24   ··    ·tell me Chad did not follow the Collective Bargaining      24   · · ·promptly on suspected violations; true?· That's what
 25   ··    ·Agreement with Furman; right?                              25   · · ·that says?

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 ·1   A.· ·That's what the guidelines and imposing discipline say.    ·1   A.· ·-- Allen.
 ·2   Q.· ·Did Chad do that?                                          ·2   Q.· ·Okay.· So, you see the chief is looking into this
 ·3   · · · · · If you don't know, you don't know.                    ·3   · · ·McClintock situation; right?
 ·4   A.· ·I don't know.                                              ·4   A.· ·Well, it's addressed to Allen.· So, it looks --
 ·5   Q.· ·Okay.· Let's go to 3.                                      ·5   Q.· ·Fair enough.
 ·6   · · · · · "Obtain all facts."                                   ·6   A.· ·-- like Allen maybe looked into it.
 ·7   · · · · · Are you aware that he did an investigation and        ·7   Q.· ·Fair enough.
 ·8   · · ·received information from other officers?                  ·8   A.· ·I don't know.· Maybe the chief --
 ·9   A.· ·I believe that he did.                                     ·9   Q.· ·All right.· Here is one from Chief Hayse from Nolin --
 10   · · · · · I don't have a copy of that in front of me.           10   · · ·Detective Nolin, who was also at the scene.
 11   · · · · · · ·(Discussion held off the record.)                  11   · · · · · · ·(Discussion held off the record.)
 12   BY MS. GORDON:                                                  12   BY MS. GORDON:
 13   Q.· ·Okay.· And then he's supposed to provide the appointee     13   Q.· ·Okay.· You've seen that before, haven't you?
 14   · · ·with notice of the charges; correct?                       14   A.· ·I may have.
 15   A.· ·That's correct.                                            15   Q.· ·Okay.
 16   Q.· ·Okay.                                                      16   A.· ·I may have seen.
 17   A.· ·And proposed discipline.                                   17   · · · · · MR. THOMAS:· Deb -- Ms. Gordon, I don't think you
 18   Q.· ·Right.                                                     18   · · ·identified that for the record by Bates stamp or date or
 19   · · · · · And he did.· I mean, we've already seen               19   · · ·anything yet.
 20   · · ·documents --                                               20   A.· ·Well, I can do that if you want.
 21   A.· ·I don't know.                                              21   · · · · · MR. THOMAS:· Well, just --
 22   Q.· ·-- where it point-blank says, "You're facing               22   BY MS. GORDON:
 23   · · ·termination."                                              23   Q.· ·All right.· What's the Bates stamp?
 24   · · · · · But I'm not going to argue with you about it.         24   · · · · · What's the Bates stamp?
 25   · · · · · · (Discussion held off the record.)                   25   · · · · · MR. THOMAS:· Just give her the Bates stamp and
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 ·1   · · · · · MR. THOMAS:· If you want to see the document again,   ·1   · · ·we'll all --
 ·2   · · ·you can ask her.· I don't have a note on it.· He does.     ·2   A.· ·006547.
 ·3   · · · · · · (Discussion held off the record.)                   ·3   BY MS. GORDON:
 ·4   BY MS. GORDON:                                                  ·4   Q.· ·Okay.· Now, I'm going to hand you Bates stamp 6563,
 ·5   Q.· ·Okay.· Now, let's go to look at the investigation that     ·5   · · ·where the chief has obtained a statement from Lieutenant
 ·6   · · ·Chad Hayse did into the McClintock matter.                 ·6   · · ·Allen --
 ·7   · · · · · Are you aware that he requested, Mr. Coogan, a        ·7   · · · · · MR. THOMAS:· See it?
 ·8   · · ·statement from Corporal Hinojosa on June 16, 2016, to      ·8   · · · · · MR. GILLIAM:· (Shakes head.)
 ·9   · · ·get his input into what occurred?                          ·9   BY MS. GORDON:
 10   A.· ·That he requested a statement from Officer Hinojosa?       10   Q.· ·-- about the McClintock/Furman situation.
 11   Q.· ·Yes.                                                       11   · · · · · Do you see that he's written a statement to the
 12   A.· ·I don't know if I was aware of that or not.                12   · · ·chief in June?
 13   Q.· ·As part of his investigation.                              13   A.· ·It's from Allen to the chief.
 14   · · · · · I'll hand you 6548 produced to me by the City.        14   · · · · · Yes, I see that.
 15   · · · · · MR. THOMAS:· Is that the City or the police           15   Q.· ·I'm sorry.· Okay.
 16   · · ·department?                                                16   A.· ·Yeah.
 17   A.· ·It's the police department.· It says --                    17   · · · · · · · ·"Subject:· Corporal Furman."
 18   · · · · · MR. THOMAS:· Oh, yeah.                                18   Q.· ·Do you see in the second paragraph that Lieutenant Allen
 19   A.· ·Yeah, the Melvindale Police Department is not --           19   · · ·says:
 20   BY MS. GORDON:                                                  20   · · · · · · · ·"There I observed Corporal Furman forcibly
 21   Q.· ·Produced by the City.· They're the Defendant.              21   · · · · · placing the man into the rear of the patrol car.
 22   · · · · · Do you see that Hinojosa handed in a statement to     22   · · · · · I heard a thud sound and also witnessed the
 23   · · ·the chief?                                                 23   · · · · · man's head, above the hair line and towards the
 24   A.· ·It says from Hinojosa to --                                24   · · · · · top, hit the portion of the rear door of the
 25   Q.· ·Okay.                                                      25   · · · · · patrol car while he was being placed back

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 ·1   ··    · · · there"?                                               ·1   A.· ·I'm not familiar -- I don't know that.
 ·2   ··    · · · Do you see that?                                      ·2   Q.· ·All right.
 ·3   A.·   ·Yes, I do.· I see it right there.· Second paragraph.       ·3   A.· ·I don't know.
 ·4   Q.·   ·Then he says:                                              ·4   Q.· ·Well, when you book somebody, are you supposed to -- I
 ·5   ··    · · · · · ·"At the station, I informed Lieutenant           ·5   · · ·thought you were supposed to take a photo automatically
 ·6   ··    · · · Welch of this and asked him if the prisoner had       ·6   · · ·when you book somebody?
 ·7   ··    · · · any injuries.                                         ·7   A.· ·I don't know what the procedure was, if they have a
 ·8   ··    · · · · · ·Lieutenant Welch stated he was told he           ·8   · · ·photo, if they use the same one or not.· I don't know.
 ·9   ··    · · · didn't have any reported injuries.                    ·9   · · ·I'm not -- I don't really do much booking procedure
 10   ··    · · · · · ·I printed out McClintock's booking photo         10   · · ·stuff.· I've not addressed that issue.· That would kind
 11   ··    · · · and jail medical screening report and have it         11   · · ·of make sense, but --
 12   ··    · · · attached.· It should be noted that the booking        12   Q.· ·And Nolin also said in his report -- do you have
 13   ··    · · · photo is from 2015 because no new photo was           13   · · ·Detective Nolin's statement there?
 14   ··    · · · taken."                                               14   · · · · · I think you do.
 15   ··    · · · Isn't that a concern to you, as the city attorney,    15   A.· ·Yes, you gave it to me.
 16   ··    ·that what Furman did is, he attached an old booking        16   Q.· ·Okay.· He says:
 17   ··    ·photo --                                                   17   · · · · · · · ·"Once at the car, it appeared --"
 18   A.·   ·I don't know that it's -- it's true.                       18   · · · · · I'm in the second paragraph --
 19   Q.·   ·Okay.· Let me finish.· Let me -- well, look at what your   19   · · · · · · · ·" -- it appeared Corporal Furman pushed
 20   ··    ·current chief says:                                        20   · · · · · McClintock towards the open back seat, causing
 21   ··    · · · · · ·"It should be noted that the booking photo       21   · · · · · McClintock to hit his head on the frame of the
 22   ··    · · · is from 2015 --"                                      22   · · · · · car."
 23   ··    · · · Look at the bottom.                                   23   · · · · · MR. THOMAS:· Objection.· Repetitive --
 24   A.·   ·I see that, yeah.                                          24   BY MS. GORDON:
 25   Q.·   ·Okay.· So, you've got a lieutenant that's pointing this    25   Q.· ·Do you see that?
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 ·1   · · ·out because no new photo was taken.                          ·1   · · · · · MR. THOMAS:· Objection.· Repetitive question.
 ·2   · · · · · So, here we have a head injury to McClintock, which     ·2   A.· ·Yes, it says --
 ·3   · · ·the City has now been sued for, and we have your Officer     ·3   · · · · · MR. THOMAS:· You read that earlier.
 ·4   · · ·Furman not taking a new photo.                               ·4   BY MS. GORDON:
 ·5   A.· ·My Officer Furman?                                           ·5   Q.· ·Isn't that a concern to you?
 ·6   Q.· ·The City's.· I'm using the royal "you."                      ·6   · · · · · Now you've got two police officers putting in
 ·7   · · · · · Okay?                                                   ·7   · · ·writing that they have seen Furman use -- these are my
 ·8   · · · · · So, that's what we've got here.                         ·8   · · ·words, not theirs -- excessive force.
 ·9   · · · · · Is that not a concern to you, sir, as city              ·9   · · · · · Isn't that a concern to you as city attorney?
 10   · · ·attorney, that it looks like Furman -- at least from a       10   A.· ·It says "it appeared" Corporal Furman pushed him in the
 11   · · ·plaintiff's point of view in a lawsuit -- could say, "He     11   · · ·car.
 12   · · ·was covering up my injury"?                                  12   · · · · · I see that, yes.
 13   · · · · · MR. GILLIAM:· Object as to form and foundation.         13   · · · · · And if he did, that would concern me, yeah.
 14   A.· ·I'm sorry.· What was the question you asked me?              14   Q.· ·And you now know, if you didn't at the time, that this
 15   BY MS. GORDON:                                                    15   · · ·is information that was coming to Chief Hayse back in
 16   Q.· ·Isn't it a concern to you, that Lieutenant Allen is          16   · · ·June, while he was still investigating Furman.
 17   · · ·pointing out, that Furman did not take a new picture of      17   · · · · · You see that; right?
 18   · · ·McClintock but rather used a 2015 photo?                     18   A.· ·I've seen the letters you provided me here today, yes.
 19   A.· ·I don't know if he did or didn't take a picture. I           19   Q.· ·Yeah.
 20   · · ·don't know who is responsible for -- I really don't know     20   · · · · · I want to ask you a question.
 21   · · ·the procedure, so I don't know -- if he was supposed to      21   A.· ·Okay.
 22   · · ·take one and he didn't, that would be a problem, yes.        22   Q.· ·That was needless.· Sorry about that.
 23   Q.· ·Okay.                                                        23   · · · · · You have a name in your phone that I saw earlier
 24   A.· ·I don't know that he's supposed to take one.                 24   · · ·today with regard to Alexa --
 25   Q.· ·Again --                                                     25   · · · · · · (Discussion held off the record.)

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 ·1   BY MS. GORDON:                                                    ·1   · · · · · MS. GORDON:· Yeah, I know.· We're going to
 ·2   Q.· ·Alexandra Carrier.                                           ·2   · · ·reschedule.
 ·3   A.· ·Yeah, it's --                                                ·3   A.· ·But I need some flexibility.· I've got a heck of a
 ·4   Q.· ·Why is that in your phone?                                   ·4   · · ·schedule coming up over the next two weeks.· So --
 ·5   A.· ·There was somebody that was subpoenaed for a deposition      ·5   · · · · · MS. GORDON:· What's good for you?
 ·6   · · ·in this case, and I don't know who that individual is.       ·6   · · · · · MR. THOMAS:· Do you want to throw out some dates?
 ·7   · · ·I never heard of that person.                                ·7   · · · · · MS. GORDON:· It's just two hours.
 ·8   Q.· ·Okay.                                                        ·8   A.· ·Yeah.· Yeah.
 ·9   A.· ·To the best of my knowledge, I don't know who that           ·9   · · · · · MS. GORDON:· I mean, we can squeeze it in in the
 10   · · ·person is.                                                   10   · · ·morning or late in the day.
 11   · · · · · So, I don't know.· I don't know who that person is.     11   A.· ·That's fine.
 12   Q.· ·Did you find out?                                            12   · · · · · MR. THOMAS:· Everybody got their calendar --
 13   A.· ·No.· I have no idea.· I have no idea who that person is.     13   BY MS. GORDON:
 14   · · · · · Everybody else has been subpoenaed.· I pretty much      14   Q.· ·One more question for you, Mr. Coogan, while Phil is
 15   · · ·know who they are.                                           15   · · ·looking.
 16   Q.· ·Hang on one second, please.                                  16   A.· ·Sure.· Certainly.
 17   · · · · · · ·(Discussion held off the record.)                    17   · · · · · What's up?
 18   · · · · · MR. THOMAS:· Ms. Gordon, it's almost 5:00.· Can I       18   Q.· ·Are you paying for your private -- your attorney that's
 19   · · ·ask what time you're planning on going today?                19   · · ·here for you?
 20   · · · · · MS. GORDON:· Yeah, you can.· Give me just one           20   A.· ·He's being paid to be here today.· I --
 21   · · ·second.                                                      21   Q.· ·By you or the City?
 22   · · · · · · ·(Discussion held off the record.)                    22   A.· ·At this point, I don't know.· Perhaps the City,
 23   · · · · · MS. GORDON:· Give me just a second, Phil.               23   · · ·hopefully, or the insurance company maybe.· I don't
 24   · · · · · · ·(Discussion held off the record.)                    24   · · ·know.
 25   BY MS. GORDON:                                                    25   · · · · · MR. THOMAS:· Well, you should tell her -- you
                                                             Page 346                                                                 Page 348
 ·1   Q.·   ·Are you aware that on -- I guess you're aware that on      ·1   ··    ·should tell her -- I don't know that that --
 ·2   ··    ·July 28, the chief notified you, the mayor and Bolton      ·2   A.·   ·The city, I think.· Yeah.
 ·3   ··    ·that he was suspending Furman without pay effective        ·3   ··    · · · MR. THOMAS:· He signed my retainer agreement.
 ·4   ··    ·immediately, and that he was going to meet with you in     ·4   ··    ·That's all I can tell you.
 ·5   ··    ·the afternoon to discuss termination?                      ·5   A.·   ·I would hope.
 ·6   A.·   ·I do recall seeing that chief sent me a letter after he    ·6   ··    · · · MS. GORDON:· The witness --
 ·7   ··    ·suspended Furman without pay.                              ·7   ··    · · · MR. THOMAS:· Whether he's going to get coverage or
 ·8   Q.·   ·And you never met with him, did you?                       ·8   ··    ·not, he could say he hopes.
 ·9   A.·   ·I did not meet with him, no.                               ·9   ··    · · · MS. GORDON:· Fair enough.· Okay.
 10   Q.·   ·Why not?                                                   10   ··    · · · MR. THOMAS:· I don't really know that you're
 11   A.·   ·I don't know.                                              11   ··    ·entitled to that without a court order, but I don't want
 12   Q.·   ·He wanted to meet with you --                              12   ··    ·to fight over it.
 13   A.·   ·I don't know why.                                          13   ··    · · · MS. GORDON:· Okay.· I appreciate it.
 14   Q.·   ·-- to discuss this.· Okay.                                 14   A.·   ·Yeah.
 15   A.·   ·I really don't know why.                                   15   ··    · · · · ·(Deposition adjourned at 4:57 p.m.)
 16   ··    · · · MS. GORDON:· Okay.· All right.                        16   ··    · · · · · · · · · ·*· ·*· ·*
 17   A.·   ·It never took place.                                       17
 18   ··    · · · MS. GORDON:· All right.· Phil, I'm not going to       18
 19   ··    ·finish today, so let's go ahead and break.                 19
 20   ··    · · · · ·(Discussion held off the record.)                  20
 21   ··    · · · MS. GORDON:· It's too late today to finish.           21
 22   A.·   ·Are you sure?                                              22
 23   ··    · · · MS. GORDON:· It's been a -- you know, it's been a     23
 24   ··    ·long day.· We never really took a lunch hour and --        24
 25   A.·   ·That's up to you.· I don't care if we --                   25

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 ·1   STATE OF MICHIGAN )

 ·2   COUNTY OF OAKLAND )

 ·3   · · · · · · · CERTIFICATE OF NOTARY PUBLIC

 ·4   · · ·I do hereby certify that the witness, whose

 ·5   attached testimony was taken in the above matter, was

 ·6   first duly sworn to tell the truth; the testimony

 ·7   contained herein was reduced to writing in the presence

 ·8   of the witness by means of stenography; afterwards

 ·9   transcribed; and is a true and complete transcript of

 10   the testimony given.

 11   · · ·I further certify that I am not connected by blood

 12   or marriage with any of the parties; their attorneys or

 13   agents; and that I am not interested, directly or

 14   indirectly, in the matter of controversy.

 15   · · ·In witness whereof, I have hereunto set my hand

 16   this day at Highland, Michigan, County of Oakland, State

 17   of Michigan on Friday, May 4, 2018.

 18

 19

 20   · · · · · _______________________________________

 21   · · · · · John J. Slatin, RPR, CSR-5180

 22   · · · · · Certified Shorthand Reporter

 23   · · · · · Notary Public, Oakland County, Michigan

 24   · · · · · My commission expires:· July 25, 2023

 25




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